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                           Exhibit 003


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                   Expert Witness Report:
                    Attack Attributions
       Martino, et al., v. Islamic Republic of Iran
                   No. 1:21-cv-01808-RDM

                  Dr. Daveed Gartenstein-Ross
               Chief Executive Officer, Valens Global
                        November 29, 2023
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I.      Introduction

I have been retained by the Plaintiffs to provide an expert opinion on the Islamic Republic of Iran’s
historical use of violent non-state actors (VNSAs) as proxy forces; the emergence and evolution of
Sunni and Shia VNSAs in Iraq following the 2003 U.S. invasion; the emergence and evolution of the
Zarqawi organization; Iran’s material support to Sunni and Shia VNSAs in Iraq, including the Zarqawi
organization and Ansar al-Islam/Ansar al-Sunnah; and the culpability of Iran and its Sunni and/or
Shia VNSA proxies in 25 attacks that occurred between April 9, 2004, and April 10, 2009.

Relying on my background, education, training, and experience, as well as substantial evidence
commonly used by experts in relevant fields, it is my expert opinion, to a reasonable degree of
professionally certainty, that:

     ● The Islamic Republic of Iran has an extensive history of using VNSAs as proxy groups to
       advance its foreign policy goals. Among other things, Iran has used these groups to launch
       attacks against U.S. forces in Iraq while retaining a degree of plausible deniability. While Iran
       has provided substantial support to Shia proxy groups throughout the Middle East, the Islamic
       Republic has also backed and materially supported Sunni militant groups, including al-Qaeda,
       the Zarqawi organization, and Ansar al-Islam/Ansar al-Sunnah, when such support aligned
       with Iran’s state interests. This history is detailed in my accompanying Expert Report &
       Declaration on Sunni Militant Organizations.

     ● Iran provided substantial support to the Zarqawi organization and Ansar al-Islam/Ansar al-
       Sunnah, in the form of training, financial support, weapons, safe haven, lodging, travel and
       transportation, and expert knowledge and assistance in tactics, techniques, procedures, and
       attack planning. This support is likewise detailed in my accompanying Expert Report &
       Declaration on Sunni Militant Organizations.

     ● The Zarqawi organization likely planned, committed, or authorized twenty of the attacks at
       issue in this case. These include:

             o Complex Ambush Attack that killed Sergeant Elmer Krause and civilian contractors
               Tony Johnson, Jack Montague, Stephen Hulett and Timothy Bell, Abu Gharib, April
               9, 2004.
             o Complex Attack that killed Sergeant Major Michael Stack, Mahmudiyah, April 11,
               2004.
             o Artillery Attack that killed Sergeant Alan Bean, Iskandariya, May 25, 2004.
             o Suicide IED Attack that killed John A. Pinsonneault, Baghdad, October 14, 2004.
             o IED Attack that killed First Lieutenant William A. Edens and Specialist Ricky W.
               Rockholt, Tal Afar, April 28, 2005.
             o IED Attack that wounded Corporal Adam C. Kisielewski, Al-Karmah, August 21,
               2005.
             o SVBIED Attack that killed Army Specialist Adrian N. Orosco, Abu Gharib, December
               9, 2005.
             o IED Attack that killed Lance Corporal Brent B. Zoucha, Al Qaim, June 9, 2006.
             o Helicopter Shoot-Down Attack that killed Command Sergeant Major Marilyn L.
               Gabbard, Bahrez, January 20, 2007.

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            o IED Attack that killed Sergeant Ross A. Clevenger, Al-Karmah, February 8, 2007.
            o IED Attack that killed Sergeant Russell A. Kurtz, Al-Karmah, February 11, 2007.
            o Small Arms Fire Attack that killed Private First Class Kelly D. Youngblood, Ramadi,
              February 18, 2007.
            o IED Attack that killed Staff Sergeant Justin M. Estes, Samarra, March 5, 2007.
            o IED Attack that killed Captain Jonathan Grassbaugh, Private First Class Rodney
              McCandless, and Specialist Levi Hoover, Zaganiyah, April 7, 2007.
            o IED Attack that killed Corporal James E. Summers, Specialist Zachary D. Baker, and
              First Lieutenant Kile G. West, Abu Sayda, May 28, 2007.
            o Complex Attack that killed Corporal Damon G. LeGrand, Diyala, June 12, 2007.
            o IED Attack that killed Sergeant First Class Justin S. Monschke, Arab Jabour, October
              14, 2007.
            o IED Attack that killed Sergeant First Class Robin L. Towns Sr., Baiji, October 24,
              2007.
            o House-Borne IED Attack that killed Staff Sergeant Jonathan Dozier, Sergeant Zachary
              W. McBride, and Sergeant First Class Matthew I. Pionk, Sinsil, January 9, 2008.
            o SVBIED Attack that Killed Corporal Jason G. Pautsch, Staff Sergeant Bryan E. Hall,
              Sergeant Edward W. Forrest, and Staff Sergeant Gary L. Woods, Mosul, April 10,
              2009.

   ● Ansar al-Islam/Ansar al-Sunnah likely planned, committed, or authorized four of the attacks
     at issue in this case. These are:

            o Artillery Attack that killed Captain Arthur L. Felder and Staff Sergeant Billy J. Orton,
              Camp Taji, April 24, 2004.
            o SVBIED Attack that killed Sergeant James W. Harlan, Balad, May 14, 2004.
            o IED Attack that killed Private First Class Nicholas H. Blodgett, Ad Duluiyah, July 21,
              2004.
            o Suicide IED Attack that killed Staff Sergeant Lynn Robert Poulin, Staff Sergeant Julian
              Melo, and Private Lionel Ayro, Nineveh, December 21, 2004.

   ● Ansar al-Islam/Ansar al-Sunnah or the Zarqawi organization, operating in coordination with
     one another, likely planned, committed, or authorized one attack at issue in this case. This is
     the complex attack that killed Sergeant James E. Craig, Corporal Evan A. Marshall, and Private
     Second Class Joshua Young, Mosul, January 28, 2008.

   ● Iran’s assistance was critical to the survival of the Zarqawi organization and Ansar al-
     Islam/Ansar al-Sunnah, significantly increased their capabilities, and is reasonably connected
     to each of the attacks listed above.

The following sections of this report explain how I reached these conclusions. Section II provides an
overview of my qualifications for making the expert determinations in this report. Section III describes
my methodology and the limiting principles that I employ in my attribution work. Sections IV to IX
analyze the attacks at issue in this case, attributing responsibility for each attack. These attack
attributions are grouped by province. Finally, Section X highlights my principal conclusions.



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II.     Expert Qualifications

My professional life has been dedicated to understanding VNSAs’ role in the world and to helping
policymakers, government agencies, private companies, and others fashion innovative solutions to the
challenges that VNSAs pose. I am the Chief Executive Officer of Valens Global, a private commercial
firm, and hold appointments at think tanks in the United States and Europe. I am a Senior Advisor
on Asymmetric Warfare at the Foundation for Defense of Democracies (FDD), a nonpartisan policy
institute in Washington, D.C., with which I have been affiliated for 16 years. 1 I am also an Associate
Fellow at the International Centre for Counter-Terrorism – The Hague (ICCT). I have authored
several studies for ICCT, some of which required international field research. 2 Past positions that I
have held include Senior Advisor to the Director of the U.S. Department of Homeland Security’s
Office for Community Partnerships (2016-17) and Fellow at Jigsaw, a tech incubator within Google
with the mission of exploring threats to open societies and building technology that inspires scalable
solutions. I led several major projects responding to violent extremists’ use of online platforms for
Jigsaw.3

I have experience teaching, leading national-security simulations, and lecturing at the university level.
I serve as an Adjunct Instructor at Duke University (2021-present) and as an Instructor at Carnegie
Mellon University (2022-present). From 2013-17, I held an appointment as an Adjunct Assistant
Professor in Georgetown University’s Security Studies Program, where I taught a graduate course on
violent non-state actors. I have also held an appointment as a Lecturer at the Catholic University of
America, where I taught a graduate course on violent non-state actors and an undergraduate course
on al-Qaeda and its affiliates; and have taught classes for, or held faculty appointments at, the
University of Southern California (teaching for the school’s Executive Program in Counterterrorism)
and the University of Maryland (Faculty Research Assistant in the Institute for Advanced Computer
Studies, 2013-14).

I have been contracted to design and lead national-security simulations (also known as wargames) for
numerous colleges and universities, including American University, Carnegie Mellon University, Duke
University, Georgetown University, Johns Hopkins University, National Defense University, Regent
University, the University of North Carolina at Chapel Hill, and Wake Forest University. Several of
our simulations involve challenges focused on the Zarqawi organization. In addition to running these
simulations for academic institutions, I have designed and led simulations for government agencies
(e.g., the U.S. State Department’s Foreign Service Institute, Canada’s Department of National

1 I served as FDD’s Vice President of Research (2007-10), then as a Senior Fellow (2010-18), and a Non-Resident Fellow

(2018-19). For a sense of the work I have undertaken for FDD, see the following books and studies that I authored for
the institute, or for which I served as a volume editor: Daveed Gartenstein-Ross et al., Evolving Terror: The Development of
Jihadist Operations Targeting Western Interests in Africa (Washington, D.C.: FDD Press, 2018); Daveed Gartenstein-Ross et al.,
Islamic State 2021: Possible Futures in North and West Africa (Washington, D.C.: FDD Press, 2017); Daveed Gartenstein-Ross
& Jonathan Schanzer eds., Allies, Adversaries and Enemies: America’s Increasingly Complex Alliances (Washington, D.C.: FDD
Press, 2014).
2 See Daveed Gartenstein-Ross et al., The Islamic State’s Global Propaganda Strategy (The Hague: ICCT – The Hague, 2016);

Daveed Gartenstein-Ross et al., Raising the Stakes: Ansar al-Sharia in Tunisia’s Shift to Jihad (The Hague: ICCT – The Hague,
2014); Daveed Gartenstein-Ross, Ansar al-Sharia Tunisia’s Long Game: Dawa, Hisba, and Jihad (The Hague: ICCT – The
Hague, 2013).
3 Much of the work I undertook for Jigsaw/Google remains confidential, but one project, known as the Redirect Method,

has been made public. See Andy Greenberg, “Google’s Clever Plan to Stop Aspiring ISIS Recruits,” Wired, September 7,
2016. Jigsaw maintains a website that explains the Redirect Method at https://redirectmethod.org/. I led Valens Global’s
efforts to map the counter-ISIS narrative space on YouTube for this project.

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Defence), multilateral institutions (e.g., the Global Counterterrorism Forum), and think tanks (e.g.,
the Foundation for Defense of Democracies).

I have also delivered presentations at or for numerous colleges, universities, and academic
conferences, including the American Political Science Association Annual Meeting, the Association
for the Study of the Middle East and Africa Annual Conference, Campbell University (Buies Creek,
N.C.), Campbellsville University (Campbellsville, Ky.), Columbus State University (Columbus, Ga.),
the George C. Marshall European Center for Security Studies (Garmisch, Germany), Georgia State
University (Atlanta, Ga.), Harvard Law School, High Point University (High Point, N.C.), the U.S.
Marine Corps Command and Staff College (Quantico, Va.), the National Defence College (Abu
Dhabi), the United States Naval Academy (Annapolis, Md.), the New York University School of Law,
O.P. Jindal Global University (Sonipat, India), Universität Tübingen (Tübingen, Germany), and
Uppsala University (Uppsala, Sweden). A number of these presentations have been about the Zarqawi
organization and Iraq.

I hold a Ph.D. and M.A. in World Politics from the Catholic University of America, a J.D., magna cum
laude, from the New York University School of Law, and a B.A. with Honors, magna cum laude, from
Wake Forest University. I also hold a 10,000 Small Businesses Certificate of Entrepreneurship, which
I received from a program sponsored by the Goldman Sachs Foundation (classes held at Babson
College, in Wellesley, Mass.).

As part of my topical research, which began in approximately 1995 during my undergraduate studies,
I have traveled overseas to conduct field research or do professional work in numerous countries. I
have reviewed thousands of open-source documents about jihadist VNSAs in English, French, Italian,
Spanish, and Arabic.4 I have served as a consultant and expert on terrorism and national security issues
for the U.S., Canadian, and Dutch governments, NATO, the European Union, the Global
Counterterrorism Forum, and private organizations. In the course of this work, I have been certified
by governmental bodies as an expert on terrorism and violent non-state actors on numerous occasions,
including for the following projects:

        serving as a Subject-Matter Expert (SME) for U.S. Customs and Border Protection (2017-
         present). My work has included delivering open-source strategic reports about sub-state
         violence, including on Iran’s influence in Iraq and Syria and the Zarqawi organization’s
         activities; and delivering training and high-level briefings for officials and analysts.
        leading Valens Global’s efforts to support the drafting, threat assessment, and crafting of
         priority actions for the U.S. Department of Homeland Security’s Strategic Framework for
         Countering Terrorism and Targeted Violence, which was released in September 2019 and has
         subsequently guided DHS’s approach to confronting terrorism. That document received
         widespread acclaim, with the New York Times editorializing that the document “focuses


4 As a simple definition, modern jihadism is an ideological trend that seeks violent overthrow of the existing political order

in favor of a transnational theocratic entity, with the creation of a caliphate being the most common objective. The
term jihadist is an organic term, the way those within the movement refer to themselves, which is why we employ it in this
report. It should be understood, though, that the Arabic word jihad, which translates to struggle, is an established Islamic
religious concept with many connotations, and most Muslims interpret the term in significantly different ways than do the
self-proclaimed jihadists.


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         unapologetically on right-wing terrorism, particularly white supremacist extremism,” which
         constitutes “a shift that is both urgently needed and long overdue.” 5
        serving as a co-Principal Investigator for a one-year, $154,921 grant funded by the National
         Counterterrorism Innovation, Technology, and Education Center (NCITE) to assess the
         benefits of simulations and wargames for Homeland Security Enterprise workforce
         development.
        serving as a co-Principal Investigator for a three-year, $1.5 million project for the Office of
         Naval Research using big data to analyze relationships among members of terrorist groups,
         and, based on this data, anticipate where fractures are likely to occur in terrorist organizations.
         The data collected for this project included the full range of terrorist groups active in Iraq.
        serving as the Principal Investigator for eleven different grant-funded research projects, many
         of them related to terrorism and VNSAs, for the Mobilizing Insights in Defense and Security
         (MINDS) program funded by Canada’s Department of National Defence, as well as its
         predecessor program. The grants, awarded from 2016 to present, included a study detailing
         the Islamic State’s (ISIS) possible futures in North and West Africa.6
        designing and delivering a lecture titled “Jihadist Propaganda and the Rise of ISIS” for the
         U.S. State Department’s Islam & the Muslim World (AR194) course, from June 2020 to
         present.
        designing and delivering lectures on global terrorism for the U.S. Army Corps of Engineers’
         Individual Terrorism Awareness Course (INTAC), for which I served as one of the lead
         instructors from 2016 to 2020. This course included discussion of the Zarqawi organization
         and Iraq.
        lecturing for U.S. Army units about to undertake deployments, including to Iraq, through the
         Naval Postgraduate School’s Center for Civil-Military Relations (CCMR), for which I taught
         on over 70 occasions from 2009 to 2019.
        serving as a SME providing analysis to the U.S. Department of Defense’s Joint Improvised
         Threat Defeat Organization (JIDO) four times, including on a project examining possible
         futures of the Zarqawi organization.
        serving as a SME on nine separate initiatives for the Global Counterterrorism Forum (GCTF).
         For example, I was the lead SME for the Berlin Memorandum on Good Practices for Countering
         Terrorist Use of Unmanned Aerial Systems.7 Other initiatives for which I served as a high-level
         SME for GCTF have pertained to watch-listing, maritime terrorist travel, and racially or
         ethnically motivated violent extremism.
        serving as the Principal Investigator in 2016-17 for two VNSA-related projects for NATO. In
         the first, I authored a study proposing a new methodology for monitoring and evaluation
         (M&E) of counterterrorism capacity-building efforts. In the second, I played a lead role in
         designing a demo for software capable of tracking M&E of future counterterrorism capacity
         building missions.
        organizing and facilitating a 2016 conference in Nigeria, as a European Union-appointed
         Strategic Communication Expert, helping civil society activists to understand terrorist groups’

5 Alex Kingsbury (editorial board member), “Rethinking Counterterrorism,” New York Times, September 23, 2019.
6 ISIS/the Islamic State is the most recent rebranding employed by the Zarqawi organization, as this report discusses

subsequently.
7 GCTF is an international forum consisting of 29 countries and the European Union that describes its mission as

“reducing the vulnerability of people worldwide to terrorism by preventing, combating, and prosecuting terrorist acts and
countering incitement and recruitment to terrorism.”

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         use of social media and to forge a strategic action plan for countering it. The key terrorist
         group of interest was the Zarqawi organization-aligned Boko Haram.
        serving as a SME for the U.S. Department of State’s Office of Anti-Terrorism Assistance,
         designing curriculum and leading instruction for the organization.
        leading training for the U.S. Department of Justice’s Anti-Terrorism Advisory Council
         (ATAC) four times.

I have also been court-certified to testify as an expert witness or serve as a litigation consultant on
terrorism and jihadist groups in the following federal cases:

        On ten occasions, I have been admitted as an expert witness on the Zarqawi organization (also
         known as ISIS or al-Qaeda in Iraq). In 2023, I have been admitted as an expert witness on the
         Zarqawi organization in Baarbé v. Syrian Arab Republic and Mueller v. Syrian Arab Republic.8 In
         2022, I was admitted as an expert witness on the Zarqawi organization in Parhamovich v. Syrian
         Arab Republic (D.D.C. 2022); Fishbeck v. Islamic Republic of Iran (D.D.C. 2022); and Neiberger v.
         Islamic Republic of Iran (D.D.C. 2022).9 In United States v. Young (E.D. Va. 2017), the first criminal
         prosecution of a U.S. law enforcement officer for material support for ISIS, I served as an
         expert witness for the prosecution. The defense raised a Daubert challenge, and my expertise
         was affirmed by the District Court based on my background, “extensive academic credentials,”
         and “the fact that the United States government uses him for training in these areas.” The
         United States Court of Appeals for the Fourth Circuit affirmed the District Court on appeal,
         noting that the lower court “reached a reasonable decision in qualifying Dr. Gartenstein-Ross
         based on his extensive credentials and areas of expertise.” 10 I also served as an expert witness
         on the Zarqawi organization in Fields v. Syrian Arab Republic (D.D.C. 2021), Sotloff v. Syrian Arab
         Republic (D.D.C. 2021), Doe v. Syrian Arab Republic (D.D.C. 2020), and Foley v. Syrian Arab
         Republic (D.D.C. 2017).11

8 See Baarbé v. Syrian Arab Republic, No. 5:20-CV-230, 2023 WL 4236184 (E.D. N.C. June 28, 2023); Mueller v. Syrian Arab

Republic, No. 1:18-cv-01229-CJN, 2023 WL 1398434 (D.D.C. Jan. 31, 2023).
9 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921, at *5 n. 5 (D.D.C. Dec. 28, 2022) (“The

Court finds that Dr. Daveed Gartenstein-Ross is qualified as an expert on issues related to terrorist groups operating in
Iraq. He currently serves as Chief Executive Officer of Valens Global, is a Non-Resident Fellow at the Foundation for the
Defense of Democracies, and an Associate Fellow at the International Centre for Counter-Terrorism at The Hague. He
has been qualified as an expert witness in federal court on issues related to the Zarqawi organization and other terrorist
groups and related issues in federal court. Dr. Gartenstein-Ross has testified before multiple House and Senate
Committees, the United Nations, European Parliament, and the Canadian House of Commons”); Fishbeck v. Islamic Republic
of Iran, No. 1:18-cv-02248-CRC (D.D.C.), Sept. 12, 2022 Hearing Trans., at 130:11-130:12; Neiberger v. Islamic Republic of
Iran, No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), report and recommendation adopted, No.
16-cv-2193-EGS, 2022 WL 17370160 (D.D.C. Sept. 30, 2022).
10 United States v. Young, 916 F.3d 368, 380 (4th Cir. 2019).
11 See Fields v. Syrian Arab Republic, no. 18-cv-1437-RJL, 2021 WL 9244135, at *1 n. 1 (D.D.C. Sept. 29, 2021) (“Dr.

Gartenstein-Ross is the Chief Executive Officer of Valens Global, a private commercial firm focused on analyzing violent
non-state actors. Gartenstein Report at 1. He holds a Ph.D. and M.A. in World Politics from the Catholic University of
America, as well as a J.D. from the New York University School of Law. Id. at 2. He has a robust background in studying
and publishing articles on the Zarqawi organization and has been accepted as an expert on Syria’s support for ISIS in other
federal courts…. As such, I find that Dr. Gartenstein-Ross is qualified as an expert in Syria’s relationship with and support
of ISIS”); Sotloff v. Syrian Arab Republic, 525 F. Supp. 3d 121, 133 (D.D.C. 2021) (“The first expert, Dr. Daveed Gartenstein-
Ross, is an anti-terrorism scholar and author who has worked, in various capacities, on issues related to violent non-state
actors for over a decade. Gartenstein-Ross Hr’g Tr. 13:1–12. He has testified as an expert on terrorism and jihadist groups
in many courts, including in this District…. The Court qualified him as an expert on violent non-state actors generally,


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        I served as an expert witness on al-Qaeda in two separate cases: Bernhardt v. Islamic Republic of
         Iran, no. 18-2739 (D.D.C. 2023), and In the Matter of B.O. in Removal Proceedings (Boston
         Immigration Court 2012).12
        In United States v. Abdul Kareem (D. Ariz. 2016), I served as a litigation consultant for the
         defense. The defendant was accused of conspiring to support a Zarqawi organization/ISIS
         attack in the United States in 2015.
        In Fritz v. Islamic Republic of Iran (D.D.C. 2018), I served as an expert witness on the Iraqi Shia
         group Asaib Ahl al-Haq.13
        I have been admitted as an expert witness on the Taliban (a group broadly allied with al-Qaeda)
         in two cases: Selig v. Islamic Republic of Iran (D.D.C. 2021) and In the Matter of Abdul Qadir
         (Arlington, Va. Immigration Court 2015).14
        I served as an expert witness on al-Shabaab (a Somalia-based al-Qaeda affiliate) in the
         following cases: In the Matter of A.A.W. (Bloomington, Minnesota Immigration Court 2021),
         In the Matter of A.D. (Memphis, Tenn. Immigration Court, 2012), In the Matter of A.A.I.
         (Colorado Immigration Court, 2011), In the Matter of the Application for Withholding of A.A.M.


ISIS’s evolution from its predecessor organizations, and ISIS’s material supporters”); Doe v. Syrian Arab Republic, No. 18-
CV-0066-KBJ, 2020 WL 5422844, at *9 n. 7 (D.D.C. Sept. 10, 2020) (“The undersigned finds that Dr. Gartenstein-Ross
is qualified as an expert in the areas of terrorism and jihadist groups. He has been qualified in federal courts on six occasions
in those fields. In addition, he has also testified in five hearings directly related to ISIS before the U.S. House and Senate.
He has taught related topics at Georgetown University, Catholic University, University of Southern California, and
University of Maryland…. As a result of his work, Dr. Gartenstein-Ross has been certified by governmental organizations
as an expert on terrorism and jihadist groups, including the U.S. Customs and Border Protection and the U.S. Department
of Defense’s Joint Improvised-Threat Defeat Organization. He is presently the Chief Executive Officer of Valens Global,
a firm focused on responses to violent non-state actors, a Senior Advisor on Asymmetric Warfare at the Foundation for
Defense of Democracies, and an Associate Fellow at the International Centre for Counter-Terrorism. He also served as a
Senior Advisor to the Director of the U.S. Department of Homeland Security’s Office for Community Partnerships from
2016-2017”); Foley v. Syrian Arab Republic, 249 F. Supp.3d 186, 193 n.4 (D.D.C. 2017) (“Having considered the requirements
set forth in Federal Rule of Evidence 702 for the admission of expert testimony, the Court qualified Daveed Gartenstein-
Ross as an expert in the evolution of the history of terrorist organizations and their claims of responsibility for acts of
terrorism”).
12 See Bernhardt v. Islamic Republic of Iran, No. 18-cv-2739-TJK, 2023 WL 2598677, at *8 n. 7 (D.D.C. Mar. 22, 2023). The

Court wrote: “Gartenstein-Ross’s report is based on his extensive knowledge, experience, training, and education
concerning violent non-state actors, see ECF No. 48-1 at 4-15, and his comprehensive review of the relevant primary and
secondary sources on the matter, id. at 15-16. Consistent with the well-established practice of courts in this Circuit, and
‘[c]onsidering the requirements of Federal Rule of Evidence 702, the Court [finds] Dr. Gartenstein-Ross qualified to offer
the opinions relied upon herein as an expert on Iranian support for violent non-state actors . . . .’ See Neiberger v. Islamic
Republic of Iran, No. 16-cv-2193 (EGS/ZMF), 2022 WL 17370239, at *3 n.2 (D.D.C. Sept. 8, 2022) (collecting cases), report
and recommendation adopted, 2022 WL 17370160 (D.D.C. Sept. 30, 2022); see also, e.g., Fritz v. Islamic Republic of Iran, 320 F.
Supp. 3d 48, 63 (D.D.C. 2018) (‘credit[ing] Dr. Gartenstein-Ross’s expert opinion that Iran provided significant material
support’ (citation omitted)); Foley v. Syrian Arab Republic, 249 F. Supp. 3d 186, 193 (D.D.C. 2017) (‘qualif[ying] Daveed
Gartenstein-Ross as an expert in the evolution of the history of terrorist organizations and their claims of responsibility
for acts of terrorism’).”
13 Fritz v. Islamic Republic of Iran, 320 F. Supp .3d 48, 58 n.2 (D.D.C. 2018) (“Many of the Court’s findings in this section

are derived from the testimony and expert reports of Dr. Matthew Levitt and Dr. Daveed Gartenstein-Ross. Having
considered the requirements of Federal Rule of Evidence 702, the Court qualified … Dr. Gartenstein-Ross as an expert
on (1) violent non-state actors, including identifying and analyzing online content generated by violent non-state actors;
(2) Iran’s use of proxy organizations in Iraq from the 1990s to 2012; and (3) Iraqi Shia militias in general and AAH in
particular”).
14 See Selig v. Islamic Republic of Iran, 573 F. Supp. 3d 40, 51 n. 1 (D.D.C. 2021) (“The Court has reviewed the qualifications

of Plaintiffs’ experts and is satisfied that each is qualified to offer the opinions discussed below. See Gartenstein-Ross Rep.
at 2–9 (listing qualifications)”).

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        (Boston Immigration Court 2011), and In the Matter of the Application for Asylum of M.A.A. (N.J.
        Immigration Court 2009).

In addition to the aforementioned work that required my certification as an expert, I have undertaken
a considerable amount of relevant professional work for various clients. A small sample of this work
includes:

       I have served as a consultant for the Anti-Defamation League, producing reports on extremist
        groups and leading training for domestic law enforcement (2016-present).
       I have produced analytic reports for three firms in the oil and gas industry—Check-Six,
        Equinor, and Tullow Oil—that needed to make investment decisions related to VNSAs, or to
        protect their facilities and personnel in various locations (2014-15). The Zarqawi organization
        is one of the groups that I analyzed, and Iraq is one of the countries on which these reports
        focused.
       I led training for analysts about al-Qaeda-affiliated Sunni terrorist groups in the Horn of Africa
        for the contractor BAE Systems (2011).
       I served as a Subject Matter Consultant to the private security firm Corporate Risk
        International during a hostage negotiation with the Iraq-based group Asaib Ahl al-Haq (2008-
        09).

I have testified about my areas of core competency before the U.S. House and Senate more than a
dozen times, and before the European Parliament and Canadian House of Commons. Additionally, I
am an author with specialized knowledge about violent non-state actors, in particular about the
Zarqawi organization. I am the author or volume editor of over thirty books and monographs, and I
have written extensively on these topics in peer-reviewed academic publications and the mainstream
press. Some selections that pertain to the key issues in this case include:

Books and Monographs
    Enemies Near and Far: How Jihadist Groups Strategize, Plot and Learn (Columbia University Press,
       2022).
    Islamic State 2021: Possible Futures in North and West Africa (with J. Zenn and N. Barr), Foundation
       for Defense of Democracies, 2017.
    The Islamic State’s Global Propaganda Strategy (with N. Barr and B. Moreng), ICCT—The Hague,
       2016.
    The War Between the Islamic State and al-Qaeda: Strategic Dimensions of a Patricidal Conflict (with J.
       Fritz, B. Moreng & N. Barr), New America Foundation, 2015.
    Bin Laden’s Legacy (New York: John Wiley & Sons, 2011).

Book Chapters
    “Jihadism in the Post-Arab Spring Maghreb,” in S. King & A. Magraoui eds., The Lure of
      Authoritarianism: The Maghreb After the Arab Spring (Indiana University Press, 2019).
    “The United States’ Post-9/11 Fight Against al-Qa’ida and the Islamic State: A Losing Effort
      in Search of a Change,” in David W. Lesch & Mark L. Haas eds., The Middle East and the United
      States: History, Politics and Ideologies 6th ed., Routledge 2018.
    “The Genesis, Rise, and Uncertain Future of al-Qaeda,” in R. Law ed., The Routledge History of
      Terrorism (Routledge, 2015).

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      “The Legacy of Osama bin Laden’s Strategy,” in David Kamien ed., The McGraw-Hill Homeland
       Security Handbook (New York: McGraw-Hill, 2012).

Academic and Technical Publications
    “Understanding Shifting Triadic Relationships in the Al-Qaeda/ISIS Faction Ecosystem”
      (with V.S. Subrahmanian et al.), IEEE Transactions on Computational Social Systems, September
      23, 2020.
    “When Jihadist Factions Split: A Data-Driven Network Analysis” (with S. Hodgson et al.),
      Studies in Conflict & Terrorism, 2019.
    “Fluidity of the Fringes: Prior Extremist Involvement as a Radicalization Pathway” (with M.
      Blackman), Studies in Conflict & Terrorism, 2019.
    “How al-Qaeda Works: The Jihadist Group’s Evolving Organizational Design” (with N. Barr),
      Current Trends in Islamist Ideology, May 30, 2018.
    “We Squeezed the Balloon: As ISIL Collapses, Jihadism Remains in a Growth Phase,”
      symposium contribution, Texas National Security Review, March 20, 2018.
    “How al-Qaeda Survived the Islamic State Challenge,” Current Trends in Islamist Ideology, August
      30, 2016.
    “The Role of Iraqi Tribes after the Islamic State’s Ascendance” (with S. Jensen), Military Review,
      July-August 2015.
    “Lone Wolf Islamic Terrorism: Abdulhakim Mujahid Muhammad (Carlos Bledsoe) Case
      Study,” Terrorism and Political Violence 26:110-28 (2014).

Selected Commentary, Op-Eds, and Policy Analysis
     “The Evolution and Escalation of the Islamic State Threat to Mozambique” (with E. Chace-
        Donahue & C. Clarke), Foreign Policy Research Institute, April 13, 2021.
     “The Threat of Jihadist Terrorism in Germany” (with E. Chace-Donahue & C. Clarke),
        International Centre for Counter-Terrorism – The Hague, May 22, 2020.
     “The Enduring Legacy of French and Belgian Islamic State Foreign Fighters” (with C. Clarke
        & E. Chace-Donahue), Foreign Policy Research Institute, February 5, 2020.
     “What Do Asia’s Returning Isis Fighters Do Next?: You’re About to Find Out” (with C.
        Clarke), South China Morning Post, February 2, 2020.
     “How to Win Friends and Wage Jihad: Understanding al Qaeda’s Pragmatism” (with V.
        Koduvayur), Foreign Affairs, July 1, 2019.
     “The Emigrant Sisters Return: The Growing Role of the Islamic State’s Women” (with V.
        Hagerty and L. Macnair), War on the Rocks, April 2, 2018.
     “ISIL’s Virtual Planners: A Critical Terrorist Innovation,” War on the Rocks, January 4, 2017.
     “Bloody Ramadan: How the Islamic State Coordinated a Global Terrorist Campaign,” War on
        the Rocks, July 20, 2016.
     “Sunni Tribes Need Arms and Support to Fight ISIS,” New York Times, June 1, 2015.

I have also spoken at events and conferences across the globe, including delivering keynote speeches
about VNSAs at U.S. Special Operations Command’s Sovereign Challenge Program Annual
Conference (Pittsburgh, Pa., May 2019), the Airport IT & Security 2018 conference in Amsterdam
(December 2018), the Counter Terrorism Symposium at the Miami International Airport (January
2018), the “After ISIL” conference sponsored by U.S. Army Special Operations Command and Duke

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University’s Laboratory for Unconventional Conflict & Simulation (December 2016), the Social Media
Narratives and Extremism Workshop (sponsored by the Near East South Asia Center, National
Defense University, in Casablanca, August 2016), U.S. Army Special Operations Command
Commander’s Conference (May 2016), the University of Southern California’s National Center for
Risk and Economic Analysis of Terrorism Events (September 2011), and the Global Futures Forum
(April 2011). Relevant presentations and conference papers that I have delivered on the Zarqawi
organization and Iraq include:

      “NCITE Access the Author: Daveed Gartenstein-Ross,” National Counterterror Innovation,
       Technology, and Education Center (NCITE), Omaha, Neb., February 16, 2023 [discussing
       Enemies Near and Far, which has a strong focus on the Zarqawi organization].
      “Shifting International Norms: Natural Evolution or a Battle for Leadership?” 13th Strategic
       Multilayer Assessment Conference, Joint Base Andrews, Md., February 8, 2023.
      “State of Terrorism 2023,” Association of Former Intelligence Officers, Kennebunk, Maine,
       January 21, 2023.
      “Technology: A Help or Hindrance on Security and Society,” Countering Violent Extremism:
       The Evolution of Radicalization and Responses Workshop, Near East South Asia Center for
       Strategic Studies, National Defense University, Casablanca, August 2, 2022.
      Panelist, “9/11 Lessons Learned,” 4th Great Power Competition Conference: Two Decades
       After 9/11, co-sponsored by the University of South Florida and National Defense University,
       webinar, September 23, 2021.
      “Preventing Misuse of Cyberspace and New Technologies: Developing Ideas, Skills, and
       Toolkits for Practitioners,” Second United Nations High-Level Conference of Heads of
       Counter-Terrorism Agencies of Member States, June 28, 2021.
      “Terrorists, Technology, Tactics: Understanding How Violent Non-State Actors Engage in
       Organizational Learning,” Global Terrorism Trends and Analysis Center Speaker Series,
       December 17, 2020.
      “Maritime Security and Terrorist Travel: A Global Overview,” keynote presentation, Virtual
       Consultation on the Implications of Terrorist Travel in the Maritime Domain, Global
       Counterterrorism Forum, July 21, 2020.
   ●   “How Terrorist Organizations and Violent Extremists Are Operating in the Fog of COVID-
       19,” Foundation for Defense of Democracies webinar, June 23, 2020.
   ●   “Update on Terrorism—Expectations for 2020 and Beyond,” Infonex Canadian BCP and
       Emergency Management 2020 Conference, Ottawa, January 28, 2020.
   ●   “Future Global Trends and Asymmetric Warfare,” keynote speech, Changing Nature of
       Conflicts Workshop, Near East South Asia Center for Strategic Studies, National Defense
       University, Casablanca, Morocco, June 18, 2019.
   ●   “CT Challenges: What’s Going Well, What’s Not Going Well,” Beyond Christchurch and the
       Caliphate: Terrorism’s Futures, conference hosted by the Australian Government & Australian
       National University, Canberra, Australia, June 5, 2019.
   ●   “Countering Radicalization: What Can Be Done?,” Enriching the Middle East’s Economic
       Future conference, sponsored by UCLA Center for Middle East Development, Doha, Qatar,
       November 13, 2017.
   ●   “Sixteen Years After 9/11: Assessing the Terrorist Threat” (panel), New America Foundation,
       Washington, D.C., September 11, 2017.


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    ● “Change or Continuity Since 2014: ISIS in Global Context,” The Evolving Terrorist Threat
      conference, The RAND Corporation, Arlington, Va., June 27, 2017.
    ● “Terrorism in 2020” (panel), Department of Defense Combating Terrorism Intelligence
      Conference, Reston, Va., May 9, 2017.
    ● “The Jihadi Threat: ISIS, al-Qaeda and Beyond,” panel, U.S. Institute of Peace, Washington,
      D.C., December 12, 2016.
     “The Competition between the Islamic State and al-Qaeda,” Kazakhstan Institute for Strategic
      Studies, Astana, Kazakhstan, March 2, 2016.
     “The Competition between the Islamic State and al-Qaeda: Implications for Regional States
      and the Future of the Jihadist Movement,” NATO Advanced Research Workshop, Brussels,
      October 6, 2015.
     “Al-Qaeda and Its Affiliates,” National Center for Risk and Economic Analysis of Terrorism
      Events (CREATE), Executive Program in Counterterrorism, University of Southern
      California, Los Angeles, August 19, 2015.
     “The ISIS Campaign in Anbar,” National Defense University, Washington, D.C., October 20,
      2014.
     “The Arab Awakening and the Future of al-Qaeda,” Woodrow Wilson International Center
      for Scholars, Washington, D.C., May 10, 2012.
     “Al-Qaeda After bin Laden,” School of Advanced International Studies, Johns Hopkins
      University, Washington, D.C., February 21, 2012.

III.     Methodology & Limiting Principles

This section examines the methodology I employ for examining violent non-state actors and
attributing attacks to specific VNSAs. It then discusses the limiting principles I employ that can rule
out the culpability of state sponsors (in this case, Iran) for attacks that I was asked to analyze.

Methodology
I employ a comparative analysis method for understanding VNSAs. The comparative analysis method
has been validated multiple times in written opinions by various U.S. courts, 15 including by this Court
in a July 19, 2022 opinion.16 Comparative analysis involves identifying relevant primary sources and
scholarly literature, examining each source, and comparing these materials to one another in order to
establish baseline facts for my analysis. Here I will explain the framework I employ for understanding
VNSAs, and the significance of the method I employ to evaluate relevant facts.

The framework for understanding VNSAs is designed to apply across a range of these actors. Some
of my writings and professional projects have classified various kinds of VNSAs and analyzed how
they can be compared and contrasted with one another.17 As I outline in my chapter “Violent Non
State Actors: Paradigmatic Lessons Learned” in the 2014 volume National Security Management in Federal

15 See, e.g., United States v. Farhane, 634 F.3d 127, 159 (2d Cir. 2011) (upholding the permissibility of an expert’s testimony

in a case where the expert employed the comparative analysis method, and noting that this methodology was “similar to
that employed by experts that have been permitted to testify in other cases involving terrorist organizations”); Order,
United States v. Hausa, 12 Cr. 0134, E.D.N.Y., February 10, 2017, p. 4.
 16 Cabrera v. Islamic Republic of Iran, Civil Action no. 19-3835 (JDB), D.D.C., July 19, 2022, p. 8 (adopting Dr. Colin Clarke’s

 methodology, and noting that it was based on “a ‘comparative analysis method’”).
17 See Daveed Gartenstein-Ross & Jacob Zenn, “Terrorists, Insurgents, Something Else?: Clarifying and Classifying the

‘Generational Challenge,’” Lawfare, January 15, 2017.

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Structures, several common factors should be analyzed across the range of VNSAs. These factors
include:

     • leadership,
     • ideology,
     • group goals,
     • strategy,
     • organizational structure,
     • recruiting, and
     • financial support.18

The comparative analysis method allows me to compare information and conclusions among sets of
sources. Based on this method, I can make two determinations with a high degree of confidence: (1)
I can make a probabilistic determination of whether a given fact about a VNSA is true, and (2)
independent of whether that fact is true, I can make a probabilistic determination about whether
insiders within that VNSA believe the fact to be true.

My academic and professional work has further explored and defined the best practices for analyzing
and understanding each of these aspects of VNSAs. One best practice I employ is relying mainly on
primary-source information, including statements and social media postings by VNSAs and their
supporters, and the intercepted internal documents of these organizations (e.g., documents that U.S.
forces recovered in a raid, and that the U.S. Government subsequently publicly released). These are
documents commonly relied upon by experts. I cross-check all primary sources I read against other
primary-source information, against information about events on the ground in relevant theaters, and
against relevant secondary-source literature that allows me to determine whether my conclusions are
consistent with those of other scholars and practitioners.

Though I generally rely on primary sources, many secondary sources also serve useful purposes. First,
secondary sources can provide valuable historical information, adding rich context. Second, some
secondary sources do a strong job of synthesizing large amounts of information. Third, some
secondary sources contain the intrepid work of journalists who pursue leads and uncover new, original
information. All secondary sources deserve scrutiny, but for this report I was able to cross-check all
the secondary sources I utilized for claims that are material to my conclusions against primary sources,
other secondary sources, and on-the-ground events before deciding to rely on any single secondary
source, in addition to assessing the reputation and reliability of the author.

Another best practice I have adopted to complement the comparative analysis method is employing
a system of evaluating my own analytic conclusions adapted from Superforecasting, a book by Philip
Tetlock, who is an Annenberg University Professor at the University of Pennsylvania. 19 Evaluating
my own conclusions critically enables me to further ensure the accuracy of my corpus of work.

Attributing Relevant Attacks
With a foundation of the analytical framework detailed above, I structure my attributions by first

18 Discussed in Daveed Gartenstein-Ross, “Violent Non-State Actors: Paradigmatic Lessons Learned,” in National Security

Management in Federal Structures: Perspectives from India and the United States (Kochi, India: Centre for Public Policy Research,
2014).
19 Philip E. Tetlock & Dan Gardner, Superforecasting: The Art and Science of Prediction (New York: Random House, 2015).


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describing the attack, providing my ultimate assessment of which group was responsible for the attack,
and then providing analysis supporting my assessment of responsibility. My assessment of
responsibility includes analysis of the following factors:

        the geography and time period of the attack,
        the tactics, techniques, and procedures (TTPs) used in the attack,
        when relevant, U.S. Government reporting or analysis on the attack,
        when relevant analysis of any claims of responsibility for the attack.

I now briefly discuss the factors analyzed in my attack attributions.

Attack Description. In describing the attack, I identify the victim(s), the timeline of the attack, and all
relevant details, drawing primarily from U.S. Government documents describing the attack. It is not
uncommon for military servicemembers involved in these attacks to receive promotions, either
posthumously or after the attack occurred. In some cases, these rank changes are made after
Government materials describing the attack have been produced. As such, the rank of individual
victims or witnesses in this report may not reflect the rank they currently hold. When available, I have
made citations noting a rank change.20 The inclusion of these sources allows me to draw on all primary
source documents available and contributes to my assessment of VNSAs responsibility.

Attack Geography. I seek to determine the militant groups that were most prominent in the geography
of the attack at the time that it occurred. Militant groups’ presence can be indicated by U.S.
Government reporting, open-source reporting (including press accounts), and scholarly and academic
works. Of particular importance is the concept of area of operations dominance. If a militant group had an
overwhelming presence in that time and space, such that it was more likely than other militant
organizations to be able to execute attacks there, I assess that this group maintained area of operations
dominance. When a group enjoys area of operations dominance in a certain time and space, it means
that group is more likely than others to be responsible for any given attack in that time and space,
after which I can examine other factors (e.g., TTPs, claims of responsibility, and U.S. Government
reporting) that can either further underscore or else refute the likelihood of that group’s culpability.

Tactics, Techniques, and Procedures. I seek to determine whether the tactics, techniques, and procedures
executed in the attack align with the TTPs common to specific groups that were active in that
geography at the time of the attack. The TTPs employed in attacks that I examine in this report include
IED attacks; suicide bombings; complex attacks; small arms, rocket propelled grenade (RPG), and
anti-aircraft attacks; and indirect fire attacks. At the end of this section, I provide a short discussion
of these categories of TTPs.

Claims of Responsibility. Militant organizations sometimes release public claims of responsibility for
attacks. If one exists for an attack I am examining, I assess whether the claim of responsibility is
authentic and credible. If I find that a claim of responsibility is authentic and credible, it increases the
likelihood that the group claiming responsibility carried out the attack (and sometimes can be
determinative, if the claim of responsibility contains visual images or other material that only the
responsibility party would be able to access).

20 A discrepancy between rank held at the time of the attack and the rank that a victim or witness currently holds obviously

does not have a bearing on my overall analysis of an attack nor my ability to make an attribution of the responsible actor.

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U.S. Government Reporting. Unclassified or declassified U.S. Government reporting indicating attack
responsibility is occasionally available. If this material is available, it assists in my assessment of
attributing responsibility for the attack.

Attribution Probabilities. In my analysis, I identify whether a militant group is likely or very likely
responsible for the attack. A determination that a specific militant group is considered more likely
than not to have committed a particular attack is based on the presence of significant but inferential
evidence. One example of the kind of evidence that would support an attribution with a confidence
level of likely is if the attack occurred within a group’s geographic area of operations dominance, was
executed with TTPs generally associated with the group, and aligns with the group’s motivations (e.g.,
the target of attack matched the kind of targets that the group typically selected).

The determination that a specific militant group is very likely responsible for an attack is made when
the aforementioned factors exist alongside indicators of responsibility that make it appear that, rather
than merely meeting a preponderance of evidence threshold, the group’s responsibility can be determined
with a probability that would satisfy an evidentiary threshold like clear and convincing. Factors that can
result in my finding of a very likely attribution probability include the following:

        overwhelming area of operations dominance by a specific group (e.g., if 85 to 90% of the
         attacks in a certain geography were attributable to it in that period);
        an authentic and credible claim of responsibility;
        U.S. Government reporting that conclusively attributes responsibility for the attack to a
         specific group;
        captured operatives who explain the group for which they carried out the attack;
        documents produced by the group that are later intercepted demonstrating its responsibility
         for the attack;
        expert consensus on the group responsible for a given attack.

A very likely determination may also be based on multiple layers of inferential evidence that together
paint an overwhelmingly compelling picture. This could include, for example, a group’s area of
operations dominance and the attack’s alignment with the group’s TTPs and the group’s
contemporaneous announcement of a campaign targeting Coalition forces in the same timeframe and
geography as the attack.

TTP Categories. Improvised explosive device (IED) attacks account for the majority of attacks at issue
in this report. In IED attacks, the bomb’s targets are killed or injured when an improvised explosive
device detonates. IEDs are typically composed of homemade explosives or repurposed military grade
explosives (such as mortar shells) contained within a purpose-built or repurposed container (such as
oxygen tanks).21 IEDs can be command-detonated by remote or proximate triggers, or alternatively
can be detonated by the victim via pressure switches (referred to as victim-operated IEDs, or
VOIEDs). IEDs may be embedded in or emplaced on roads, walls, vehicles, and structures. The
successful use of IEDs requires expertise in bomb design (including selecting the explosive type and

21   United Nations Office on Drugs and Crime, “Conventional                  Terrorist   Weapons,”   n.d.,
https://www.unodc.org/images/odccp/terrorism_weapons_conventional.html.


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trigger mechanism). IED emplacement also requires training or expertise, as well as presence by the
militant organization emplacing the IEDs.22 As Jessica Lewis, then the research director at the Institute
for the Study of War, has noted, “VBIEDs require an extensive planning and logistical structure.” 23
Sub-categories of IEDs include vehicle-borne IEDs (VBIEDs) and house-borne IEDs, as well as
shaped charge IEDs and explosively formed penetrators (EFPs). Shaped charge IEDs and EFPs can
be emplaced in a variety of locations, and are differentiated from other IEDs by specially shaped
container components that direct or amplify the explosion. Building EFPs and shaped charge IEDs
requires additional specialized training beyond that needed to produce more typical IEDs. 24

Suicide bombings involve individuals’ purposeful commitment of suicide by command-detonating
explosives while they are proximate to their target, generally on foot or in a vehicle. On foot, suicide
bombers typically wear suicide vest IEDs (SVIEDs). In a suicide vehicle-borne IED (SVBIED) attack,
the attackers strike their target in an explosives-laden vehicle. Suicide bombings may, but do not
always, involve IEDs; in some suicide bombings, the explosives are military-grade explosives rather
than improvised explosives). Much like IED attacks, suicide attacks require both expertise and also
operational presence. Suicide bombings typically require a significant amount of planning and support,
including vetting and training the suicide bomber and scouting the attack location or route. 25

Complex attacks involve the use of multiple types of weapons in the same attack, and are either
previously coordinated engagements by multiple attackers or opportunistic employment of multiple
weapon types.26 Complex attacks can begin with what is called an “event-based trigger”—such as
initial detonation of an IED that is then followed by small arms fire. Alternatively, a complex attack
can proceed with no event-based trigger, instead involving multiple weapons from the outset (e.g.,
coincident engagement with small arms and RPGs, followed by remote detonation of nearby IEDs).
Complex attacks require access to multiple weapon types, training in their use, deep familiarity with




22 Kimberly Kagan, May 2006 – August 20, 2007 Iran’s Proxy War against the United States and the Iraqi Government, (Washington,

DC:         Institute        for        the        Study     of      War,       August        29,     2007),     p.     7,
https://www.understandingwar.org/sites/default/files/reports/IraqReport06.pdf.
23 Jessica Lewis, “Al-Qaeda in Iraq Resurgent, The Breaking the Walls Campaign, Part 1,” September 2013, Institute for

the Study of War, https://www.understandingwar.org/sites/default/files/AQI-Resurgent-10Sept_0.pdf; Kagan, Iran’s
Proxy War, p. 7.
24 Marisa Cochrane, “Backgrounder #26 Iran and Al-Qaeda in Iraq: What’s the Connection?,” Institute for the Study of

War, March 2008, p. 4, https://www.understandingwar.org/sites/default/files/reports/Iran%20and%20Al-
Qaeda%20in%20Iraq.pdf; See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 at *4 (D.D.C., Jan. 17,
2023) (“Iran also provided training and weapons to all of these proxies [Asa’ib Ahl Al-Haq, Special Groups, Kata’ib
Hezbollah, AQI, Badr Corps] […] In terms of weapons, Iran primarily provided explosively formed penetrators (EFPs),
improvised explosive devices (IEDs), mortars, and rocket-propelled grenades (RPGs), plus training on how to use
them.”).
25 Royal United Services Institute for Defence and Security Studies, “Countering Suicide Bombing – Part II,” November

14, 2007, https://rusi.org/publication/countering-suicide-bombing-part-ii.
26 Cabrera v. Islamic Republic of Iran, Civil Action No. 19-3835 (JDB), D.D.C., July 19, 2022, p. 33.

(“a complex attack requires the presence of ‘multiple units coordinated to achieve a single objective, multiple weapons
with phased operations, or sophisticated maneuvers.’”)


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the local area, and coordinated planning or consistent communications.27 Iran is known to have
provided certain Iraq-based militant groups with specific training in coordinated attacks. 28

Small arms attacks (including handguns, sniper rifles, and machine guns), and RPG and anti-aircraft
attacks generally involve an attacker firing at a target with line-of-sight visibility. 29 The intent of such
fire is generally to kill or injure, but these TTPs have also been employed to deter an enemy’s
activities—including deterring the movement of targets or evacuation forces. Anti-aircraft attacks
involve the engagement of aircraft. Weapons employed in such attacks can include small arms, RPGs,
anti-aircraft guns/artillery, and surface-to-air missiles. This Court’s previous opinion in Roth v. Islamic
Republic of Iran illuminates the training required to successfully employ RPGs, while the U.S. Treasury
Department has identified training that the Iranian Revolutionary Guards Corps’ Quds Force
provided to Iraq-based militants in “light arms, marksmanship, planting improvised explosive devices
(IEDs), and firing anti-aircraft missiles.” 30

Indirect fire attacks involve weapons that do not require line-of-sight to targets, including rockets and
artillery or mortar fire. Though these attacks do not require line-of-sight, they do require a known
target location and weapons training to be accurate. In the summer of 2007, Lt. Gen. Raymond
Odierno, the commander of Multi-National Fore – Iraq, noted “an increased flow of (Iranian-
provided) training to mortar teams and rocket teams” of Shia militant groups in Baghdad in summer
2007; this Court also found that Iran trained Sunni and Shia militant groups in employing mortars in
its Roth opinion (along with providing mortars to the groups that Iran trained). 31

Limiting Principles
I conclude that Iran is causally connected to all the attacks that ultimately appear in my report. This
does not mean that I concluded that Iran was causally connected to all of the attacks that the Plaintiffs
presented to me. The attacks that appear in this report are a subset of a larger set of cases presented
that the Plaintiffs presented to me. I informed the Plaintiffs that several attacks I was asked to analyze
could not in fact be connected to Iran, and hence the Plaintiffs did not present those attacks to this
Court.

In making assessments of responsibility, I considered the likelihood that any VNSAs present in a given
region could have been responsible for the attack. Before moving on to a discussion of attacks that I
would not find to be attributable to Iranian support, it is worth briefly discussing Shia militant groups.
Shia militant groups were present in some of the geographies where I have been asked to attribute

27 Dr. William (Bill) Knarr et al., Al Sahawa—The Awakening Volume I: Al Anbar Province Final Report, (Alexandria, VA:

Institute for Defense Analysis, July 2015) p. 78, https://www.ida.org/-/media/feature/publications/a/al/al-sahawa-the-
awakening-volume-i-al-anbar-province-final-report/p-5100.ashx.
28 Col. Joel D. Rayburn & Col. Frank K. Sobchak eds., The U.S. Army in the Iraq War: Volume 1 Invasion - Insurgency - Civil

War 2003-2006 (Strategic Studies Institute and U.S. Army War College Press, 2019), pp. 433, 572.
29 United Nations Office on Drugs and Crime, Conventional Terrorist Weapons.
30 See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 at *3, *5, *19, V. (D.D.C., Jan. 17, 2023); U.S.

Department of the Treasury, press release, “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency,” January 9,
2008, https://www.treasury.gov/press-center/press-releases/pages/hp759.aspx.
31 “Department of Defense Special Briefing with Lt. Gen. Odierno from the Pentagon Briefing Room, Arlington, Va.,

June 22, 2007,” Global Security, n.d., https://www.globalsecurity.org/military/library/news/2007/06/mil-070622-
dod01.htm; See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 at *4 (D.D.C., Jan. 17, 2023) (“Iran also
provided training and weapons to all of these proxies [Asa’ib Ahl Al-Haq, Special Groups, Kata’ib Hezbollah, AQI, Badr
Corps] […] In terms of weapons, Iran primarily provided explosively formed penetrators (EFPs), improvised explosive
devices (IEDs), mortars, and rocket-propelled grenades (RPGs), plus training on how to use them.”).

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attacks. While I ultimately concluded that Sunni militant groups (either the Zarqawi organization or
AAI/AAS) were more likely to have conducted all of the attacks that are analyzed in this report, it is
worth noting that many Shia groups also received significant material support from Iran. Therefore,
the possibility that a Shia militant group may have been involved in one of the attacks analyzed in this
report would not necessarily change my baseline assessment of Iranian culpability. To provide additional
context about Shia groups, I have included a short appendix to this report discussing Iran’s support
for Shia militant groups in Iraq.

I now will detail how I played a limiting function in this case by identifying attacks to which Iran does
not have a causal connection.

Characteristics of Non-Attributable Attacks. Here I will explain the limiting function served by indicating
what kind of attacks, in my expert opinion, are unlikely to be attributable to Iranian-linked groups.
This discussion is informed by attacks that I excluded from this report because they did not bear a
sufficient nexus to Iran to give rise to a reasonable causal connection.

In the case of some non-attributable attacks, groups unaffiliated with Iran were likely responsible for
the attacks. Many of these attacks occurred in the 2003-2005 timeframe, when Iranian material
support to VNSAs in Iraq was less prominent than it would later become. For example, in two 2003
attacks I reviewed—one in Anbar Province and one in Saladin Province—the groups likely
responsible lacked substantial ties to Iran. The groups likely responsible for these attacks were a
Ba’athist group (Fedayeen Saddam) and a small militant group with heavily localized presence (a Sunni
militant group called Jaysh Muhammad). Though many Fedayeen Saddam fighters would later join
Iranian-affiliated groups like the Zarqawi organization, at the time of the attack the responsible groups
were unaffiliated with larger militant groups that possessed connections to Iran.

In other attacks where I did not find a sufficient connection to Iran, I assessed the evidence to be
insufficient to make an attribution to a specific group. These unattributable attacks occurred in times
and geographies where multiple groups unaffiliated with Iran were present, and no single group held
area of operations dominance. For example, in the border region of Al Anbar Province in early 2004,
the criminal group Al Theeb was the most prominent local organization that was able to exercise
power through the use of force. Al Theeb was neither affiliated with militant groups nor with Iran. Al
Theeb’s strength in 2004 made it difficult for other militant or criminal groups to establish area of
operations dominance or execute routine operations in that geography.

Based on my knowledge, experience, training, and education, and based on a comprehensive review
of relevant primary and secondary source materials using the comparative analysis method, my expert
opinion on the responsibility for the attacks that the Plaintiffs asked me to analyze follows.

IV.     Al Anbar Province

Overview of Al Anbar Province
Plaintiffs have asked me to assess five American casualties in Al Anbar Province from 2005 to 2007.
Most of these casualties occurred in 2007, when the U.S. surged forces to combat VNSA activities
across Iraq, including in Al Anbar. VNSAs active in Al Anbar during the time of the attacks at issue
include the Zarqawi organization, AAS/AAI, Ba’athist groups, and to a lesser extent Jaysh al-Mahdi
(JAM), and the Badr Corps. Anbar Province was, in particular, a major hub of operations for the
Zarqawi organization. Over the course of the Iraq War, the organization managed to enjoy area of
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operations dominance over several cities across the province, and at times over the province as a
whole. While other Sunni militant and Ba’athist groups operated in the province, these groups often
acted in coordination with—if not in subordination to—the Zarqawi organization.

The province also had some limited activity by Shia militia groups. While JAM and the Badr Corps
maintained a limited presence, the Sunni majority made the province largely unconducive to Shia
militant activity.

Below I provide a summary of the war in Al Anbar, including overviews of Coalition operations and
VNSA activities. These summaries are intended to provide context and background for the attacks
that the Plaintiffs have asked me to assess.

Al Anbar’s Geography and Population




                                                                          Figure 2: Al Anbar Province




                  Figure 1: Map of Iraq 32

Al Anbar is a province in western Iraq, west of the capital of Baghdad. Al Anbar Province is bordered
by Nineveh and Saladin Provinces to the north; Baghdad, Babil, and Karbala Provinces to the east;
and Najaf Province to the southeast. Al Anbar also sits on three international borders: Iraq’s border


32 Map of Iraq, Map No. 3835   Rev. 6. United Nations Department of Field Support, Cartographic Section, 2014,
https://www.un.org/geospatial/content/iraq.

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with Syria along most of its northwest, Iraq’s border with Jordan to the west, and Iraq’s border with
Saudi Arabia to the southwest.

Al Anbar Province has a harsh climate but is rich in natural resources.33 The Euphrates River crosses
through seven of Al Anbar Province’s eight districts, entering at Al Qaim City near the Iraqi-Syrian
border. The province’s climate is arid and predominantly desert, with the Euphrates River providing
the primary source of water for the province’s inhabitants. 34 Its harsh climate notwithstanding, Al
Anbar Province’s wealth of natural resources make it a strategically important region.

Al Anbar is Iraq’s largest province. At 138,579 square kilometers, it constitutes 32% of the total area
of the country.35 The province is divided into seven districts: Al Qaim District, Anah District, Haditha
District, Hit District, Ramadi District, Fallujah District, and Al Rutba District. 36 The provincial capital
is Ramadi City, located in the eponymous district. Ramadi City and Fallujah City are the province’s
largest by population, standing at approximately 181,264 and 203,451 respectively. 37 Most of the
province’s population is concentrated in major cities: Al-Qaim, Rawah, Haditha, Hit, Ramadi,
Habbaniyah, and Fallujah. The remainder of the populace inhabits settlements short distances from
the Euphrates River, which snakes from Baghdad to the Syrian-Iraqi border near Al Qaim.

The last comprehensive Iraqi national census took place over thirty years ago, and the 1957 census is
considered the last reliable census. Precise demographics for Iraq are thus elusive.38 Population
estimates for Al Anbar Province vary widely. The Iraqi Ministry of Trade estimated the population at
2,432,717 in 1999; the U.N. estimated 2,328,775 in 2004; the Iraqi government estimated 3,460,130 in
2005, and the European Union Agency for Asylum estimated 1,818,318 in 2019. 39

The province’s population is composed predominantly of Sunni Arabs, who form up to 95% of the
inhabitants.40 Al Anbar Province constitutes one of the few true Sunni strongholds in Iraq and, prior
to the U.S. invasion, the province “had long provided Saddam Hussein with the support he needed to
remain in power.”41 Al Anbar’s small Shia population dwindled between 2003 and 2006, as many



33    NGO Coordination Committee for Iraq, “Anbar: NCCI Governorate Profile,” n.d., p. 1,
https://www.ncciraq.org/images/infobygov/NCCI_Anbar_Governorate_Profile.pdf.
34 Ibid.
35         “About            Al-Anbar              Governorate,”            University     of          Al-Anbar,        n.d.,
https://www.uoanbar.edu.iq/English/CMS.php?ID=7#Administ.
36 Some sources consider the Abu Ghraib District, which resides on the border of Al Anbar and Baghdad provinces, to

be Al Anbar’s eighth district. This report considers the Abu Ghraib district to be part of Baghdad Province.
37 I employ 2009 population estimates rather than estimates made closer to the time that I wrote this report in order to

better reflect population dynamics around the time of the events at issue in this case. See City Population, “Iraq – Republic
of Iraq,” n.d., https://www.citypopulation.de/en/iraq/cities/.
38 Turkey and the Iraqi Kurds: Conflict or Cooperation (International Crisis Group, November 13, 2008), p. 16.
39 University of Al-Anbar, “About Al-Anbar Governorate.”; European Union Agency for Asylum, “Anbar,” January 2021,

https://euaa.europa.eu/country-guidance-iraq-2021/anbar.
40 European Union Agency for Asylum, “Anbar,” January 2021, https://euaa.europa.eu/country-guidance-iraq-

2021/anbar; Inna Rudolf, “The Sunnis of Iraq’s ‘Shia’ Paramilitary Powerhouse,” The Century Foundation, February 13,
2020, https://tcf.org/content/report/sunnis-iraqs-shia-paramilitary-powerhouse/.
41 “Western Iraq,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/western-iraq; Colonel

David T. Waters, Marine Forces Reserve Operational History – Global War on Terror (2004 – 2007) (Marine Forces Reserve,
2009), p. 10, https://www.marforres.marines.mil/Portals/116/Docs/CmdDeck/GWOT%202004-2007.pdf.


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Anbari Shia fled to Baghdad, fearing sectarian violence in the overwhelmingly Sunni Anbar Province. 42
The lack of a large Shia population prevented the sustainment of notable Shia militant operations in
the province. Much of the popular support Saddam enjoyed was based on his government’s provision
of employment for Anbari Sunnis, either directly or via connections to smuggling and black-market
activities run by Saddam’s family or the regime.43 The 2003 U.S. invasion of Iraq and removal of
Saddam brought an end to the privilege that Anbari Sunnis enjoyed under his regime, producing a
provincial power vacuum.44

The new Iraqi government established following Saddam’s ouster was a majority Shia government,
and many Sunnis—including many in Al Anbar—felt that it discriminated against them. 45 Sectarian
tensions thus flared across Iraq, exacerbated by reports of violence against Sunni Muslims. Faced with
these circumstances, many Anbari Sunnis initially supported the Zarqawi organization for various
reasons, including looking to that group for protection.46 These dynamics made the province an
important base of operations for the Zarqawi organization in the early days of Operation Iraqi
Freedom, as well as an important base of operations for other militant groups. 47

From 2003 to 2007, Al Anbar Province functioned as the primary stronghold for Sunni militant
groups.48 During this period, several cities in Al Anbar Province served as crucial points in the network
that facilitated the movement of foreign fighters entering from Syria, especially for the Zarqawi
organization.49 Militants also used the Euphrates River Valley to store weapons and provisions, which
were subsequently utilized in attacks in Baghdad and elsewhere.50

In 2005, Al Anbar Province became the starting point of a Sunni uprising of another kind—the Al
Anbar Awakening, also called the Sunni Awakening (Sahwa in Arabic).51 The Awakening was a diffuse
movement of Sunni tribes that, frustrated with the Zarqawi organization’s brutal excesses, allied with
the United States against the Zarqawi organization. In Anbar, the Zarqawi organization had become
the “dominant organization of influence” by August 2006. 52 Attacks on civilians increased by 57

42 “Chapter Six: AQI Dominates the Insurgency,” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June 13,

2007), p. 42, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
43 “Chapter Three: Anbar Insurgency: The Seeds are Planted – the Formation and Motivating Factors,” in Study of the

Insurgency in Anbar Province, Iraq (CENTCOM, June 13, 2007), pp. 8, 9, https://ahec.armywarcollege.edu/CENTCOM-
IRAQ-papers/0989.%20chapter3.pdf.
44 Ibid., p. 9.
45 Colonel David T. Waters, Marine Forces Reserve Operational History – Global War on Terror (2004 – 2007), (Marine Forces

Reserve, 2009), p. 10, https://www.marforres.marines.mil/Portals/116/Docs/CmdDeck/GWOT%202004-2007.pdf;
“Al-Qaeda in Anbar: Why Iraq’s Sunni-Shia Conflict Isn’t Over,” Harvard Political Review, January 24, 2014,
https://harvardpolitics.com/al-qaeda-anbar-iraqs-sunni-shia-conflict-isnt/.
46 Waters, Marine Forces Reserve Operational History.
47 “Al-Qaeda in Anbar: Why Iraq’s Sunni-Shia Conflict Isn’t Over,” Harvard Political Review, January 24, 2014,

https://harvardpolitics.com/al-qaeda-anbar-iraqs-sunni-shia-conflict-isnt/; “Chapter Four: The Insurgency Grows and
Fights Pitched Battles,” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June 13, 2007), pp. 27, 28,
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1000.%20Chapter%204.pdf.
48 “Western Iraq,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/western-iraq.
49 Ibid.
50 Ibid.
51 Timothy McWilliams & Kurtis Wheeler, Al-Anbar Awakening Volume I: American Perspectives U.S. Marines and

Counterinsurgency in Iraq, 2004-2009, (Quantico, VA: Marine Corps University Press, 2009), p. 19,
https://www.hqmc.marines.mil/Portals/61/Docs/Al-AnbarAwakeningVolI%5B1%5D.pdf.
52 Colonel Peter Devlin, “State of the Insurgency in al Anbar,” Intelligence Assessment, August 17, 2006, p. 2.




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percent between February and August of that year. The Zarqawi organization carried out a “heavy-
handed, indiscriminate murder and intimidation campaign” in Anbar’s capital of Ramadi, a situation
that the Sunni tribes ultimately could no longer tolerate. 53

In the official history of the Anbar Awakening published by the U.S. Marine Corps—which compiles
oral testimony from American and Iraqi perspectives—the head of an Iraqi women’s NGO known
pseudonymously as “Miriam” recalls the Zarqawi organization committing “the ugliest torture” to
intimidate the population. If that didn’t work, the Zarqawi organization would slaughter people,
sometimes decapitating them.54 The Zarqawi organization also alienated the population through its
totalitarian religious governance.55

As dissent grew amongst Anbaris, it solidified into resistance, and the Sunni Awakening was born. 56
The Sahwa became a potent force in the province and eventually spread throughout Iraq. 57

Coalition Operations in Al Anbar Province
Following the U.S. invasion of Iraq, Coalition forces conducted consistent operations in Anbar
Province. One of the first was Operation Spartan Scorpion, launched in mid-June 2003 in Fallujah
and the surrounding area with the goal of removing remaining Ba’ath Party and paramilitary forces
from the region.58 This operation failed to stop the insurgency from escalating. 59

The First Battle of Fallujah, codenamed Operation Vigilant Resolve, then occurred between April 4,
2004 and May 1, 2004.60 The battle was accompanied by Coalition operations in surrounding cities,
including Ramadi.61 Operation Vigilant Resolve, largely designed as a response to a string of Zarqawi
organization attacks targeting U.S. soldiers and contractors, was conducted by U.S. Marines and
Coalition forces against an array of Sunni militant and Saddam loyalist forces. 62 Some Shia militias,

53 Niel Smith & Sean MacFarland, “Anbar Awakens: The Tipping Point,” Military Review, March/April 2008.
54 Gary W. Montgomery & Timothy S. McWilliams, Al Anbar Awakening, Volume. 2, Iraqi Perspectives; From Insurgency to

Counterinsurgency in Iraq, 2004-2009, (Quantico, VA: Marine Corps University Press, 2009), p. 20.
55 “Forbidden Pleasures Return to Mosul as al Qaeda Melts Away,” Agence France-Presse, May 24, 2008.
56 Dr. William Knarr et al., Al Sahawa—The Awakening Volume III-A: Al Anbar Province, Western Euphrates River Valley, Area

of Operations Denver—Al Qaim, (Alexandria, VA: Institute for Defense Analysis, November 2015) pp. 5, 18,
https://apps.dtic.mil/sti/tr/pdf/AD1013976.pdf.
57 Inna Rudolf, “The Sunnis of Iraq’s ‘Shia’ Paramilitary Powerhouse,” The Century Foundation, February 13, 2020,

https://tcf.org/content/report/sunnis-iraqs-shia-paramilitary-powerhouse/.
58 “Chapter Three: Anbar Insurgency: The Seeds are Planted – the Formation and Motivating Factors,” in Study of the

Insurgency in Anbar Province, Iraq (CENTCOM, June 13, 2007), p. 31, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/0989.%20chapter3.pdf.
59 Ibid.
60 “Chapter Four: The Insurgency Grows and Fights Pitched Battles,” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,            June       13,      2007),    pp.    18-24,    https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf;                 “Operation Vigilant Resolve,” Global Security, April 5, 2004,
https://www.globalsecurity.org/military/ops/oif-vigilant-resolve.htm; Master Sgt. John. Jackson, “Operation Vigilant
Resolve,” Official United States Marine Corps Public Website, April 4, 2023, https://www.marines.mil/News/News-
Display/Article/3350301/operation-vigilant-resolve/.
61 Jim Michaels, “The Magnificent Bastards Look Back on a Key Iraq Battle,” USA Today, April 9, 2014,

https://www.usatoday.com/story/nation/2014/04/09/iraq-ramadi-al-qaeda-bastards/7476343/; “Coalition Forces
Under               Fire              in           Ramadi,”           CNN,            April           6,             2004,
https://www.cnn.com/2004/WORLD/meast/04/06/iraq.main/index.html.
62 “Chapter Four: The Insurgency Grows and Fights Pitched Battles,” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,             June        13,      2007),     p.    19,     https://ahec.armywarcollege.edu/CENTCOM-IRAQ-


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including Jaysh al-Mahdi (JAM), also traveled to Fallujah at this time to reinforce the predominantly
Sunni militants in the city.63

Marines and Coalition forces unilaterally suspended combat in Fallujah on April 9, 2004 after political
pressure rose around the number of civilian casualties, the Ahu Ghraib prisoner abuse scandal, and
increasing militant attacks elsewhere in Anbar Province.64 Though Coalition forces killed hundreds of
militants in Operation Vigilant Resolve, Fallujah was still considered to be firmly in militant hands as
the operation ended with a whimper.65 On May 1, the Marines pulled out of the city, officially ending
the First Battle of Fallujah.

Militant groups flourished in Fallujah in the months that followed. The Zarqawi organization, then
known as Jamaat al-Tawhid wal-Jihad, used the city as its key base of operations. 66 But the Zarqawi
organization’s presence in Fallujah and the growing threat that it posed to Iraqi elections prompted
Coalition forces and the Iraqi government to initiate another operation designed to retake the city. 67

The Second Battle of Fallujah, codenamed both Operation Phantom Fury and Operation al-Fajr,
began on November 7, 2004, and lasted roughly six weeks.68 Coalition and Iraqi forces confronted
4,000 insurgent fighters, including the Zarqawi organization and up to 350 JAM fighters. 69 While
Coalition forces were able to displace militant groups from strongholds in the city by November 12,
sporadic fighting continued until late December 2004. 70 Coalition and Iraqi forces killed some 1,500


papers/1000.%20Chapter%204.pdf; Cpl. Sara Luna, “Things You (Probably) Didn’t Know About Operation Al-Fajr,”
United States Marine Corps Official Website, November 7, 2014, https://www.marines.mil/News/News-
Display/article/553975/things-you-probably-didnt-know-about-operation-al-fajr/; Marine Corps Base Camp Pendleton,
“OIF        II    –      Feb     2004-today,”     United        State     Marine       Corps      Official    Website,    n.d.,
https://web.archive.org/web/20080120004930/http://www.cpp.usmc.mil/press/kit/OIFII.asp?http://www.cpp.usmc
.mil/press/kit/OIFII.asp.
63 “Chapter Four: The Insurgency Grows and Fights Pitched Battles,” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,            June    13,    2007),    pp.     22,      47,     https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.
64 Ibid., pp. 22-23.
65 John Spencer & Jayson Geroux, “Urban Warfare Case Study Series – Case Study #6 – Fallujah I,” Modern War Institute

at West Point, February 26, 2022, https://mwi.westpoint.edu/urban-warfare-case-study-6-first-battle-of-fallujah/;
Michael Evans, City Without Joy: Urban Military Operations Into the 21st Century (Australian Defense College Occasional Series,
October 2007), p. 17; Marine Corps Base Camp Pendleton, “OIF II – Feb 2004-today,” n.d.,
https://web.archive.org/web/20080120004930/http://www.cpp.usmc.mil/press/kit/OIFII.asp?http://www.cpp.usmc
.mil/press/kit/OIFII.asp.
66    Brian      Ross,     “Tracking    Abu      Musab       Al-Zarqawi,”         ABC      News,    September      24,   2004,
https://abcnews.go.com/WNT/Investigation/story?id=131414.
67      Marine        Corps     Base     Camp        Pendleton,        “OIF        II     –      Feb      2004-today,”    n.d.,
https://web.archive.org/web/20080120004930/http://www.cpp.usmc.mil/press/kit/OIFII.asp?http://www.cpp.usmc
.mil/press/kit/OIFII.asp.
68 “Chapter Four: The Insurgency Grows and Fights Pitched Battles,” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,             June    13,     2007),     pp.      44-45,       https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.
69 Ibid., pp. 47-48. As detailed in my Expert Report & Declaration on Sunni Militant Organizations, the Zarqawi organization

has undergone several name changes since the group’s inception in 1993. In October 2004, the Zarqawi organization
underwent one such a change when the group formally pledged baya (allegiance) to al-Qaeda, changing its name from
Jamaat al-Tawhid wal-Jihad (JTJ) to Tanzim Qa’idat al-Jihad fi Bilad al-Rafidayn (al-Qaeda in Iraq, or AQI).
70 “Chapter Four: The Insurgency Grows and Fights Pitched Battles,” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM, June 13, 2007), pp. 44-45.


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militants and captured an equal number in the battle. The Second Battle of Fallujah, which proved to
be the bloodiest operation of the American effort in Iraq, was ultimately considered to be a success,
in the sense that Coalition forces wrested the city from militant groups’ clutches. 71

The Coalition’s success in securing Fallujah pushed militant groups to other parts of Anbar Province. 72
This shift, and the resulting rise in militant activities outside of Fallujah, prompted additional Coalition
operations throughout the province. Coalition forces launched Operation River Blitz (February 2005)
and Operation River Bridge (March 2005) to target insurgents from Iskandariya, Babil Province to Hit
and Haditha in western Anbar Province.73 Groups that these operations targeted included the Zarqawi
organization and AAS.74 These operations were followed by Operation Matador (May 7-14, 2005),
which was initiated “in response to the rise of AQI activity in western Anbar.” 75 Matador was followed
by Operation New Market (May 25-29, 2005), which aimed to end insurgent intimidation and maintain
Coalition pressure on militant groups in Haditha and those dispersed throughout Anbar. 76 However,
militant groups quickly returned to cleared areas after these operations concluded. 77

Similar Coalition operations continued in the second half of 2005. Coalition forces launched
Operation Spear (June 17-22, 2005) to target Zarqawi organization fighters and facilities in Karabilah,
a subdistrict in western Anbar Province on the Iraqi-Syrian border.78 Operation Sword (Sayf in Arabic)
was launched as a strategic successor to Operation Spear on June 28, 2005 in the Hit-Haditha
Corridor.79 Coalition forces then launched Operation Sayyad, a two-phase series of operations in
western Anbar Province from July to December 2005. 80 Operations Sayyad and Sayyad II aimed to


71 Michael Evans, “City Without Joy: Urban Military Operations Into the 21st Century,” Australian Defense College Occasional

Series,                         October                       2007,                             p.                        8,
https://web.archive.org/web/20180219015115/http://www.defence.gov.au/adc/publications/occasional/publcnsocca
sional_310310_citywithoutjoy.pdf.
72 Dr. William Knarr et al., Al Sahawa—The Awakening Volume III-A: Al Anbar Province, Western Euphrates River Valley, Area

of Operations Denver—Al Qaim, (Alexandria, VA: Institute for Defense Analysis, November 2015),
https://apps.dtic.mil/sti/tr/pdf/AD1013976.pdf; “Chapter Five: Anbar Insurgency Grows, Strengthens, Elections
(2005),” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June 13, 2007), p. 20,
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1002.%20chapter5.pdf.
73 “Operation RIVER BLITZ,” CENTCOM, n.d., p. 2, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-

papers/0725. MEF River Blitz 19feb.pdf.
74 “Chapter Five: Anbar Insurgency Grows, Strengthens, Elections (2005),” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,           June       13,     2007),     p.    20,      https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1002.%20chapter5.pdf.
75 “Operation Matador,” Global Security, n.d., https://www.globalsecurity.org/military/ops/oif-matador.htm; “Chapter

Five: Anbar Insurgency Grows, Strengthens, Elections (2005),” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM,
June 13, 2007), p. 50, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1002.%20chapter5.pdf.
76 “Chapter Five: Anbar Insurgency Grows, Strengthens, Elections (2005),” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,           June       13,     2007),     p.    57,      https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1002.%20chapter5.pdf.
77 Ibid., p. 81.
78 Ibid., p. 61.
 79 Blanca E. Binstock, “Operation Sword Begins in Hit-Haditha Corridor,” The Official Website of the United States

Marine Corps, June 30, 2005, https://www.2ndmardiv.marines.mil/News/Article/Article/514091/operation-sword-
begins-in-hit-haditha-corridor/.
80 Timothy S. McWilliams & Kurtis P. Wheeler, Al-Anbar Awakening: Volume 1 – American Perspectives, U.S.: Marines and

Counterinsurgency in Iraq 2004-2009, (Quantico, VA: Marine Corps University Press, 2009), p. 105,
https://www.hqmc.marines.mil/Portals/61/Docs/Al-AnbarAwakeningVolI%5B1%5D.pdf#page=123; Bill Roggio,


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drive the Zarqawi organization out of the Western Euphrates River Valley and targeted Zarqawi
organization insurgents in cities such as al Qaim, Rawah, Haditha, Haqlaniyah, Barwana, Sadah, Hit,
Baghdadi, and Rutbah.81

During Sayyad II, U.S. forces and their partners managed to destroy some of the Zarqawi
organization’s major logistics networks, remove experienced leaders, and diminish the group’s ability
to influence the cities of western Anbar Province through murder and intimidation. 82 This degradation
of the Zarqawi organization’s capabilities and presence in the region enabled tribal leaders and other
local elites to reestablish influence over cities and villages in western Al Anbar. In part due to the
military operations’ success, 57,000 citizens were able to vote in the western part of the province in
the December 2005 elections.83 Coalition efforts in the area would continue in early 2006, with
Operation Red Bull and Operation Red Bull II targeting the Zarqawi organization in Haqlaniyah,
Barwanah, Senjick, Albu Hyatt, and Haditha.84 Despite multiple operations specifically targeting the
Zarqawi organization, the group was not yet “mortally wounded” in Anbar. 85

As Coalition forces secured former Sunni militant operational hubs in western Al Anbar, militia
fighters moved to Ramadi. The Zarqawi organization (now rechristened the Islamic State of Iraq, or
ISI) claimed Ramadi as its new operational center in 2006.86 Coalition forces thus launched a number
of operations targeting Zarqawi organization nodes in Ramadi, including Operation Valdez Revenge
(August 17-21, 2006), Operation Chokehold (September 2006), and Operation Tinian (November
2006).87 American forces continued to target remaining Zarqawi organization and other Sunni
militants in Ramadi, launching Operation Squeeze Play and Operation Hue City in December 2006. 88



“Operation         Steel     Curtain      in    Husaybah,”      Long      War      Journal,    November        5,     2005,
https://www.longwarjournal.org/archives/2005/11/operation_steel_1.php.
81 “Chapter Five: Anbar Insurgency Grows, Strengthens, Elections (2005),” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM, June 13,                   2007), pp. 107, 108,          https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1002.%20chapter5.pdf; Bill Roggio, “Operation Steel Curtain in Husaybah,” Long War Journal, November 5, 2005,
https://www.longwarjournal.org/archives/2005/11/operation_steel_1.php.
82 “Chapter Six: AQI Dominates the Insurgency,” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June 13,

2007), pp. 2, 3, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
83 Ibid.
84     “Operation        Red      Bull   II   [Image       9  of     9],”   DVIDS         Hub,      January   19,     2006,
https://www.dvidshub.net/image/17205/operation-red-bull-ii; “Chapter Six: AQI Dominates the Insurgency (2006),” in
Study      of   the    Insurgency    in   Anbar    Province, Iraq    (CENTCOM,          June     13, 2007),       p.   171,
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
85 Ibid., p. 2.
86 As detailed in my Expert Witness Report & Declaration on Sunni Militant Organizations, the Zarqawi organization has

undergone several name changes since the group’s inception in 1993. On October 15, 2006, MSC announced its
establishment of the Islamic State of Iraq (ISI). Andew Lubin, “Ramadi From Caliphate to Capitalism,” U.S. Naval Institute,
April 2008, https://www.usni.org/magazines/proceedings/2008/april/ramadi-caliphate-capitalism; “Ramadi, Iraq Claws
Back From Ravages of War,” NBC News, October 28, 2007, https://www.nbcnews.com/id/wbna21517052.
87 “Chapter Six: AQI Dominates the Insurgency (2006),” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June

13, 2007), pp. 109, 163, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
88 Multi-National Corps - Iraq Public Affairs Office, “Operation Squeeze Play Makes Ramadi Safer,” January 14, 2007,

https://web.archive.org/web/20070216225104/https://www.mnf-
iraq.com/index.php?option=com_content&task=view&id=9064&Itemid=128; “Chapter Six: AQI Dominates the
Insurgency (2006),” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June 13, 2007), p. 234,
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.


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Joint U.S. and Iraqi army operations focusing on western Anbar Province were also launched in the
fall and winter of 2006. Operation Qatiat Almaz (October 13-19, 2006) targeted the Zarqawi
organization in Anah.89 It was followed by Operation Majid (November 2006), which aimed to clear
the Zarqawi organization and affiliated militants out of Haditha and surrounding cities. 90 Such
operations continued through the winter of 2006.91

Coalition efforts to secure Ramadi against the Zarqawi organization continued in 2007. Operation
Murfreesboro (February 18-March 10, 2007) targeted Ramadi neighborhoods where the Zarqawi
organization was particularly entrenched.92 Murfreesboro was followed by two additional clearing
operations, Operation Okinawa (March 9-20, 2007) and Operation Call to Freedom (March 17-30,
2007), which “fragmented” the Zarqawi organization in Ramadi. 93 As Zarqawi organization fighters
fled Ramadi for surrounding cities and towns, the Coalition followed them. In June 2007, Coalition
forces launched Operation Alljah to target Zarqawi organization insurgents from Baghdad to Lake
Thar Thar.94 Alljah fell under the broader umbrella of Operation Phantom Thunder, which was
designed to “stop insurgents in the provinces from supporting violence in Baghdad” by disrupting “al
Qaeda’s terrorist bases and networks.”95

The Anbar Awakening. The Zarqawi organization’s hold on Anbar Province frayed largely due to the
organization’s brutal treatment the local population. As previously described, local dissent was
transformed into the Anbar Sunni Awakening. By September 2006, the Awakening had grown into a
relatively organized movement that began to coordinate with Coalition forces to counter the Zarqawi
organization.96 The province transformed from a militant hotbed to one of the quietest in Iraq.97 By
late 2007, the Zarqawi organization’s presence in Anbar was degraded but not entirely eliminated. 98

In November 2008, the United States transferred responsibility for the Sahwa organization to the
Shia-dominated central government in Baghdad, an act that many members of the Sahwa viewed as a

89 “Chapter Six: AQI Dominates the Insurgency (2006),” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June

13, 2007), p. 186, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
90 Ibid., p. 229.
91 “Additional Coalition Forces, Construction of Dirt ‘Berms’ Increase Security Conditions in Iraq’s Haditha Triad

Region,”       Multi-National        Corps       -   Iraq    Public  Affairs     Office,      December         15,     2006,
https://web.archive.org/web/20061219214355/https://www.mnf-
iraq.com/index.php?option=com_content&task=view&id=8130&Itemid=21.
92 Dr. William (Bill) Knarr et al., Al Sahawa—The Awakening Volume IV: Al Anbar Province, Area of Operations Topeka, Ramadi,

(Alexandria, VA: Institute for Defense Analysis, August 2016) p. 45, https://apps.dtic.mil/sti/pdfs/AD1020271.pdf.
93 Ibid.
94 Ibid.; Cpl. Joel Abshier, “2/6 Kicks Off Operation Alljah,” Marine Corps News, June 12, 2007; “Operation Phantom

Thunder,” Institute for the Study of War, n.d., https://www.understandingwar.org/operation/operation-phantom-
thunder.
95       “Operation       Phantom           Thunder,”     Institute   for     the       Study       of       War,       n.d.,
https://www.understandingwar.org/operation/operation-phantom-thunder.
96 Timothy McWilliams & Kurtis Wheeler, Al-Anbar Awakening Volume I: American Perspectives, (Quantico, VA: Marine

Corps University Press, 2009), p. 19; Alissa J. Rubin & Damien Cave, “In a Force for Iraqi Calm, Seeds of Conflict,” New
York Times, December 23, 2007.
97 Khalid Al-Ansary, “Iraq Sunni Group Accuses Tribes of Poll Incitement,” Reuters, February 3, 2009,

https://www.reuters.com/article/idUSL3215259.
98 Dr. William (Bill) Knarr et al., Al Sahawa—The Awakening Volume V: Al Anbar Province, Area of Operations Raleigh,

Fallujah, (Alexandria,     VA:         Institute   for     Defense    Analysis,    August         2016)       pp.     30-31,
https://apps.dtic.mil/sti/tr/pdf/AD1018512.pdf.


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betrayal.99 Iraq’s central government officially disbanded the Sahwa organization in 2009, which
reignited sectarian tensions between the overwhelmingly Sunni tribal militias who comprised the
Sahwa and the Shia-controlled central government in Baghdad.100

Sunni Militant Groups in Anbar Province
After Saddam’s removal, former regime elements (FREs), Sunni religious extremists (SREs) and the
Zarqawi organization “swiftly filled the power vacuum in Anbar.”101 In 2003 and 2004, “the line
between FRE and SRE became increasingly blurred,” and religious extremist militant groups –
especially the Zarqawi organization – were on the rise. 102 According to a declassified U.S. Central
Command (CENTCOM) report on the Zarqawi organization, Fallujah was a Zarqawi organization
stronghold months before the United States invaded Iraq in March 2003. 103 By September 2003, the
Zarqawi organization, then known as JTJ, was well established in Fallujah, recruiting members and
forming alliances with Ba’athist and tribal groups in the province. 104 In February 2004, the Coalition
began to describe the Zarqawi organization as the “primary terrorist threat to the Coalition.” 105

The rise of militant groups, particularly the Zarqawi organization, correlated to a rise in violence in Al
Anbar Province.106 Attacks against Coalition forces, Iraqi security forces, and contractors spiked in the
summer of 2004.107 The Zarqawi organization was established as the dominant group in Fallujah
following the First Battle of Fallujah, and continued to leverage Fallujah as a base of operations until
it was ousted in the Second Battle of Fallujah.108

Zarqawi officially affiliated with al-Qaeda in October 2004, and the Zarqawi organization became
known as al-Qaeda in Iraq (AQI). Following the loss of the group’s operational hub in the Second
Battle of Fallujah, Zarqawi organization members dispersed throughout the province. 109 Specific

99 Myriam Benraad, “Iraq’s Tribal ‘Sahwa’: Its Rise and Fall,” Middle East Policy 18:1 (Spring 2011).
100 Martin Chulov, “Iraq Disbands Sunni Militia that Helped Defeat Insurgents,” The Guardian (London), April 1, 2009,

https://www.theguardian.com/world/2009/apr/02/iraq-sunni-militia-disbanded.
101 “Chapter Four: The Insurgency Grows and Fights Pitched Battles,” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,             June       13,       2007),      p.     1,     https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.
102 Ibid., pp. 3, 5.
103 Insurgent Group Profile: Al Qaeda in Iraq (AQI), (May 2, 2007), pp. 2-3, https://ahec.armywarcollege.edu/CENTCOM-

IRAQ-papers/0592.%20aqi.pdf.
104 “Chapter Three: Anbar Insurgency: The Seeds are Planted – the Formation and Motivating Factors,” in Study of the

Insurgency in Anbar Province, Iraq (CENTCOM, June 13, 2007), p. 46, https://ahec.armywarcollege.edu/CENTCOM-
IRAQ-papers/0989.%20chapter3.pdf.
105 “Chapter Four: The Insurgency Grows and Fights Pitched Battles,” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,             June       13,       2007),      p.     3,     https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.
106 Ibid., p. 32; Dr. William Knarr et al., Al Sahawa—The Awakening Volume V: Al Anbar Province, Area of Operations Raleigh,

Fallujah, (Alexandria,        VA:      Institute      for     Defense       Analysis,     August      2016)     p.      21,
https://apps.dtic.mil/sti/tr/pdf/AD1018512.pdf.
107 “Chapter Four: The Insurgency Grows and Fights Pitched Battles (2004),” in Study of the Insurgency in Anbar Province,

Iraq,     (CENTCOM,           June     13,     2007),     p.  32,    https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.
108 Insurgent Group Profile: Al Qaeda in Iraq (AQI), (May 2, 2007), pp. 2-3, https://ahec.armywarcollege.edu/CENTCOM-

IRAQ-papers/0592.%20aqi.pdf.
109 Dr. William Knarr et al., Al Sahawa—The Awakening Volume III-A: Al Anbar Province, Western Euphrates River Valley, Area

of Operations Denver—Al Qaim, (Alexandria, VA: Institute for Defense Analysis, November 2015), p. 5,
https://apps.dtic.mil/sti/tr/pdf/AD1013976.pdf.


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locations to which they moved are indicated by the focus of Coalition operations that targeted Zarqawi
organization fighters in cities along the Euphrates River Valley through 2005, which included al-Qaim,
Rawah, Haditha, Haqlaniyah, Barwana, Sadah, Hit, Baghdadi, and Rutbah.110 While the operations
were typically able to push Zarqawi organization operatives out temporarily, Zarqawi organization
fighters would return as soon as the Coalition presence departed following the conclusion of
operations.111 In this time period, the Zarqawi organization and affiliated groups also reestablished a
significant presence in eastern Al Anbar, particularly Ramadi.112

By 2006, the Zarqawi organization had become the dominant militant player in Anbar Province. 113
Zarqawi’s AQI “went on a campaign of killing or co-opting all of the major insurgent leaders in order
to establish themselves as the unquestioned force in Anbar.”114 Their campaign worked, as a
CENTCOM report on the insurgency in Al Anbar reflects that “most of the remaining independent
groups were either forced or coopted into cooperation with” the Zarqawi organization. 115 The Zarqawi
organization’s provincial dominance can be illustrated at a local level. In Ramadi, Zarqawi organization
operatives attacked Coalition forces daily.116 Similarly, in Haditha, Haqlaniyah, and Barwana in western
al Anbar, the Zarqawi organization had become so prominent that the group established a “state
within a state.”117

By the end of 2006, the Anbar Awakening began to effectively challenge the Zarqawi organization’s
dominance in Al Anbar.118 The Zarqawi organization did not cede control easily, and worked to
strengthen itself through the province in 2006 and 2007, particularly around Fallujah. 119 Although the
Awakening continued to challenge the Zarqawi organization, in 2007 CENTCOM noted “it would be



110  Timothy McWilliams & Kurtis Wheeler, Al-Anbar Awakening Volume I: American Perspectives U.S. Marines and
Counterinsurgency in Iraq, 2004-2009, (Quantico, VA: Marine Corps University Press, 2009), p. 105,
https://www.hqmc.marines.mil/Portals/61/Docs/Al-AnbarAwakeningVolI%5B1%5D.pdf; “Chapter Five: Anbar
Insurgency Grows, Strengthens, Elections (2005),” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June 13,
2007), pp. 20, 61 107, 108, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1002.%20chapter5.pdf; Bill
Roggio, “Operation Steel Curtain in Husaybah,” Long War Journal, November 5, 2005.
111 “Chapter Five: Anbar Insurgency Grows, Strengthens, Elections (2005),” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,            June       13,    2007),      p.     81,       https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1002.%20chapter5.pdf.
112 Ibid., p. 76.
113 “Chapter Six: AQI Dominates the Insurgency,” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June 13,

2007), p. 1, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
114 Bill Roggio, “Anbar, the Washington Post and the Devlin Report,” Long War Journal, November 20, 2006.
115 “Chapter Six: AQI Dominates the Insurgency,” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June 13,

2007), p. 241, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
116   Andrew Lubin, “Ramadi From Caliphate to Capitalism,” U.S. Naval Institute, April 2008,
https://www.usni.org/magazines/proceedings/2008/april/ramadi-caliphate-capitalism; “Ramadi, Iraq Claws Back From
Ravages of War,” NBC News, October 28, 2007, https://www.nbcnews.com/id/wbna21517052.
           On January 15, 2006, AQI deputy emir Abu Maysarah al-Iraqi announced the establishment of the Majlis Shura
al-Mujahidin fi-l-Iraq (better known as the Mujahedin Shura Council, or MSC), an umbrella group composed of six Iraqi
Sunni militant factions. On October 15, 2006, MSC announced its establishment of the Islamic State of Iraq (ISI).
117 “Chapter 5: Anbar: Insurgency Grows, Strengthens, Elections (2005),” in Study of the Insurgency in Anbar Province, Iraq,

(CENTCOM, June 13, 2007), pp. 104, 105.
118 Alissa J. Rubin & Damien Cave, “In a Force for Iraqi Calm, Seeds of Conflict,” New York Times, December 23, 2007.
119 “Chapter 7: Rise of the Anbar Salvation Front (2007),” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June

13, 2007), pp. 15, 16 18, 19.


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a serious mistake to characterize AQI as having been defeated in Anbar.” 120 Pockets of Zarqawi
organization fighters persisted through 2008. 121

In addition to the Zarqawi organization, a number of Sunni insurgent and former regime groups
operated in Al Anbar Province, including AAI/AAS. 122 Though the Zarqawi organization established
itself as the primary threat to Coalition forces in the province, AAS maintained an operational
presence, claiming attacks in Al Anbar in early 2004.123 While AAS had periodic divisions and conflict
with the Zarqawi organization, AAS also frequently coordinated with the Zarqawi organization in
from 2004 through 2006.124 The groups shared resources and conducted a number of joint attacks in
the province.125

In addition to AAS, the province was also home to multiple former regime elements (FREs), including
the Islamic Army of Iraq (IAI) and the 1920 Revolution Brigades. 126 Though these groups do not
appear to have received significant Iranian support, they were known to operate in umbrella
organizations controlled by, taking direction from, and experiencing mass defections to the Zarqawi
organization over the course of the insurgency. 127

The Zarqawi organization and affiliated groups used a variety of TTPs to target Coalition forces. These
groups executed attacks using IEDs, vehicle-borne improvised explosive devices (VBIEDs), small
arms attacks, sniper attacks, complex attacks, assassinations, mortar attacks, helicopter shoot-downs,




120 Ibid., p. 1.
121  Dr. William Knarr et al., Al Sahawa—The Awakening Volume V: Al Anbar Province, Area of Operations Raleigh,
Fallujah (Alexandria,     VA:     Institute   for     Defense    Analysis,   August     2016),       pp.     28,    31,     34,
https://apps.dtic.mil/sti/tr/pdf/AD1018512.pdf.
122 “Chapter Six: AQI Dominates the Insurgency,” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June 13,

2007), p. 36, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
123 “Chapter Four: The Insurgency Grows and Fights Pitched Battles,” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,            June      13,       2007),      p.      3,    https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.
124 “Chapter Five: Anbar: Insurgency Grows, Strengthens, Elections (2005),” in Study of the Insurgency in Anbar Province, Iraq,

(CENTCOM, June 13, 2007), pp. 58, 100, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1002.
chapter5.pdf; “Chapter Six: AQI Dominates the Insurgency,” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM,
June        13,    2007),    pp.      5,    11,     35,      36,   https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1007.%20Chapter%206.pdf.
125 “Chapter Six: AQI Dominates the Insurgency,” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June 13,

2007), pp. 25, 228, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
126 “Chapter Four: The Insurgency Grows and Fights Pitched Battles,” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM, June 13, 2007), p. 33, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1000. Chapter 4.pdf.
127 Ibid.; “Chapter Five: Anbar: Insurgency Grows, Strengthens, Elections (2005),” in Study of the Insurgency in Anbar Province,

Iraq,      (CENTCOM,         June       13,    2007),     p. 76,   https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1002.%20chapter5.pdf; “Chapter Six: AQI Dominates the Insurgency,” in Study of the Insurgency in Anbar Province,
Iraq (CENTCOM, June 13, 2007), pp. 20, 36, 55, 205, 210, 211, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1007.%20Chapter%206.pdf; Mapping Militant Organizations, Stanford University Center for International
Security         and         Cooperation,         “Islamic        Army         in        Iraq,”           March          2019,
https://cisac.fsi.stanford.edu/mappingmilitants/profiles/islamic-army-iraq.


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kidnappings, and suicide bombings.128 These attacks were supported by weapons factories and caches
managed by groups throughout the province.129

Shia Militant Activity in Anbar Province
No major Shia militias were reported to operate consistently or establish bases in Anbar Province,
likely because the province’s very small Shia population could not provide sufficient support for Shia
militant groups’ recruitment efforts or operations. However, several Shia militant groups were
periodically active in Anbar Province, mostly taking part in reprisal or revenge actions with sectarian
motivations.130 These groups included JAM, the Badr Corps, and the Jihad Brigades of Imam Ali ibn
Abi Taleb.131 Some Shia groups – particularly JAM – occasionally acted in concert with the Zarqawi
organization in major battles against the Coalition.132

I now turn to consideration of the Al Anbar Province attacks I have been asked to assess by the
Plaintiffs.

Attack #3 – August 21, 2005 IED Attack in Al-Karmah, Al Anbar Province that Wounded
U.S. Marine Corps Corporal Adam Kisielewski
Geography: Al-Karmah, Al Anbar Province
Attack Type: IED Attack
Direct Victim(s): Cpl. Adam Kisielewski

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Motion for Default Judgment on Behalf
of Bellwether Plaintiffs (“Plaintiffs’ Bellwether Motion for Default”):




128 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006, (Carlisle     Barracks,   PA:      US     Army         War       College, January        17,   2019),  pp.     603-
604, https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs; Dr. William Knarr et
al., Al Sahawa—The Awakening Volume V: Al Anbar Province, Area of Operations Raleigh, Fallujah, (Alexandria, VA: Institute
for Defense Analysis, August 2016) p. 22, https://apps.dtic.mil/sti/tr/pdf/AD1018512.pdf; “Chapter Four: The
Insurgency Grows and Fights Pitched Battles,” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June 13, 2007),
pp. 20-21, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1000.%20Chapter%204.pdf; “Chapter
Five: Anbar: Insurgency Grows, Strengthens, Elections (2005),” in Study of the Insurgency in Anbar Province, Iraq,
(CENTCOM,            June      13,      2007),      p. 99,          https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1002.%20chapter5.pdf; “Chapter Six: AQI Dominates the Insurgency,” in Study of the Insurgency in Anbar Province,
Iraq (CENTCOM, June 13, 2007), pp. 25, 214, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1007.%20Chapter%206.pdf.
129“Chapter Six: AQI Dominates the Insurgency,” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June 13,

2007), p. 228, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
130 Ibid, p. 42.
131 Ibid., pp. 31, 44; “Insurgent Groups in Al-Anbar Province,” United States Army War College, n.d., pp. 1-10,

https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/0569. insurgent_groups.pdf.
132 “Chapter Four: The Insurgency Grows and Fights Pitched Battles,” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,          June    13,   2007),     pp.    47,      48,     https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.


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           PEX 102, U.S. Marine Corps, USCENTCOM FOIA 22-0289, “Casualty Report – Adam
            Kisielewski,” (August 21, 2005).133
           PEX 103, U.S. Marine Corps Headquarters, “Purple Heart Award, Adam Kisielewski,”
            (August 26, 2005).
           PEX 104, U.S. Department of Defense, “Certificate of Release or Discharge from Active
            Duty: Kisielewski, Adam Christopher,” October 3, 2006.
           PEX 44, Declaration of Adam Kisielewski.

Attack Description
On August 21, 2005, U.S. Marine Corps Corporal (Cpl.) Adam Kisielewski was serving with Golf
Company, 2nd Battalion, 2nd Marines in the town of Al-Karmah, Anbar Province, about six
kilometers northeast of Fallujah.134




                                                                               The IED was made of a 97-lb. artillery
shell.139

The explosion instantly killed the servicemember standing in front of the door. 140 Cpl. Kisielewski was
seriously injured, sustaining “shrapnel wounds to the lower right leg, upper left arm, and left leg.” 141




133 All exhibit references herein refer to Plaintiffs’ exhibits (“PEX”) filed with their Motion for Default Judgment on Behalf

of Bellwether Plaintiffs in Martino et al., v. Islamic Republic of Iran, No. 1:21-cv-01808 (RDM).
134 PEX 44, Declaration of Adam Kisielewski, pp. 4, 5; PEX 102, U.S. Marine Corps, USCENTCOM FOIA 22-0289,

“Casualty Report – Adam Kisielewski,” (August 21, 2005), p. 2; PEX 104, U.S. Department of Defense, “Certificate of
Release or Discharge from Active Duty: Kisielewski, Adam Christopher.” (October 3, 2006), p. 2.
Cpl. Kisielewski promoted to Sergeant days prior to his release from active duty in October 2006, but on the date of the
attack in 2005, was a Corporal. He will be referred to as a Corporal throughout the document.
135 PEX 44, pp. 4, 5.
136 PEX 44, p. 5.
137 PEX 44, p. 5.
138 PEX 44, p. 5.
139 Congressionally Directed Medical Research Programs, “Adam Kisielewski: Reaching Higher,” May 26, 2022,

https://cdmrp.health.mil/CWG/stories/2013/kisielewski_profile.
140 PEX 44, p. 5.
141 PEX 102, pp. 2, 3.
142 PEX 44, p. 5.
143 PEX 44, pp. 5, 6.
144 PEX 44, p. 5.


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Attack Attribution
I conclude that the Zarqawi organization (as al-Qaeda in Iraq) likely committed this IED attack. This
conclusion is based on the following data points: 1) the geographic location and time period of this
attack, and 2) the tactics, techniques, and procedures (TTPs) employed in the attack.

The Zarqawi organization has undergone several name changes since the group’s inception in 1993.
Before this attack, in October 2004, it underwent one such change when the group formally pledged
baya (allegiance) to al-Qaeda, changing its name to Tanzim Qa’idat al-Jihad fi Bilad al-Rafidayn (al-
Qaeda in Iraq, or AQI). As this attack occurred after the name change, this attribution will refer to
the group as AQI.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to AQI’s responsibility. The attack occurred in Al-Karmah, near Fallujah, on August 21, 2005. The
below map provides the approximate location of the attack.




                 Figure 3: Approximate location of the attack in Al-Karmah, Anbar Province.

Fallujah was a recognized AQI stronghold in early 2004, leading to the Coalition’s November 2004
Operation Al Fajr, which was designed to clear Fallujah “of insurgents and to eliminate it as their




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sanctuary.”145 Operation Al Fajr succeeded in pushing AQI fighters out of Fallujah.146 Some fled to
areas surrounding Fallujah, including Al Karmah, and some fled west.147 In 2005 and 2006,
communities in northwestern and central Al Anbar Province began to work with Coalition forces
against AQI, forcing AQI fighters to flee east – back towards Fallujah and Al Karmah. 148 Many AQI
fighters sought refuge in the Fallujah area, from where they could launch attacks into Baghdad. 149

Another factor indicating AQI’s growing presence and operational control in and around Fallujah in
2005 was the affiliation of local insurgent leaders with AQI.150 Fallujah-based AQI cells began loosely
uniting under the leadership of Sheikh Abd al-Munam Shakir Hamdan Faith al-Kubaisi of the Furqan
Mosque in 2005.151 At the time, Sheikh al-Kubaisi was also working to return Sheikh Abdullah Janabi
to local power in Fallujah.152 Janabi swore allegiance to Zarqawi (and by extension AQI) in 2004. 153
Local fighters who had sworn allegiance to Janabi effectively inherited his loyalty to AQI, as the
distinction between swearing allegiance to an AQI-affiliated leader or directly to AQI was not
motivationally or operationally significant, according to an authoritative 2007 Central Command
(CENTCOM) report on the insurgency in the Al Anbar Province. 154

AQI was present in Al-Karmah as well. A report written by the Institute for Defense Analysis
discusses AQI activity in Al-Karmah during a period stretching from 2005-2007:

         AQI also maintained a strong and persistent presence in Al Karmah, using it as a center
         from which to attack Fallujah. One difficulty with securing the Karmah area was its
         proximity to where three Coalition operating areas connected: Multi-National
         Division–North, Multi- National Division–Baghdad, and MNF-W. Cognizant of the
         “seam,” insurgents used the boundaries to facilitate their attack. The area north of Al
         Karmah had also been a harbor for AQI since 2004, given its remoteness and location
         along a major route connecting the Samarra area to the Fallujah area. 155

AQI maintained its presence in Al-Karmah before and after the August 2005 attack that wounded
Cpl. Kisielewski. AQI’s strong influence in both cities around the time of the attack and in Al-Karmah
itself are indicative of AQI’s likely responsibility.



145  Dr. William Knarr et al., Al Sahawa—The Awakening Volume V: Al Anbar Province, Area of Operations Raleigh,
Fallujah, (Alexandria,     VA:       Institute  for     Defense       Analysis,       August         2016),      p.        25,
https://apps.dtic.mil/sti/tr/pdf/AD1018512.pdf.
146 Ibid.
147 Ibid.
148 Ibid.
149 Ibid.
150 “Chapter Five Anbar: Insurgency Grows, Strengthens, Elections (2005),” in Study of the Insurgency in Anbar Province, Iraq,

(CENTCOM, June 13, 2007), p. 62, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1002. chapter5.pdf.
151 Ibid.
152 Ibid.
153 Ibid.
154 Ibid.
155 Dr. William (Bill) Knarr et al., Al Sahawa—The Awakening Volume V: Al Anbar Province, Area of Operations Raleigh,

Fallujah, (Alexandria,     VA:       Institute  for     Defense       Analysis,       August         2016),      p.        26,
https://apps.dtic.mil/sti/tr/pdf/AD1018512.pdf.


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Tactics, Techniques, and Procedures (TTPs). Another indicator that AQI was responsible for the attack is
the TTPs used to carry it out. The perpetrators conducted an IED attack.

IED attacks spiked in Al Anbar Province between May and August of 2005. 156 A threat assessment
declassified by CENTCOM and dated July 2, 2005 (pictured below) depicts AQI associate groups,
VBIEDs, SVBIEDs, and weapons caches in and around Fallujah. 157 The same July 2005 threat
assessment warns that “porous borders provide [Al-Qaeda in Iraq] and [former regime elements]
unrestricted access to foreign fighters, finances, weapons, and supplies,” and that “insurgents are
attempting to reestablish themselves in Fallujah in the same manner employed in late 2003 and early
2004.”158




The insurgency in Fallujah had largely consolidated around AQI during the time period in which this
attack occurred. Therefore, the “insurgents” referenced in this statement likely refers to AQI fighters,



156 “Chapter Five: Anbar: Insurgency Grows, Strengthens, Elections (2005),” in Study of the Insurgency in Anbar Province, Iraq,

(CENTCOM, June 13, 2007), p. 67.
157 “C2 Plans: Threat Assessment,” July 2, 2005, p. 19, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-

papers/0892.%20Threat%20Assessment%202%20July%202005.pdf.
158 Ibid., p. 6.




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especially considering that the threat assessment identifies AQI as present in Fallujah. By this same
reasoning, it is likely that the weapons caches and VBIEDs in Fallujah belonged to AQI.

In addition to the presence of IEDs noted in the July 2005 threat assessment, IED attacks were a
known AQI tactic in Fallujah in 2005. After a December 2005 IED attack that killed 10 U.S. Marines
and wounded 11 more in Fallujah, a local preacher was quoted as saying, “We knew al Qaeda wouldn’t
leave the city, and it happened. They came back.”159 The Associated Press reported that “Maj. Gen.
Rick Lynch, a coalition operations officer, warned that al-Qaida in Iraq, led by Jordanian terror
mastermind Abu Musab al-Zarqawi, will likely step up attacks in the next two weeks to try to disrupt
parliamentary elections Dec. 15.”160

Ruling Out Other Insurgent Groups. Other militant groups were also active in this area. I have considered
their activities in rendering my opinion that AQI is ultimately the organization likely responsible for
the attack. Other major militant groups operating in this area of Anbar Province in 2005 were AAS,
Jaysh Mohammed, and the Green Battalion.161

However, though all these groups had some level of presence in Anbar Province, AQI had the
strongest recorded presence in the specific area where and when this attack occurred. This attack
occurred near Fallujah in August 2005, where other insurgent groups and local fighters were
consolidating allegiance into AQI. Additionally, although Jaysh Mohammed and the Green Battalion
were present around Fallujah, these groups were primarily involved in other activities at the time,
including criminal activity and political endeavors.162 In particular, Jaysh Mohammed was interested in
participating in the political process in the province – while AQI was intent on disrupting it. 163 These
conflicting objectives contributed to deepened conflict between the two groups around the time of
attack.164 Therefore, their cooperation with AAS and AQI was unlikely, and AAS and AQI were the
dominant insurgent groups in this area during this time period. 165

During this time period in Anbar Province, AAS and AQI alternated between cooperation and
infighting.166 Therefore, it is possible that AAS carried out this attack, and that it did so independently
of AQI. However, as AQI was growing and absorbing other insurgent groups in the area and
increasingly holding area of operations dominance, this attack was most likely carried out by AQI.
Additionally, given that Iran also supported AAS, its possible involvement in the attack would not
undermine my conclusion concerning Iranian support for the attack that killed Cpl. Kisielewski.




159 Jonathan Finer, “10 Marines Killed in Fallujah Blast,” Washington Post, December 3, 2005.
160  “10 Marines killed in bombing near Fallujah,” East Valley Tribune (Phoenix, Ariz.), December 2, 2005,
https://www.eastvalleytribune.com/news/10-marines-killed-in-bombing-near-fallujah/article_ceb785d3-1a0c-5761-
9ab1-ff95a37b2518.html.
161 “Chapter Five Anbar: Insurgency Grows, Strengthens, Elections (2005),” in Study of the Insurgency in Anbar Province, Iraq,

(CENTCOM,              June  13,     2007),     p.     81,      https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1002.%20chapter5.pdf.
162 Ibid., pp. 81, 82.
163 Ibid., p. 106.
164 Ibid.
165 Ibid.
166 Ibid, pp. 44, 58.




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Iranian Support. Iran provided support to AQI and Iran’s support had a reasonable connection to the
attack that killed Cpl. Kisielewski. Iranian support for AQI is detailed extensively in my Expert Report
& Declaration on Sunni Militant Organizations.167 Additional information further demonstrates the
significance of Iran’s support to AQI at the time and in the vicinity of this specific attack. Specifically:

           Iran provided support to AQI before, during, and after this attack in multiple ways. Prior to
            9/11, Zarqawi received Iranian support, including funding and safehouses throughout Iran,
            through his relationship with al-Qaeda.168 Zarqawi established his presence in Iraq through the
            help of the IRGC Quds Force, which provided Zarqawi with materials for command and
            control purposes (communication equipment); transit routes; and safe haven to Zarqawi and
            other operatives prior to the 2003 U.S. invasion of Iraq. 169 The Quds Force continued its
            support of AQI beyond 2003, including funneling weapons to AQI strongholds in Fallujah
            and Al Anbar Province in 2004.170
           In December 2006, further evidence of Iranian support for AQI emerged when two Quds
            Force operatives were arrested in Baghdad. According to U.S. defense officials, the operatives
            possessed “weapons lists, documents pertaining to shipments of weapons into Iraq,
            organizational charts, telephone records and maps, among other sensitive intelligence
            information.” The operatives also reportedly “had information about importing modern,
            specially shaped explosive charges into Iraq, weapons that have been used in roadside bombs
            to target U.S. military armored vehicles.”171 According to a U.S. intelligence official, the
            information gleaned from the operatives showed “how the Quds Force [was] working with
            individuals affiliated with Al Qaeda in Iraq.”172
           In 2008, Mubarak Mushakhas Sanad al-Bathali, who had acted as one of al-Qaeda’s principal
            fundraisers for years, revealed critical information regarding Iran’s support for AQI. 173 Al-
            Bathali spoke from a position of intimate knowledge of terrorist financing as, according to the
            United Nations Security Council, al-Bathali “supported every stage of the terrorist financing
            life-cycle, from financing terrorist groups and activity, to facilitating deadly attacks, and inciting
            others to join campaigns of violence.”174 Specifically, between 2003 and 2004, al-Bathali was
            known to have personally sent money to the Zarqawi organization.175 In a May 2008 interview
            with the Kuwaiti publication Al-Qabas, he claimed that Iran was providing the group with both
            money and weapons and facilitating the movement of its fighters across the Middle East and
            South Asia. The apparent intent of this support was to “deter the United States, in order for

167 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
168 Ibid.
169     Sean Durns, “Iran’s Support for al-Qaida,” The Jerusalem Post, October 23, 2017,
https://www.jpost.com/opinion/irans-support-for-al-qaida-508130; Geoffrey Gresh, “Instigating Instability: Iran’s
Support       of     Non-State      Armed    Groups      in    Iraq,”    al    Nakhlah,      Spring      2006, p.   8.
https://ciaotest.cc.columbia.edu/olj/aln/aln_spring06/aln_spring06b.pdf.
170 See my Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
171 Eli Lake, “Iran’s Secret Plan for Mayhem,” New York Sun, January 3, 2007.
172 Ibid.
173 U.S. Department of the Treasury, press release, “Treasury Designations Target Terrorist Facilitators,” December 7,

2006,         https://home.treasury.gov/news/press-releases/hp191#:~:text=Mubarak%20Mushakhas%20Sanad%20Al-
Bathali%20is%20a%20Kuwait-based%20terrorist,provision%20to%20al%20Qaida%20operatives.
174 “Mubarak Mushakhas Sanad Mubarak Al-Bathali,” United Nations Security Council, April 6, 2009,

https://www.un.org/securitycouncil/sanctions/1267/aq_sanctions_list/summaries/individual/mubarak-mushakhas-
sanad-mubarak-al-bathali.
175 U.S. Department of the Treasury, press release, “Treasury Designations Target Terrorist Facilitators.”




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         it [the U.S.] not to give its entire attention to Iran.”176 Al-Bathali’s assertion is compelling given
         his background and activities.177
        In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
         Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment
         of improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations
         with Iran and al-Qaeda, identifies his work in distributing designs for remote detonation
         devices used by terrorist organizations in Iraq, and connects him to multiple IED networks
         across northern Iraq, where AQI primarily operated. 178 Given his affiliations with Iran and al-
         Qaeda, and the nature of his activities in Iraq, it is very likely that Ghazala played a role in
         facilitating IED attacks for AQI.
        Iran’s provision of weapons to AQI was one of the most substantial types of support that Iran
         provided—significant enough to be a causal factor in the U.S. Department of the Treasury’s
         designation of Iran’s Ministry of Intelligence and Security (MOIS). In February 2012, the
         Treasury Department designated the MOIS for human rights abuses and support for
         terrorism, stating that MOIS “provided money and weapons to al Qa’ida in Iraq (AQI).” 179
         Indeed, this Court previously found that Iran materially supported AQI in carrying out IED
         attacks throughout Iraq from June 2004 and May 2007. 180

Summary
In summary, I conclude that it is likely that AQI carried out the August 21, 2005 attack in Al-Karmah,
Al Anbar Province that wounded U.S. Marine Corps Cpl. Adam Kisielewski. My conclusion is based
on the following:

        AQI possessed area of operations dominance in Fallujah and Karmah during the period when
         this attack occurred and was motivated to conduct the attack.
        The attack exhibited TTPs commonly associated with AQI.

I further conclude that Iran’s material support substantially contributed to AQI’s commission of this
attack.




176 “Kuwaiti Cleric Admits Sending Mujahedin to Iraq, Afghanistan, Argues Iran Involved,” Al-Qabas, May 7, 2008.
177 U.S. Department of the Treasury, press release, “Treasury Designations Target Terrorist Facilitators.”
178 U.S. Department of State, Office of the Spokesperson, press release, “Terrorist Designation of HAMAS Operative

Muhammad Hisham Muhammad Isma’il Abu Ghazala,” (September 22, 2011), https://2009-
2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.
179 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” (February 16, 2012), https://home.treasury.gov/news/press-
releases/tg1424.
180 See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023) (“[T]he Court is satisfied

that Iran’s support was a ‘substantial factor’ in the IED attacks and that the consequences of its support were ‘reasonably
foreseeable’”).

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Attack #4 – June 9, 2006 IED Attack in Al Qaim, Al Anbar Province that Killed U.S. Marine
Corps Lance Corporal Brent Zoucha
Bellwether Geography: Al Qaim, Al Anbar Province
Bellwether Attack Type: IED Attack
Direct Victim(s): LCpl. Brent Zoucha

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

       PEX 105, U.S. Marine Corps, USMARCENT FOIA DON-USMC-2022-002646, “Report of
        Casualty – Brent Zoucha” (June 12, 2006).
       PEX 106, U.S. Marine Corps, USMARCENT FOIA DON-USMC-2022-002646, “Enemy
        Situation and Assessment,” (June 6, 2006).
       PEX 107, U.S. Marine Corps, “Purple Heart Award – Brent Zoucha,” (June 13, 2006).
       PEX 108, Office of the Armed Forces Medical Examiner, “Autopsy Examination Report –
        Brent B. Zoucha,” (June 14, 2006).
       PEX 109, Lt. Col. Marano, “Letter from Commanding Officer: LT COL Marano,” First
        Battalion 7th Marines Newsletter, (June 2006).
       PEX 110, CENTCOM, Ops Report, USCENTCOM 22-0341, “IED Attack on 1/7 NE of
        Husaybah: 3 CF KIA, 1 CF WIA,” (June 9, 2006).

Attack Description
On June 9, 2006, Marine Corps Lance Corporal (LCpl.) Brent Zoucha was serving with 1st Battalion,
7th Marine Regiment, 1st Marine Division, I Marine Expeditionary Force in Al Qaim in Anbar
Province.181 While serving as the gunner of an up-armored High Mobility Multipurpose Wheeled
Vehicle (HMMWV) on patrol in Al Qaim, LCpl. Zoucha’s vehicle was struck by an improvised
explosive device (IED).182 The blast caused “tissue disruption and bleeding of the visceral organs,”
killed LCpl. Zoucha.183 The blast also killed three other servicemembers, and wounded another.184

Attack Attribution
I conclude that the Zarqawi organization (as Mujahedin Shura Council) very likely committed this
IED attack. This conclusion is based on the following data points: 1) the geographic location and time
period of the attack; and 2) the tactics, techniques, and procedures (TTPs) used in this attack.

The Zarqawi organization underwent several name changes following the group’s inception in 1993.
On January 15, 2006, AQI deputy emir Abu Maysarah al-Iraqi announced the establishment of the
Majlis Shura al-Mujahidin fi-l-Iraq (better known as the Mujahedin Shura Council, or MSC), an
umbrella group composed of six Iraqi Sunni militant factions. As this attack occurred after the name

181 PEX 105, U.S. Marine Corps, USMARCENT FOIA DON-USMC-2022-002646, “Report of Casualty – Brent

Zoucha” (June 12, 2006), p. 2.
182 PEX 105, p. 2; PEX 110, CENTCOM, USCENTCOM 22-0341, Ops Report, “IED Attack on 1/7 NE of Husaybah:

3 CF KIA, 1 CF WIA,” (June 9, 2006), p. 2; PEX 106, U.S. Marine Corps, USMARCENT FOIA DON-USMC-2022-
002646, “Enemy Situation and Assessment,” (June 6, 2006), p. 4.
183 PEX 105.
184 PEX 109, Lt. Col. Marano, “Letter from Commanding Officer: LT COL Marano,” First Battalion 7th Marines

Newsletter, (June 2006); PEX 106, p. 4.

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change, this attribution will refer to the group as Mujahedin Shura Council (MSC). However, some
sources cited in this attribution may refer to the organization by its former names, AQI and JTJ.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to MSC’s responsibility. This attack took place in Al Qaim, Anbar Province on June 9, 2006. The
below map provides the approximate location of the attack.




                     Figure 4: Approximate location of the attack in Al Qaim, Anbar Province.

Al Qaim’s location on the Syrian border made it “an important logistical center for the insurgency as
fighters moved toward the urban areas of central Iraq” and “an important point of entry for foreign
fighters entering from Syria.”185

MSC’s presence in Al Qaim began in 2004 and reached a peak in 2005. In October 2004, MSC seized
on the relative weakness of Coalition forces in Al Qaim, whose attention had been diverted to the
battle in Fallujah.186 An Institute for Defense Analysis report assesses that MSC approached tribal
leaders in Al Qaim in 2004, offering resources in exchange for partnership against Coalition forces:

         AQI arrived with offers of partnering with Al Qaim’s tribes to defeat the Coalition.
         They promised money and other resources. As Muslims and Arabs, AQI members
         said it was the obligation of Al Qaim to conduct jihad, to fight the crusaders. After all,
         the Coalition, ignorant of tribal customs, religion, and traditions had disrespected and
         dishonored the people of Al Qaim, and a patriotic resistance had already formed there.
         Initially, the tribes of Al Qaim saw the Al Qaeda movement as the “complete jihad.”

185 Nicholas J. Schlosser, U.S. Marines in Battle: September 2005–March 2006 The Battle for Al-Qaim and the Campaign to Secure

the Western Euphrates River Valley, (Washington, DC: History Division, United States Marine Corps, August 15, 2014), p. 8,
https://www.usmcu.edu/Portals/218/AL-QAIM LO.pdf.
186 Ibid., pp. 9-10.




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         They believed it was time to rid the area of the occupiers. Together, they—AQI, the
         tribes, and their militias—could do that.187

MSC used Al Qaim and its surrounding towns as a point of entry for fighters and supplies entering
Iraq from neighboring Syria, seizing existing smuggling routes from local tribes. By 2005, MSC’s
presence in Al Qaim was extensive, and the group imposed brutal conditions on local Iraqis:

         They started by taking over the smuggling routes, skimming profits and killing those
         that resisted. They then imposed a radical form of Islamic Law or Sharia on the
         community with fanatical punishments for transgressors. AQI used religion to justify
         its actions, which included forced marriages to the local women. The most common
         intimidation tactic was to behead those that resisted and leave the head on the chest
         of the body in the street for all to see – sometimes only the head was left and the body
         disposed of in the river or the Jazeera – the desert. Despite the risk of brutal retribution,
         there were dissenters among the tribes, particularly within Albu-Mahal in Husaybah,
         the small Iraqi border town which served as Al Qaim’s main market, and the port of
         entry.188

In May 2005, MSC’s brutality in Al Qaim factored into the decision of the Albu Mahal, the local tribe,
to rise against MSC in cooperation with Coalition and Iraqi Government forces. 189 MSC responded
by aggregating forces in Al Qaim (from throughout Al Anbar) and striking back in July 2005. 190 By
September 2005, MSC announced that it had taken Al Qaim and posted “signs throughout the district
proclaim[ing] the region the ‘Islamic Kingdom of Qaim.’”191 Late 2005 represented the height of MSC
influence in Al Qaim.

To combat MSC’s resurgence, Albu Mahal tribal leaders cooperated again with U.S. forces. During
Operation Steel Curtain (November 5-22, 2005), U.S. Marines and local forces known as the Desert
Protectors fought MSC in brutal urban combat in Al Qaim and surrounding districts:

         Despite the tactical surprise, it took CTF 3/6 and Battalion Landing Team (BLT) 2/1
         the next seven days to clear the Husaybah-Karabilah-Sadah area of insurgents. This
         was a sophisticated enemy. Insurgents wore Kevlar helmets and body armor and
         fought with a degree of discipline that reflected military or advanced terrorist training.
         All main roads and avenues of approach were laced with IEDs. Residential buildings
         were mined in order to target Coalition forces as they breached and cleared rooms.
         After engaging Coalition forces and encountering superior firepower, insurgents
         generally broke contact and conducted coordinated withdrawals to the east or


187 Dr. William Knarr et al., Al Sahawa—The Awakening Volume I: Al Anbar Province Final Report, (Alexandria, VA: Institute

for Defense Analysis, July 2015) p. 64, https://www.ida.org/-/media/feature/publications/a/al/al-sahawa-the-
awakening-volume-i-al-anbar-province-final-report/p-5100.ashx.
188 Ibid.
189 Ibid., p. 67.
190 Ibid., p. 69.
191 Nicholas J. Schlosser, U.S. Marines in Battle: September 2005–March 2006 The Battle for Al-Qaim and the Campaign to Secure

the Western Euphrates River Valley, (Washington, DC: History Division, United States Marine Corps, August 15, 2014), p.
13, https://www.usmcu.edu/Portals/218/AL-QAIM%20LO.pdf.


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         discarded evidence of their actions and attempted to blend in with the population. The
         enemy clearly knew what it was doing and how to do it. 192

MSC’s influence in Al Qaim waned after the success of Operation Steel Curtain, particularly relative
to the rest of Al Anbar Province.193 However, despite its presence in Al Qaim becoming weaker
relative to the rest of the province, MSC continued fighting the Albu Mahal throughout 2006, and the
city’s importance as a transit point from Syria meant MSC continued attacks on Coalition and local
tribes in that area.194 For example, three months after the IED attack that killed LCpl. Zoucha, MSC
kidnapped a local high-profile sheik who objected to the group’s presence in Al Qaim. 195

Although MSC experienced setbacks in Al Qaim during this period, I assess that it is very likely to
have been responsible for conducting the attack that killed LCpl. Zoucha. At the time, the local tribes
constituted the only other significant armed force in Al Qaim, but they had aligned themselves with
Coalition forces and sought to reduce MSC’s influence in the city. I therefore assess that it is very
unlikely that the local tribes would have attacked a U.S. Marine patrol, especially using an IED.

Tactics, Techniques, and Procedures (TTPs). Another indicator that MSC was responsible for this attack is
the TTPs used to carry it out. LCpl. Zoucha died in an IED attack.

According to a Situation Report written by CENTCOM, the blast from the IED destroyed an M1114,
which is the up-armored version of a HMMWV. 196 Following the attack, the site of the explosion was
investigated by the Explosive Ordnance Disposal [EOD] team. 197 There, they discovered a base
station for a long range cordless telephone (LRCT)—a type of remote detonation system—on the
“southern edge of the road” with a 12 volt car battery. 198 The blast site measured 12’ wide, 11’ long,
and 3’ deep.199 According to the Ops Report written by CENTCOM, EOD estimated that the
explosive was composed of an “unknown sized projectile” and a “5’ long oxygen tank filled with bulk
explosives.”200 These findings indicate that the IED was composed of powerful explosives and
remotely detonated.

MSC frequently used IEDs to attack Coalition forces throughout Al Anbar Province, particularly in
areas under MSC control. For example, in November 2005 during Operation Steel Curtain in Al
Qaim, U.S. Marines encountered numerous IEDs as they cleared the city. 201 The Institute for Defense
Analysis’ report discussing the “sophisticated enemy” in Qaim details that “[a]ll main roads and

192 Dr. William Knarr et al., Al Sahawa—The Awakening Volume I: Al Anbar Province Final Report, (Alexandria, VA: Institute

for Defense Analysis, July 2015) p. 78, https://www.ida.org/-/media/feature/publications/a/al/al-sahawa-the-
awakening-volume-i-al-anbar-province-final-report/p-5100.ashx.
193 “Chapter Six: AQI Dominates the Insurgency (2006),” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June

13, 2007), p. 102, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
194 Ibid, p. 178.
195 Ibid, p. 178.
196 “M1114,” Military Today, https://www.militarytoday.com/trucks/m1114_uparmored_hmmwv.htm.
197 PEX 110, p. 2.
198 Ibid.
199 Ibid.
200 Ibid.
201 Dr. William Knarr et al., Al Sahawa—The Awakening Volume I: Al Anbar Province Final Report, (Alexandria, VA: Institute

for Defense Analysis, July 2015) p. 78, https://www.ida.org/-/media/feature/publications/a/al/al-sahawa-the-
awakening-volume-i-al-anbar-province-final-report/p-5100.ashx.


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avenues of approach were laced with IEDs. Residential buildings were mined in order to target
Coalition forces as they breached and cleared rooms.” 202

Al Anbar Province also housed numerous MSC IED factories. Coalition special forces operations
targeted these facilities extensively, often finding senior MSC leaders on site. According to the U.S.
Army’s official history of the Iraq War, in the fall of 2005, “the SOF [Coalition Special Operations
Forces] participation in the WERV [West Euphrates River Valley] Campaign was a large-scale effort,
focusing on the insurgent sanctuaries of Al Qa’im and Hadithah. Raid after raid eliminated IED
factories and killed or captured al-Qaeda in Iraq senior leaders.” 203

Despite these raids, MSC’s IED network persisted into 2006. MSC frequently paid local fighters to
conduct IED attacks in their areas of operation. The U.S. Army’s official history on the war in Iraq
describes how MSC used its wealth to incentivize these attacks in Al Anbar in 2006:

            The funds also kept fighters flowing into AQI’s ranks. Coalition troops killed over 200
            AQI fighters in March and April, but they were easy for Zarqawi to replace. By May
            2006, with AQI’s financial network in place, the starting salary for an AQI fighter in
            Ramadi was the equivalent of $1,000 per month. The next highest-paying insurgent
            group, Ansar al Sunna, paid far less at $250 per month. AQI also funded bonuses:
            $200 for a successful improvised explosive device (IED) attack, $500 to $700 for
            destroying a High Mobility Multi-Purpose Wheeled Vehicle (HMMWV), and $7,000
            for shooting down a helicopter. In Fallujah, where AQI’s presence was more contested
            and lacked Ramadi’s financial sophistication, al-Qaeda fighters were paid between
            $190 and $380 per month.204

Iranian Support. Iran provided support to MSC, and Iran’s support had a reasonable connection to
the MSC attack that killed LCpl. Zoucha. Iranian support for MSC is detailed extensively in my
Expert Report & Declaration on Sunni Militant Organizations.205 The following information further
demonstrates the significance of Iran’s support to MSC at the time and in the location of this
specific attack:

     ● Iran supported MSC militants in Al Anbar Province, where the attack occurred, through
       provision of arms, including IEDs, and intelligence. In December 2006, evidence of Iranian
       support for MSC emerged when two Quds Force operatives were arrested in Baghdad.
       According to U.S. defense officials, the documents possessed by the operatives definitively
       demonstrated the Quds Force’s cooperation with Sunni militias – including MSC. 206
     ● Iran’s support to MSC elements in Al Anbar Province, where the attack occurred, included
       the provision of arms. According to expert Bill Roggio, “Iranian mines and weapons were
       funneled to Zarqawi’s terrorists in Fallujah and elsewhere throughout Sunni dominated Al
       Anbar province” as early as 2004.207

202 Ibid.
203 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006 (Carlisle Barracks, PA: US Army War College, January 17, 2019), pp. 457-58.
204 Ibid, pp. 603-604.
205 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
206 Eli Lake, “Iran’s Secret Plan for Mayhem,” New York Sun, January 3, 2007.
207    Bill Roggio, “Iran and al Qaeda in Iraq,” Long War                              Journal,   January    6,   2007,
https://www.longwarjournal.org/archives/2007/01/iran_and_alqaeda_in.php.

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    ● MSC lethally employed Iranian weapons support through the time of the attack that killed
      LCpl. Zoucha. In a briefing on July 6, 2007, Maj. Gen. Rick Lynch discussed an Iranian
      weapons cache, saying: “Over the last three months, we’ve found ... four specific weapons
      caches, where as we worked our way through those caches, we found Iranian munitions. We
      found Iranian rockets, we found Iranian mortars clearly marked with Iranian markings, and
      that is just unacceptable. So what’s happening is these bad things are coming from Iran into
      Iraq, they’re finding themselves in the hands of the extremists in our battlespace, and they’re
      being used against coalition forces, against Iraqi security forces and against innocent Iraqis,
      and that just has to stop.”208
    ● In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
      Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment
      of improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations
      with Iran and al-Qaeda, identifies his work in distributing designs for remote detonation
      devices used by terrorist organizations in Iraq, and connects him to multiple IED networks
      across northern Iraq, where MSC primarily operated.209 Given his affiliations with Iran and al-
      Qaeda, and the nature of his activities in Iraq, it is very likely that Ghazala played a role in
      facilitating IED attacks for MSC.
    ● Iran’s provision of weapons to MSC was one of the most substantial types of support that
      Iran provided, alongside funding—both significant enough to be causal factors in the U.S.
      Department of the Treasury’s designation of Iran’s Ministry of Intelligence and Security
      (MOIS). In February 2012, the Treasury Department designated the MOIS for human rights
      abuses and support for terrorism, stating that MOIS “provided money and weapons to al
      Qa’ida in Iraq (AQI).”210 Indeed, this Court previously found that Iran materially supported
      MSC in carrying out IED attacks throughout Iraq from June 2004 and May 2007. 211
Summary
In summary, I conclude that it is very likely that MSC carried out the June 9, 2006 IED attack in Al
Qaim that killed U.S. Marine Corps LCpl. Brent Zoucha. My conclusion is based on the following:

        MSC had area of operations dominance in Al Anbar generally and maintained a significant
         presence in Al Qaim during the time when this attack occurred and was motivated to conduct
         the attack.
        The attack exhibited TTPs commonly associated with MSC.

I further conclude that Iran’s material support substantially contributed to MSC’s commission of this
attack.



208 Gen. Rick Lynch, press briefing, U.S. Department of Defense, July 6, 2007, https://www.c-span.org/video/?199709-

1/operations-iraq. Mortars were frequently used as a component to IEDs.
209 U.S. Department of State, Office of the Spokesperson, press release, “Terrorist Designation of HAMAS Operative

Muhammad Hisham Muhammad Isma’il Abu Ghazala,” (September 22, 2011), https://2009-
2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.
210 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” February 16, 2012, https://home.treasury.gov/news/press-
releases/tg1424.
211 See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023) (“the Court is satisfied

that Iran’s support was a ‘substantial factor’ in the IED attacks and that the consequences of its support were ‘reasonably
foreseeable’”).

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Attack #5 – February 8, 2007 IED Attack in Al-Karmah, Al Anbar Province that Killed U.S.
Army Sergeant Ross Clevenger
Geography: Al-Karmah, Al Anbar Province
Attack Type: IED Attack
Direct Victim(s): SGT Ross Clevenger

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

       PEX 111, Department of the Army, “Report of Casualty – Ross Clevenger,” (March 26, 2007).
       PEX 112, Office of the Armed Forces Medical Examiner, “Autopsy Report – Ross Clevenger”
        (March 23, 2007).
       PEX 113, Letter from Department of the Army to Abby Bradshaw, (Feb. 12, 2007).
       PEX 114, Department of the Army, USARCENT FOIA FA-22-0067, “Report of Proceedings
        by Investigating Officer/Board of Officers,” (Feb. 9, 2007).
       PEX 115, CENTCOM, USCENTCOM FOIA 22-0090, Ops Report “IED
        EXPLOSION(IED) ATTK ON 3/A/321: 1 CF WIA 3 CF KIA,” (Feb. 8, 2007).

Attack Description
In February 2007, U.S. Army Sergeant (SGT) Ross Clevenger was serving with Company A, 321st
Engineer Battalion in Al-Karmah, Al Anbar Province in support of Operation Iraqi Freedom. 212 On
February 8, 2007 SGT Clevenger was assisting with a route clearance mission “in support of recovery
operations for a downed U.S. helicopter.”213

As part of this mission, SGT Clevenger and his unit departed Camp Fallujah and travelled east towards
Al-Karmah on Route Mets.214 SGT Clevenger was in the driver’s seat of an RG-31 Mine-Protected
Armored Personnel Carrier. This was the convoy’s lead vehicle, keeping watch for signs of bombs
planted by enemy forces.215 While turning a curve on the route, SGT Clevenger’s vehicle hit an
improvised explosive device (IED) that “was not detected the previous night due to its depth beneath
the road.”216 The explosion lifted the vehicle into the air and broke it into four pieces, severely injuring
SGT Clevenger.217




212 PEX 111, Department of the Army, “Report of Casualty – Ross Clevenger,” (March 26, 2007), p. 2.
213 PEX 113, Letter from Department of the Army to Abby Bradshaw (Feb. 12, 2007), p. 2.
214 PEX 115, CENTCOM, USCENTCOM FOIA 22-0090, Ops Report “IED EXPLOSION(IED) ATTK ON 3/A/321:

1 CF WIA 3 CF KIA,” (Feb. 8, 2007), p. 7.
215 PEX 113, p. 2; PEX 112, Office of the Armed Forces Medical Examiner, “Autopsy Report – Ross Clevenger,” (March

23, 2007), p. 3; PEX 114, Department of the Army, USARCENT FOIA FA-22-0067, “Report of Proceedings by
Investigating Officer/Board of Officers,” (Feb. 9, 2007), p. 7.
216 PEX 114, p. 7.
217 PEX 113, p. 2.
218 PEX 113, p. 2.
219 PEX 113, p. 2.




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Attack Attribution
I conclude that it is very likely that the Zarqawi organization (as the Islamic State of Iraq) committed
this IED attack. This conclusion is based on the following data points: 1) the geographic location and
time period of the attack; and 2) the tactics, techniques, and procedures (TTPs) used in this attack.

The Zarqawi organization has undergone several name changes since the group’s inception in 1993.
On October 15, 2006, the group announced its adoption of the Islamic State of Iraq (ISI) moniker. 222
This attack took place while the group referred to itself as ISI, and thus this attribution will refer to
the group as ISI as well. However, some sources cited in this attribution refer to the organization by
its former names, including MSC, AQI and JTJ.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to ISI’s responsibility. This attack took place in Al-Karmah, Al Anbar Province on February 8, 2007.
Al-Karmah is a town on Fallujah’s outskirts. The below map provides the approximate location of the
attack.




                 Figure 5: Approximate location of the attack in Al-Karmah, Al Anbar Province.

This area, and Al Anbar Province generally, were key ISI areas of operation during the time of the
attack.223 Though Coalition forces had some success in limiting ISI operations in Fallujah in late 2004,


220 PEX 113, p. 3.
221 PEX 112, p. 3; PEX 111.
222 Majlis Shura al-Mujahidin fi-l-Iraq, statement on the establishment of the Islamic State of Iraq, October 15, 2006.
223 “Chapter Seven: Rise of the Anbar Salvation Front (2007),” in Study of the Insurgency in Anbar Province, Iraq, (CENTCOM,

June 13, 2007), p. 53, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1004.%20Chapter%207.pdf.


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by 2007 ISI had taken advantage of the lack of U.S. forces there to reestablish its influence in the
city.224

Around this time, U.S. forces had begun shifting responsibilities to their Iraqi counterparts, and Iraqi
forces – supported by Coalition partners – were focused on countering ISI’s presence in the area.
Coalition forces created the Iraqi Special Missions Group in November 2006 to enable “the Iraqi
Police to more effectively target AQI leaders operating in the Fallujah area,” further affirming ISI’s
operational presence in Fallujah by early 2007.225

As 2007 progressed, ISI conducted several attacks in Fallujah:

         On February 2, 2007, ISI assassinated Fallujah City Council chairman Abbas Ali Hussein at
          his home.226
         On March 1, 2007, ISI used a car bomb to target an Iraqi policeman’s wedding party. 227
         On March 28, 2007, ISI used mortar fire, small arms fire, two suicide truck bombs, and a
          ground assault to attack the Fallujah Government Center.228

Multiple authoritative reports indicate that ISI’s presence in Al-Karmah was central to the group’s
operations in the Fallujah area. A 2007 U.S. Central Command (CENTCOM) report on the insurgency
in Al Anbar states that in the time leading up to this attack, “Karmah was an AQI logistical and foreign
fighter node as well, facilitating the group’s smuggling between Baghdad and areas west and north of
Anbar.”229 Additionally, the Institute of Defense Analysis (IDA) assesses that ISI’s influence in
Fallujah depended on operations centers in nearby cities, including Al-Karmah, which supplied ISI
with insurgents and weapons to conduct attacks in Fallujah and Baghdad. 230 IDA’s report includes an
interview with Lieutenant Colonel Joe L’Etoile, battalion commander for 2/7 Marines who oversaw
their deployment to the Al-Karmah area from July 2005 to January 2006 and again from January to
August 2007. LtCol L’Etoile observed:

          AQI also maintained a strong and persistent presence in Al Karmah, using it as a center
          from which to attack Fallujah. One difficulty with securing the Karmah area was its
          proximity to where three Coalition operating areas connected: Multi-National

224  Dr. William Knarr et al., Al Sahawa—The Awakening Volume V: Al Anbar Province, Area of Operations Raleigh,
Fallujah, (Alexandria,     VA:       Institute    for     Defense          Analysis,        August       2016)        p.  22,
https://apps.dtic.mil/sti/tr/pdf/AD1018512.pdf.
225 Ibid.
226 Ibid.
227 Alissa J. Rubin, “Car Bomb Kills 7 in a Wedding Party in Falluja,” New York Times, March 1, 2007,

https://www.nytimes.com/2007/03/01/world/middleeast/01cnd-iraq.html; Alissa J. Rubin, “Bomb Kills 7 at Police
Wedding Party,” The Telegram, March 2, 2007, https://www.telegram.com/story/news/local/north/2007/03/02/bomb-
kills-7-at-police/52959347007/.
228 Dr. William Knarr et al., Al Sahawa—The Awakening Volume V: Al Anbar Province, Area of Operations Raleigh,

Fallujah, (Alexandria,     VA:       Institute    for     Defense          Analysis,        August       2016)        p.  22,
https://apps.dtic.mil/sti/tr/pdf/AD1018512.pdf.
229 “Chapter Seven: Rise of the Anbar Salvation Front (2007),” in Study of the Insurgency in Anbar Province, Iraq, (CENTCOM,

June 13, 2007), p. 53, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1004.%20Chapter%207.pdf.
230 Dr. William Knarr et al., Al Sahawa—The Awakening Volume V: Al Anbar Province, Area of Operations Raleigh,

Fallujah, (Alexandria,     VA:       Institute    for     Defense          Analysis,        August       2016)        p.  26,
https://apps.dtic.mil/sti/tr/pdf/AD1018512.pdf.


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            Division–North, Multi-National Division–Baghdad, and MNF-W. Cognizant of the
            “seam,” insurgents used the boundaries to facilitate their attack. The area north of Al
            Karmah had also been a harbor for AQI since 2004, given its remoteness and location
            along a major route connecting the Samarra area to the Fallujah area. 231

By early 2007, ISI’s presence in Al-Karmah had become so pervasive that the group had infiltrated
the government structure in Al-Karmah. According to the aforementioned CENTCOM report,
“Karmah’s water purification director was the public face of AQI in the city, possibly serving as the
local group’s second-in-command ... At city council meetings, [REDACTED] exerted considerable
influence over which contractors would receive Coalition civil affairs contracts. [REDACTED] took
detailed notes at these meetings that were forwarded to his superiors in the AQI leadership.” 232

The Institute for the Study of War notes that, by January 2007, Al-Karmah was a well-known ISI
sanctuary.233 Additionally, the aforementioned CENTCOM report states that in February 2007, when
this attack occurred, ISI attacks (particularly IED attacks) had risen “dramatically” in Al-Karmah,
accounting for 64 percent of attacks in the area.234

ISI’s dominance in Fallujah and Al-Karmah continued until well after the attack that killed SGT
Clevenger. In June 2007, Coalition forces launched Operation Black Diamond in Al-Karmah to “clear
remaining AQI elements.”235 Additionally, the IDA report concludes that despite Coalition Forces
making significant progress throughout 2007, “the last ‘red’ area to be secured was in the Fallujah area,
with the Multi-National Force West (MNF-W), the coalition headquarters in this region, listing Al-
Karmah as the ‘most significant insurgent operating area’ as of August 2007.” 236

ISI did not issue a claim of responsibility for the IED attack that killed SGT Clevenger. However, ISI
did release a claim of responsibility for the downing of a Marine Corps CH-46 Sea Knight helicopter
on February 7, the day before the attack—aligning with the route clearance mission “in support of
recovery operations for a downed U.S. helicopter” that brought SGT Clevenger to the location of the
attack that killed him and further establishing ISI’s presence and execution of attacks in this area at
this precise time.237 CENTCOM’s Study of the Insurgency in Anbar Province, Iraq, an authoritative source

231 Ibid.
232 “Chapter Seven: Rise of the Anbar Salvation Front (2007),” in Study of the Insurgency in Anbar Province, Iraq, (CENTCOM,

June 13, 2007), p. 63, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1004.%20Chapter%207.pdf.
233 Patrick Gaughen, “Backgrounder # 17 Summer Operations Northwest of Baghdad: Denying Sanctuary to Al-Qaeda

in Iraq,” (Washington, DC: Institute for the Study of War, December 2007), p. 1,
https://www.understandingwar.org/sites/default/files/reports/Backgrounder16.pdf.
234 “Chapter Seven: Rise of the Anbar Salvation Front (2007),” in Study of the Insurgency in Anbar Province, Iraq, (CENTCOM,

June 13, 2007), p. 53, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1004.%20Chapter%207.pdf.
235 USCENTCOM, C3 Plans and Policy Top Ten Notes for 16 August 2007, (August 2007), p. 1,

https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/0312.%20C3%20Plans%20and%20Policy%20Top%20Ten%20Notes%20(SIPR)%2016%20Aug%2007.pdf.
236 Dr. William Knarr et al., Al Sahawa—The Awakening Volume V: Al Anbar Province, Area of Operations Raleigh,

Fallujah (Alexandria,      VA:      Institute    for      Defense         Analysis,        August       2016),        p.  34,
https://apps.dtic.mil/sti/tr/pdf/AD1018512.pdf.
237 PEX 113, Letter from Department of the Army to Abby Bradshaw (Feb. 12, 2007), p. 2; Joseph Giodorno, “Seven

killed in CH-46 Sea Knight helicopter crash in Iraq,” Stars and Stripes, February 8, 2007.
https://www.stripes.com/news/seven-killed-in-ch-46-sea-knight-helicopter-crash-in-iraq-1.60027; Colvin, Ross, “U.S.
Says ‘Sophisticated Weaponry’ Hit Chopper in Iraq,” Reuters, February 14, 2007. https://www.reuters.com/article/us-
iraq-usa-helicopter/u-s-says-sophisticated-weaponry-hit-chopper-in-iraq-idUSCOL44762820070214; “Video Shows Iraq


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citing credible intelligence, further details that “AQI in Karmah was under the leadership of
[REDACTED] and Sheikh Nazar Sa’di Zahir, who shot down a CH-46 helicopter northwest of the
town on February 7 using a Man-Portable Air-Defense System and carried out opportunistic IED
attacks in their [sic] aftermath.”238

Based on the reported location, date, and circumstances of the helicopter crash and the IED attack
on SGT Clevenger, I assess that SGT Clevenger’s mission was in support of the recovery of this CH-
46.239 ISI’s claim of responsibility confirms their presence in the area at the time of this attack.

Tactics, Techniques, and Procedures (TTPs). Another indicator that ISI is responsible for this attack is the
TTPs used to carry it out. SGT Clevenger died in an IED attack in which the IED was buried deep
beneath the road on which he was traveling.

The employment of a deep-buried IED demonstrates a TTP consistent with ISI. Throughout the Iraq
war, Coalition forces endeavored to mitigate the effects of IEDs on their patrols. They used heavier
vehicles with heavier armor and specialized designs that counteracted the force of IED blasts, and
applied metal detectors and ground-penetrating radars to search out IEDs. 240 Many Coalition
advancements were effective in reducing casualties from IEDs that used manufactured artillery
ammunition.241 The RG-31, the type of vehicle SGT Clevenger was driving at the time of this attack,
was a Mine Resistant Ambush Protected vehicle (MRAP) commonly used by route clearance units
because of its protection against explosive attacks.

Militant groups modified their IED TTPs and technology in response to advancing Coalition
protections. One such modification was burying IEDs deeply to make them difficult to detect by
metal detectors and the ground-penetrating radar systems used by Coalition forces. These deep-buried
IEDs were often made with large amounts of home-made explosives (HMEs). 242 Another militant
group modification was employing shaped charges like explosively formed penetrators (EFPs). 243
Deep-buried IEDs and EFPs accounted for only five to fifteen percent of all IED attacks that
occurred in Iraq in 2008, but were responsible for around 40% of IED casualties during that same
period.244 Similarly, of all attacks on MRAP vehicles in Iraq until August 2008, only those that utilized
either an EFP or a deep-buried IED proved fatal.245

Sunni insurgent groups such as ISI tended to favor the use of deep-buried IEDs made with HMEs to
attack MRAP vehicles.246 The attack that killed SGT Clevenger used a deep-buried IED. The IED

Helicopter Attack,” Al Jazeera, February 10, 2007, https://www.aljazeera.com/news/2007/2/10/video-shows-iraq-
helicopter-attack.
238 “Chapter Seven: Rise of the Anbar Salvation Front (2007),” in Study of the Insurgency in Anbar Province, Iraq, (CENTCOM,

June 13, 2007), p. 54, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1004.%20Chapter%207.pdf.
239 PEX 115, p. 3.
240 Eric Rosen, “Detecting Improvised Explosive Devices,” Institute for Defense Analysis, n.d., p. 1,

https://www.ida.org/~/media/Corporate/Files/Publications/ResearchNotes/RN2010/DetectingImprovisedExplosive
Devices.pdf.
241 Glenn Zorpette, “Countering IEDs,” IEEE Spectrum 45:9 (August 26, 2008), p. 5.
242 Zorpette, “Countering IEDs,” p. 5.
243 Rosen, “Detecting Improvised Explosive Devices,” p. 1.
244 Zorpette, “Countering IEDs,” p. 9.
245 Ibid.
246 Ibid.




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consisted of two manufactured projectiles and “70 to 80 pounds of an unknown explosive,” for a final
explosive weight of “approximately 250 lbs.”247 It was buried beneath the road at a depth that made it
undetectable by the patrol’s vehicles.248

The use of deep-buried IEDs was a known ISI TTP during this time period. In a June 2007 press
conference at the Pentagon, Army Lieutenant General Ray Odierno, commander of Multinational
Corps-Iraq, described ISI’s use of deep-buried IEDs: “I think these deep-buried IEDs have been there
for a long time. This is a tactic that al Qaeda uses. They come into an area, and then what they do is,
they form a support zone around themselves by putting in many, many deep-buried IEDs, because
they know that’s one way they can protect themselves. So this is – we see this in many other places.
This is – when they try to take an area over, this is their way to protect themselves.” 249

ISI practiced this tactic in multiple locations where it held area of operations dominance. In Diyala in
June 2007, when Coalition forces began to drive ISI out of the city of Baqubah, they discovered that
ISI had heavily mined the streets with deep-buried IEDs.250 Coalition forces faced similar challenges
when they cleared the Baghdad neighborhood of Dora in 2007, finding that ISI had fortified the area
with deep-buried IEDs.251 In January 2008, deep-buried IEDs planted by ISI were the primary threat
to Coalition forces in Arab Jabour.252 Thus, the use of a deep-buried IED in the attack that killed SGT
Clevenger is in keeping with ISI’s commonly-employed TTPs at the time.

In addition to ISI’s general use of deep-buried IEDs, IEDs were a specific TTP that ISI was known
to employ in Anbar Province. By 2006, ISI was regularly using IEDs in Al Anbar Province. According
to CENTCOM’s study of the Anbar insurgency, ISI members in Ramadi in 2006 were armed with “a
wide range of IEDs that were regularly used in stand-off attacks, ambushes, and as a cover for
retreats.”253 The report further states that by mid-2006, ISI offered financial incentives for ISI
members in Ramadi and Fallujah to carry out IED attacks.254 According to U.S. Military Intelligence
Summaries from late 2006, ISI was also regularly targeting Coalition Forces with IEDs in Al Anbar’s
smaller towns, including Al-Karmah.255 These summaries affirm the regular use of IEDs by ISI in the
province in the time period leading up to the attack that killed SGT Clevenger.

Furthermore, at the time of the attack, there is significant evidence of ISI’s access to IEDs in Al-
Karmah. Such evidence is detailed in the CENTCOM study of the Anbar insurgency:


247   PEX 114, p. 5.
248 Ibid.
249  Army Lieutenant General Ray Odierno, “Operations in Iraq,” CSPAN, June 22, 2007, (27:47), https://www.c-
span.org/video/?199379-1/operations-iraq.
250 “Bomb Rips Baghdad as Troops Fight Outside City,” The Star-Ledger, June 20, 2007.
251 Kimberly Kagan, “Potemkin Story,” National Review, September 5, 2007.
252 Bill Roggio, “Coalition Airstrikes Pound al Qaeda in Iraq Positions in Southern Arab Jabour,” Long War Journal, January

20, 2008, https://www.longwarjournal.org/archives/2008/01/coalition_pounds_al.php.
253 “Chapter Six: AQI Dominates the Insurgency (2006),” in Study of the Insurgency in Anbar Province, Iraq, (CENTCOM, June

13, 2007), p. 46, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
254 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006 (Carlisle      Barracks,      PA:     US      Army       War      College, January      17,       2019),    pp.     644-
645, https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.
255 “Chapter Six: AQI Dominates the Insurgency (2006)” in Study of the Insurgency in Anbar Province, Iraq (July 13, 2007), pp.

7, 46, 153, 236, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.


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        During the time of this attack, ISI had multiple high-ranking members in the city that were
         known to facilitate and carry out IED attacks. CENTCOM’s study of the Anbar insurgency
         notes that at the time of the attack, “one of the major leaders of AQI in Karmah” was known
         to launch IED attacks in Al-Karmah.256
        As noted previously, Al-Karmah’s water purification director was also a high-ranking ISI
         member. In addition to exerting considerable ISI influence in government affairs, he also
         permitted ISI to store IEDs and IED materials inside Al-Karmah’s water treatment facility. 257
        In early 2007, ISI used Al-Karmah as an IED hub, with group members in the surrounding
         areas traveling to Al-Karmah to obtain weapons for their attacks. 258 Al-Karmah’s status as an
         IED hub continued until early March 2007, when Coalition forces conducted raids on ISI’s
         IED manufacturing sites throughout the city, thus limiting ISI’s supply of IEDs in the area. 259

Despite ISI’s losses in Coalition raids, ISI continued to use Al-Karmah for IED production well past
the attack on SGT Clevenger. In a July 2007 raid, Coalition forces discovered another ISI IED factory
on the outskirts of Al-Karmah which was used to conduct attacks in Al-Karmah, Fallujah, and
Baghdad.260

In keeping with additional ISI TTPs, ISI likely conducted “opportunistic IED attacks” in the
aftermath of the CH-46 helicopter shootdown on February 7, 2007. 261 ISI frequently used IED attacks
in conjunction with other types of attacks to conduct “stand-off attacks, ambushes, and cover
retreats.”262 I do not assess that the shootdown of the helicopter and the IED attack that killed SGT
Clevenger were planned together. However, I do assess that the attack that killed SGT Clevenger was
likely an opportunistic attack conducted in the wake of the shootdown, utilizing an IED that had been
placed prior to February 7, 2007 and capitalizing on increased Coalition movement in the wake of the
CH-47 crash.

Iranian Support. Iran provided support to ISI and Iran’s support had a reasonable connection to the
ISI attack that killed SGT Clevenger. Iranian support for ISI is detailed extensively in my Expert
Report & Declaration on Sunni Militant Organizations263 The following information further demonstrates
the significance of Iran’s support to ISI at the time and in the location of this specific attack:

    ● Iran supported ISI militants in Al Anbar Province, where the attack occurred, through
      provision of arms and intelligence. In December 2006, evidence of Iranian support for ISI
      emerged when two Quds Force operatives were arrested in Baghdad. According to U.S.

256 “Chapter Seven: Rise of the Anbar Salvation Front (2007),” in Study of the Insurgency in Anbar Province, Iraq, (CENTCOM,

June 13, 2007), p. 63, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1004.%20Chapter%207.pdf
257 Ibid.
258 Ibid, p. 64.
259 Ibid.
260 Patrick Gaughen, “Backgrounder # 17 Summer Operations Northwest of Baghdad: Denying Sanctuary to Al-Qaeda

in Iraq,” (Washington, DC: Institute for the Study of War, December 2007), p. 3,
https://www.understandingwar.org/sites/default/files/reports/Backgrounder16.pdf.
261 “Chapter Seven: Rise of the Anbar Salvation Front (2007),” in Study of the Insurgency in Anbar Province, Iraq, (CENTCOM,

June 13, 2007), p. 54, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1004.%20Chapter%207.pdf.
262 “Chapter Six: AQI Dominates the Insurgency (2006)” in Study of the Insurgency in Anbar Province, Iraq (July 13, 2007), pp.

7, 46, 153, 236, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
263 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.




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      defense officials, the documents possessed by the operatives definitively demonstrated the
      Quds Force’s cooperation with Sunni militias – including ISI – and included “weapons lists,
      documents pertaining to shipments of weapons into Iraq, organizational charts, telephone
      records and maps, among other sensitive intelligence information,” demonstrating the extent
      of Iran’s support.264
    ● In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
      Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment
      of improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations
      with Iran and al-Qaeda, identifies his work in distributing designs for remote detonation
      devices used by terrorist organizations in Iraq, and connects him to multiple IED networks
      across northern Iraq, where ISI primarily operated. 265 Given his affiliations with Iran and al-
      Qaeda, and the nature of his activities in Iraq, it is very likely that Ghazala played a role in
      facilitating IED attacks for ISI.
    ● Iran’s provision of weapons to ISI was one of the most substantial types of support that Iran
      provided—significant enough to be a causal factor in the U.S. Department of the Treasury’s
      designation of Iran’s Ministry of Intelligence and Security (MOIS). In February 2012, the
      Treasury Department designated the MOIS for human rights abuses and support for
      terrorism, stating that MOIS “provided money and weapons to al Qa’ida in Iraq (AQI).” 266
      Indeed, this Court previously found that Iran materially supported ISI in carrying out IED
      attacks throughout Iraq from June 2004 and May 2007. 267

Summary
In summary, I conclude that it is very likely that ISI carried out the February 8, 2007 IED attack in
Al-Karmah, Al Anbar Province that killed U.S. Army SGT Ross Clevenger based on the following:

        ISI possessed area of operations dominance in Al-Karmah during the period when this attack
         occurred and was motivated to conduct the attack.
        The attack, along with the wider scenario described, exhibited TTPs commonly associated
         with ISI.
        ISI claimed responsibility for downing the CH-46 Sea Knight Helicopter that was the object
         of SGT Clevenger's mission, and likely conducted attacks of opportunity against forces
         participating in recovery operations.

I also conclude that there is a reasonable connection between Iranian support for ISI and this ISI
attack.




264 Eli Lake, “Iran’s Secret Plan for Mayhem,” New York Sun, January 3, 2007.
265 U.S. Department of State, Office of the Spokesperson, press release, “Terrorist Designation of HAMAS Operative

Muhammad Hisham Muhammad Isma’il Abu Ghazala,” (September 22, 2011), https://2009-
2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.
266 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” (February 16, 2012), https://home.treasury.gov/news/press-
releases/tg1424.
267 See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023) (“the Court is satisfied

that Iran’s support was a ‘substantial factor’ in the IED attacks and that the consequences of its support were ‘reasonably
foreseeable’”).

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Attack #6 – February 11, 2007 Shaped-Charge IED Attack in Al-Karmah, Al Anbar Province
that Killed U.S. Army Sergeant Russell A. Kurtz February 11, 2007
Geography: Al-Karmah, Al Anbar Province
Attack Type: Shaped-Charge IED
Direct Victim(s): SGT Russell Kurtz

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

         PEX 116, Department of the Army, USCENTCOM FOIA 22-0146, "Supplemental Report
          of Casualty – Russell Kurtz," (February 11, 2007).
         PEX 117, Department of the Army, “Informal AR 15-6 Investigation Findings in the Death
          of SGT Kurtz, Russell Andrew B Co 3-509 IN,” (March 13, 2007).
         PEX 118, Department of the Army, “Certificate of Death – Russell Kurtz,” (February 27,
          2007).
         PEX 119, Department of the Army, “Casualty Report – Russell Kurtz,” (February 11, 2007).

Attack Description
On February 11, 2007, Sergeant (SGT) Russell A. Kurtz was serving in Company B, 3rd Battalion,
509th Infantry in the vicinity of Al-Karmah, approximately 10 minutes away from Camp Fallujah. 268

On the day of the attack, SGT Kurtz was the Tactical Commander (TC) seated in the passenger seat
of a M1114 High Mobility Multipurpose Wheeled Vehicle (HMMWV), traveling west on alternative
supply route (ASR) Michigan while returning from an operation that had “provided route security for
the main assault effort in the convoy.”269 SGT Kurtz’s vehicle was the last vehicle in the six-vehicle
convoy.270 According to the Army Regulation 15-6 investigation report (AR 15-6), SGT Kurtz’s
HMMWV was traveling approximately 400 meters behind the main assault effort when, “at
approximately 0552 local time on 11 FEB 2007, SGT Kurtz was struck in the right side of his head,
below the rim of his advanced combat helmet, by the IED [improvised explosive device] explosive
shock wave and the ballistic glass installed in the [redacted] Armored Door of his M1114 HMMWV,
while serving as the vehicles [sic] Tactical Commander (TC). The head trauma sustained by SGT Kurtz
immediately rendered him unresponsive.”271

Immediately following the attack, a soldier from another convoy vehicle administered medical
assistance to SGT Kurtz. SGT Kurtz was then transported by ground to Fallujah Surgical, a Level II
treatment facility at Camp Fallujah, before being medically evacuated to Balad. 272


268  PEX 117, Department of the Army, “Informal AR 15-6 Investigation Findings in the Death of SGT Kurtz, Russell
Andrew B Co 3-509 IN,” (March 13, 2007), p. 10; PEX 116, Department of the Army, “Report of Casualty – Russell
Kurtz,” (February 11, 2007), p. 2.
269 PEX 117, pp. 7, 10.
270 PEX 117, p. 10.
271 PEX 117, p. 10.
272 PEX 117, p. 10.; PEX 119, Department of the Army, “Casualty Report – Russell Kurtz,” (February 11, 2007), p. 3;

PEX 118, Department of the Army, “Certificate of Death – Russell Kurtz,” (February 27, 2007), p. 2.


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                                                                                                        At
least one other individual from SGT Kurtz’s vehicle was wounded in this attack. 274

The AR 15-6 Investigation Report also describes the IED:

         Per a conversation with EOD [explosive ordnance disposal], the shaped charge IED
         was most likely a command wire detonated device and was placed at a 45 degree angle
         in a pot hole on the north side of ASR [alternative service route] [redacted] as to aim
         at the passenger (TC) side of the vehicle. EOD indicated that any triggerman
         employing this type of IED would have been either very skilled or very lucky, based
         on the timing required to properly employ this type of IED. This was the first verified
         use of a shaped charge IED in [illegible text] 3 509 IN (ABN) [3-509th Infantry
         Airborne] area of operations.275

The report goes on to state that the operative who detonated the shaped charge IED “was most likely
located within a few hundred meters north of ASR Michigan and had his escape covered by a second
Insurgent who fired at the platoon (1 B3-509) from a berm 300-400 meters north of the IED site.” 276
U.S. forces engaged the operatives, but they ultimately escaped. 277

Attack Attribution
I conclude that the Zarqawi organization (as the Islamic State of Iraq) very likely committed this
shaped charge IED attack. This conclusion is based on the following data points: 1) the geographic
location and time period of the attack; and 2) the tactics, techniques, and procedures (TTPs) used in
this attack.

The Zarqawi organization has undergone several name changes since the group’s inception in 1993.
At the time of this attack, the group referred to itself as the Islamic State of Iraq (ISI), so that is the
name I employ for it in this section. However, some sources cited in this attribution continue to refer
to the organization by its former names, including MSC, AQI and JTJ.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to ISI’s responsibility. This attack took place between Al-Karmah and Fallujah on February 11, 2007.
Al-Karmah is 10 miles northeast of Fallujah. The below map provides the approximate location of
the attack.




273 PEX 119, p. 3; PEX 118, p. 2.
274 PEX 117, p. 10.
275 PEX 117, p. 7.
276 PEX 117, p. 10.
277 PEX 117, p. 10.


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          Figure 6: Approximate location of the attack between Al-Karmah and Fallujah, Al Anbar Province.

ISI was present in Fallujah at the time this attack occurred. Though Coalition forces had some success
in limiting ISI operations in Fallujah in late 2004, by 2007 ISI had taken advantage of the lack of U.S.
forces there to reestablish influence in the city.278

Around this time, U.S. forces had begun shifting responsibilities to their Iraqi counterparts, and Iraqi
forces – supported by Coalition partners – were focused on countering ISI’s presence in the area. In
November 2006, Coalition forces created the Iraqi Special Missions Group to enable “the Iraqi Police
to more effectively target AQI leaders operating in the Fallujah area.” 279

As 2007 progressed, ISI conducted several attacks in Fallujah:

          On February 2, 2007, ISI assassinated Fallujah City Council chairman Abbas Ali Hussein at
           his home.280
          On March 1, 2007, ISI used a car bomb to target an Iraqi policeman’s wedding party. 281




278  Dr. William Knarr et al., Al Sahawa—The Awakening Volume V: Al Anbar Province, Area of Operations Raleigh,
Fallujah, (Alexandria,      VA:   Institute   for      Defense     Analysis,  August     2016)      p.     22,
https://apps.dtic.mil/sti/tr/pdf/AD1018512.pdf.
279 Ibid.
280 Ibid.
281 Alissa J. Rubin, “Car Bomb Kills 7 in a Wedding Party in Falluja,” New York Times, March 1, 2007,

https://www.nytimes.com/2007/03/01/world/middleeast/01cnd-iraq.html; Alissa J. Rubin, “Bomb Kills 7 at Police
Wedding             Party,”       The         Telegram         (London),       March         2,         2007,
https://www.telegram.com/story/news/local/north/2007/03/02/bomb-kills-7-at-police/52959347007/.


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         On March 28, 2007, ISI used mortar fire, small arms fire, two suicide truck bombs, and a
          ground assault to attack the Fallujah Government Center.282

Multiple authoritative reports indicate ISI’s presence in Al-Karmah was central to the group’s
operations in the Fallujah area. A 2007 U.S. Central Command (CENTCOM) report on the insurgency
in Al Anbar states in the time leading up to this attack, “Karmah was an AQI logistical and foreign
fighter node as well, facilitating the group’s smuggling between Baghdad and areas west and north of
Anbar.”283 Additionally, an Institute of Defense Analysis (IDA) report notes that ISI’s influence in
Fallujah depended on operations centers in nearby cities, including Al-Karmah, which supplied ISI
with insurgents and weapons to conduct attacks in Fallujah and Baghdad.284 The IDA report includes
an interview with Lieutenant Colonel Joe L’Etoile, battalion commander for 2/7 Marines who oversaw
their deployment to the Al-Karmah area from July 2005 to January 2006 and again from January to
August 2007. LtCol L’Etoile observed that “AQI also maintained a strong and persistent presence in
Al-Karmah, using it as a center from which to attack Fallujah. One difficulty with securing the Al-
Karmah area was its proximity to where three Coalition operating areas connected: Multi-National
Division–North, Multi-National Division–Baghdad, and MNF-W. Cognizant of the “seam,”
insurgents used the boundaries to facilitate their attack. The area north of Al-Karmah had also been a
harbor for AQI since 2004, given its remoteness and location along a major route connecting the
Samarra area to the Fallujah area.”285

By early 2007, ISI’s presence in Al-Karmah had become so pervasive that the group had infiltrated
the government structure in Al-Karmah. According to the aforementioned CENTCOM report,
“Karmah’s water purification director was the public face of AQI in the city, possibly serving as the
local group’s second-in-command...at city council meetings, [REDACTED] exerted considerable
influence over which contractors would receive Coalition civil affairs contracts. [REDACTED] took
detailed notes at these meetings that were forwarded to his superiors in the AQI leadership.” 286

The Institute for the Study of War notes that, by January 2007, Al-Karmah was a known ISI
sanctuary.287 Additionally, the aforementioned CENTCOM report states that in February of 2007,
when this attack occurred, ISI attacks, particularly with IEDs, had risen “dramatically” in Al-Karmah,
accounting for 64% of attacks in the area.288


282  Dr. William Knarr et al., Al Sahawa—The Awakening Volume V: Al Anbar Province, Area of Operations Raleigh,
Fallujah, (Alexandria,     VA:       Institute    for     Defense          Analysis,        August       2016)        p.  22,
https://apps.dtic.mil/sti/tr/pdf/AD1018512.pdf.
283 “Chapter Seven: Rise of the Anbar Salvation Front (2007),” in Study of the Insurgency in Anbar Province, Iraq, (CENTCOM,

June 13, 2007), p. 53, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1004.%20Chapter%207.pdf.
284 Dr. William Knarr et al., Al Sahawa—The Awakening Volume V: Al Anbar Province, Area of Operations Raleigh,

Fallujah, (Alexandria,     VA:       Institute    for     Defense          Analysis,        August       2016)        p.  26,
https://apps.dtic.mil/sti/tr/pdf/AD1018512.pdf.
285 Ibid.
286 “Chapter Seven: Rise of the Anbar Salvation Front (2007),” in Study of the Insurgency in Anbar Province, Iraq, (CENTCOM,

June 13, 2007), p. 63, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1004.%20Chapter%207.pdf.
287 Patrick Gaughen, “Backgrounder # 17 Summer Operations Northwest of Baghdad: Denying Sanctuary to Al-Qaeda

in Iraq,” (Washington, DC: Institute for the Study of War, December 2007), p. 1,
https://www.understandingwar.org/sites/default/files/reports/Backgrounder16.pdf.
288 “Chapter Seven: Rise of the Anbar Salvation Front (2007),” in Study of the Insurgency in Anbar Province, Iraq, (CENTCOM,

June 13, 2007), p. 53, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1004.%20Chapter%207.pdf.


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ISI’s dominance in Fallujah and Al-Karmah continued until well after the attack that killed SGT Kurtz.
In June 2007, Coalition forces launched Operation Black Diamond in Al-Karmah to “clear remaining
ISI elements.”289 Additionally, the IDA notes that despite Coalition forces making significant progress
throughout 2007, “the last ‘red’ area to be secured was in the Fallujah area, with the Multi-National
Force West (MNF-W), the coalition headquarters in this region, listing Al Al-Karmah as the ‘most
significant insurgent operating area’ as of August 2007.”290

Tactics, Techniques, and Procedures (TTPs). Another indicator that ISI was responsible for the attack is the
TTPs used to carry it out. The perpetrators conducted a shaped-charge IED attack.

Shaped charges are specially designed devices that effectively penetrate armor. Operating using a
scientific principle called the Munroe Effect, shaped charges use a metal-lined, concave-shaped high
explosive to create a “jet” of superheated metal.291 This jet travels at a speed of up to 10,000 meters
per second and is capable of penetrating steel armor.292

A shaped charge therefore operates similarly, in principle, to an explosively formed penetrator (EFP).
EFPs also use the Munroe Effect to create a metal slug that has a higher mass but creates a similar
armor-piercing effect.293 Notably, shaped charges must be detonated closer to their intended target,
while EFPs can function with a higher standoff distance. 294

An ISI EFP factory in the neighboring Saladin Province demonstrates the group’s ability to construct
and conduct sophisticated explosive attacks. In July 2007, elements of the Iraqi police detained the
leader of an ISI cell in Samarra that facilitated the manufacture of IEDs and EFPs. This militant leader
– who has not been named publicly – was reportedly in charge of a 50-member ISI network and was
directly involved with an EFP factory in Samarra.295 The existence of this factory indicates that ISI
had the capabilities to make complex explosive devices such as the shaped-charge IED, as well as
personnel with expertise to carry out a sophisticated attack.

Iranian Support. Iran provided support to ISI and Iran’s support had a reasonable connection to the
ISI attack that killed SGT Kurtz. Iranian support for ISI is detailed extensively in my Expert Report &



289  USCENTCOM, “C3 Plans and Policy Top Ten Notes for 16 August 2007,” (August 2007), p. 1,
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/0312.%20C3%20Plans%20and%20Policy%20Top%20Ten%20Notes%20(SIPR)%2016%20Aug%2007.pdf.
290 Dr. William Knarr et al., Al Sahawa—The Awakening Volume V: Al Anbar Province, Area of Operations Raleigh,

Fallujah, (Alexandria,     VA:      Institute    for       Defense        Analysis,       August     2016)      p.      34,
https://apps.dtic.mil/sti/tr/pdf/AD1018512.pdf.
291    Neil      Arun,    “Shaped      Bombs      Magnify       Iraq     Attacks,”      BBC,     October     10,     2005,
http://news.bbc.co.uk/2/hi/middle_east/4320818.stm.
292 Richard Post, “Shaped Charges Pierce the Toughest Targets,” Science and Technology Review, June 1, 1998, p. 1,

https://web.archive.org/web/20121010192806/https://www.llnl.gov/str//pdfs/06_98.3.pdf.
293 J Morrison, P Mahoney, & T Hodgetts, “Shaped Charges and Explosively Formed Penetrators: Background for

Clinicians,” J R Army Med Corps, September 2007, https://pubmed.ncbi.nlm.nih.gov/18200915/.
294 John Ismay, “The Most Lethal Weapon Americans Faced in Iraq,” New York Times, October 18, 2013,

https://archive.nytimes.com/atwar.blogs.nytimes.com/2013/10/18/the-most-lethal-weapon-americans-faced-in-iraq/.
295 Marisa Cochrane, Backgrounder #26: Iran and Al-Qaeda in Iraq: What’s the Connection? (Washington, DC: Institute for the

Study of War, March 20, 2008), p. 12.


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Declaration on Sunni Militant Organizations.296 The following information further demonstrates the
significance of Iran’s support to ISI at the time and in the location of this specific attack:

       Iran supported ISI militants in Al Anbar Province, where the attack occurred, through
        provision of arms and intelligence. Zarqawi established his presence in Iraq through the help
        of the IRGC Quds Force, which provided Zarqawi with materials for command and control
        purposes (communication equipment); transit routes; and safe haven to Zarqawi and other
        operatives prior to the 2003 U.S. invasion of Iraq. 297 The Quds Force continued its support of
        AQI beyond 2003, including funneling weapons to AQI strongholds in Fallujah and Al Anbar
        Province in 2004.298
       In December 2006, further evidence of Iranian support for ISI emerged when two Quds Force
        operatives were arrested in Baghdad. According to U.S. defense officials, the documents
        possessed by the operatives definitively demonstrated the Quds Force’s cooperation with
        Sunni militias – including ISI – and included “weapons lists, documents pertaining to
        shipments of weapons into Iraq, organizational charts, telephone records and maps, among
        other sensitive intelligence information,” demonstrating the extent of Iran’s support. 299
        Notably, reporting detailed the inclusion of “importing modern, specially shaped explosive
        charges” in the weapons Iran provided to these Sunni militias. 300
      ● Iran’s provision of weapons to ISI was one of the most substantial types of support that Iran
        provided—significant enough to be a causal factor in the U.S. Department of the Treasury’s
        designation of Iran’s Ministry of Intelligence and Security (MOIS). In February 2012, the
        Treasury Department designated the MOIS for human rights abuses and support for
        terrorism, stating that MOIS “provided money and weapons to al Qa’ida in Iraq (AQI).” 301
      ● Indeed, this Court previously held that Iran’s provision of material support and resources to
        the Zarqawi organization (including training, funding, and weapons – including IED
        components) was sufficient to hold Iran liable for attacks carried out by the Zarqawi
        organization.302 Additionally, the United States District Court for the Southern District of

296 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
297    Sean Durns, “Iran’s Support for al-Qaida,” The Jerusalem Post, October 23, 2017,
https://www.jpost.com/opinion/irans-support-for-al-qaida-508130; Geoffrey Gresh, “Instigating Instability: Iran’s
Support       of     Non-State        Armed       Groups     in    Iraq,”   al    Nakhlah,      Spring     2006,      p.     8.
https://ciaotest.cc.columbia.edu/olj/aln/aln_spring06/aln_spring06b.pdf
298 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
299 Eli Lake, “Iran’s Secret Plan for Mayhem,” New York Sun, January 3, 2007; Sudarsan Raghavan & Robin Wright, “Iraq

Expels 2 Iranians Detained by U.S.,” Washington Post, December 30, 2006.
300 Raghavan & Wright, “Iraq Expels 2 Iranians Detained by U.S.”
301 U.S. Department of the Treasury, “Treasury Designates Iranian Ministry of Intelligence and Security for Human Rights

Abuses and Support for Terrorism.”
302 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *8 (D.D.C., Dec. 28, 2022) (“[T]he

Court finds that Plaintiffs has sufficiently demonstrated at the default stage that Iran was providing material support to
the Zarqawi organization—including ISI—by providing funding and weaponry, as well as facilitating travel and the use of
safe houses throughout Iran, during the period relevant to the ISI attack that led to Ms. Parhamovich’s death. The Court
further finds that Plaintiffs have demonstrated that Iran's material support was provided at the direction of Iranian officials
or agents acting within the scope of their “office, employment, or agency,” 28 U.S.C. § 1605A(a)(1), specifically, the Quds
Force.”); Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 at *15 (D.D.C., Jan. 17, 2023) (Iran provided
these groups with training, weapons, soldiers, safe haven and smooth passage, and more. … Iran also provided training
and weapons to all of these proxies [Asa’ib Ahl Al-Haq, Special Groups, Kata’ib Hezbollah, AQI, Badr Corps] … In terms
of weapons, Iran primarily provided explosively formed penetrators (EFPs), improvised explosive devices (IEDs), mortars,
and rocket-propelled grenades (RPGs), plus training on how to use them.… Plaintiffs have thus provided ample evidence


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      Texas found Iran liable for IED attacks with specially formed or shaped components carried
      out by the Zarqawi organization.303
    ● In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
      Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment
      of improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations
      with Iran and al-Qaeda, identifies his work in distributing designs for remote detonation
      devices used by terrorist organizations in Iraq, and connects him to multiple IED networks
      across northern Iraq, where ISI primarily operated. 304 Given his affiliations with Iran and al-
      Qaeda, and the nature of his activities in Iraq, it is very likely that Ghazala played a role in
      facilitating IED attacks for the ISI.

Summary
In summary, I conclude that it is very likely that ISI carried out the February 11, 2007 IED attack near
Al-Karmah that killed U.S Army SGT Russell Kurtz. My conclusion is based on the following:

        ISI possessed areas of operations dominance in the Al-Karmah area during the period when
         this attack occurred and was motivated to conduct the attack.
        The attack exhibited TTPs commonly associated with ISI.

Finally, I conclude that Iran’s material support substantially contributed to ISI’s commission of this
attack.




“satisfactory to the court,” 28 U.S.C. §1608(e), that Iran materially supported the terrorist groups and that this support
came from an “agent of such foreign state while acting within the scope of his or her office, employment, or agency,”);
Memorandum Opinion and Order, Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and
Neiberger v. Islamic Republic of Iran, No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 15, 20-
21 (“Iran provided safe haven to Zarqawi and its leaders by permit[ting] Zarqawi recruits to transit Iranian territory and
make use of safe houses in different parts of the country[.] Evidence further suggests that Iran coordinated to provide
funding and weapons to Zarqawi/AQI. […] The above findings demonstrate that Iran provided material support and
resources to AQI. […] Plaintiffs have thus established ‘some reasonable connection’ between Iran’s provision of material
support and AQI’s killing of SPC Davis.”) (internal citations omitted).
303 See Battles v. Islamic Republic of Iran, Civil Action No. 1: 21-CV-179 (S.D. Tex. Aug. 17, 2022) (“The evidence

demonstrates that Iran provided material support specifically to AQI.… AQI’s use of smuggled Iranian IED and EFP
components was a mutually beneficial arrangement … By the early 2000s, a “supply of arms flowed from Iran into al
Qaeda strongholds” in Iraq, and “Iranian arms became an important part of al Qaeda’s arsenal.”); Espitia v. Islamic Republic
of Iran, Civil Action No. 1: 21-CV-123 (S.D. Tex. June 16, 2022) (“Several years after the EFP and IED attacks injured
Espitia, intelligence experts determined that Iran was responsible for a significant portion of AQI’s weapons arsenal, and
would have been AQI’s principal supplier of EFPs. … [T]he Court concludes that the evidence is satisfactory to
demonstrate that Iran, through various state officials and agents, contributed significantly to AQI’s ability to orchestrate
multiple attacks throughout the Sunni Triangle in this brief period of time.”); Herrick v. Islamic Republic of Iran, Civil Action
No. 1: 21-CV-168 (S.D. Tex. Aug. 17, 2022) (“[T]he Court concludes that the evidence is satisfactory to demonstrate that
Iran, through various state officials and agents, contributed significantly to AQI’s ability to orchestrate an attack with a
weapon that was powerful enough to penetrate an armored combat vehicle, such as the one in which Herrick was patrolling
on September 20, 2007.”).
304 U.S. Department of State, Office of the Spokesperson, press release, “Terrorist Designation of HAMAS Operative

Muhammad Hisham Muhammad Isma'il Abu Ghazala,” September 22, 2011,
https://2009-2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.


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Attack #23 – February 18, 2007 Small Arms Fire Attack in Ramadi, Al Anbar Province that
Killed U.S. Army Private First Class Kelly Youngblood
Geography: Ramadi, Iraq
Attack Type: Small Arms Fire Attack
Direct Victim(s): PFC Kelly Youngblood

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

      ● PEX 120, CENTCOM, USCENTCOM FOIA 22-0246, “Report of Casualty – Kelly
        Youngblood,” (February 18, 2007)
      ● PEX 121, CENTCOM, USCENTCOM FOIA 22-0246, Ops Report, “DIRECT FIRE (Small
        Arms) ON B/3-69 (TF 3-69) IVO AR RAMADI (ROUTE): 1 CF KIA 2 AIF KIA,”
        (February 19, 2007).
      ● PEX 122, Department of the Army, USARCENT FOIA FA-22-0067, “15-6 Investigation
        into the circumstances surrounding the death of PV2 Youngblood,” (February 21, 2007)

Attack Description
On February 18, 2007, U.S. Army Private First Class (PFC) Youngblood was serving with the Delta
Company, 3rd Battalion, 69th Armor Regiment, 1st Brigade Combat Team, 3rd Infantry Division. 305
PFC Youngblood was part of a three person team in a tank codenamed Outlaw 31, heading back to
Combat Outpost (COP) Grant after switching duties at Observation Post 1 (OP1) outside of
Ramadi.306 According to the Army Regulation 15-6 Investigation Report (AR 15-6), as the occupants
exited the tank, the following occurred:

         As the tank parked in the motorpool and the driver PV2 Youngblood exited 2 shots
         were heard originating from an unknown building…At that time PV2 Youngblood
         was seen motionless on the front slope of the tank near the drivers
         hatch…[REDACTED] determined that PV2 Youngblood had no pulse and saw one
         gunshot wound to the [REDACTED]...PV2 Youngblood was medivaced [sic] to
         Charlie Med where he was pronounced dead…the cause of death was determined to
         be a gunshot wound to the head.307

Attack Attribution
I conclude that the Zarqawi organization (as the Islamic State of Iraq) likely committed this small arms
fire attack. This conclusion is based on the following data points: 1) the geographic location and time
period of this attack, 2) the tactics, techniques, and procedures (TTPs) employed in this attack.

The Zarqawi Organization has undergone several name changes since the group’s inception in 1993.
Before this attack, in October 2004, the Zarqawi Organization underwent one such change when the

305 PEX 120, CENTCOM, USCENTCOM FOIA 22-0246, “Report of Casualty – Kelly Youngblood,” (February 18,
2007), pp. 2, 3.
306 PEX 122, Department of the Army, USARCENT FOIA FA-22-0067, “15-6 Investigation into the circumstances

surrounding the death of PV2 Youngblood,” (February 21, 2007), p. 3.
307 PEX 122, p. 3.




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group formally pledged baya (allegiance) to al-Qaeda, changing its name from Jamaat al-Tawhid wal-
Jihad (JTJ) to Tanzim Qa’idat al-Jihad fi Bilad al-Rafidayn (al-Qaeda in Iraq). On January 15, 2006,
AQI deputy emir Abu Maysarah al-Iraqi announced the establishment of the Majlis Shura al-Mujahidin
fi-l-Iraq (better known as the Mujahedin Shura Council, or MSC), an umbrella group composed of six
Iraqi Sunni militant factions. On October 15, 2006, MSC announced its establishment of the Islamic
State of Iraq (ISI).308 While this attack took place after the name change, this attribution will refer to
the group as ISI. However, some sources cited in this attribution refer to ISI by its former names,
MSC, AQI and JTJ.

I now explain my conclusions.

Geography and Time Period. The location and time period are the first indicators pointing to ISI’s
responsibility. This attack took place outside the city of Ramadi, Al Anbar Province on February 18,
2007.




                   Figure 7: Approximate location of the attack in Ramadi, Al Anbar Province.

ISI was the dominant insurgent group in Ramadi when this attack occurred. A note declassified by
Central Command (CENTCOM) describing Multi-National Force – Iraq’s Commanding General
George Casey’s briefing on Ramadi on October 25, 2006, just three months before this attack,
demonstrates ISI’s level of influence in Ramadi. The note states that “75 percent of their fight is
against [ISI]. The other 25 percent is composed of the Sunni Resistance.”309 This was in spite of a




308 Majlis Shura al-Mujahidin fi-l-Iraq, statement on the establishment of the Islamic State of Iraq, October 15, 2006.
309   CENTCOM, “GEN Casey’s 25 October Travel to Ramadi                              and    Al    Asad,”    (n.d.),   p.   1,
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/0460.%20Oct-
Nov%202006%20notes%20for%20emailing.pdf.


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growing group called the Anbar Revolutionaries, an anti-ISI vigilante group gaining traction in August
with the goal of driving ISI out of Al Anbar Province. 310

ISI sustained its dominance in Ramadi through late 2006. ISI’s influence in the area is illustrated by
an attack it carried out during Ramadan, which in 2006 lasted from September to October 23. 311 ISI
was able to simultaneously attack multiple Coalition positions in Ramadi “half past each hour between
1330 and 1730.”312 According to an authoritative Central Command (CENTCOM) report on the
insurgency in Al Anbar Province published in 2007, although the attacks were unsuccessful, they
“illustrated that AQI retained a complex and coordinated command and control infrastructure in the
city despite the efforts of the Anbar Revolutionaries to assassinate the group's leadership.” 313

In 2007, security in Ramadi began to improve in large part due to a group called the Anbar Salvation
Front (also known as Sahwa al-Anbar, or SAA).314 SAA was an anti-ISI group that was aligned with
the Iraqi government and the Coalition.315 Even still, ISI was able to hold onto its strength in Ramadi
into early 2007 and was even able to continue its murder and intimidation campaign in the city. 316
Although ISI’s hold on the city had begun to slip, it remained the most powerful insurgent group in
Ramadi when this attack occurred.

Tactics, Techniques, and Procedures. An additional factor indicating the likelihood of ISI responsibility is
the TTPs used to carry it out. The perpetrators conducted a small arms fire attack.

ISI carried out multiple small arms fire attacks in 2007, not limited to the following examples:

        On January 19, 2007, ISI gunmen opened fire on a vehicle convoy in western Baghdad, killing
         four.317
        On January 27, 2007, ISI shot and killed a prominent Iraqi politician in Ramadi. 318
        In March 2007 in nearby Fallujah, ISI launched a complex attack against a government
         building that involved mortar fire, small arms fire, and two SVBIEDs followed by a ground
         attack.319
        On June 30, 2007, ISI initiated an attack against Coalition forces in Ramadi using small arms
         fire.320


310 “Chapter 6: AQI Dominates the Insurgency (2006),” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June

13, 2007), pp. 90, 122, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
311 Ibid, p. 193.
312 Ibid.
313 Ibid.
314 “Chapter 6: AQI Dominates the Insurgency (2006),” p. 233.
315 Ibid., p. 160.
316 “Chapter 7: Rise of the Anbar Salvation Front (2007),” p. 9.
317 START (National Consortium for the Study of Terrorism and Responses to Terrorism), Global Terrorism Database

1970 - 2020, https://www.start.umd.edu/gtd/search/IncidentSummary.aspx?gtdid=200701190003.
318 Ernesto Londoño, “Seven U.S. Soldiers Killed in Iraq Over Three Days,” Washington Post, January 28, 2007,

https://www.washingtonpost.com/wp-dyn/content/article/2007/01/27/AR2007012700479_pf.html.
319 Dr. William Knarr et al., Al Sahawa—The Awakening Volume V: Al Anbar Province, Area of Operations Raleigh,

Fallujah, (Alexandria,     VA:      Institute     for      Defense      Analysis, August    2016),     p.    22,
https://apps.dtic.mil/sti/tr/pdf/AD1018512.pdf.
320 “Coalition Forces Combat Extremist Fighter,” U.S. Fed News, July 3, 2007.




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ISI had the weapons and training necessary to carry out this attack, as demonstrated by the attacks
listed above.

Additionally, according to the Ops Report released by CENTCOM, PFC Youngblood’s attackers fired
at his unit from three different buildings simultaneously.321 The perpetrators of such an attack would
likely need to be familiar with the terrain in order to coordinate three different locations from which
to attack from, and to know that these locations would be an ideal place to carry out such an attack
based on Coalition movements. ISI’s long presence in Ramadi and resulting familiarity with Coalition
movements and surrounding buildings, as well as their area of operations dominance, make them the
best-poised group to execute such a coordinated attack.

Ruling Out Other Insurgent Groups. Other insurgent groups were also active in this area, and I have
considered their activities in rendering my opinion that ISI is ultimately the organization likely
responsible for the attack.

AAS was also present in Ramadi during this time. 322 ISI was cooperating closely with AAS in Ramadi
in early 2007 on leadership, finances, and operations, and so AAS involvement would not rule out ISI
involvement.323 However, since ISI was the dominant insurgent group in the city, it is more likely that
ISI perpetrated this attack. Additionally, given that Iran also supported AAS, AAS’s possible
involvement in the attack would not undermine my conclusion concerning Iranian support for the
attack that killed PFC Youngblood.

Iranian Support. Iran provided support to ISI and Iran’s support had a reasonable connection to the
attack that PFC Youngblood. Iranian support for ISI is detailed extensively in my Expert Report &
Declaration on Sunni Militant Organizations.324 The following information further demonstrates the
significance of Iran’s support to ISI at the time and in the place of this specific attack:

         Iran supported ISI elements in Al Anbar Province, where the attack occurred, through the
          provision of arms and financial support. Expert Bill Roggio notes that “Iranian mines and
          weapons were funneled to Zarqawi’s terrorists in Fallujah and elsewhere throughout Sunni
          dominated Al Anbar province.”325
         Iran’s provision of weapons to ISI was one of the most substantial types of support that Iran
          provided, along with funding—both of which were significant enough to be causal factors in
          the U.S. Department of the Treasury’s designation of Iran’s Ministry of Intelligence and
          Security (MOIS). In February 2012, the Treasury Department designated the MOIS for human
          rights abuses and support for terrorism, stating that MOIS “provided money and weapons to
          al Qa’ida in Iraq (AQI).”326

321  PEX 121, CENTCOM, USCENTCOM FOIA 22-0246, Ops Report, “DIRECT FIRE (Small Arms) ON B/3-69 (TF
3-69) IVO AR RAMADI (ROUTE): 1 CF KIA 2 AIF KIA,” (February 19, 2007), p. 2.
322“Chapter 7: Rise of the Anbar Salvation Front (2007),” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June

13, 2007), p. 10, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
323 Ibid.
324 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
325 Bill Roggio, “Iran and al Qaeda in Iraq,” Long War Journal, January 6, 2007.
326 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” (February 16, 2012), https://home.treasury.gov/news/press-
releases/tg1424.


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         This Court has previously validated the causal connection between Iran’s provision of money
          and weapons to ISI and the terrorist group’s ability to execute attacks. Indeed, this Court has
          held that Iran’s provision of material support and resources to ISI (including training, money,
          and weapons including small arms) was sufficient to hold Iran liable for attacks carried out by
          the Zarqawi organization.327
         In December 2006, further evidence of Iranian support for ISI emerged when two Quds Force
          operatives were arrested in Baghdad. According to U.S. defense officials, the operatives
          possessed “weapons lists, documents pertaining to shipments of weapons into Iraq,
          organizational charts, telephone records and maps, among other sensitive intelligence
          information.”328 According to a U.S. intelligence official, the information gleaned from the
          operatives showed “how the Quds Force [was] working with individuals affiliated with Al
          Qaeda in Iraq.”329

Summary
In summary, I conclude that it is likely that ISI is responsible for the February 18, 2007 small arms
fire attack in Ramadi, Al Anbar Province that killed U.S. Army PFC Kelly Youngblood based on the
following:

      ● ISI possessed area of operations dominance in Ashraf City during the time period when this
        attack occurred and was motivated to conduct the attack.
      ● The attack exhibited TTPs commonly associated with ISI.

I further conclude that Iran’s material support substantially contributed to ISI’s commission of this
attack.


 V.       Babil Province

Overview of Babil Province
The Plaintiff have asked me to assess two American casualties in Babil Province that occurred in 2004.
These casualties occurred at a time when the U.S. and its allies were focused on combating VNSA
activities across Iraq, including in Babil. VNSAs active in Babil at the time of these attacks include the
Zarqawi organization, JAM, and the Special Groups. The Zarqawi organization was the dominant
anti-American organization operating in Babil around 2004.

Below, I provide a summary of the war in Babil, including overviews of Coalition operations and
VNSA activities. These summaries are intended to provide context and background for the 2004
attacks I have been asked by the Plaintiffs to assess, as well as others that were committed in Babil
during Coalition operations in Iraq.



327 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *1-*2 (D.D.C., Dec. 28, 2022); Roth

v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023); Memorandum Opinion and Order,
Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of Iran,
No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 20-21, 40.
328 Eli Lake, “Iran’s Secret Plan for Mayhem,” New York Sun, January 3, 2007.
329 Ibid.


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Babil’s Geography and Population




                                                                           Figure 9: Babil Province from Map of Iraq




                      Figure 8: Map of Iraq 330

Babil Province is located south of Baghdad Province in Central Iraq, and has an estimated population
of more than two million people.331 It is bordered by Baghdad Province to its north and Al Anbar
Province to the northwest. The rest of Babil Province is encircled by the provinces of Karbala to its
west, Najaf to the southwest, Qadisiya to the south, Wasit to the east, and Diyala to the northeast.
Babil Province is divided into four districts: Musayab, Mahaweel, Hashimiya, and Hilla, which contains
the eponymous capital.332 While Babil Province’s population is majority Shia Arab, northern Babil has
a mixed population of Sunni and Shia Arabs.333 Babil Province was important to both Sunni and Shia
militant groups despite its majority Shia population, due to its access to the Baghdad Belts. The
Baghdad Belts are four networks of roads and waterways connecting Iraq’s capital of Baghdad to other
provinces of Iraq.334 The four Baghdad Belts are the northeast, southeast, southwest, and northwest

330 Map of Iraq, Map No. 3835 Rev. 6. United Nations Department of Field Support, Cartographic Section. 2014.
331 “Babil/Babylon,” European Union Agency for Asylum, January 2021,     https://euaa.europa.eu/country-guidance-iraq-
2021/babilbabylon#:~:text=Babil%20governorate%20is%20located%20in,The%20governorate's%20capital%20is%20
Hilla.
332 Ibid.
333 Ibid.; Farook Ahmed, Backgrounder #28 Multi-National Division – Center’s Operations during the 2007-2008 Troop Surge,

(Washington, DC; Institute for the Study of War, April 2008), p. 24.
334 “Baghdad Belts,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/baghdad-belts.




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belts. Two of these belts—the southeast and southwest belts—run through Babil Province. 335 The
southeastern belt runs east to the city of Mahmudiyah in Babil Province, while the southwestern belt
runs both east to Mahmudiyah and south to Iskandariya.336 Highway 8 from Hilla, Highway 9 from
Karbala, and Highway 1 from Kuwait—which were important main and alternate supply routes for
both Coalition and also militant forces—converged in this area. 337

Between 2004 and 2006, portions of the Baghdad belts were controlled by the Zarqawi organization
and Shia militias.338 The belts allowed these organizations to move between vital provinces such as Al
Anbar, Diyala, and Baghdad, and to project their power into the Iraqi capital. 339 According to Lt.
General Ray Odierno, then-commander of the Multi-National Corps – Iraq (MNC-I), “Attacks
occurring in Baghdad often originate in these [outlying] regions. Sectarian lines begin to blur in these
belts, creating a flashpoint for extremists looking to assert their control over Baghdad. Al-Qaeda in
Iraq and Shi’a extremists want to control these areas.” 340

Mahmudiyah and Iskandariya in northern Babil were part of an especially violent region, known as
the “Triangle of Death.”341 A comprehensive report by the U.S. Army Center of Military History on
the 2007-08 troop surge in Iraq describes this region:

         Triangle of Death [was] “a swath of territory where residents say insurgents have
         imposed draconian Islamic law, offered bounties for the killings of police, National
         Guardsmen, Shiite pilgrims and foreigners, and carried out summary executions in the
         street.” U.S. soldiers characterized the fighting there as the “war of the Iyahs,”
         referring to the cluster of towns in an arc south of the capital—Al Mahmudiyah, Al
         Yusufiyah, Al Latifiyah, and Al Iskandariyah—which were hotbeds of resistance to
         coalition forces.342

Coalition Operations in Babil Province
Early after the 2003 U.S. invasion of Iraq, Coalition forces concentrated operations in Hilla. 343
However, due to an increase in convoy ambushes along routes essential to operations in Baghdad,
Coalition forces shifted operations to focus on Northern Babil in mid-2003. 344 In June 2003, the U.S.


335 “Southwest,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/southwest; “Southeast,”

Institute for the Study of War, n.d., https://www.understandingwar.org/region/southeast.
336 “Southwest,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/southwest.

“Southeast,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/southeast.
337 John F. Kelly, “Task Force Scorpion,” Marine Corps Gazette, March 2004, p. 1, https://mca-marines.org/wp-

content/uploads/Task-Force-Scorpion.pdf.
338 “Baghdad Belts,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/baghdad-belts.
339 Ibid.
340 Ibid.
341 Dale Andrade, Surging South of Baghdad: The 3D Infantry Division and Task Force Marne in Iraq, 2007-2008, (Washington,

D.C.: Center for Military History, 2010), p. 51, https://history.army.mil/html/books/surging_south_baghdad/CMH-59-
2-1_b.pdf.
342 Ibid.
343 Michael S. Groen, With the 1st Marine Division in Iraq, 2003: No Greater Friend, No Worse Enemy, (Quantico, VA: Marine

Corps                         University,                         2006),                       p.                     406,
https://www.usmcu.edu/Portals/218/With%20the%201stMarDiv%20in%20Iraq%2C%202003.pdf.
344 Ibid., pp. 405-406.




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Marine Corps launched Task Force Scorpion to counter convoy ambushes in the area. 345 At the time,
convoy attacks averaged three per day involving small arms fire, and two per day involving RPGs. 346
During this time period, IED attacks also increased.347

Task Force Scorpion succeeded in drastically reducing the number of direct fire attacks by mid-June
and established an effective “parallel program of civil affairs activities in the population centers with
explosive ordnance disposal (EOD)” to mitigate the increasing IED attacks. 348 Insurgent tactics
shifted in response to these successes, emphasizing mortar attacks by late June. 349

Babil Province took on increased importance in 2004, as it served as (1) a key supply route for militant
efforts in other provinces, (2) a growing center for militant activity, and (3) a refuge for militant group
fighters. Retired U.S. Marine Corps Lieutenant Colonel Kenneth Estes has observed that Operation
Longstreet, conducted by Army Task Force Baghdad from August to September of 2003 in Al Anbar
and northern Babil Province, “revealed key sanctuaries and infiltration routes that likely fed the
insurgencies throughout Iraq.”350

Babil Province continued to supply Al Anbar Province with fighters despite Coalition efforts. Prior to
Operation Vigilant Resolve – the First Battle of Fallujah’s (April-May 2004) official name – Coalition
forces moved to interdict incoming fighters from northern Babil. 351 In fall 2004, the fighter transit
lines were still open, as evidenced by multiple Marine operations in November 2004 focused on cutting
the Fallujah-Baghdad supply lines traversing Babil Province. 352

Militant fighters also traveled in the opposite direction – from Fallujah to Babil Province – to fight
Coalition forces. A comprehensive CENTCOM report on the insurgency in Al Anbar Province details
that “the insurgent plan for defending Fallujah also called for the dispersal of 50% of the city’s total
fighters to nearby towns and rural areas from Ramadi to Baghdad and south into northern Babil. The
goal was to open a second front by attacking Coalition forces from the rear along the outer perimeter
and energizing other insurgent groups into stepping up their attacks.” 353




345 John F. Kelly, “Task Force Scorpion,”     Marine Corps Gazette, March 2004, pp. 1-2, https://mca-marines.org/wp-
content/uploads/Task-Force-Scorpion.pdf.
346 Ibid.
347 Ibid.
348 Ibid., pp. 3-4.
349 Ibid., pp. 2, 5.
350 Kenneth W. Estes, U.S. Marine Corps Operations in Iraq, 2003-2006, (Quantico, VA: Marine Corps University, 2006), p.

17, https://apps.dtic.mil/sti/pdfs/ADA515084.pdf.
351 “Chapter 4: The Insurgency Grows and Fights Pitched Battles (2004),” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,            June     13,     2007),      p.       20.     https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.
352 Timothy S. McWilliams & Nicholas J. Schlosser, U.S. Marines in Battle: Fallujah, November-December 2004, (Quantico, VA:

Marine Corps University, 2006), p. 14, https://www.usmcu.edu/Portals/218/FALLUJAH.pdf.
353 “Chapter 4: The Insurgency Grows and Fights Pitched Battles (2004),” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,            June     13,     2007),      p.       46,     https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.


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Babil Province additionally served as a militant fighter refuge. After the Second Battle of Fallujah,
fighters escaped from Al Anbar to northern Babil, where they assessed that a weaker security
environment existed.354

By 2007, Babil Province had also become a key location for militants to store weapons and supplies
used to launch attacks in neighboring Baghdad City.355 Coalition forces countered by dramatically
increasing the number of troops in Babil. 356

The 2007 U.S. troop surge focused on severing the weapons transfer nexus that ran through northern
Babil Province to southern Baghdad’s belts.357 In early 2007, U.S. intelligence officials discovered that
JAM had been transferring explosively formed penetrators (EFPs) to Babil Province from a new
source in Sadr City, Baghdad via southern Baghdad’s belts.358

On July 15, 2007, Coalition forces launched Operation Marne Avalanche to neutralize the Zarqawi
organization and JAM’s presence in the vicinity of Jurf Al-Sakhr and Iskandariya, Babil Province. 359
Among other locations, the operation prioritized an area of farmland northeast of Iskandariya, where
militants had succeeded in fortifying themselves due to Coalition forces’ months-long absence. 360

The area was considered especially dangerous because it was mined with deep-buried IEDs and close
to Route Tampa, a common target for IED attacks due to heavy civilian and military traffic, as well as
its importance as a supply route from Kuwait to Baghdad.361 Analysts considered this area to be a
Zarqawi organization sanctuary.362 During the operation, Coalition forces captured two members of
the Zarqawi organization’s leadership and destroyed weapons caches found in an abandoned Zarqawi
organization training camp where nine 500-pound bombs were stored. 363 Operation Marne Avalanche
also led to the capture of a JAM rocket cell leader and ten of the cell’s members, as well as the
commander and five members of a separate JAM cell known for conducting EFP attacks near
Mussayyib.364 According to Dale Andrade, Senior Historian at the Histories Division of the U.S. Army




354 Ibid., p. 50.
355 Dale Andrade, Surging South of Baghdad: The 3D Infantry Division and Task Force Marne in Iraq, 2007-2008, (Washington,

D.C.: Center for Military History, 2010), p. 14, https://history.army.mil/html/books/surging_south_baghdad/CMH-59-
2-1_b.pdf.
356 Ibid., pp. 14, 52.
357 Ibid., p. 52.
358 Ibid., p. 133.
359 Ibid., pp. 201, 206.
360 Ibid., p. 205.
361   Ibid., p. 205; Chris McKann, “Patrolling Route Tampa,” DVIDS Hub, February 19, 2007,
https://www.dvidshub.net/news/9174/patrolling-route-tampa.
362 Dale Andrade, Surging South of Baghdad: The 3D Infantry Division and Task Force Marne in Iraq, 2007-2008, (Washington,

D.C.: Center for Military History, 2010), p. 205, https://history.army.mil/html/books/surging_south_baghdad/CMH-
59-2-1_b.pdf.
363 Ibid., pp. 206, 209.
364 Farook Ahmed, Backgrounder #28 Multi-National Division – Center’s Operations during the 2007-2008 Troop Surge,

(Washington,         DC;     Institute      for      the      Study      of     War,      April       2008),    p.     25,
https://www.understandingwar.org/sites/default/files/reports/MND-
C%20Operations%20During%20the%20Surge.pdf.


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Center of Military History, Coalition forces “stated that the al-Qaeda support zone along the river was
disrupted and several important Mahdi Army indirect-fire teams were eliminated.” 365

The Zarqawi Organization in Babil Province
The Zarqawi organization was prominent in northern Babil Province before and following the two
2004 attacks under consideration. While northern Babil had been a Sunni stronghold prior to the
overthrow of Saddam Hussein, the 2003 U.S. invasion of Iraq resulted in Sunni residents being pushed
out of the region.366 This sectarian displacement was especially prominent in Mahmudiyah, which had
become 70 percent Shia by 2007.367 The shift in the sectarian balance of power heightened both
sectarian tensions and Sunni distrust in the Shia-dominated government’s ability or willingness to
protect Sunni Arabs from Shia militias.368 Many Sunni Arabs therefore turned to the Zarqawi
organization for protection, giving the organization a foothold in the city. 369

Beyond this, Northern Babil’s location on the Southern Baghdad Belt – which provided the Zarqawi
organization with munitions storage and a transportation route – made it valuable to the Zarqawi
organization.370 Abandoned Iraqi army bases and weapons facilities in the Belts provided resources
for carrying out IED attacks against Coalition forces.371 The Zarqawi organization also used the area’s
road and river networks to transport supplies and fighters between organization hotbeds in Al Anbar
Province and areas surrounding Mahmudiyah, Iskandariya, and Musayyib. 372

The Zarqawi organization expanded its northern Babil footprint in 2004, as an influx of Sunni militant
fighters fled Fallujah following the Second Battle of Fallujah and set up south of Baghdad. 373 The
Zarqawi organization’s claims of responsibility for attacks on Coalition forces in Babil as well as Shia
residents in 2004 and 2005 demonstrate its growth in the province.374 In July 2007 Strike Force
Geronimo discovered a Zarqawi organization safe house near Iskandariya containing several weapons
caches and hostage cells.375

Shia Militant Groups in Babil Province
Throughout the Iraq War, Iran’s Islamic Revolutionary Guard Corps (IRGC) and its externally
focused arm, the Quds Force, supported many proxies that attacked U.S. and Iraqi forces. In Babil

365 Dale Andrade, Surging South of Baghdad: The 3D Infantry Division and Task Force Marne in Iraq, 2007-2008, (Washington,

D.C.: Center for Military History, 2010), p. 211, https://history.army.mil/html/books/surging_south_baghdad/CMH-
59-2-1_b.pdf.
366 Ibid., p. 51.
367 Ibid., pp. 51, 52.
368 Ibid., p. 52.
369 Ibid.
370 “Southwest,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/southwest.
371 Ibid.
372 Ibid.
373 Dale Andrade, Surging South of Baghdad: The 3D Infantry Division and Task Force Marne in Iraq, 2007-2008, (Washington,

D.C.: Center for Military History, 2010), p. 48, https://history.army.mil/html/books/surging_south_baghdad/CMH-59-
2-1_b.pdf.
374 “Shiites Bear Brunt of Iraq Attacks,” Agence France Presse, November 18, 2005; “Zarqawi Group Claims Anti-US

Attack in Iraq,” Agence France Presse, October 28, 2004; “Zarqawi Group Claims Devastating Hilla Attack,” Agence
France Presse, March 1, 2005.
375 Dale Andrade, Surging South of Baghdad: The 3D Infantry Division and Task Force Marne in Iraq, 2007-2008 (Washington,

D.C.: Center for Military History, 2010), p. 210, https://history.army.mil/html/books/surging_south_baghdad/CMH-
59-2-1_b.pdf.


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Province, the IRGC-QF supported Shia militant groups Jaysh al-Madhi (JAM) and the Special Groups
in addition to the Zarqawi organization.

Jaysh al-Madhi (JAM). One prominent Shia group that received Iranian support was JAM. 376 JAM’s
presence in the province can be attributed to lack of government support and the presence of Sunni
militias in the province, which encouraged the Shia population turn to Shia militias like JAM for
protection.377

In 2004, JAM was largely active in the southern provinces, particularly in the cities of Najaf, Al
Diwaniyah, and Kut.378 However, the group did perpetrate some attacks in Hilla and the broader
Triangle of Death.379

In time, JAM established a significant presence in several cities in Babil Province. According to Dale
Andrade, JAM’s presence in Iskandariya allowed for the group to traffic weapons used for “most of
the frequent IED attacks along the three major roads leading out of the city” during the troop surge
in 2007-2008.380 The U.S. Army blamed JAM for several EFP attacks near Iskandariya in May 2007. 381

JAM had a stronger presence further south in Babil, particularly in the provincial capital of Hilla. In
May 2004, a Coalition raid led to the capture of Said Adnan Nonabi, head of Muqtada al-Sadr’s Hilla
office.382 This continued through 2008, when JAM forces had established residence in Hilla’s
neighborhoods to direct small arms and rocket-propelled grenade attacks against Coalition forces. 383


376 Publications conflict on whether JAM should be included in the umbrella of Iranian-backed Special Groups. While

JAM did receive material support from Iran, their relationship with Iran is significantly less straightforward than that of
the Special Groups. For this reason, I separated JAM and the Special Groups into different sub-sections.
Mapping Militants, “Jaysh al-Mahdi,” Stanford University, n.d., https://web.stanford.edu/group/mappingmilitants/cgi-
bin/groups/view/57.
377 Dale Andrade, Surging South of Baghdad: The 3D Infantry Division and Task Force Marne in Iraq, 2007-2008, (Washington,

D.C.: Center for Military History, 2010), p. 201, https://history.army.mil/html/books/surging_south_baghdad/CMH-
59-2-1_b.pdf.
378 “Chronology of Events in Iraq, April 2004,” United Nations High Commissioner for Refugees, September 2004, pp.

2-8, https://www.refworld.org/pdfid/4162b0a24.pdf.
379 “U.S. Assassinates Two Shiite Clerics Organizing Nonviolent Resistance,” Democracy Now, May 5, 2004,

https://www.democracynow.org/2004/5/5/u_s_assassinates_two_shiite_clerics;“Chronology of Events in Iraq, May
2004,” United Nations High Commissioner for Refugees, September 2004, p. 1 https://www.refworld.org/pdfid/415c66544.pdf;
“U.S.           Forces       Fight          al-Sadr         Insurgents,”         CNN,          May         30,        2004,
http://www.cnn.com/2004/WORLD/meast/05/30/iraq.main/index.html.
380 Dale Andrade, Surging South of Baghdad: The 3D Infantry Division and Task Force Marne in Iraq, 2007-2008, (Washington,

D.C.: Center for Military History, 2010), p. 201, https://history.army.mil/html/books/surging_south_baghdad/CMH-
59-2-1_b.pdf.
381 Ibid., p. 112.
382 “U.S. Assassinates Two Shiite Clerics Organizing Nonviolent Resistance,” Democracy Now, May 5, 2004,

https://www.democracynow.org/2004/5/5/u_s_assassinates_two_shiite_clerics; “Chronology of Events in Iraq, May
2004,”        United   Nations      High        Commissioner       for      Refugees,    September        2004,    p.     1
https://www.refworld.org/pdfid/415c66544.pdf; “U.S. Forces Fight al-Sadr Insurgents,” CNN, May 30, 2004,
http://www.cnn.com/2004/WORLD/meast/05/30/iraq.main/index.html.
383 Farook Ahmed & Marissa Cochrane, Backgrounder #27: Recent Operations against Special Groups and JAM in Central and

Southern Iraq, (Washington, DC: Institute for the Study of War, April 2008), p. 5,
https://www.understandingwar.org/sites/default/files/reports/Recent Operations against Special Groups and JAM in
Central and Southern Iraq.pdf.


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The Special Groups. In addition to Sunni militant groups and JAM, IRGC-QF also supported the Shia
militia and paramilitary groups that splintered from JAM in 2004 and became known as the Special
Groups.384 Iran provided these groups with training, weaponry, travel facilitation, and guidance. 385
Iranian-backed Special Groups had a significant presence in Babil Province during the relevant
timeframe, building on the province’s previously noted large Shia population – with majorities in
southern cities like Hilla.386

To organize attacks across areas with limited support, Shia militias established strong transit and
communication lines from centers of support in Baghdad to Shia-majority cities like Hilla in Southern
Babil. Highway 8, which connected Baghdad to areas in southern Babil, was central to the Special
Groups’ communications and operations in the province. 387

To support Special Groups operations along this route, cities astride Highway 8 became key nodes.
Like the Zarqawi organization, the Special Groups maintained a presence in Mahmudiyah due to its
location along Highway 8 from Hilla into Baghdad. 388 By 2008, the discovery of sizeable rocket,
mortar, and EFP caches along Highway 8 in Mahmudiyah and Hilla by Coalition forces indicated that
the Special Groups had developed “safe havens” there.389 Special Groups in these areas tended to
occupy the outskirts of the cities, and regularly used rockets, mortars, IEDs, and assassinations to
destabilize the area.390

I now turn to consideration of the Babil Province attacks that the Plaintiffs have asked me to assess.

Attack #14 – April 11, 2004 Complex Attack Near Mahmudiyah, Babil Province that Killed
Sergeant Major Michael Stack
Geography: Mahmudiyah, Babil Province
Attack Type: Complex Attack/Ambush
Direct Victim(s): SGM Michael Stack

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

384 Ibid; Marisa Cochrane, “Asaib Ahl al‐Haq and the Khazali Special Groups Network,” (Washington, DC: Institute for

the              Study           of         War,            January           13,           2008),     p.           1,
https://www.understandingwar.org/sites/default/files/reports/Asaib%20Ahl%20al%20Haq%20and%20the%20Khazal
i%20Special%20Groups%20Network.pdf; Mapping Militant Organizations, Stanford University, “Asa’ib Ahl al-Haq,”
n.d., https://web.stanford.edu/group/mappingmilitants/cgi-bin/groups/print_view/143; See the Jaysh al-Mahdi and
Associated Special Groups section in Appendix 1 for additional details on JAM and the Special Groups.
385 Bill Roggio, “Iran’s Ramazan Corps and the ratlines into Iraq,” Long War Journal, December 5, 2007,

https://www.longwarjournal.org/archives/2007/12/irans_ramazan_corps.php.
386 Farook Ahmed, Backgrounder #28 Multi-National Division – Center’s Operations during the 2007-2008 Troop Surge,

(Washington, DC; Institute for the Study of War, April 2008), pp. 24, 28.
387 Ibid.
388 Ibid., p. 24.
389 Farook Ahmed & Marissa Cochrane, Backgrounder #27: Recent Operations against Special Groups and JAM in Central and

Southern Iraq, (Washington, DC: Institute for the Study of War, April 2008), pp. 4, 5,
https://www.understandingwar.org/sites/default/files/reports/Recent Operations against Special Groups and JAM in
Central and Southern Iraq.pdf.
390 Ibid., p. 5.




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         PEX 123, Department of the Army, “Report of Casualty – Michael Stack” (April 11, 2004).
         PEX 124, Department of the Army, USARCENT FOIA FA-22-0067, “After Action Report
          for AOB 560 Combat Actions on 11-12APR04” (April 13, 2004)
         PEX 125, Office of the Armed Forces Medical Examiner, DHA FOIA 22-00085, “Final
          Autopsy Report – Michael Stack” (September 29, 2004)

Attack Description
On April 11, 2004, U.S. Army Sergeant Major (SGM) Michael Stack was serving with 2nd Battalion,
5th Special Forces Group in al-Hilla, Babil Province. 391 On the day of the attack, SGM Stack’s unit
traveled to the Coalition Provisional Authority Headquarters in Baghdad and the Baghdad Royal
Palace Compound (FOB 52). According to the After Action Report:

          The AOB [Advanced Operations Base] element departed the [Forward Operating
          Base] location at approximately 11 1200Z [Zulu] APR 04. At approximately 11 1315Z
          APR 04 the AOB traveled on Main Supply Route Tampa (Hwy 1) and made contact
          with an established ACF [Anti Coalition Force] ambush. The AOB command vehicle
          was lead and encountered an IED [Improvised Explosive Device] which misfired, the
          [redacted] immediately engaged and killed a ACF preparing to fire an RPG [Rocket
          Propelled Grenade].392

After this attack, SGM Stack’s unit returned to FOB 52, the Baghdad Royal Palace Compound. The
unit then decided to return to its primary base of operations in Babil Province’s Hilla. 393 The After
Action Report continues:

          Because of road debris and damaged bridges, the AOB element drove South in the
          Northbound lane under NVGs [Night Vision Goggles] enroute to Al Hilla. At
          approximately 11 1630Z APR 04, the AOB element was ambushed by a heavy volume
          of machinegun and small arms fire vicinity intersection of Hwys 1 and 8 (38S MB
          415615). The AOB elements immediately returned a heavy volume of fire and
          continued to engage until out of the kill zone. SGM Stack provided rear security for
          the convoy and directed fire against the enemy to protect the rest from the element.
          The ambush was initiated from the southern side of HWY [highway] 1, a few hundred
          meters past the initial kill zone an element from the northern side of the highway began
          to attack with small arms and machine fire. Within the second kill zone a [sic]
          IED/RPG was detonated on the southern side of the last vehicle. Internal
          communications were degraded, command vehicle was down to one operational



391 PEX 123, Department of the Army, “Report of Casualty – Michael Stack,” (April 11, 2004), p. 2; PEX 124,
Department of the Army, USARCENT FOIA FA-22-0067, “After Action Report for AOB 560 Combat Actions on 11-
12APR04” (April 13, 2004), p. 3.
392 ROB is an acronym that refers to either Railway Operations Battalion or Regional Office Building. Given that neither

make sense in the context of this attack, it was determined that ROB was most likely a misspelling of FOB (Forward
Operating Base) which would fit the context of this attack.
 PEX 124, p. 4.
393 PEX 124, p. 4.




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         antenna...A secured position was established and the trail vehicle was moved to the
         center. It was determined that SGM Stack was KIA [killed in action].394

The Military Grid Reference System (MGRS) coordinates referenced in the After Action Report
indicate that the attack occurred just north of Mahmudiyah. Shortly after the attack that killed SGM
Stack, the unit was ambushed again with small arms fire.
                                                                                              6



Attack Attribution
I conclude that the Zarqawi organization (as Jamaat al-Tawhid wal-Jihad, or JTJ) likely committed this
complex ambush attack. This conclusion is based on the following data points: (1) the geographic
location and time period of the attack; and (2) the tactics, techniques, and procedures (TTPs) used in
this attack.

The Zarqawi organization has undergone several name changes since its inception in 1993. In October
2004, the Zarqawi organization underwent one such name change when the group formally pledged
baya (allegiance) to al-Qaeda, changing its name from Jamaat al-Tawhid wal-Jihad (JTJ) to Tanzim
Qa’idat al-Jihad fi Bilad al-Rafidayn (al-Qaeda in Iraq, or AQI). As this attack happened before the
Zarqawi organization adopted the AQI moniker, this attribution will refer to the group as JTJ.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to JTJ’s responsibility. The below map provides the approximate location of the attack.




394 PEX 124, pp. 4-5.
395 PEX 125, Office of the Armed Forces Medical Examiner, DHA FOIA 22-00085, “Final Autopsy Report – Michael
Stack” (September 29, 2004), p. 3.
396 PEX 125, p. 4.




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                 Figure 10: Approximate location of the attack near Mahmudiyah, Babil Province.

This attack took place near Mahmudiyah in Babil Province, immediately south of Baghdad at the
intersection of Highway 1 and Highway 8.397 This area is considered a part of the “Triangle of Death,”
a region situated between the towns of Yusufiyah, Latifiyah and Mahmudiyah that received its macabre
name from frequent ambushes on Coalition forces and Shia civilians.398

At the time of the attack, JTJ maintained a strong operational presence in the Triangle of Death.
According to a background report on the area by the Institute for the Study of War:

         Al Qaeda dominated the city of Mahmudiyah from 2004 through 2006. The
         organization beheaded inhabitants there, as well as terrorizing them through other
         means. Until January 2007, al Qaeda also controlled the triangle of territory west and
         north of Mahmudiyah, between the Euphrates River and Highway 8 (the main highway
         running north from Mahmudiyah into Baghdad). The roads allowed al Qaeda to move
         fighters, supplies, and weapons from Fallujah (in Anbar province) to Mahmudiyah,
         and from there to the southern portions of Baghdad. Al Qaeda had freedom of
         movement in these areas. U.S. soldiers dubbed the area the “triangle of death,” and
         reporters have used that old description often this spring. Al Qaeda also used its
         position in Mahmudiyah to attack Shia areas to the south, particularly in al Haswah (30
         miles south of Baghdad) in northern Babil Province. 399

Additionally, JTJ’s presence in the Triangle in 2004 is demonstrated by the following attacks:

397 PEX 124, pp. 20-21.
398    Bill Roggio, “Stirring the Hornet’s Nest,”                   Long War Journal, November 23, 2004,
https://www.longwarjournal.org/archives/2004/11/stirring_the_ho.php; “Southwest,” Institute on the Study of War,
n.d., https://www.understandingwar.org/region/southwest.
399 Kimberly Kagan, Backgrounder #1: Al Qaeda in Iraq Attacks on Bridges, (Washington, DC; Institute for the Study of War,

June 10, 2007), https://www.understandingwar.org/sites/default/files/reports/Backgrounder01.pdf.


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        On February 10, 2004, JTJ launched a suicide bomb attack against an Iraqi police recruiting
         station in Iskandariya, a city just south of Mahmudiyah.400
        On March 2, 2004, Iraqi authorities blamed JTJ for suicide bombings on Shia mosques in
         Baghdad.401

As noted in a U.S. Central Command (CENTCOM) report on the insurgency in Al Anbar Province,
JTJ’s presence in the area of Mahmudiyah continued through November 2004, when the group’s “plan
for defending Fallujah also called for the dispersal of 50% of the city’s total fighters to nearby towns
and rural areas from Ramadi to Baghdad and south into northern Babil.” 402

Tactics, Techniques, and Procedures (TTPs). Another indicator that JTJ was responsible for the attack is the
TTPs used to carry it out. The perpetrators conducted a complex ambush attack. According to the
After Action Report:

         The ambush was well directed and planned, the enemy had isolated the kill zone and
         there was no other CF seen on the entire MSR. The enemy placed a heavy volume of
         fire that was controlled and not just the usual spray of bullets. . . The enemy followed
         similar TTPs for each ambush by isolating the trail vehicle directing the majority of
         their firepower in an attempt to possibly cause a break in contact. 403

According to CENTCOM’s definitive Study of the Insurgency in Anbar Province, Iraq, by mid-2004
insurgents in Fallujah (largely dominated by JTJ) “possessed small arms, RPGs, machine guns, IEDs,
and mortars.”404 This indicates that, during the relevant period, JTJ had local access to the weapons
used in the complex attack that killed SGM Stack. Additionally, an Australian Government report
notes that from 2002 to 2005, JTJ’s “particular terrorist activities … include vehicle bombs, small arms
ambushes, kidnappings and executions.”405

Furthermore, JTJ conducted several ambushes against Coalition forces during the time period of this
attack. The following attacks demonstrate JTJ’s ability to direct and plan complex ambushes:




400 “Chapter Four: The Insurgency Grows and Fights Pitched Battles (2004),” in Study of the Insurgency in Anbar Province,

Iraq (CENTCOM,           June    13,     2007),    pp.     3-4, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf; “Iraq Report: February 12, 2004,” RadioFreeEurope/RadioLiberty, February 12,
2004, https://www.rferl.org/a/1343059.html.
401 “Deadly attacks rock Baghdad, Karbala,” CNN, March 2, 2004.
402 “Chapter Four: The Insurgency Grows and Fights Pitched Battles (2004),” in Study of the Insurgency in Anbar Province,

Iraq (CENTCOM, June 13, 2007), p. 46.
403 PEX 124, p. 7.
404 “Chapter Four: The Insurgency Grows and Fights Pitched Battles (2004),” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,             June     13,      2007),      p.      20, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.
405 Parliamentary Joint Committee on ASIO, ASIS, and DSD, Review of the Listing of Ranzim Qa’idat al-Jihad fi Bilad al-Fafidayn

(The        al-Zarqawi        Network)       as        a        Terrorist          Organization,         (May           2005),
https://www.aph.gov.au/Parliamentary_Business/Committees/Joint/Former_Committees/pjcaad/al_zarqawi/chapter
2.


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         On June 24, 2004, JTJ members ambushed U.S. soldiers using “roadside bombs as well as
          small-arms and rocket-propelled grenade fire” in Baquba, Diyala Province. 406
         On October 18, 2004, JTJ ambushed an Iraqi National Guard compound north of Baghdad.
          The ambush included small arms fire and mortars. 407
         On October 20, 2004, JTJ claimed responsibility for an attack on a U.S. military convoy west
          of Fallujah.408
         On October 25, 2004, JTJ attacked an Australian Defence Force convoy in Baghdad. 409

Ruling Out Other Insurgent Groups. In evaluating the attack, I also assessed the possibility that Jaysh Al-
Mahdi (JAM), who regularly ambushed and violently engaged with Coalition forces in Baghdad and
Babil Province, perpetrated the attack.410 Though JAM had an operational presence in Babil Province,
its network was predominately active in southern Iraq, particularly in Najaf, Al Diwaniyah, and Kut. 411
Thus, I concluded that despite JAM’s presence and attacks on Coalition forces in Babil Province, JTJ’s
dominance in nearby Mahmudiyah and northern Babil indicates that the organization was more likely
to have conducted the attack which killed SGM Stack. However, given that Iran also materially
supported JAM during this time period, the Shia group’s possible involvement in the attack would not
undermine my conclusion concerning Iranian support for the attack that killed SGM Stack.

Iranian Support. Iran provided support to JTJ and Iran’s support had a reasonable connection to the
JTJ attack that killed SGM Stack. Iranian support for JTJ is detailed extensively in my Expert Report &
Declaration on Sunni Militant Organizations.412 The following information further demonstrates the
significance of Iran’s support to JTJ at the time and in the vicinity of this specific attack:

         Iranian material support was critical in enabling JTJ to establish itself as an insurgent group in
          Iraq. In a briefing entitled “Multi-National Force – Iraq Commander’s Counterinsurgency
          Guidance,” Gen. David Petraeus, the former commander of Multi-National Force – Iraq,
          highlighted JTJ’s needs, which included weapons, money, command and control facilitation,
          safe havens, and senior leader guidance.413 Prior to the 2003 U.S. invasion of Iraq, Iran
          provided Zarqawi with materials for command and control purposes (communication
          equipment); transit routes; and safe haven to Zarqawi and other operatives, enabling his
          direction and execution of JTJ activities.414

406     “Rebel       Attack       in      Five     Iraq    Cities     Kill   75,”    China     Daily,  June 24,  2004,
https://www.chinadaily.com.cn/english/doc/2004-06/24/content_342284.htm.
407 “Officials Suspect Infiltrators May Have Set up Killing of 50 Soldiers,” Nevada Appeal, October 24, 2004,

https://www.nevadaappeal.com/news/2004/oct/24/officials-suspect-infiltrators-may-have-set-up-kil/.
408   “Al-Zarqawi Claims he Launched US Attack,” Sydney Morning Herald, October 20, 2004,
https://www.smh.com.au/world/al-zarqawi-claims-he-launched-us-attack-20041020-gdjyd3.html.
409 Peter Chambers, “Abu Musab Al Zarqawi: The Making and Unmaking of an American Monster (in Baghdad),”

Alternatives: Global, Local, Political, 37:1 (February 2012) p. 16, https://www.jstor.org/stable/23210901.
410 “April Uprising,” The Official Website of the United States Army Transportation Corps and Transportation School,

n.d., https://transportation.army.mil/history/april_uprising.html; “U.S. Forces Fight al-Sadr Insurgents,” CNN, May 30,
2004, http://www.cnn.com/2004/WORLD/meast/05/30/iraq.main/index.html.
411 United Nations High Commissioner for Refugees, “Chronology of Events in Iraq, April 2004,” September 2004, pp.

2-8, https://www.refworld.org/pdfid/4162b0a24.pdf.
412 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
413 “Multi-National Force – Iraq Commander’s Counterinsurgency Guidance,” Multi-National Force – Iraq, July 15, 2008.
414    Sean Durns, “Iran’s Support for al-Qaida,” The Jerusalem Post, October 23, 2017,
https://www.jpost.com/opinion/irans-support-for-al-qaida-508130; Geoffrey Gresh, “Instigating Instability: Iran’s


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        Iran provided JTJ with weapons similar to those used in this attack. According to a Jordanian
         intelligence official, Iran had supplied machine guns and military equipment to JTJ from the
         beginning of their support for the group. 415 In 2004, Iran provided Zarqawi with “mines and
         weapons” at his strongholds in Fallujah and elsewhere in Anbar province (neighboring
         northern Babil).416 In December 2006, further evidence of Iranian support for JTJ emerged
         when two Quds Force operatives were arrested in Baghdad (similarly neighboring Babil).
         According to U.S. defense officials, the documents possessed by the operatives definitively
         demonstrated the Quds Force’s cooperation with Sunni militias – including JTJ – and included
         “weapons lists, documents pertaining to shipments of weapons into Iraq, organizational
         charts, telephone records and maps, among other sensitive intelligence information,”
         demonstrating the extent of Iran’s support. 417 By 2007, Coalition forces captured a number of
         weapons caches containing Iranian mortars, explosive material, RPGs, and ammunition in
         areas where JTJ maintained strong areas of operations.418
        In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
         Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment
         of improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations
         with Iran and al-Qaeda, identifies his work in distributing designs for remote detonation
         devices used by terrorist organizations in Iraq, and connects him to multiple IED networks
         across northern Iraq, where JTJ primarily operated.419 Given his affiliations with Iran and al-
         Qaeda, and the nature of his activities in Iraq, it is very likely that Ghazala played a role in
         facilitating IED attacks for JTJ.
        Iran’s provision of money and weapons to JTJ was one of the most substantial types of support
         that Iran provided—significant enough to be a causal factor in the U.S. Department of the
         Treasury’s designation of Iran’s Ministry of Intelligence and Security (MOIS). In February
         2012, the Treasury Department designated the MOIS for human rights abuses and support
         for terrorism, stating that MOIS “provided money and weapons to al Qa’ida in Iraq (AQI).” 420
        This Court has previously validated the causal connection between Iran’s provision of money
         and weapons to JTJ and the terrorist group’s ability to execute attacks. Indeed, this Court has
         held that Iran’s provision of material support and resources to JTJ (including training, money,
         small arms, RPGs, IEDs, IEDs with mortar components, specially shaped explosive charges,




Support       of     Non-State      Armed     Groups      in    Iraq,”     al      Nakhlah,     Spring    2006,      p.     8.
https://ciaotest.cc.columbia.edu/olj/aln/aln_spring06/aln_spring06b.pdf
415 Mary Anne Weaver, “The Short, Violent Life of Abu Musab al-Zarqawi,” The Atlantic, July/August 2006.
416    Bill Roggio, “Iran and al Qaeda in Iraq,” The Long War Journal, January 6, 2007;
Mary Anne Weaver, “The Short, Violent Life of Abu Musab al-Zarqawi,” The Atlantic, July/August 2006,
https://www.theatlantic.com/magazine/archive/2006/07/the-short-violent-life-of-abu-musab-al-zarqawi/304983/.
417 Eli Lake, “Iran’s Secret Plan for Mayhem,” New York Sun, January 3, 2007.
418 Kimberly Kagan, Iraq Report February 11, 2007 – April 25, 2007: The Battle for Diyala, (Washington, DC: Institute for the

Study of War, n.d.), pp. 7, 11, 12, https://www.understandingwar.org/sites/default/files/reports/IraqReport04.pdf.
419 U.S. Department of State, Office of the Spokesperson, press release, “Terrorist Designation of HAMAS Operative

Muhammad Hisham Muhammad Isma'il Abu Ghazala,” (September 22, 2011), https://2009-
2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.
420 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” (February 16, 2012), https://home.treasury.gov/news/press-
releases/tg1424.


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          and grenades) was sufficient to hold Iran liable for attacks carried out by the Zarqawi
          organization.421

Summary
In summary, I conclude it is likely that JTJ carried out the April 11, 2004 complex ambush attack near
Mahmudiyah, Babil Province that killed U.S. Army SGM Michael Stack. My conclusion is based on
the following:

         JTJ possessed areas of operations dominance in the province during the period when this
          attack occurred and was motivated to conduct the attack.
         The attack exhibited TTPs commonly associated with the JTJ.

I further conclude that Iran’s material support substantially contributed to JTJ’s commission of this
attack.

Attack #25 – May 25, 2004 Artillery Attack in Iskandariya, Babil Province that Killed
Vermont Army National Guard Sergeant Alan Bean
Geography: Iskandariya, Babil Province
Attack Type: Artillery Attack
Direct Victim(s): SGT Alan Bean

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

         PEX 126, CENTCOM, USCENTCOM FOIA 22-0072, Ops Report, “Rocket Attk on FOB
          Kalsu IVO MUSAYYIB: 3 CF KIA; 12 CF WIA,” (May 25, 2004).
         PEX 127, Office of the Armed Forces Medical Examiner, DHA FOIA 22-00085, “Autopsy
          Report – Alan Bean,” (August 3, 2004).

Attack Description
On May 25, 2004, Sergeant (SGT) Bean was serving with the 1st Battalion, 86th Field Artillery, of the
Vermont Army National Guard at Forward Operating Base (FOB) Kalsu. FOB Kalsu is located in
Iskandariya, Babil Province, approximately 20 miles south of Baghdad. 422




421 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *1-*2 (D.D.C., Dec. 28, 2022); Roth

v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023); Memorandum Opinion and Order,
Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of Iran,
No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 20-21, 40.
422


PEX 127, Office of the Armed Forces Medical Examiner, DHA FOIA 22-00085, “Autopsy Report – Alan Bean,” (August
3, 2004), pp. 2-3; “Military Deployment Periodic Occupational and Environmental Monitoring Summary (POEMS):
Forward Operating Base (FOB) Kalsu, Iraq Calendar Years: (2004 to 2011),” CENTCOM, February 2016, p. 1,
https://phc.amedd.army.mil/PHC Resource Library/U_IRQ_Kalsu POEMS 2004-2011_Public Release.pdf.


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On the day of the attack, SGT Bean was conducting routine operations at FOB Kalsu, when, at
approximately 14:20, 15 artillery rounds hit the base. 423 As outlined by the Operations Report (Ops
Report), “The impacts have been determined to be 15x 107MM [millimeters] Chinese rockets, with a
back azimuth of 245 degrees.”424

The attack on FOB Kalsu killed three servicemembers, including SGT Bean, and wounded twelve
others.425
                                                                                 Though this contrasts
with the Ops Report’s finding that rockets were used in this attack, that discrepancy is not material:
rockets and mortars both represent artillery attacks, and they will inflict comparable damage on their
targets.427

Attack Attribution
I conclude that the Zarqawi organization (as Jamaat al-Tawhid wal-Jihad, or JTJ) likely committed this
artillery attack. This conclusion is based on the following data points: 1) the geographic location and
time period of the attack; and 2) the tactics, techniques, and procedures (TTPs) used in this attack.

In discussing my findings, a clarifying note must be added. The Zarqawi organization has undergone
several name changes since its inception in 1993. In October 2004, the Zarqawi Organization
underwent one such name change when the group formally pledged baya (allegiance) to al-Qaeda,
changing its name from Jamaat al-Tawhid wal-Jihad (JTJ) to Tanzim Qa’idat al-Jihad fi Bilad al-
Rafidayn (al-Qaeda in Iraq, or AQI). This attribution refers to the group as JTJ. Some sources cited
in this attribution refer to the Zarqawi organization as AQI.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to JTJ’s responsibility. This attack took place in Iskandariya, Babil Province on May 25, 2004. The
below map provides the approximate location of the attack.




423 PEX 126, CENTCOM, USCENTCOM FOIA 22-0072, Ops Report, “Rocket Attk on FOB Kalsu IVO MUSAYYIB:

3 CF KIA; 12 CF WIA,” (May 25, 2004), p. 2.
424 PEX 126, p. 2.
425 PEX 126, p. 2.
426 PEX 127, Office of the Armed Forces Medical Examiner, DHA FOIA 22-00085, “Autopsy Report – Alan Bean,”

(August 3, 2004), p. 5.
427 107mm rounds are within the size range of both mortars and rockets. Additionally, per Jonathan Pike, director of

GlobalSecurity.org, for Slate: “The damage done by a single small rocket is equivalent to the damage done by a small mortar
shell. A single large rocket inflicts damage equivalent to that of a large mortar shell.”
Missile Defense Advocacy Alliance, “Rocket and Mortar Basics,” n.d., https://missiledefenseadvocacy.org/missile-threat-
and-proliferation/missile-basics/rocket-and-mortar-basics/; “Explainer: What are Mortars, Rockets, and Grenades?,”
Slate, May 8, 2001, https://slate.com/news-and-politics/2001/05/what-are-mortars-rockets-and-grenades.html.

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                  Figure 11: Approximate location of the attack in Iskandariya, Babil Province.

Iskandariya is a town in the north of Babil Province and considered a part of two regions: (1) the
Southwest Belt of Baghdad, a strategically important region which spans from Fallujah down the
Euphrates River corridor, through Sadr al-Yusufiyah, Yusufiyah, east to Mahmudiyah and south to
Iskandariya; and (2) the “Triangle of Death,” a well-known ambush zone directly south of Baghdad
between the towns of Yusufiyah, Latifiyah, and Mahmudiyah.428 At the time of this attack, JTJ retained
an operational presence in both regions.

According to the Institute for the Study of War, prior to Operation Phantom Thunder in 2007, the
Southwest Belt of Baghdad remained “a key transit and supply route for al-Qaeda in Iraq, linking its
strongholds in Anbar Province with battlegrounds in and around Mahmudiyah, mixed areas to the
south in Iskandariyah and Musayyib, and refuges in Arab Jabour and Hawr Rajab southeast of the city.
Between the river and the road networks, al-Qaeda in Iraq had multiple avenues for shipping and
storing munitions in this area to support attacks against Shi’a targets to the south in Babil Province
and to the north in Baghdad.”429

JTJ’s presence in the Southwest Belt is further demonstrated by a map of the Baghdad Belts that was
hand-drawn by Abu Musab al-Zarqawi, the group’s leader, which Coalition forces obtained in 2006. 430
This map, a copy of which is below, demonstrates JTJ’s strategic presence in Babil Province, including
Iskandariya, that it leveraged to carry out operations throughout the area.




428    Bill   Roggio,     “Stirring    the   hornet’s     Nest,    Long   War     Journal, November      23,    2004,
https://www.longwarjournal.org/archives/2004/11/stirring_the_ho.php; “Southwest,” Institute on the Study of War,
n.d., https://www.understandingwar.org/region/southwest.
429 “Southwest,” Institute on the Study of War, n.d., https://www.understandingwar.org/region/southwest.
430 “Baghdad Belts,” Institute on the Study of War, n.d., https://www.understandingwar.org/region/baghdad-belts.


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At the time of the attack, JTJ also maintained an operational presence in the Triangle of Death, as
demonstrated by the following attacks:

        On February 10, 2004, JTJ launched a suicide bomb attack against an Iraqi police recruiting
         station in Iskandariya.431
        On March 2, 2004, JTJ launched suicide bombings against Shiite Mosques in Baghdad and
         Karbala, a town approximately 30 miles from Iskandariya. 432

As noted in a CENTCOM report on the insurgency in Al Anbar Province, JTJ’s presence in the
Iskandariya area continued through November 2004, when their “plan for defending Fallujah also
called for the dispersal of 50% of the city’s total fighters to nearby towns and rural areas from Ramadi
to Baghdad and south into northern Babil.”433

Tactics, Techniques, and Procedures (TTPs). Another indicator that JTJ was responsible for this attack is
the TTPs used to carry it out. The perpetrators conducted an artillery attack. As described in the Ops
Report, the rounds that killed SGT Bean were “determined to be 15x 107MM Chinese rockets, with
a back azimuth of 245 degrees.”434

431 “Chapter Four: The Insurgency Grows and Fights Pitched Battles (2004),” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,           June     13,     2007),    p.      3-4,     https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf; “Iraq Report: February 12, 2004,” RadioFreeEurope/RadioLiberty, February 12, 2004,
https://www.rferl.org/a/1343059.html.
432 “Deadly attacks rock Baghdad, Karbala” CNN, March 2, 2004.
433 “Chapter Four: The Insurgency Grows and Fights Pitched Battles (2004),” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,           June     13,     2007),    p.       46,     https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.
434 PEX 126, CENTCOM, USCENTCOM FOIA 22-0072, Ops Report, “Rocket Attk on FOB Kalsu IVO MUSAYYIB:

3 CF KIA; 12 CF WIA,” (May 25, 2004), p. 2.


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The bomb used in JTJ’s February 10, 2004 attack employed “140-230 kilograms of plastic explosives
mixed with artillery shells.”435 According to the CENTCOM report on the insurgency in Al Anbar
Province, by mid-2004 insurgents in Fallujah, which was largely dominated by JTJ, “possessed small
arms, RPGs [rocket propelled grenades], machine guns, IEDs, and mortars.” 436 U.S. and Iraqi forces’
November 2004 seizure of a JTJ weapon cache in Fallujah (roughly 54 miles from Iskandariya) turned
up “small arms, artillery shells, heavy machine guns, and antitank mines” as well as “mortar systems,
rocket-propelled grenades, launchers, recoilless rifles and parts of surface-to-air weapons systems.” 437
JTJ employed artillery shells in their traditional fashion around this time, as further exemplified by
JTJ’s October 2004 attack on an Iraqi National Guard Compound in neighboring Al Anbar Province
in which JTJ attacked Iraqi security forces with mortar rounds. 438

JTJ also had a history of targeting Coalition military bases. Among many other examples, the group
was responsible for a December 2003 attack on the U.S. Army 82nd Airborne Division’s headquarters
in Ramadi.439 JTJ was also believed to be behind the well-coordinated February 2004 attack on the
Polish military camp in Al Hilla, 30 miles south of Iskandariya. 440 And in April 2005, JTJ attacked the
U.S.-controlled Abu Ghraib prison, an attack that U.S. officials considered to be “one of the most
sophisticated attacks of the insurgency” and which employed multiple types of artillery fire: “Rocket
barrages forced Marine guards to abandon a prison watchtower at the height of the precision-timed
offensive, which employed mortars, rockets, ground assaults and a car bomb.” 441 The weapons
discovered in JTJ caches and used in the Al Anbar and Abu Ghraib attacks demonstrate the group’s
local possession and employment of artillery around the time of the attack that killed SGT Bean.

Ruling Out Other Insurgent Groups. Other insurgent groups were also active in this area. I have considered
their activities in rendering my opinion that JTJ is ultimately the organization likely responsible for the
attack.

In addition to JTJ, Shia militant groups were active in Babil Province during this time. This includes
the Badr Corps and Jaysh al-Mahdi (JAM).442 These Shia militias drew support from Babil Province’s
large Shia population.443 However, these groups were most strongly concentrated in the south of Babil

435 RadioFreeEurope/RadioLiberty “Iraq Report: February 12, 2004.”
436 “Chapter Four: The Insurgency Grows and Fights Pitched Battles (2004),” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM,            June      13,    2007),      p.     20,      https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.
437   “U.S., Iraqi Forces Find Falluja's 'Largest Weapons Cache',” CNN, November 25, 2004,
https://www.cnn.com/2004/WORLD/meast/11/25/falluja.weapons/.
438 “Officials Suspect Infiltrators May Have Set Up Killing of 50 Soldiers,” Nevada Appeal, October 24, 2004,

https://www.nevadaappeal.com/news/2004/oct/24/officials-suspect-infiltrators-may-have-set-up-kil/.
439 “Terror Strikes Blamed on al-Zarqawi in Iraq,” NBC, July 14, 2004, https://www.nbcnews.com/id/wbna5437742.
440 Ibid.
441   Ellen Knickmeyer, “Zarqawi Said to Be Behind Iraq Raid,” Washington Post, April 5, 2005,
https://www.washingtonpost.com/archive/politics/2005/04/05/zarqawi-said-to-be-behind-iraq-raid/3a080b31-34d5-
4b67-8186-3aae3b50eec0/.
442 Bill Roggio, “Iran’s Ramazan Corps and the Ratlines into Iraq,” Long War Journal, December 5, 2007,

https://www.longwarjournal.org/archives/2007/12/irans_ramazan_corps.php; Mapping Militant Organizations. “Asa’ib
Ahl       al-Haq,”       Stanford     University,    n.d.,       https://web.stanford.edu/group/mappingmilitants/cgi-
bin/groups/print_view/143.
443 Farook Ahmed, Backgrounder #28 Multi-National Division – Center’s Operations during the 2007-2008 Troop Surge,

(Washington,       DC;      Institute  for      the   Study       of     War,    April    2008),   pp.   24,      28,


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Province, while JTJ held strongholds in the north, such as Iskandariya. 444 Therefore, this attack was
most likely carried out by JTJ. However, given that Iran also supported the Badr Corps and JAM, their
possible involvement in the attack would not undermine my conclusion concerning Iranian support
for the attack that killed SGT Bean.

Iranian Support. Iran provided support to JTJ and Iran’s support had a reasonable connection to the
attack that killed SGT Bean. Iranian support for JTJ is detailed extensively in my Expert Report &
Declaration on Sunni Militant Organizations.445 The following information further demonstrates the
significance of Iran’s support to JTJ at the time and in the location of this specific attack:

        Iranian material support was critical in enabling JTJ to establish itself as an insurgent group in
         Iraq. In a briefing entitled “Multi-National Force – Iraq Commander’s Counterinsurgency
         Guidance,” Gen. David Petraeus, the former commander of Multi-National Force – Iraq,
         highlighted JTJ’s needs, which included weapons, money, command and control facilitation,
         safe havens, and senior leader guidance.446 Prior to the 2003 U.S. invasion of Iraq, Iran
         provided Zarqawi with materials for command and control purposes (communication
         equipment); transit routes; and safe haven to Zarqawi and other JTJ operatives. 447 In 2004,
         Iran provided Zarqawi with “mines and weapons” at his strongholds in Fallujah and elsewhere
         in Anbar province (neighboring Babil); in July 2006, a Jordanian intelligence official told
         journalist Mary Anne Weaver that early Iranian support for JTJ included provision of
         automatic weapons, uniforms, and military equipment. 448 By 2007, Coalition forces captured a
         number of weapons caches containing a variety of Iranian weapons – including mortars and
         rockets - in areas where JTJ maintained strong areas of operations. 449
        Iran is known to have distributed weapons similar to those used in the attack to insurgent
         groups. In 2007, the U.S. Department of State outlined Iranian-arranged shipments of a variety
         of weapons, including 107mm rockets, to Iran’s proxy insurgent forces. 450 In addition, media
         sources indicate that by 2012, Iranian proxy groups were using rockets that “were probably
         built by Iran from Chinese blueprints.”451



https://www.understandingwar.org/sites/default/files/reports/MND-
C%20Operations%20During%20the%20Surge.pdf.
444 “Southwest,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/southwest.
445 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
446 “Multi-National Force – Iraq Commander’s Counterinsurgency Guidance,” Multi-National Force – Iraq, July 15, 2008.
447    Sean Durns, “Iran’s Support for al-Qaida,” The Jerusalem Post, October 23, 2017,
https://www.jpost.com/opinion/irans-support-for-al-qaida-508130; Geoffrey Gresh, “Instigating Instability: Iran’s
Support       of     Non-State      Armed      Groups      in   Iraq,”     al      Nakhlah,     Spring     2006,     p.     8.
https://ciaotest.cc.columbia.edu/olj/aln/aln_spring06/aln_spring06b.pdf
448   Bill Roggio, “Iran and al Qaeda in Iraq,” The Long War Journal, January 6, 2007;
Mary Anne Weaver, “The Short, Violent Life of Abu Musab al-Zarqawi,” The Atlantic, July/August 2006,
https://www.theatlantic.com/magazine/archive/2006/07/the-short-violent-life-of-abu-musab-al-zarqawi/304983/.
449 Kimberly Kagan, Iraq Report February 11, 2007 – April 25, 2007: The Battle for Diyala, (Washington, DC: Institute for the

Study of War, n.d.), pp. 7, 11, 12, https://www.understandingwar.org/sites/default/files/reports/IraqReport04.pdf.
450 U.S. Department of State, Office of the Spokesperson, press release, “Designation of Iranian Entities and Individuals

for     Proliferation Activities       and    Support     for   Terrorism,”       October      25,   2007,    https://2001-
2009.state.gov/r/pa/prs/ps/2007/oct/94193.htm.
451 “Is Hamas Using Chinese Rockets? Not Exactly, Say Experts,” ABC News, December 5, 2012,

https://abcnews.go.com/Blotter/hamas-chinese-rockets-experts/story?id=17875375.


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         Iran provided support to JTJ before, during, and after this attack in multiple ways. In February
          2012 the United States designated Iran’s Ministry of Intelligence and Security (MOIS) for its
          ongoing and systematic sponsorship of a variety of terrorist organizations. Among the entities
          listed was AQI – the name by which the U.S. Government referred to JTJ at the time – which
          according to the Treasury Department received not only money and weaponry but also
          “intermediary services” that helped secure the release of the group’s imprisoned operatives. 452
          This designation relies upon extensive research and data collection and reflects a demonstrated
          pattern of Iranian support to JTJ.

Summary
In summary, I conclude that it is likely that JTJ carried out the May 25, 2004 artillery attack in
Iskandariya, Babil Province that killed Vermont U.S. Army National Guard SGT Alan Bean. My
conclusion is based on the following:

         JTJ had area of operations dominance in Iskandariya and the surrounding area during the
          period when this attack occurred and was motivated to conduct the attack.
         The attack exhibited TTPs commonly associated with the JTJ.

Finally, I conclude that Iran’s material support substantially contributed to JTJ’s commission of this
attack.


VI.       Baghdad Province

Overview of Baghdad Province
The Plaintiffs have asked me to assess five American casualties in Baghdad Province from 2004 to
2007. These casualties occurred at a time when the U.S. and its allies sought to combat VNSA activities
across Iraq, including in Baghdad. VNSAs active in Baghdad during the time of the attacks at issue
include the Zarqawi organization, JAM, and the Special Groups.

Baghdad was a major hub of operations for the Zarqawi organization. As I have already discussed,
Iran provided crucial support to the Zarqawi organization. While other Sunni militant groups were
also present, the Zarqawi organization was the dominant Sunni anti-U.S. organization operating in
Baghdad throughout the relevant years. Shia militant groups, including JAM and the Special Groups,
also maintained significant operations in Baghdad. In keeping with my application of limiting
principles in this report, I consider the presence and possibility of other VNSAs’ responsibility for the
attacks at issue.

Below I provide a summary of the war in Baghdad, including overviews of Coalition operations and
VNSA activities. These summaries are intended to provide context and background for the 2004-07
attacks that the Plaintiffs have asked me to assess, as well as others that were committed in Baghdad
during Coalition operations in Iraq.




452 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” February 16, 2012.

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Baghdad’s Geography and Population




                                                                          Figure 13: Baghdad Province from
                                                                                    Map of Iraq




                      Figure 12: Map of Iraq453

Baghdad Province, home to Iraq’s eponymous capital city, is in central Iraq. It is surrounded by other
provinces that were key battlegrounds for Iranian-backed VNSAs. Those provinces include Diyala (to
Baghdad’s east), Al Anbar (to Baghdad’s west), Salah ad-Din (to Baghdad’s north), and Babil (to
Baghdad’s south).




453 Map of Iraq, Map No. 3835 Rev. 6. United Nations Department of Field Support, Cartographic Section. 2014.

https://www.un.org/geospatial/content/iraq.

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                         Figure 14: Map of Baghdad Neighborhoods and Security Districts. 454

Baghdad is the largest city in Iraq, and one of the largest cities in the Middle East. It has an estimated
population of more than 7 million people.455 The city is bifurcated by the Tigris River into western
and eastern halves. It is administratively divided into nine districts: 9 Nissan, Adhamiyah, Kadhimiyah,
Karadah, Karkh, Mansour, Rasheed, Rusafa, and Sadr City.456

454 Kimberly Kagan, et al., Iraq Situation Report, (Washington, DC: Institute for the Study of War, February 7, 2008), p. 15,

https://www.understandingwar.org/sites/default/files/reports/Iraq Situation Report.pdf.
455 “The World Factbook: Major Urban Areas – Population,” Central Intelligence Agency, n.d., https://www.cia.gov/the-

world-factbook/field/major-urban-areas-population/.
456 “Baghdad City,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/baghdad-city--‫مدينة‬

‫“ ;بغداد‬The Biggest Cities in Iraq,” World Atlas, n.d., https://www.worldatlas.com/articles/the-biggest-cities-in-iraq.html.


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Following the U.S. invasion of Iraq and subsequent removal of Saddam Hussein from power in 2003,
Baghdad experienced a limited amount of violence from regime loyalists before being fully secured by
Coalition forces.457 Under the newly established Areas of Operation in the country, Baghdad and its
surrounding districts, including Abu Ghraib, Istiqlal, Mada’in, Mahmudiyah, Taji, and Tarmiyah, fell
under one command, called “Multinational Division – Baghdad (MND-B).” MND-B oversaw a
diverse cross section of the country, with both Shia and Sunni Arab populations living in close
proximity to one another, along with several other religious groups, including Sunni Kurds, Fayli
Kurds, Circassians, Christians, Yazidis, and a very small number of Jews. 458 Due to the lack of a reliable
census, it is difficult to determine exact percentages of each group within Baghdad Province. 459

Coalition Operations in Baghdad Province
Following the collapse of the Saddam Hussein government in April 2003, U.S. forces in Baghdad
experienced a period of relative calm. Most violence directed at the Coalition was blamed on former
Ba’ath Party members, who continued to support the deposed Ba’athist regime. 460 U.S. forces were
slow to recognize the complex and shifting power structures—affiliated with Shia and Sunni Arab
groups, Kurds, neighboring states, and Islamist groups—that would give rise to sectarian violence. 461

During the early part of this budding insurgency, the U.S.-led Coalition focused on rapidly
transitioning control to Iraqi security forces, as well as restoring essential services to the Iraqi public. 462
Many Coalition operations hunted former regime figures, including the toppled dictator himself, who
had gone into hiding.463 U.S. forces eventually captured Saddam Hussein in December 2003,
erroneously thinking this would curb the budding insurgency. To the contrary, militant armed activity
spiked, and Coalition forces in Baghdad went into 2004 ill-prepared for the violence to come. 464

In April 2004, the Coalition was focused on the city of Fallujah in neighboring Anbar Province, where
Marines were clearing the city of Sunni militants responsible for killing four U.S. contractors. 465 At the
same time, militias controlled by Shia cleric Muqtada al-Sadr engaged in an uprising in Baghdad. Much
of the Coalition’s focus in Baghdad in 2004 was on fighting Shia militants loyal to Muqtada al-Sadr
and pacifying the Shia-dominated districts, such as Sadr City.466

As Abu Musab al-Zarqawi, the leader of the Zarqawi organization, negotiated with al-Qaeda to
become an official al-Qaeda affiliate in 2004 (subsequently rechristening his group al-Qaeda in Iraq),

457 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006, (Carlisle     Barracks,       PA:        US       Army         War     College, January     17,      2019),      p.
114, https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.
458 Ibid., p. 149.

Eric Pichon, Minorities in Iraq: Pushed to the Brink of Existence, (European Parliament Research Service, 2015), pp. 3-4,
https://www.europarl.europa.eu/RegData/etudes/BRIE/2015/548988/EPRS_BRI(2015)548988_REV1_EN.pdf.
459 Ibid.
460 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006, p. 156.
461 Ibid., p. 169.
462 Ibid., p. 195.
463 Ibid., p. 196.
464 Ibid., p. 240.
465 Ibid., p. 240.
466 Ibid., p. 244.




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his organizational strategy involved targeting Baghdad with suicide bombings. 467 The Zarqawi
organization employed suicide bombers and vehicle borne improvised explosive devices (VBIEDs) in
Baghdad to devastating effect.468 The Zarqawi organization aimed to gain public attention through
these spectacular attacks.469 A previous decision by this Court characterized VBIEDs as “a signature
AQI attack method.”470

Zarqawi’s goal was to provoke destabilization and spark an Iraqi civil war by targeting the government,
Shia civilians, and holy sites.471 As Zarqawi executed attacks on Iraqi (often but not exclusively Shia)
civilians, Shia militias formed to protect Shia civilians and to retaliate.472 Their retaliation was often
indiscriminate. The result was a deteriorating security situation in Baghdad that lasted into 2006. 473

Coalition forces shifted their approach in 2006 to focus on the city of Baghdad and other vital urban
areas.474 In summer 2006, Coalition forces launched Operation Together Forward, a massive
undertaking that aimed to work with Iraqi security forces (ISF) to clear insurgents from Baghdad. 475
The operation ultimately failed to secure the city. The number of Coalition troops was insufficient to
secure and hold cleared territory, while the ISF was poorly trained. Due to the operations’ heavy focus
on Sunni districts and “serious shortcomings in the ISF’s performance,” sectarian tension and violence
further increased in Baghdad.476

In early 2007, the U.S. and its allies, working with Iraqi forces, launched a troop “surge” throughout
much of Iraq. Achieving success in Baghdad was the cornerstone of this effort, and American military
leaders theorized that stabilizing Baghdad Province would allow them to move outward and better
secure more of the country.477 At the time, most of Baghdad’s districts were controlled by terrorists
and criminal gangs.478 American and Iraqi forces established “small outposts scattered throughout the
city” with the goal of clearing, controlling, and holding Baghdad’s neighborhoods. 479

U.S. military leaders devised a new security plan to clear the capital of militants and then hold it. Lt.
Gen. Raymond T. Odierno, Commander of the Multi-National Corps–Iraq (MNC-I) explained that

467 Ibid., p. 394.
468 Eric Hamilton, Targeting the Diyala Suicide Bombing Network, (Washington, DC; Institute for the Study of War, March

2008), p. 1. https://www.understandingwar.org/sites/default/files/reports/Targeting the Diyala Suicide Bombing
Network.pdf.
469 Ibid.
470 Brown v. Islamic Republic of Iran, No. 1:21-CV-1308 (TNM), 2023 WL4824740 at *4 (D.D.C. July 27, 2023).
471 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006, (Carlisle        Barracks,        PA:      US       Army      War       College, January       17,      2019),     p.
394, https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.
472 Ibid.
473 Ibid., p. 545.
474 Ibid., p. 545.
475 Ibid., p. 569.
476 Ibid., pp. 570, 571.
477 Jeanne F. Godfroy et al., The U.S. Army in the Iraq War: Volume 2: Surge and Withdrawal, (Carlisle Barracks, PA: United

States              Army                War           College          Press,            2019),            p.           56,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1932&context=monographs.
478 Dale Andrade, Surging South of Baghdad: The 3D Infantry Division and Task Force Marne in Iraq, 2007-2008, (Washington,

D.C.: Center for Military History, 2010), p. 16, https://history.army.mil/html/books/surging_south_baghdad/CMH-59-
2-1_b.pdf.
479 Ibid.




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in addition to operations within the city, the Belts (described in more detail in the following section)
were “key” because “attacks occurring in Baghdad often originate in these outlying regions where
sectarian lines begin to blur.” 480 Odierno noted that “Al-Qaeda in Iraq and Shi’a extremists want to
control these areas” through which the Belts ran. 481

The U.S.-led Coalition launched a series of operations in Baghdad. One of the most significant, named
Operation Phantom Thunder, came in mid-2007. Gen. Odierno described it in a contemporaneous
briefing as “a corps-level offensive operation … to defeat al Qaeda insurgents and extremists, deny
enemy safe havens, interdict movement, logistics and communications.”482 The campaign consisted of
“carefully synchronized simultaneous operations at division and brigade level to clear al Qaeda, Sunni
insurgents and Shi’a extremists in, near and around Baghdad.”483 Odierno added that the Coalition’s
operations were “focused on al-Qaeda in Iraq and other special groups.” 484

A team of experts from the Institute for the Study of War (ISW), writing in 2008, explained how
America’s operations were intended to combat what they described as “two distinct enemy groups”:

           The enemy system in Baghdad is composed of two distinct enemy groups—Shi’a
           militia extremists, who are predominantly members either of the Moqtada as-Sadr’s
           Jaysh al-Mahdi (JAM) or Iranian-backed Special Groups, and Sunni insurgents, the
           largest and most lethal of which is al-Qaeda in Iraq (AQI). These groups have
           interacted in southern Baghdad in a way that has escalated violence and instability in
           the region. Shi’a death squads have violently cleansed Sunni residents of many mixed
           neighborhoods, while AQI has targeted Shi’a and Christian populations via car bombs
           and execution style killings.485

The Zarqawi Organization in Baghdad Province
The Zarqawi organization was highly prominent in Baghdad Province over the course of the war. The
Zarqawi organization was responsible for numerous attacks in and around the capital city of Baghdad
beginning in 2003. The group conducted high-profile suicide attacks on Coalition targets and Iraqi
civilians within Baghdad, including bombing the Jordanian embassy and the U.N. headquarters in
August 2003.486 The group continued to conduct bombings throughout 2004, and claimed credit for




480 Ibid., p. 17.
481 Ibid., p. 17.
482 Department of Defense Special Briefing with Lt. Gen. Odierno from the Pentagon Briefing Room, Arlington, Va., June

22, 2007. https://www.globalsecurity.org/military/library/news/2007/06/mil-070622-dod01.htm.
483 “Department of Defense Special Briefing with Lt. Gen. Odierno from the Pentagon Briefing Room, Arlington, Va.,

June 22, 2007” Global Security, n.d., https://www.globalsecurity.org/military/library/news/2007/06/mil-070622-
dod01.htm.
484 Ibid.
485 Kimberly Kagan, et al., Iraq Situation Report, (Institute for the Study of War, February 7, 2008), pp. 15-16,

https://www.understandingwar.org/sites/default/files/reports/Iraq Situation Report.pdf.
486 Gary Gambill, “Abu Musab al-Zarqawi: A Biographical Sketch,” Terrorism Monitor, 2:24, December 16, 2004,

https://web.archive.org/web/20070930185929/http://www.jamestown.org/publicationsdetails.php?volumeid=400&&i
ssueid=3179.


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the first suicide attack to penetrate the Green Zone in October 2004. 487 Also in October 2004, the
Zarqawi organization officially affiliated with al-Qaeda, becoming known as al-Qaeda in Iraq. 488

As discussed above, Zarqawi’s early (2004-2005) AQI operations targeted government forces and
elections, as well as Shia Muslims in Baghdad. One prominent tactic that the Zarqawi organization
employed was bombings, via both suicide bombers and vehicle borne improvised explosive devices
(VBIEDs).489 According to the Institute for the Study of War, AQI “infiltrated a number of
neighborhoods, primarily in west Baghdad, and began to establish control, often under the auspices
of protection from Shi’a death squads.” 490 In 2005, AQI began an offensive that used car bombs as a
signature, primarily targeting Shia holy sites and neighborhoods in Baghdad, with the goal of
provoking sectarian violence. According to the U.S. Army’s official history of the Iraq war:

         During a 13-day continuous surge in activity that lasted from the end of April until
         May 11, AQI carried out 79 car-bomb attacks against primarily Shi’a targets. On the
         last day, Baghdad endured nine such assaults that killed 112. By the end of May, the
         number of bombings reached 142, the highest monthly total for 2005. In June, the
         bombings and sectarian violence continued unabated, resulting in the deaths of 1,347
         Iraqi civilians, the most since the invasion phase of the war. On July 15, Baghdad was
         hit by eight car bombs in a 24-hour span. The next day in Musayyib, 56 kilometers
         south of Baghdad, a single suicide bomber killed over 100 and wounded 150 more,
         destroying 150 shops and a Shi’a mosque when his device set off a nearby propane
         tanker. 491

To conduct attacks in Baghdad, the Zarqawi organization also sought to maintain control of the Belts
leading into the city.492




487  Terrence Neilan & Edward Wong, “Baghdad Bombers Hit Green Zone,” New York Times, October 15, 2004,
https://www.nytimes.com/2004/10/15/world/baghdad-bombers-hit-green-zone.html.
488 Jeffrey Pool, “Zarqawi’s Pledge of Allegiance to al-Qaeda: From Mu’asker Al-Battar, Issue 21,” Terrorism Monitor 2:24,

December 16, 2004.
489 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006, (Carlisle      Barracks,       PA:       US       Army      War         College, January     17,      2019),      p.
394, https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs;             Eric     Hamilton,
Backgrounder #24: Targeting the Diyala Suicide Bombing Network, (Institute for the Study of War, March 2008), p. 1,
https://www.understandingwar.org/sites/default/files/reports/Targeting the Diyala Suicide Bombing Network.pdf.
490 Kimberly Kagan, et al., Iraq Situation Report, (Washington, DC: Institute for the Study of War, February 7, 2008), pp.

15-16, https://www.understandingwar.org/sites/default/files/reports/Iraq Situation Report.pdf.
491 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006, p. 413.
492 Ibid., p. 393.




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                      Figure 15: ISW map depicting Zarqawi organization areas of control in the
                                               “Baghdad Belts.”493

The Baghdad Belts were the districts and towns surrounding Baghdad, just outside of the city limits,
and extending into neighboring provinces and governates. 494 They were made up of smaller towns and
farmland with easy access to major roads. The nature of these areas made them valuable to Zarqawi
organization forces seeking to conduct attacks within Baghdad. The Zarqawi organization could hide
weapons, bombs, and fighters in the Belts, and bring them into the more secure main city to conduct
attacks.495 Their position on the periphery allowed them to avoid Coalition detection, especially prior
to the troop surge in 2007.496

In December 2006, U.S. soldiers in Taji discovered a crude hand-drawn map depicting this series of
Belts.497 The materials found by U.S. forces showed that Zarqawi had concluded that if his
organization could control these Baghdad Belts – that is, a series of interconnected roadways, rivers,
and communication infrastructure leading directly into the Iraqi capital – then he could control
Baghdad itself. 498 The U.S. Army’s official study of the Iraq War described these interconnected
networks:

493 Eric Hamilton, Backgrounder #24: Targeting the Diyala Suicide Bombing Network (Institute for the Study of War, March

2008), p. 2, https://www.understandingwar.org/sites/default/files/reports/Targeting the Diyala Suicide Bombing
Network.pdf.
494 Kimberly Kagan, et al., Iraq Situation Report, (Washington, DC: Institute for the Study of War, February 7, 2008), p. 10,

https://www.understandingwar.org/sites/default/files/reports/Iraq Situation Report.pdf.
495 Ibid., p. 11.
496 Ibid., p. 16
497 Jeanne F. Godfroy et al., The U.S. Army in the Iraq War: Volume 2: Surge and Withdrawal, (Carlisle Barracks, PA: United

States            Army               War              College           Press,            2019),           p.             58,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1932&context=monographs.
498 Bill Roggio, “Analysis: ISIS, allies Reviving ‘Baghdad Belts’ Battle Plan,” Long War Journal, June 14, 2014.

https://www.longwarjournal.org/archives/2014/06/analysisisisallies.php; “Baghdad Belts,” Institute for the Study of
War, n.d., https://www.understandingwar.org/region/baghdad-belts.


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         The Baghdad belts were like suburbs—skeins of residential, agricultural, and light
         industrial areas abutting the capital’s outer boundaries and extending about forty
         kilometers in all directions. North of Baghdad, the belts included the cities of At Taji,
         At Tarmiyah, Ba’qubah, and Buhriz. Circling around the capital to the east and south
         there was Besmaya, Nahrawan, Salman Pak, Al Mahmudiyah, and Al Yusufiyah, and
         to the west Al Fallujah, Ar Ramadi, and Al Karmah. Passing through these towns were
         many of the country’s major roadways, most of them converging like spokes on the
         Baghdad hub. All this formed a vital network of lines of travel and communications
         between the capital and the rest of the country, and, while this was important to life
         and commerce, it was also exploited by the insurgents. 499

The same study described how both the Zarqawi organization and Shia militias used these belts:

         Between 2004 and 2006, Sunni extremists, al-Qaeda, and various Shi’ite militias gained
         increasing control in the Baghdad belts and used them to project forces and funnel
         supplies into the capital and to move freely around the city into the provinces. In
         January 2007, the Iraqi government described the belts as areas where, according to
         one account, “insurgents plan and manufacture the deadly explosives that detonate
         regularly in the city.” An Iraqi official said that the government “believes that it is in
         this ring that the attacks are coming from.” 500

Immediately south of Baghdad, the towns of Mahmudiyah and Yusufiyah became especially known
for violence as a result of a heavy Zarqawi organization presence. This area, extending from southern
Baghdad to the Euphrates River in neighboring Babil Province, was known as the “Triangle of Death.”
A comprehensive report by the U.S. Army Center of Military History on the 2007-08 troop surge in
Iraq describes the region:

         Triangle of Death, [was] “a swath of territory where residents say insurgents have
         imposed draconian Islamic law, offered bounties for the killings of police, National
         Guardsmen, Shia pilgrims and foreigners, and carried out summary executions in the
         street.” U.S. soldiers characterized the fighting there as the “war of the Iyahs,”
         referring to the cluster of towns in an arc south of the capital—Al Mahmudiyah, Al
         Yusufiyah, Al Latifiyah, and Al Iskandariyah—which were hotbeds of resistance to
         coalition forces.501




499 Dale Andrade, Surging South of Baghdad: The 3D Infantry Division and Task Force Marne in Iraq, 2007-2008 (Washington,

D.C.:             Center       for          Military       History,       2010),                    pp.           16-17,
https://history.army.mil/html/books/surging_south_baghdad/CMH-59-2-1_b.pdf.
500 Ibid., p. 17.
501 Ibid., p. 30.


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                                          Figure 16: The Triangle of Death.502

While multiple Sunni militant groups operated in Baghdad throughout the war, the Zarqawi
organization was “the most important and most lethal Sunni insurgent group in Baghdad.” 503 The
Zarqawi organization waged a sectarian campaign, targeting Shias and Christians and subjecting the
area’s Sunnis to its politico-religious program. The Zarqawi organization operated throughout the city
of Baghdad during the time period of attacks in this report, but it consolidated control in three
principal districts by 2007: the Mansour District, part of the Rashid District, and the
Adhamiyah District.504




502 Jim Frederick, Black Hearts: One Platoon’s Descent into Madness in Iraq’s Triangle of Death, (New York: Crown Publishing

Group, 2010), p. 1.
503 Kimberly Kagan, et al., Iraq Situation Report, (Washington, DC: Institute for the Study of War, February 7, 2008), p. 16,

https://www.understandingwar.org/sites/default/files/reports/Iraq Situation Report.pdf.
504 “Baghdad City,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/baghdad-city-

%D9%85%D8%AF%D9%8A%D9%86%D8%A9-%D8%A8%D8%BA%D8%AF%D8%A7%D8%AF.


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                    Figure 17: Areas of Baghdad under Zarqawi organization control in December
                                                    2006.505

The Zarqawi organization was also responsible for numerous terrorist attacks throughout Baghdad
outside of its areas of dominance. Zarqawi also sought to increase sectarian tensions between
Baghdad’s Shia and Sunni residents. Thus several of these attacks specifically targeted Shia-dominated
districts.506

Writing in early 2008, after the U.S. had surged forces for most of the previous year, experts from the
Institute for the Study of War described how the Zarqawi organization (then operating as the Islamic
State of Iraq) and Iranian proxies had come to dominate Baghdad, making it “one of the most violent
areas in all of Iraq.”507 Because Baghdad was strategically important for all actors, the Zarqawi
organization and Iran’s Shia proxies “embroiled” Baghdad “in a sectarian turf war,” with “violence in
the city reach[ing] unprecedented levels.”508 ISW’s experts explained how the Zarqawi organization
targeted the U.S.-led Coalition while also terrorizing local Iraqis:

         From these strongholds, AQI was able to conduct attacks not only on Iraqi civilians
         in predominantly Shi’a neighborhoods, but also on Coalition and Iraqi forces
         throughout the city. Al Qaeda’s tactics include suicide bombings, improvised explosive
         device (IED) attacks, kidnapping and murder, sniper fire, mortar and rocket attacks.
         By the start of the Baghdad Security Plan, in February 2007, AQI had established a
         formidable network operating in its many sanctuaries in Baghdad and the belts.
         Although AQI’s network has been substantially degraded within Baghdad over the
         course of 2007, it has proven its ability to reinfiltrate formerly cleared areas and

505 Eric Hamilton, Backgrounder #24: Targeting the Diyala Suicide Bombing Network, (Institute for the Study of War, March

2008), p. 2, https://www.understandingwar.org/sites/default/files/reports/Targeting the Diyala Suicide Bombing
Network.pdf.
506 Joel D. Rayburn and Frank K. Sobchak, “The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War,

2003-2006,” US Army War College (January 17, 2019), p.395.
507 Majlis Shura al-Mujahidin fi-l-Iraq, statement on the establishment of the Islamic State of Iraq, October 15, 2006;

“Baghdad City,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/baghdad-city-
%D9%85%D8%AF%D9%8A%D9%86%D8%A9-%D8%A8%D8%BA%D8%AF%D8%A7%D8%AF.
508 Kimberly Kagan, et al., Iraq Situation Report (Washington, DC: Institute for the Study of War, February 7, 2008), pp. 15-

16, https://www.understandingwar.org/sites/default/files/reports/Iraq Situation Report.pdf.


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          conduct destabilizing attacks, and therefore, it remains the primary enemy target for
          Coalition and Iraqi Forces.509

Ansar al-Sunna (AAS) and Ansar al-Islam (AAI) in Baghdad Province
AAS/AAI maintained a significant presence in Baghdad from 2003-2008, and frequently targeted
Coalition forces alongside Iraqi Government officials.510 While not as prolific as the Zarqawi
organization, AAS/AAI conducted several bombings in Baghdad, including against the Iraqi police
and American patrols.511

AAS/AAI utilized a variety of tactics over the course of the war in its attacks. The Stanford University
Center for International Security and Cooperation noted that “small arms and IED attacks were the
group’s most commonly employed munitions, although the group also frequently used suicide
bombers and car bombs. AI has also, on occasion, used rocket propelled grenades (RPGs) and anti-
Aircraft weapons, including man portable air defense systems (MANPADS).” 512

AAS/AAI had a loose partnership with the Zarqawi organization. There are numerous points of
connection between the two militant groups. One significant interaction among this series of
interactions—which are detailed in greater length in my Expert Report & Declaration on Sunni Militant
Organizations—Abu Musab al-Zarqawi met with the leaders of AAS/AAI in 2004, around the time he
had publicly sworn allegiance to al-Qaeda. During this meeting, AAS/AAI agreed to assist the Zarqawi
organization, with the objective being “to increase the number of foreign suicide bombers infiltrating
the country and use them to target the elections and the new government.”513 The relationship between
AAS/AAI and the Zarqawi organization would, however, later decline around 2007. 514

Shia Militant Groups in Baghdad Province
Iranian-backed Shia militant groups maintained a heavy footprint throughout Baghdad during the
relevant time-period. The main conduit for Iran’s lethal support inside Baghdad was Jaysh al-Mahdi
(JAM). JAM was part of a movement led by Muqtada al-Sadr, a periodically Iranian-allied Shia cleric.
By 2007, JAM either controlled or had a significant presence in most of Baghdad’s nine districts,
including: 9 Nissan, Adhamiyah, Kadhimiyah, Karadah, Rusafa, Sadr City, and West Rasheed. 515 The
Sadr City area of Baghdad was the “center of the Mahdi Army’s power base.” 516 According to
intelligence gathered by the U.S.-led Coalition, there were approximately 10,000 “mainstream JAM

509 Ibid., pp. 17-18.
510      Mapping        Militant      Organizations,        “Ansar        al-Islam,”     Stanford        University,   n.d.,
https://cisac.fsi.stanford.edu/mappingmilitants/profiles/ansar-al-islam.
511 “Newsletter for Ansar al-Sunna Army Operations in Iraq [trans. from Arabic],” Albasrah.net, March 22 – April 19,

2004, https://www.albasrah.net/moqawama/maqalat/ansar2190404.htm.
512      Mapping        Militant      Organizations,        “Ansar        al-Islam,”     Stanford        University,   n.d.,
https://cisac.fsi.stanford.edu/mappingmilitants/profiles/ansar-al-islam.
513 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006      (Carlisle    Barracks,    PA:      US     Army       War       College,    January      17,    2019),     p. 394,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.
514 See, for example, Jeanne F. Godfroy et al., The U.S. Army in the Iraq War: Volume 2: Surge and Withdrawal, (Carlisle

Barracks,        PA:       United       States      Army         War         College      Press,       2019)       p.   58,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1932&context=monographs.
515 “Baghdad City,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/baghdad-city--‫مدينة‬

‫بغداد‬.
516 Dale Andrade, Surging South of Baghdad: The 3D Infantry Division and Task Force Marne in Iraq, 2007-2008, p. 357.




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members” inside Sadr City, with an additional 500 to 600 members of Iran’s Special Groups, “who
received training and funding from the Iranian Revolutionary Guards and Qods Force.” 517

JAM often fought for control of Baghdad neighborhoods with AQI, most commonly in the form of
sectarian cleansing and reprisals. Unaligned Baghdad civilians were caught in the middle and subjected
to violence as the fighting between both groups intensified in after 2005. 518 Within Shia neighborhoods
of Baghdad, JAM also worked to provide social services and support to citizens, filling a gap left by a
dysfunctional Iraqi central government.519 In many cases, the Shi’a-heavy Iraqi security forces would
openly support the violent actions of Shi’a militia groups, blurring the lines of acceptable behavior
and further eroding Iraqi Government legitimacy.520

In addition to JAM, Iran also supported other Shia militias in Baghdad. Some Shia militant groups
emerged from breakaway factions of JAM in mid-2004, and would come to be referred to as Iran’s
“Special Groups.”521 Iran provided these militant groups with “between $750,000 and $3 million worth
of funding and equipment each month.”522

While dominating Baghdad’s predominantly Shia neighborhoods, Iranian-backed Shia groups also
targeted U.S., Coalition, and Iraqi forces in the so-called Green Zone of Baghdad. Iran’s provision of
training and arms increased the efficacy of these groups. “We have found a few people that were Shi'a
extremists that were connected to – that had some training in Iran – those mostly being the mortar
and rocket teams inside of Baghdad where they were trained in Iran and came in here to conduct
attacks against not only coalition and Iraqi security forces, but government of Iraq targets inside of
the Green Zone,” Lt. Gen. Odierno said during a press briefing in June 2007. 523 Odierno added that
Iran was “trying to surge their support to Shi’a extremists” and the U.S.-led Coalition had “seen an
increased flow of training to mortar teams and rocket teams,” as well as “an increase in some flow of
weapons and munitions into Iraq.”524 Odierno added that “we are working very hard to cut those lines
every day from Iran.”525

517 Ibid., p. 356.
518 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006,       (Carlisle  Barracks,     PA:     US       Army        War       College,    January    17,    2019),    p.    494,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.
519 Bruce Pirnie and Edward O’Connell, “Counterinsurgency in Iraq (2003-2006),” RAND Corporation, (2008), p. 32.
520 Ibid., p. 636.
521
    Joseph Felter & Brian Fishman, Iranian Strategy in Iraq: Politics and “Other Means” (West Point, NY: Combating Terrorism
Center at West Point, 2008). At the time, Felter was an active-duty colonel and a national security affairs fellow at Stanford
University’s Hoover Institution, while Fishman served as the director of research at the Combating Terrorism Center at
West Point and an assistant professor in the U.S. Military Academy’s department of social sciences. The Combating
Terrorism Center at West Point is a research institute that provides training, research, and analysis to the highest levels of
government and academia. The institution serves as a nexus for academic and counterterrorism practitioner collaboration,
particularly through its peer-reviewed journal, CTC Sentinel, and its Harmony database, which is an open-source collection
of primary-source documents that provide an inside look at militant groups’ inner structural dynamics.
522 Dale Andrade, Surging South of Baghdad: The 3D Infantry Division and Task Force Marne in Iraq, 2007-2008,

(Washington,           D.C.:        Center          for           Military         History,       2010),         p.       175,
https://history.army.mil/html/books/surging_south_baghdad/CMH-59-2-1_b.pdf.
523 “Department of Defense Special Briefing with Lt. Gen. Odierno from the Pentagon Briefing Room, Arlington, Va.,

June          22,       2007,”        republished          by           Global       Security,     June       22,        2007,
https://www.globalsecurity.org/military/library/news/2007/06/mil-070622-dod01.htm.
524 Ibid.
525 Ibid.




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Throughout 2007 and 2008, the U.S. and its partners launched a series of raids against Iran’s Special
Groups personnel in Baghdad who were suspected of attacking Coalition forces. These raids targeted:
a “senior Special Groups leader” who was “accused of being a key facilitator in the procurement and
movement of weapons in northeast Baghdad, as well as being involved in the kidnapping, torture and
death of Iraqi citizens who did not adhere to his beliefs” 526; a “suspected Special Groups officer in
eastern Baghdad” was “believed to be directly involved in kidnapping, murder, extortion, sectarian
indirect fire attacks and improvised explosive device attacks on a U.S. Soldiers” 527; a special groups
leader allegedly led a “group” that was “responsible for improvised explosive device emplacement and
indirect fire attacks against coalition forces”;528 special groups members who were “allegedly
responsible for torture activities and roadside bomb attacks in the Hurriyah area” of Baghdad, and
“suspected of making car bombs for attacks against Iraqis”; 529 and a “suspected special groups criminal
cell leader” who was “suspected of murdering Sunni Iraqis and conducting roadside bomb attacks
against coalition forces and Iraqi security forces.”530 These are just several examples of Special Groups
personnel targeted in the U.S.-led Coalition’s raids. Still other suspected special groups leaders and
members were detained in Baghdad as well.531

I now turn to the attacks in Baghdad Province that the Plaintiffs have asked me to assess.

Attack #13 – April 9, 2004 Complex Ambush Attack in Abu Ghraib, Baghdad Province that
Killed U.S. Army Reserve Sergeant Elmer Krause and KBR Civilian Contractors Tony
Johnson, Jack Montague, Stephen Hulett, and Timothy Bell
Geography: Abu Ghraib, Baghdad Province
Attack Type: Complex Ambush Attack
Direct Victim(s): SGT Elmer Krause and KBR Contractors Tony Johnson, Jack Montague, Stephen Hulett and
Timothy Bell

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

         PEX 128, Department of the Army, “Report of Casualty – Timothy Bell,” (June 30, 2010).

526  Multi-National Division-Baghdad Public Affairs Office, “Paratroopers Capture Senior Special Groups Leader,”
February 29, 2008, https://www.dvidshub.net/news/16844/paratroopers-capture-senior-special-groups-leader.
527 Multi-National Division-Baghdad Public Affairs Office, “MND-B Soldiers Detain Suspected Special Groups Leader,”

July 12, 2008, https://www.dvidshub.net/news/21441/mnd-b-soldiers-detain-suspected-special-groups-leader.
528 Multi-National Division-Baghdad Public Affairs Office, “Baghdad Soldiers Detained Suspected Special Groups

Criminals in Baghdad’s Rashid District,” October 15, 2008, https://www.dvidshub.net/news/25128/multi-national-
division-baghdad-soldiers-detained-suspected-special-groups-criminals-baghdads-rashid-district.
529 Ibid.
530 Multi-National Division – Baghdad Public Affairs Office, “Soldiers Detain Special Groups Criminal Cell Leader,

Accomplice in Abu T'shir,” October 25, 2008, https://www.dvidshub.net/news/25522/multi-national-division-baghdad-
soldiers-detain-special-groups-criminal-cell-leader-accomplice-abu-tshir.
531 Multi-National Division – Baghdad Public Affairs Office, “Baghdad Soldiers Arrest Special Groups Criminals in

Kamaliyah,” October 15, 2008, https://www.dvidshub.net/news/25052/multi-national-division-baghdad-soldiers-arrest-
special-groups-criminals-kamaliyah; “Baghdad Soldiers Detain Special Groups Criminal in Rashid District,” November
16,        2008,         https://www.dvidshub.net/news/26424/multi-national-division-baghdad-soldiers-detain-special-
groupscriminal-rashid-district.


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         PEX 129, Department of the Army, “Memorandum for Commander 172d Corps Support
          Group, LAS Anaconda, APO AE 09391,” (August 2, 2004).
         PEX 130, Office of the Armed Forces Medical Examiner, “Autopsy Examination Report –
          Stephen Hulett,” (April 18, 2004).
         PEX 131, Office of the Armed Forces Medical Examiner, DHA FOIA 22-00085, “Autopsy
          Report – Alan Bean,” (August 3, 2004).
         PEX 132, U.S. Department of Defense, “News Release - DOD Announces Change-in-Status
          of an Army Soldier Casualty,” (April 24, 2004).

Attack Description
On April 9, 2004, U.S. Army Reserve Sergeant (SGT) Elmer Krause was serving with Army Reserve’s
724th Transportation Company and KBR contractors Mr. Tony Johnson, Mr. Jack Montague, Mr.
Stephen Hulett, and Mr. Timothy Bell at Logistics Support Area (LSA) Anaconda, also known as
Camp Anaconda.532 Camp Anaconda was located in Balad, Saladin Province.533

On April 8, the U.S. Army requested that KBR, a civilian contractor, send an emergency convoy to
the north gate of Baghdad International Airport (BIAP) to supply fuel for U.S. forces. 534 KBR
employees were accompanied by 724th Transportation Company, which was tasked with protecting
the unarmed KBR drivers.535 According to a book authored by the chief historian for the U.S. Army
Center of Military History entitled Tip of the Spear, the convoy consisted of 26 vehicles, a mix of High
Mobility Multipurpose Wheeled Vehicles (HMMWVs, also known as “Humvees”) and fuel tankers. 536
Mr. Hulett was driving Tanker 7.537 Mr. Johnson was driving Tanker 8.538 Mr. Montague was driving
Tanker 10.539 SGT Krause was a passenger in Tanker 12.540 Mr. Bell was driving Tanker 15.541

At approximately 10:15, the convoy left Camp Anaconda for BIAP. 542 According to Tip of the Spear,
the planned route was for the convoy to drive through Abu Ghraib on Route Huskies, also known as
Route Sword, and exit onto Route Cardinal, passing a “milk factory” before arriving at BIAP. 543

According to the Operations Report describing this attack:

532  PEX 128, Department of the Army, “Report of Casualty – Timothy Bell,” (June 30, 2010), p. 2; PEX 130, Office of
the Armed Forces Medical Examiner, “Autopsy Examination Report – Stephen Hulett,” (April 18, 2004), p. 3; Jon T.
Hoffman, Tip of the Spear, U.S. Army Small-Unit Action in Iraq, 2004-2007, (Center of Military History, United States Army,
2009) p. 54, https://history.army.mil/html/books/iraq/TotS/Tip_Spear.pdf.
533 Jerome Bishop, “History of LSA Anaconda”, Department of the Army 1st Corps Support Command Public Affairs

Office, March 3, 2005, https://www.dvidshub.net/news/printable/1243.
534 PEX 129, Department of the Army, “Memorandum For Commander 172d Corps Support Group, LAS Anaconda,

APO AE 09391,” (August 2 2004), p. 3; T. Christian Miller, “Iraq Convoy Was Sent Out Despite Threat”, Los Angeles
Times, September 3, 2007, p. 6.
535 Brian Leonard, “Battlefield Diaries: Baghdad Convoy Attack”, April 4 , 2006, 8:00, https://vimeo.com/405899955.
536 Jon T. Hoffman, Tip of the Spear, U.S. Army Small-Unit Action in Iraq, 2004-2007, (Center of Military History, United

States Army, 2009) p. 54, https://history.army.mil/html/books/iraq/TotS/Tip_Spear.pdf.
537 Ibid.
538 Ibid.
539 Ibid., p. 65.
540 Ibid., p. 54.
541 Ibid.
542 Brian Leonard, “Battlefield Diaries: Baghdad Convoy Attack”, April 4 , 2006, 18:20, https://vimeo.com/405899955.
543 Jon T. Hoffman, Tip of the Spear, U.S. Army Small-Unit Action in Iraq, 2004-2007, p. 59.




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         724 Trans [Transportation] convoy hit a roadblock at MB200846 [Military Grid
         Reference Coordinates of the location of the roadblock]. They then received small
         arms fire with [redacted]. The convoy pushed through the road block and was then
         ambushed with approximately 15 RPGS [rocket propelled grenades] and additional
         small arms.544

Tip of the Spear describes the next stage of the attack:

         To the men in the convoy, it seemed that hundreds of insurgents were firing rifles and
         rocket-propelled grenades (RPGs) and triggering IEDs [improvised explosive devices].
         Although it was hard to tell for sure in the blur of intense combat, the enemy also may
         have employed heavy machine guns and mortars. 545

As the ambush progressed on Route Huskies, the vehicles in the convoy sustained damage, forcing
drivers and passengers from their vehicles into the ambush zone. 546 Tanker 8 sustained significant
damage, causing the vehicle to crash, killing Mr. Johnson. 547 Mr. Hulett, who had exited his tanker
after it fishtailed and crashed, was killed by gunfire during the ambush.548


As the convoy turned onto Route Cardinal, enemy fire increased, incapacitating more vehicles. 550 At
this point, Mr. Montague’s vehicle was destroyed by enemy fire, resulting in his death. 551 Vehicles that
remained operable continued through the kill zone, collecting injured convoy members along the
way.552

SGT Krause was shot when the personnel in Tanker 2 evacuated into Tanker 12. Tanker 12 then
caught fire, and SGT Krause was not seen evacuating the vehicle with the other members of the
convoy.553 According to a Department of Defense news release, SGT Krause was listed as
“whereabouts unknown” until his remains were identified on April 23, 2004. 554

After operable vehicles arrived at BIAP, they returned to the kill zone to retrieve other members of
the convoy who had been wounded in the ambush. 555 Despite rescue efforts, the ambush killed six
KBR drivers and two servicemen. Three convoy members, including Mr. Bell, were deemed missing. 556

544  PEX 131, Department of the Army, USCENTCOM FOIA 22-0145, Ops Report “Coordinated ATTK on 724TC
Convoy in Zone 35: 1US KIA; 1 NEU Killed,” (April 9, 2004), p. 2.
545 Jon T. Hoffman, Tip of the Spear, U.S. Army Small-Unit Action in Iraq, 2004-2007, p. 61.
546 Ibid., p. 59.
547 Ibid., p. 62.
548 Ibid.
549 PEX 130, p. 3.
550 Jon T. Hoffman, Tip of the Spear, U.S. Army Small-Unit Action in Iraq, 2004-2007, p. 68.
551 Ibid., p. 65.
552 Ibid., p. 68.
553 Ibid.
554 PEX 132, U.S. Department of Defense, “News Release - DOD Announces Change-in-Status of an Army Soldier

Casualty,” (April 24, 2004), p. 2.
555 Brian Leonard, “Battlefield Diaries: Baghdad Convoy Attack”, April 4 , 2006, 36:04 https://vimeo.com/405899955.
556 T. Christian Miller, “Iraq Convoy Was Sent Out Despite Threat,” Los Angeles Times, September 3, 2007.




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Mr. Bell was never found and was declared dead on April 26, 2010. 557 The attack, which received
extensive media coverage from the Los Angeles Times, CNN, and local news outlets, came to be known
as the “Good Friday Ambush.”558

Attack Attribution
I conclude that the Zarqawi organization (as Jamaat al-Tawhid wal-Jihad, or JTJ) very likely committed
this complex ambush. This conclusion is based on the following data points: (1) the geographic
location and time period of the attack; (2) the tactics, techniques, and procedures (TTPs) used in this
attack; and (3) U.S. Government reporting suggesting the Zarqawi organization’s involvement.

The Zarqawi organization has undergone several name changes since its inception in 1993. In October
2004, the Zarqawi organization underwent one such name change when the group formally pledged
baya (allegiance) to al-Qaeda, changing its name from Jamaat al-Tawhid wal-Jihad (JTJ) to Tanzim
Qa’idat al-Jihad fi Bilad al-Rafidayn (al-Qaeda in Iraq, or AQI). As this attack occurred before JTJ
took on the moniker of AQI, this attribution will refer to the group as JTJ.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to JTJ’s responsibility. This attack took place on Route Cardinal and Route Sword (also known as
Route Huskies), by the north gate of BIAP on April 9, 2004.559 The map below provides the
approximate location of the attack.




557    Ibid.; “Timothy Bell Obituary,” Press Register (Birmingham, Alabama), April 8, 2011,
https://obits.al.com/us/obituaries/mobile/name/timothy-bell-obituary?id=11901017.
558 Jon T. Hoffman, Tip of the Spear, U.S. Army Small-Unit Action in Iraq, 2004-2007 (Center of Military History, United States

Army, 2009), p. 4, https://history.army.mil/html/books/iraq/TotS/Tip_Spear.pdf; T. Christian Miller, “Iraq Convoy
Was Sent Out Despite Threat,” Los Angeles Times, September 3, 2007; Brian Leonard, “Battlefield Diaries: Baghdad Convoy
Attack”, April 4, 2006, 36:04 https://vimeo.com/405899955; J.M. Brown, “Krause Family Laments its Loss,” Times-Herald
(Vallejo, California), April 27, 2004; “I Just Knew He Was Dead – Contractors Survive Attack in Iraq”, CNN, April 15,
2004.
559 Hoffman, Tip of the Spear, p. 59.




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                                    Figure 18: Approximate location of the attack.

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         JTJ had a strong presence in Fallujah at the time, because it had concentrated fighters there
to combat Coalition forces in the First Battle of Fallujah (April 4 to May 1, 2004). 561 At the same time,
JTJ retained a presence in Baghdad Province during the run-up to the battle and beyond its conclusion,
as indicated by the following:

               In February 2004, U.S. forces killed Abu Mohammed Hamza – an expert bombmaker for
                Zarqawi’s network – in a firefight that sources state occurred “west of Baghdad.” 562
               On March 2, 2004, JTJ suicide bombers targeted a mosque in the city of Baghdad. 563
               On May 7, 2004, JTJ executed American businessman Nicholas Berg in Baghdad. 564
               On May 17, 2004, JTJ perpetrated a suicide bomb attack on Iraqi Governing Council head
                Ezzedine Salim near Coalition Headquarters, just east of Abu Ghraib. 565

As the year unfolded, JTJ solidified its operational presence in Baghdad, including in Abu Ghraib. On
October 15, 2004, the U.S. Department of State officially designated Zarqawi’s JTJ as a foreign


560 PEX 130, p. 2.
561  “Chapter 4: The Insurgency Grows and Fights Pitched Battles (2004),” in Study of the Insurgency in Anbar Province, Iraq,
(CENTCOM,           June     13,      2007),    p.      17,       https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.
562 “U.S. Troops Kill Top Zarqawi Operative Near Baghdad,” Tampa Bay Times, February 25, 2004,

https://www.tampabay.com/archive/2004/02/25/u-s-troops-kill-top-zarqawi-operative-near-baghdad/.
563 Dexter Filkins, “Iraq Videotape Shows the Decapitation of an American,” New York Times, May 12, 2004,

https://www.nytimes.com/2004/05/12/international/middleeast/iraq-videotape-shows-the-decapitation-of-an.html.
564 Timothy S. McWilliams & Nicholas J. Schlosser, U.S. Marines in Battle: Fallujah, November-December 2004 (Quantico, VA:

Marine Corps University, 2006), https://www.usmcu.edu/Portals/218/FALLUJAH.pdf.
565 “Al-Qaeda Group Claims Salim Death,” BBC, May 19, 2004, http://news.bbc.co.uk/2/hi/middle_east/3727597.stm;

“Head of Governing Council Killed,” New York Times, May 17, 2004.


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terrorist organization (FTO), specifying Baghdad as a locus of the group’s activities. 566 Much of this
activity occurred in or near the Abu Ghraib neighborhood. 567

Tactics, Techniques, and Procedures (TTPs). Another indicator that JTJ was responsible for the attack is the
TTPs used to carry it out. The perpetrators conducted a complex ambush attack. As previously
indicated, the 724th Transportation Company convoy was targeted with small arms fire after hitting a
roadblock. The convoy pushed through the roadblock and was then ambushed with approximately 15
RPGS and additional small arms.568 In the midst of the attack, several members of the convoy were
kidnapped by the perpetrators. 569

At the time of this attack, JTJ possessed the weapons and commonly used the tactics observed in the
Good Friday Ambush. According to the U.S. Central Command (CENTCOM) report on the
insurgency in Al Anbar Province, insurgents in Fallujah (which was largely dominated by JTJ)
“possessed small arms, RPGs, machine guns, IEDs, and mortars” by mid-2004. 570 Further, a report
by the Australian Government notes that from 2002 to 2005, “particular terrorist activities [by JTJ]
include vehicle bombs, small arms ambushes, kidnappings and executions.” 571

Moreover, JTJ regularly conducted similarly complex ambushes against Coalition forces, as
demonstrated by the following attacks:

        On June 24, 2004, JTJ members ambushed U.S. soldiers using “roadside bombs as well as
         small-arms and rocket-propelled grenade fire” in Baquba, Diyala Province. 572
        On October 18, 2004, JTJ ambushed an Iraqi National Guard Compound North of Baghdad.
         The ambush employed small arms fire and mortars.573
        On October 20, 2004, JTJ claimed responsibility for an attack on a U.S. Military convoy west
         of Fallujah.574


566 U.S. Department of State, press release, “Foreign Terrorist Organization: Designation of Jama’at al-Tawhid wa’al-Jihad

and Aliases,” (October 15, 2004), https://2001-2009.state.gov/r/pa/prs/ps/2004/37130.htm; Edward Wong & Terence
Neilan,     “Baghdad        Bombers     Hit    Green       Zone,”     New      York     Times,    October       15,     2004,
https://www.nytimes.com/2004/10/15/world/baghdad-bombers-hit-green-zone.html.
567 “Zarqawi Group Claims Baghdad Attacks,” Agence France Presse, September 12, 2004; “Zarqawi Group Claims Iraq

Suicide Attacks,” Australian Broadcasting Corporation, October 1, 2004; Robert H. Reid, “Attacks Rip Iraq’s Center,”
Associated Press, November 6, 2004; Edward Wong, “Ambush Kills 50 Iraq Soldiers Execution Style,” New York Times,
October 25, 2004, https://www.nytimes.com/2004/10/25/world/middleeast/ambush-kills-50-iraq-soldiers-execution-
style.html.
568 PEX 131, p. 2.
569 PEX 130, p. 2.
570 “Chapter Four: The Insurgency Grows and Fights Pitched Battles (2004),” in Study of the Insurgency in Anbar Province, Iraq

(CENTCOM, June 13, 2007), p. 20.
571 “Review of the Listing of Ranzim Qa’idat al-Jihad fi Bilad al-Fafidayn (The al-Zarqawi Network) as a Terrorist

Organization,” Parliamentary Joint Committee on ASIO, ASIS, and DSD, (Australia, May 2005),
https://www.aph.gov.au/Parliamentary_Business/Committees/Joint/Former_Committees/pjcaad/al_zarqawi/chapter
2.
572 Edward Wong & Jeffrey Gettleman, “Scores Are Killed as Rebel Attacks Ripple Across Iraq,” The New York Times, June

24, 2004.
573 “Officials Suspect Infiltrators May Have Set up Killing of 50 Soldiers,” Associated Press, October 24, 2004.
574   “Al-Zarqawi Claims He Launched U.S. Attack,” Sydney Morning Herald, October 20, 2004,
https://www.smh.com.au/world/al-zarqawi-claims-he-launched-us-attack-20041020-gdjyd3.html.


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        On October 25, 2004, JTJ attacked an Australian Defense Force convoy in Baghdad. 575

U.S. Government Reporting. U.S. military officials have stated that a JTJ leader named Hammadi Awdah
Abd Farhan (a.k.a. Hajji Hammadi, and also Abd al-Salam Ahmad Abdallah al-Janabi) was responsible
for the attack on the convoy carrying Mr. Johnson, Mr. Montague, Mr. Bell, Mr. Hulett, and SGT
Krause.576 This claim is supported by Farhan’s connections to JTJ and his established presence in the
Baghdad area in 2004.577 According to the U.S. Department of Defense (DoD), Farhan had
longstanding connections to JTJ. Reporting on DoD’s revelations, the American Forces Press Service
noted that Farhan “was affiliated with al-Qaida in Iraq since its inception and assumed his role as the
al-Qaida in Iraq leader of the Karmah and Abu Ghraib areas west of Baghdad in 2004, officials said.
He is believed to have connections with the country’s legacy al-Qaida leadership, including al-Qaida
in Iraq founder Abu Musab al-Zarqawi and the terrorist group’s current leaders.” 578

The U.S. military also assessed that Farhan, in his capacity as a regional AQI leader, was responsible
for the April 9, 2004 attack that killed Mr. Johnson, Mr. Montague, Mr. Bell, Mr. Hulett, and SGT
Krause. Reporting on the military’s assessment, the Washington Post reported that “the military said
Farhan was behind the April 9, 2004, kidnapping of Sgt. Keith Matthew Maupin, [another member of
the 724th Transportation Corp who went missing during the attack], during an attack on his fuel
convoy.”579

Farhan’s role as an emir (military leader) of JTJ in Baghdad is consistent with pertinent information
regarding the Good Friday Ambush. The convoy was driving through the Abu Ghraib area west of
Baghdad when it was attacked.580 U.S. officials have revealed that, as the emir of this area, Farhan was
responsible for the planning and execution of several attacks on Coalition forces, Iraqi police, Iraqi
government officials, and Iraqi citizens.581 Farhan had also carried out multiple assassinations of
members of the “Sons of Iraq” pro-government militia in the Baghdad area. 582

Ruling Out Other Insurgent Groups. It is unlikely that Jaysh al-Mahdi (JAM), the other insurgent group
with a significant presence in Abu Ghraib, conducted this attack.

Some observers initially suspected that JAM was responsible for the attack because it coincided with
the Sadrist uprising in Sadr City, a neighborhood in eastern Baghdad.583 JAM also launched a series of

575 Richard Oppel Jr., “New Violence Flares in Iraq, After Executions Leave 49 Dead,” New York Times, October 25, 2004.
576 Mary Beth Sheridan, “U.S. Reports Killing of Iraqi Blamed in Reservist’s Death,” Washington Post, November 21, 2008,

https://www.washingtonpost.com/wp-dyn/content/article/2008/11/20/AR2008112003504.html.
577 “Coalition Forces Capture Five Wanted Men, 10 Additional Suspects,” American Forces Press Service, November 20,

2008, http://archive.defense.gov/news/newsarticle.aspx?id=52026.
578 Ibid.
579 Mary Beth Sheridan, “U.S. Reports Killing of Iraqi Blamed in Reservist’s Death,” Washington Post, November 21, 2008,

https://www.washingtonpost.com/wp-dyn/content/article/2008/11/20/AR2008112003504.html.
580 Roy Hallums & Audrey Hudson, Buried Alive: The True Story of Kidnapping, Captivity, and a Dramatic Rescue (Nashville:

Thomas Nelson, 2009), p. xvii.
581 “Coalition Forces Capture Five Wanted Men, 10 Additional Suspects,” American Forces Press Service, November 20,

2008, http://archive.defense.gov/news/newsarticle.aspx?id=52026.
582 Thomas Frank, “Search Continues for Two Missing U.S. Soldiers,” USA Today, August 8, 2008,

http://usatoday30.usatoday.com/news/world/iraq/2007-08-07-mia-cover_N.htm.
583   Richard E. Killblane, “Iraq and Afghanistan,” Convoy Ambush Case Studies vol. 2 (2015),
http://www.transportation.army.mil/history/publications/0336_0339_Ambush_Vol_2.pdf; Joel D. Rayburn & Frank K.


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attacks in Abu Ghraib with similar TTPs in the week of the Good Friday Ambush. 584 However, given
JTJ’s significant presence in the region, routine employment of ambushes in this timeframe, and the
U.S. government’s authoritative conclusion that JTJ conducted the attack, it is unlikely that JAM
perpetrated the Good Friday Ambush. Importantly, Iran also provided material support to JAM
during this time, and thus the small possibility that they conducted this attack does not undermine my
conclusion concerning Iranian support for this attack.585

Iranian Support. Iran provided support to JTJ, and this support had a reasonable connection to the
attack that killed SGT Krause, Mr. Johnson, Mr. Montague, Mr. Hulett and Mr. Bell. Iranian support
for JTJ is detailed extensively in my Expert Report & Declaration on Sunni Militant Organizations.586 The
following information further demonstrates the significance of Iran’s support to JTJ at the time and
in vicinity of this attack:

        Zarqawi established his presence in Iraq through the help of the IRGC Quds Force, which
         provided Zarqawi with materials for command-and-control purposes (communication
         equipment); transit routes; and safe haven to Zarqawi and other JTJ operatives prior to the
         2003 U.S. invasion of Iraq.587 The Quds Force continued its support of JTJ beyond 2003,
         including funneling weapons to JTJ strongholds in neighboring Al Anbar Province in 2004,
         including Fallujah.588
        Iran supported JTJ militants in Baghdad Province, where the attack occurred, through
         provision of arms and intelligence. In December 2006, evidence of Iranian support for JTJ
         emerged when two Quds Force operatives were arrested in Baghdad. According to U.S.
         defense officials, the documents possessed by the operatives definitively demonstrated the
         Quds Force’s cooperation with Sunni militias – including JTJ – and included “weapons lists,
         documents pertaining to shipments of weapons into Iraq, organizational charts, telephone
         records and maps, among other sensitive intelligence information,” demonstrating the extent
         of Iran’s support.589
        Iran provided JTJ with weapons similar to those used in this attack. According to a Jordanian
         intelligence official, Iran had supplied machine guns and military equipment to JTJ from the


Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-2006, (Carlisle Barracks, PA: US
Army               War             College,            January             17,            2019),          p.            325,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.
584 “April Uprising,” The Official Website of the United States Army Transportation Corps and Transportation School,

https://transportation.army.mil/history/april_uprising.html.
585 One early journalistic account revealing Iran’s funding for Shia militants in Iraq was “The Iran Connection,” written by

Edward T. Pound. Appearing in U.S. News & World Report in November 2004, Pound’s report was based primarily on a
review of “classified intelligence reports covering the period July 2003 through early 2004.” Pound described Iran as
Muqtada al-Sadr’s “principal supporter” and revealed that “months before the worst of the insurgency in southern Iraq
began” in April 2004, “U.S. intelligence officials tracked reported movements of Iranian money and arms to forces loyal
to Sadr.” Edward T. Pound, “The Iran Connection,” U.S. News & World Report, November 22, 2004.
586 See my Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
587    Sean Durns, “Iran’s Support for al-Qaida,” The Jerusalem Post, October 23, 2017,
https://www.jpost.com/opinion/irans-support-for-al-qaida-508130; Geoffrey Gresh, “Instigating Instability: Iran’s
Support       of     Non-State      Armed      Groups      in     Iraq,”     al     Nakhlah,     Spring   2006,     p.     8.
https://ciaotest.cc.columbia.edu/olj/aln/aln_spring06/aln_spring06b.pdf
588 See my Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
589 Eli Lake, “Iran’s Secret Plan for Mayhem,” New York Sun, January 3, 2007.




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         beginning of their support for the group.590 By 2007, Coalition forces captured a number of
         weapons caches containing Iranian mortars, explosive material, RPGs, and ammunition in
         areas where JTJ maintained strong areas of operations - including Abu Ghraib, where this
         attack occurred.591
        This Court has also previously validated the causal connection between Iran’s provision of
         money and weapons to JTJ and the terrorist group’s ability to execute attacks. Indeed, this
         Court has held that Iran’s provision of material support and resources to JTJ (including
         training, money, small arms, RPGs, IEDs, IEDs with mortar components, specially shaped
         explosive charges, and grenades) was sufficient to hold Iran liable for attacks carried out by
         the JTJ.592 Additionally, this Court previously found that the successful use of RPGs indicates
         training, which likely would have come from Iran; this Court has also previously found that
         Iran provided RPGs to JTJ.593
        Iran provided support to JTJ before, during, and after this attack in multiple ways. In February
         2012, the United States designated Iran’s Ministry of Intelligence and Security (MOIS) for its
         ongoing and systematic sponsorship of a variety of terrorist organizations. Among the entities
         listed was AQI (the name by which the U.S. government still identified the JTJ at the time),
         which according to the Treasury Department received not only money and weaponry but also
         “intermediary services” that helped secure the release of the group’s imprisoned operatives. 594
         This designation relies upon extensive research and data collection and reflects a demonstrated
         pattern of Iranian support to JTJ.

Summary
In summary, I conclude that it is very likely that JTJ carried out the April 9, 2004 attack in Abu Ghraib,
Baghdad that killed U.S. Army Reserve SGT Elmer Krause, Mr. Tony Johnson, Mr. Jack Montague,
Mr. Stephen Hulett, and Mr. Timothy Bell based on the following:

        JTJ operated in the province during the period when this attack occurred and was motivated
         to conduct the attack.
        The attack exhibited TTPs commonly associated with JTJ.
        U.S. Government reporting indicates that JTJ conducted the attack.

I further conclude that Iran’s material support had a causal connection to the success of JTJ’s
commission of this attack.




590 Mary Anne Weaver, “The Short, Violent Life of Abu Musab al-Zarqawi,” Atlantic, July/August 2006.
591 Kimberly Kagan, Iraq Report February 11, 2007 – April 25, 2007 The Battle for Diyala, (Washington, DC: Institute for the

Study of War, n.d.), pp. 7,11,12, https://www.understandingwar.org/sites/default/files/reports/IraqReport04.pdf.
592 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *1-*2 (D.D.C., Dec. 28, 2022); Roth

v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023); Memorandum Opinion and Order,
Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of Iran,
No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 20-21, 40.
593 See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 at *3, *5, *19, V. (D.D.C., Jan. 17, 2023).
594 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” February 16, 2012.

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Attack #24 – April 24, 2004 Artillery Attack in Taji, Baghdad Province that Killed Arkansas
National Guard Captain Arthur Felder and Staff Sergeant Billy Orton
Geography: Taji, Baghdad Province
Attack Type: Artillery Attack
Direct Victim(s): CPT Arthur L. Felder and SSG Billy J. Orton

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

        PEX 133, CENTCOM, USCENTCOM FOIA 22-0110, Ops Report, “Rocket Attk on
         Camp Cooke (Taji): 4 CF KIA, 7 CF WIA,” (April 24, 2004).
        PEX 134, Department of the Army, “Report of Casualty – Arthur Felder,” (April 30, 2004).
        PEX 135, Department of the Army, “Report of Casualty – Billy Orton,” (May 3, 2004).
        PEX 136, Office of the Armed Forces Medical Examiner, “Final Autopsy Report – Billy
         Orton,” (May 20, 2004).
        PEX 137, Office of the Armed Forces Medical Examiner, “Final Autopsy Report – Arthur
         Felder,” (February 11, 2005).

Attack Description
On April 24, 2004, Captain (CPT) Arthur Felder and Staff Sergeant (SSG) Billy Orton were serving
with the 39th Support Battalion, 39th Brigade Combat Team, 1st Cavalry Division of the Army
National Guard at Camp Cooke, also known as Camp Taji. 595 Camp Cooke is located in Taji, Baghdad
Province.

According to the U.S. Central Command’s (CENTCOM) Operations Report, “at 0505, Camp Cooke
was ATTK [attacked] with 2x 57MM Rockets IVO [in vicinity of] Taji.”596 The report states a second
round of fire hit the camp:

         The second RND [round] hit an accommodation trailer and resulted in 4x CF
         [Coalition Forces] KIA [killed in action] and 7x CF WIA [wounded in action] (3x VSI
         [very seriously injured]). The rockets were launched from an IZ [International Zone]
         truck. At 0515, 2X OH-58s [Kiowa Warrior helicopters] engaged and destroyed the
         launch vehicle (enemy were seen fleeing the vehicle). 597


                                                                                         Though this
contrasts with the Operation Report’s finding that rockets were used in this attack, that discrepancy

595 PEX 133, CENTCOM, USCENTCOM FOIA 22-0110, Ops Report, “Rocket Attk on Camp Cooke (Taji): 4 CF KIA,

7 CF WIA,” (April 24, 2004), p. 2; PEX 134, Department of the Army, “Report of Casualty – Arthur Felder,” (April 30,
2004), p. 2; PEX 135, Department of the Army, “Report of Casualty – Billy Orton,” (May 3, 2004), p. 2.
596 PEX 133, p. 2.
597 PEX 133, p. 2.
598 PEX 136, Office of the Armed Forces Medical Examiner, “Final Autopsy Report – Billy Orton,” (May 20, 2004), p. 3;

PEX 137, Office of the Armed Forces Medical Examiner, “Final Autopsy Report – Arthur Felder,” (February 11, 2005),
p. 3.


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is not material: rockets and mortars both represent artillery attacks, and they will inflict comparable
damage on their targets.599

Attack Attribution
I conclude that Ansar al-Islam (AAI) (as Ansar al-Sunna (AAS)) likely committed this artillery attack.
This conclusion is based on the following data points: 1) the geographic location and time period of
the attack; and 2) the tactics, techniques, and procedures (TTPs) used in this attack.

The Ansar al-Islam (AAI) organization has undergone several name changes since the group’s
founding in 2001. Originally established under the name Jund al-Islam, the group later adopted the
name Ansar al-Islam (AAI). On September 20, 2003 the group changed its name again to Ansar al-
Sunna. Given that this attack occurred after the group’s name change in 2003, this attribution will
refer to the group as Ansar al-Sunna (AAS). However, some sources may refer to the group as Ansar
al-Islam.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to AAS’s responsibility. This attack took place at Camp Cooke, Taji, Baghdad Province on April 24,
2004, only seventeen miles north of Baghdad City. Taji is located in the Sunni Triangle, a geographical
region with a Sunni majority bounded by Baghdad, Ramadi, and Tikrit in northern Iraq. The below
map provides the approximate location of the attack.




                     Figure 19: Approximate location of the attack in Taji, Baghdad Province.


599 Per Jonathan Pike, director of GlobalSecurity.org, for Slate: “The damage done by a single small rocket is equivalent to

the damage done by a small mortar shell. A single large rocket inflicts damage equivalent to that of a large mortar shell.”
“Explainer: What are Mortars, Rockets, and Grenades?,” Slate, May 8, 2001, https://slate.com/news-and-
politics/2001/05/what-are-mortars-rockets-and-grenades.html.


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At the time of the attack, AAS maintained an operational presence in Baghdad Province and northern
Iraq more generally. In addition to operations conducted throughout northern Iraq, propaganda
released by Ansar al-Sunna in February 2004 suggests that the group was concentrated in Mosul,
Baghdad, Kirkuk, and Ramadi during the first half of 2004.600 An expert report published in May 2004
states that AAS’s area of operations included “Baghdad, the Sunni triangle, and northern Iraq.” 601

AAS’s presence in the area proximate to Baghdad City around the time of this attack is also
demonstrated by the following AAS claims of responsibility for attacks on Coalition and Iraqi forces:

        On April 11, 2004, AAS claimed responsibility for an attack on a U.S. base in Balad. 602
        On April 12, 2004, AAS claimed responsibility for an attack north of Baghdad. The claim
         stated: “The heroic mujahedin planted an ambush for an American patrol north of Baghdad,
         and the result was the destruction of two Humvees and the killing of those in them.” 603

These claims demonstrate that AAS conducted attacks north of Baghdad City—near Taji—
immediately prior to the April 24, 2004 attack that killed CPT Felder and SSG Orton. AAS also
maintained an operational presence in Taji itself even after this attack, as demonstrated by an AAS
claim of responsibility for executing an Iraqi contractor in Taji in October 2004. 604

Tactics, Techniques, and Procedures (TTPs). Another indicator that AAS was responsible for this attack is
the TTPs used to carry it out. The perpetrators conducted an indirect fire attack using rockets or
mortars.


600 These attacks include the August 7, 2003, attack against the Jordanian Embassy in central Baghdad; the August 19,

2003, Canal Hotel bombing in Baghdad which targeted the U.N.’s presence in Iraq; the August 29, 2003, car bombing in
Najaf that killed 82 people; the October 9, 2003, bombing of the International Committee of the Red Cross headquarters
in Baghdad; the October 14, 2003, car bomb attack against the Turkish Embassy in Baghdad; the November 12, 2003,
bombing of the Italian paramilitary police command and control post in Nasiriyah; the November 20, 2003, attack against
the PUK headquarters in Kirkuk; the November 29, 2004, ambush of vehicles carrying Spanish intelligence officers; the
December 12, 2003, attack against a U.S. facility in Ramadi; the January 5, 2004, ambush and killing of Canadian and
British citizens; the January 18, 2004, bombing of the coalition headquarters in Baghdad; the January 31, 2004, bombing
of the al-Taqafah police center in Mosul; the February 23, 2004, bombing of the Rahimawa police station in Kirkuk; the
March 3, 2004, simultaneous bombings of Shia shrines in Baghdad and Karbala that killed at least 143 worshippers; and
the March 28, 2004, ambush of British and Canadian contractors near Mosul.
United Nations, “Report of the Independent Panel on the Safety and Security of UN Personnel in Iraq,” October 20,
2003, p. 13, https://www.un.org/News/dh/iraq/safety-security-un-personnel-iraq.pdf; Rabasa et al., Beyond Al-Qaeda: The
Global Jihadist Movement, pp. 139–40; United Nations High Commissioner for Refugees, “Chronology of Events in Iraq,
February 2004” (February 2004); Rory McCarthy, “Attacks Increase Ethnic Tension Ahead of Handover,” The Guardian,
February 2, 2004; Jeffrey Gettleman & Edward Wong, “Twin Bombings in Northern Iraq Kill at Least 56,” The New York
Times, February 1, 2004; Joel Roberts, “Iraq Suicide Bomber Caught on Tape,” CBS News, February 4, 2004; United Nations
High Commissioner for Refugees, “Chronology of Events in Iraq, February 2004.”
601 Michael Rubin, “Ansar al-Sunna: Iraq's New Terrorist Threat,” The Middle East Intelligence Bulletin, 6:5, (May 2004),

https://www.meforum.org/meib/articles/0405_iraq1.htm.
602   Sewell Chan et al., “U.S. Calls for Cease-Fire in Fallujah,” Washington Post, April 11, 2004,
https://www.washingtonpost.com/archive/politics/2004/04/11/us-calls-for-cease-fire-in-fallujah/1e40f748-f443-438f-
a86e-d5f64f0b48ca/.
603 “‫[ النشرة اﻹخبارية لعمليات جيش أنصار السنة ﻓﻲ العراق‬Newsletter for Ansar al-Sunna Army Operations in Iraq],” Albasrah.net,

March 22 – April 19, 2004, https://www.albasrah.net/moqawama/maqalat/ansar2_190404.htm.
604 Zidan Kalaf, ”U.S., Iraqi Officials Declare Success in Samarra Assault; 125 Rebels Killed,” The Associated Press,

October 3, 2004.


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AAS commonly used both rockets and mortars in attacks against Coalition forces. 605 Thus, the
discrepancy in reports concerning the type of weapon is immaterial to my attribution of responsibility
because the use of one or the other—or both weapons—does not impact the likelihood that AAS
perpetrated the attack.

In the same month of the attack on CPT Felder and SGG Orton, AAS claimed responsibility for the
following attacks using similar types of mortar and rocket weapons, which the group sometimes
describes as “missiles:”

        An April 11, 2004 Katyusha rocket attack on a U.S. base, location not given. 606
        An April 11, 2004 rocket and mortar attack on a U.S. base, location not given. 607
        An April 12, 2004 mortar attack on Iraqi police in Yusufiyah, Babil Province. 608
        An April 13, 2004 missile attack on U.S. forces in Mahmudiyah, Babil Province. 609
        An April 13, 2004 missile attack on a U.S. base in Kirkuk. 610
        An April 13, 2004 “Katyusha missile” attack on U.S. forces in Diyala.611
        An April 14, 2004 “Katyusha missile” attack on U.S. forces in Mosul. 612
        An April 17, 2004 mortar attack on “American headquarters located in the Military College in
         Baghdad.”613

Additionally, profiles of AAS demonstrate that both rockets and mortars were used by AAS at the
time of the attack. By December 2004, AAS had become known to “use videos of rocket attacks and
roadside bombings as part of its recruiting and training campaign.”614

Ruling Out Other Insurgent Groups. Given the attack occurred in the Sunni Triangle, it is unlikely that a
Shia group perpetrated this attack. It is also unlikely that JTJ, the other prominent Sunni group in the
province, conducted the attack that killed CPT Felder and SSG Orton.

JTJ maintained a presence in Baghdad around the time of the attack as the following events
demonstrate:

        In February 2004, U.S. forces in a firefight west of Baghdad killed “Abu Mohammed Hamza,
         [who] was an expert bombmaker for Zarqawi's network.” 615


605 “‫[ النشرة اﻹخبارية لعمليات جيش أنصار السنة ﻓﻲ العراق‬Newsletter for Ansar al-Sunna Army Operations in Iraq],” Albasrah.net,

March 22 – April 19, 2004, https://www.albasrah.net/moqawama/maqalat/ansar2_190404.htm
606 Ibid.
607 Ibid.
608 Ibid.
609 Ibid.
610 Ibid.
611 Ibid.
612 Ibid.
613 Ibid.
614     “Profile  of     Terror     Group     Ansar    al-Sunna,”  ABC     News,     December    21, 2004,
https://abcnews.go.com/WNT/story?id=350505.
615 “U.S. Troops Kill Top Zarqawi Operative Near Baghdad,” Tampa Bay Times, February 25, 2004,

https://www.tampabay.com/archive/2004/02/25/u-s-troops-kill-top-zarqawi-operative-near-baghdad/.


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        On March 2, 2004, JTJ used suicide bombers to target a mosque in the city of Baghdad. 616
        On April 9, 2004 a U.S. military and contractor convoy was ambushed with IEDs, RPGs, and
         small arms fire in the Abu Gharib neighborhood west of Baghdad City as it was traveling to
         supply fuel to U.S. Forces at the Baghdad International Airport. The U.S. government
         attributed the attack to Hammadi Awdah Abd Farhan, a JTJ leader who at the time was in
         charge of Abu Gharib and Karma, areas west of Baghdad. 617

However, JTJ’s limited operational focus on Baghdad during the first four months of 2004 was
focused mostly on areas west of the city—the exception being the mosque attack cited above—and
not the northern section or its environs where the attack that killed CPT Felder and SSG Orton
occurred. Further, Iran provided significant material support not only to AAS, but also to JTJ – so
should JTJ have indeed been involved in the attack, my conclusion concerning Iranian support for
this attack would not be changed.

Iranian Support. Iran provided support to AAS and Iran’s support had a reasonable connection to the
AAS attack that killed CPT Felder and SSG Orton. Iranian support for AAS is detailed extensively in
my Expert Report & Declaration on Sunni Militant Organizations.618 In addition to the information in that
report, Iran provided support to AAS before, during, and after this attack in multiple ways.

        Iranian support to AAS was crucial to AAS’s organizational establishment and continuity in
         Iraq. In 2003, the IRGC provided support for AAS operations in northern Iraq and safe haven
         for AAS leaders and operatives during Operation Viking Hammer.619 Iranian support
         continued throughout the conflict in Iraq. Iran arranged a quid pro quo with AAS in 2008 in
         which AAS fought alongside members of the IRGC against the Kurdistan Free Life Party in
         exchange for continued safe haven in Iran, which significantly enhanced AAS’s ability to
         conduct operations in Iraq.620
        Iran provided training, funding, and organizational support to AAS, critical to AAS’s ability to
         maintain operations in Iraq. In 2004, British intelligence reports assesses that “‘Some elements
         of [Ansar al-Islam] remain in Iran. Intelligence indicates that elements’ of Iran’s Islamic
         Revolutionary Guard Corps ‘are providing safe haven and basic training to Iran-based AI
         [Ansar al-Islam] cadres.’”621 In 2006, Iran reportedly facilitated the recruitment of Iranian




616 Dexter Filkins, “Iraq Videotape Shows the Decapitation of an American,” New York Times, May 12, 2004, p. 3,

https://www.nytimes.com/2004/05/12/international/middleeast/iraq-videotape-shows-the-decapitation-of-an.html.
617 “Coalition Forces Capture Five Wanted Men, 10 Additional Suspects,” American Forces Press Service, November 20,

2008, http://archive.defense.gov/news/newsarticle.aspx?id=52026.
618 See Expert Report & Declaration on Sunni Militant Organizations, pp. 67-68, 72-76.
619 Geoffrey Gresh, “Instigating Instability: Iran’s Support of Non-State Armed Groups in Iraq,” The Fletcher School Online

Journal for Issues Related           to Southwest Asia          and    Islamic   Civilization  (Spring 2006), p. 8,
https://ciaotest.cc.columbia.edu/olj/aln/aln_spring06/aln_spring06b.pdf.
620    Scheherezade      Faramarzi,      “Iran’s      Salafi   Jihadis,”     Atlantic      Council,   May     17,    2018,
https://www.atlanticcouncil.org/blogs/iransource/iran-s-salafi-jihadis; “Iran Reportedly Backed by Ansar Al-Islam
against PJAK Rebels,” BBC Monitoring Middle East, April 11, 2008.
621 Kimberly Kagan, May 2006 – August 20, 2007 Iran’s Proxy War against the United States and the Iraqi Government,

(Washington,       DC:     Institute     for      the     Study     of      War,      August      29,  2007),     p.     7,
https://www.understandingwar.org/sites/default/files/reports/IraqReport06.pdf.


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         Kurds as AAS fighters by offering them monthly salaries of $1,500 in return for submitting to
         ideological and military training.622
        In December 2006, further evidence of Iranian support for AAS emerged when two Quds
         Force operatives were arrested in Baghdad. According to U.S. defense officials, the operatives
         possessed “weapons lists, documents pertaining to shipments of weapons into Iraq,
         organizational charts, telephone records and maps, among other sensitive intelligence
         information.” The operatives also reportedly “had information about importing modern,
         specially shaped explosive charges into Iraq, weapons that have been used in roadside bombs
         to target U.S. military armored vehicles.”623 According to a U.S. intelligence official, the
         information gleaned from the operatives showed “how the Quds Force [was] working with
         individuals affiliated with Al Qaeda in Iraq and Ansar al-Sunna.”624

Summary
In summary, I conclude that it is likely that AAS carried out the April 24, 2004 artillery attack in Taji,
Baghdad Province that killed Arkansas National Guard CPT Arthur Felder and SSG Billy Orton. My
conclusion is based on the following:

        AAS possessed area of operations dominance in Taji during the period when this attack
         occurred.
        The attack exhibited TTPs commonly associated with AAS.

I also conclude that there is a reasonable connection between Iranian support for the AAS and this
attack.

Attack #18 – October 14, 2004 Suicide IED Attack in Baghdad, Baghdad Province that
Killed DynCorp Contractor Mr. John Pinsonneault
Geography: Baghdad, Baghdad Province
Attack Type: Suicide Attack
Direct Victim(s): Mr. John Pinsonneault

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:




622 “Iran Allegedly Using Ansar Al-Islam, Al-Qa’idah to Interfere in Iraqi Kurdistan,” BBC Monitoring Middle East, April 28,

2007; “Report Views Relationship between Iran, Iraqi Kurds,” BBC Monitoring Middle East, April 27, 2007; “Iraqi Kurdish
Article: Border Attack Shows Iran Cannot Be Trusted,” BBC Monitoring Middle East, July 18, 2007.
623 Eli Lake, “Iran’s Secret Plan for Mayhem,” New York Sun, January 3, 2007.
624 Ibid.


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       PEX       138,    MARCENT,         USMARCENT         FOIA       DON-USMC-2022-002646,
        “MSGID/SITREP: MSF-B/04-288,” (January 15, 2007).
       PEX 139, Department of State, State Dep. FOIA FL-2022-00064, “Report of Death of an
        American Citizen Abroad – John Pinsonneault,” (March 6, 2005).
       PEX 140, U.S. Marine Corps Deputy Medical Examiner, State Dep. FOIA FL-2022-00064,
        “Certificate of Death – John Pinsonneault,” (October 17, 2004).
       PEX 141, Armed Forces Institute of Pathology, “Autopsy Report – John Pinsonneault,”
        (October 14, 2004).
       PEX 142, U.S. Dep’t of State, State Dep. FOIA FL-2022-00064, “Attachment 2–W0RKING
        COPY–DS Memorial Project–1st Round Nominations–Approved 9/2013.”
       PEX 143, CENTCOM, USCENTCOM FOIA 22-0360, Ops Report, “Explosion IVO Bazaar
        Baghdad (Zone 1): 4 NEU Killed, 1 CF WIA, 21 NEU INJ,” (October 14, 2004).

Attack Description
On October 14, 2004, John Albert Pinsonneault was serving as a civilian government contractor with
DynCorp and was spending time at a bazaar in the International Zone of Baghdad (known as the
“Green Zone”) located in central Baghdad.625 At least two other DynCorp contractors were
accompanying Mr. Pinsonneault during his visit to the Green Zone’s bazaar. 626

A U.S. Army SITREP (Situation Report) indicates that while Mr. Pinsonneault and his colleagues were
walking through the market, “One alleged IED and one alleged suicide bomber detonated near
simultaneously at approximately 1250 local time ... at the International [Green] Zone Cafe.” 627 The
report initially noted that, “So far, there has been one person killed and five wounded as a result,”
before being updated to indicate that another explosion had “killed six people and wounded ten
others” at the Green Zone’s bazaar, including Mr. Pinsonneault and two other DynCorp
contractors.628


Attack Attribution
I conclude that the Zarqawi organization (as Jamaat al-Tawhid wal-Jihad) very likely committed this
suicide bombing. This conclusion is based on the following data points: 1) the geographic location
and time period of the attack; 2) the tactics, techniques, and procedures (TTPs) used in this attack;
and 3) JTJ claimed responsibility for this attack.

The Zarqawi Organization has undergone several name changes since its inception in 1993. On
October 17, 2004, the Zarqawi Organization underwent one such name change when the group
formally pledged baya (allegiance) to al-Qaeda, changing its name from Jamaat al-Tawhid wal-Jihad

625 U.S. Department of State, press statement, “On the Attack in the Green Zone,” October 15, 2004, https://2001-

2009.state.gov/r/pa/prs/ps/2004/37131.htm.
626 PEX 142, U.S. Dep’t of State, State Dep. FOIA FL-2022-00064, “Attachment 2–W0RKING COPY–DS Memorial

Project–1st Round Nominations–Approved 9/2013.”
627 PEX 142, p. 2; PEX 138, MARCENT, USMARCENT FOIA DON-USMC-2022-002646, “MSGID/SITREP: MSF-

B/04-288,” (January 15, 2007), p. 2; U.S. Department of State, On the Attack in the Green Zone (October 15, 2004),
https://2001-2009.state.gov/r/pa/prs/ps/2004/37131.htm.
628 PEX 142, p. 2; U.S. Department of State, On the Attack in the Green Zone (October 15, 2004), https://2001-

2009.state.gov/r/pa/prs/ps/2004/37131.htm.
629 PEX 141, Armed Forces Institute of Pathology, “Autopsy Report – John Pinsonneault,” (October 14, 2004), p. 5.


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(JTJ) to Tanzim Qa’idat al-Jihad fi Bilad al-Rafidayn (al-Qaeda in Iraq). As this attack occurred before
the group rebranded as AQI, this attribution will refer to the group as JTJ. However, some sources
cited in this attribution refer to the group by the Zarqawi organization or AQI.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to JTJ’s responsibility. This attack occurred on October 14, 2004 in Baghdad, Baghdad Province,
where JTJ at that time was regularly carrying out attacks. The below map provides the approximate
location of the attack.




                   Figure 20: Approximate location of the attack in Baghdad, Baghdad Province.

On October 15, 2004, the U.S. Department of State designated JTJ a foreign terrorist organization
(FTO), specifying in a related press statement that Baghdad was one of the major cities where the
group was active.630 The statement also referred to the group’s responsibility for the August 2003
suicide truck bombing of the U.N. Headquarters in Baghdad.631 In March 2004, JTJ claimed several
suicide bombings in two major Iraqi cities, including in Baghdad.632

Tactics, Techniques, and Procedures (TTPs). Another indicator that JTJ was responsible for this attack is
the TTPs used to carry it out. Mr. Pinsonneault was killed in an attack that involved a suicide vest
improvised explosive device (IED). IEDs, including suicide vest IEDs, were a common TTP used by
JTJ throughout its existence.633


630 U.S. Department of State, press release, “Foreign Terrorist Organization: Designation of Jama’at al-Tawhid wa’al-Jihad

and Aliases,” October 15, 2004, https://2001-2009.state.gov/r/pa/prs/ps/2004/37130.htm.
631 Ibid.
632 Office of the Press Secretary, press release, “Fact Sheet: Combating Terrorism Worldwide - What the United States

and Its Partners Are Doing to Fight Al Qaeda And Other Terrorists,” August 6, 2007, https://georgewbush-
whitehouse.archives.gov/news/releases/2007/08/20070806-1.html.
633 “Zarqawi Group Claims Iraq Suicide Attacks,” Australian Broadcasting Corporation, October 1, 2004.




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In their reporting on the Iraq war, credible news outlets such as NBC, AFP, and ABC (the Australian
Broadcast Company) blamed JTJ for suicide IED and IED attacks. 634 JTJ’s use of suicide bombing as
a common TTP is further supported by the group’s aforementioned 2003 attack on the U.N.
Headquarters in Baghdad and the subsequent attack in March 2004.635 Additionally, on May 19, 2004,
JTJ claimed responsibility for the IED attack that killed Iraqi Governing Council head Ezzedine
Salim.636 In the fall of 2004, the Zarqawi organization carried out a series of suicide bombings in
Baghdad.637

Claim of Responsibility. The New York Times reports that JTJ issued a claim of responsibility for this attack:

         The attack, which struck a cafeteria known as the Green Zone Cafe and a shopping
         bazaar, appeared to mark the first time that insurgents have infiltrated the heavily
         fortified area, which houses senior officials in the Iraqi government as well as the U.S.
         Embassy….

         The group led by the Jordanian militant Abu Musab al-Zarqawi, Tawhid and Jihad
         [e.g., Jamaat al-Tawhid wal-Jihad], or One God and Jihad, claimed responsibility for
         the attacks.638

The article states that the attack occurred on Thursday, the day before the article was published, which
is the same day this attack occurred.639 The article also describes the attack as consisting of multiple
bombs and says that the American victims were employed by DynCorp, the company that
Pinsonneault was working for when he was killed in the attack.640 These similarities led me to the
conclusion that this is the same attack that killed Mr. Pinsonneault. As the claim aligns with JTJ’s area
of operations, capabilities, and typical attack types at the time, I find JTJ’s claim of responsibility is
credible.

Iranian Support. Iran provided material support to JTJ and Iran’s support had a reasonable connection
to the JTJ attack that killed Mr. Pinsonneault. Iranian support for JTJ is detailed extensively in my
Expert Report & Declaration on Sunni Militant Organizations.641 The following information further
demonstrates the significance of Iran’s support to JTJ at the time and in the place of this specific
attack:


634 “Terror Strikes Blamed on al-Zarqawi,” NBC News, July 14, 2004, https://www.nbcnews.com/id/wbna5437742;

“Zarqawi Group Claims Iraq Suicide Attacks,” Australian Broadcasting Corporation, October 1, 2004; “Zarqawi Trial for Iraq
Border Suicide Attacks Opens in Jordan,” Agence France Presse, June 1, 2005.
635 U.S. Department of State, press release, “Foreign Terrorist Organization: Designation of Jama’at al-Tawhid wa’al-Jihad

and Aliases,” October 15, 2004, https://2001-2009.state.gov/r/pa/prs/ps/2004/37130.htm; Office of the Press
Secretary, press release, “Fact Sheet: Combating Terrorism Worldwide - What The United States And Its Partners Are
Doing To Fight Al Qaeda And Other Terrorists,” August 6, 2007, https://georgewbush-
whitehouse.archives.gov/news/releases/2007/08/20070806-1.html.
636 “Al-Qaeda Group Claims Salim Death,” BBC, May 19, 2004.
637 “Zarqawi Group Claims Iraq Suicide Attacks,” Australian Broadcasting Corporation, October 1, 2004.
638 Edward Wong & Terence Neilan, “Baghdad Bombers Hit Green Zone,” New York Times, October 15, 2004.

https://www.nytimes.com/2004/10/15/world/baghdad-bombers-hit-green-zone.html.
639 Ibid.
640 Ibid.
641 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.




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         Iranian material support was critical in enabling JTJ to establish itself as an insurgent group in
          Iraq. In a briefing entitled “Multi-National Force – Iraq Commander’s Counterinsurgency
          Guidance,” Gen. David Petraeus, the former commander of Multi-National Force – Iraq,
          highlighted JTJ’s needs, which included weapons, money, command and control facilitation,
          safe havens, and senior leader guidance.642 Prior to the 2003 U.S. invasion of Iraq, Iran
          provided Zarqawi with materials for command and control purposes (communication
          equipment); transit routes; and safe haven to Zarqawi and other operatives. 643 In 2004 (and
          beyond), Iran provided Zarqawi with “mines and weapons” at his strongholds in Fallujah and
          elsewhere in Anbar province; in July 2006, a Jordanian intelligence official told journalist Mary
          Anne Weaver that early Iranian support for JTJ included provision of automatic weapons,
          uniforms, and military equipment.644
         In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
          Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment
          of improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations
          with Iran and al-Qaeda, identifies his work in distributing designs for remote detonation
          devices used by terrorist organizations in Iraq, and connects him to multiple IED networks
          across northern Iraq, where JTJ primarily operated.645 Given his affiliations with Iran and al-
          Qaeda, and the nature of his activities in Iraq, it is very likely that Ghazala played a role in
          facilitating IED attacks for the JTJ.
         Iran’s provision of weapons to JTJ was one of the most substantial types of support that Iran
          provided—significant enough to be a causal factor in the U.S. Department of the Treasury’s
          designation of Iran’s Ministry of Intelligence and Security (MOIS). In February 2012, the
          Treasury Department designated the MOIS for human rights abuses and support for
          terrorism, stating that MOIS “provided money and weapons to al Qa’ida in Iraq (AQI).” 646
         This Court has previously validated the causal connection between Iran’s provision of money
          and weapons to JTJ and the terrorist group’s ability to execute attacks. Indeed, this Court has
          held that Iran’s provision of material support and resources to JTJ (including training, money,
          small arms, RPGs, IEDs, IEDs with mortar components, specially shaped explosive charges,
          and grenades) was sufficient to hold Iran liable for attacks carried out by the Zarqawi




642 “Multi-National Force – Iraq Commander’s Counterinsurgency Guidance,” Multi-National Force – Iraq, July 15, 2008.
643    Sean Durns, “Iran’s Support for al-Qaida,” The Jerusalem Post, October 23, 2017,
https://www.jpost.com/opinion/irans-support-for-al-qaida-508130; Geoffrey Gresh, “Instigating Instability: Iran’s
Support      of     Non-State    Armed       Groups      in    Iraq,”    al    Nakhlah,      Spring      2006,    p.    8.
https://ciaotest.cc.columbia.edu/olj/aln/aln_spring06/aln_spring06b.pdf
644   Bill Roggio, “Iran and al Qaeda in Iraq,” The Long War Journal, January 6, 2007;
Mary Anne Weaver, “The Short, Violent Life of Abu Musab al-Zarqawi,” The Atlantic, July/August 2006,
https://www.theatlantic.com/magazine/archive/2006/07/the-short-violent-life-of-abu-musab-al-zarqawi/304983/.
645 U.S. Department of State, Office of the Spokesperson, press release, “Terrorist Designation of HAMAS Operative

Muhammad        Hisham      Muhammad        Isma’il    Abu    Ghazala,”     September      22,     2011,    https://2009-
2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.
646 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” February 16, 2012, https://home.treasury.gov/news/press-
releases/tg1424.


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         organization.647 This Court also previously found that Iran materially supported JTJ in carrying
         out IED attacks throughout Iraq from June 2004 and May 2007.648

Summary
In summary, I conclude that it is very likely that JTJ carried out the October 14, 2004 suicide IED
attack in Baghdad, Baghdad Province that killed Mr. John Pinsonneault. My conclusion is based on
the following:

    ● JTJ possessed area of operations dominance in Baghdad, Baghdad Province during the period
      when this attack occurred and was motivated to conduct the attack.
    ● The attack exhibited TTPs commonly associated with JTJ.
    ● JTJ claimed responsibility for this attack.

I further conclude that Iran’s material support substantially contributed to JTJ’s commission of this
attack.

Attack #20 – December 9, 2005 SVBIED Attack in Abu Ghraib, Baghdad Province that
Killed U.S. Army Specialist Adrian Orosco
Geography: Abu Ghraib, Baghdad Province
Attack Type: SVBIED Attack
Direct Victim(s): SPC Adrian Orosco

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

        PEX 144, CENTCOM, USCENTCOM FOIA 22-0183, “Casualty Report – Adrian
         Orosco,” (December 2, 2022)
        PEX 145, CENTCOM, USCENTCOM FOIA 22-0183, “Casualty Report – Adrian
         Orosco,” (December 2, 2022)
        PEX 146, Office of the Armed Forces Medical Examiner, “Autopsy Report – Adrian
         Orosco,” (January 3, 2003).

Attack Description
On December 9, 2005, U.S. Army Specialist (SPC) Adrian Orosco was serving with 1st Squadron,
11th Army Cavalry Regiment.649 He was on dismounted patrol in Abu Ghraib in Baghdad at the
“intersections of Route Sword and Route Michigan” when he was killed by the detonation of a suicide



647 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *1-*2 (D.D.C., Dec. 28, 2022); Roth

v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023); Memorandum Opinion and Order,
Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of Iran,
No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 20-21, 40.
648 See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023).
649
    PEX 144, CENTCOM, USCENTCOM FOIA 22-0183, “Casualty Report – Adrian Orosco,” (December 2, 2022), p.
3.


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vehicle-borne improvised explosive device (SVBIED) “that was traveling from west to east along
Route Michigan.”650

Attack Attribution
I conclude that the Zarqawi organization (as al-Qaeda in Iraq) very likely committed this SVBIED
attack. This conclusion is based on the following data points: 1) the geographic location and time
period of this attack, and 2) the tactics, techniques, and procedures (TTPs) demonstrated through this
attack.

The Zarqawi organization has undergone several name changes since the group’s inception in 1993.
In October 2004, the Zarqawi Organization underwent one such change when the group formally
pledged baya (allegiance) to al-Qaeda, changing its name from Jamaat al-Tawhid wal-Jihad (JTJ) to
Tanzim Qa’idat al-Jihad fi Bilad al-Rafidayn (Al-Qaeda in Iraq, or AQI). As this attack occurred after
the name change, this attribution will refer to the group as AQI. However, some sources cited in this
attribution refer to the AQI by the Zarqawi organization or by its former name, JTJ.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to AQI’s responsibility. This attack took place in the city of Abu Ghraib in Iraq’s Baghdad governorate
on December 9, 2005. The below map provides the approximate location of the attack.




                 Figure 21 Approximate location of the attack in Abu Ghraib, Baghdad Province.

Jon T. Hoffman, chief of the Contemporary Studies Branch of the Histories Division at the U.S.
Center of Military History, writes that “during 2005, al-Qaeda in Iraq began to play an increasingly
prominent role in the conflict… [on September 15] twelve coordinated explosions rocked Baghdad,

650 PEX 144, p. 3.




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killing one hundred sixty-seven and wounding six hundred.” 651 In July 2005, al-Qaeda second-in-
command Ayman al-Zawahiri wrote a letter to AQI leader Abu Musab al-Zarqawi issuing instructions
to Zarqawi’s subordinate organization and detailing what al-Qaeda leadership wanted their subsidiary’s
strategy to be in Iraq. As directed by Zawahiri, “the first stage” for AQI was to “expel the Americans
from Iraq.”652

From 2005 to 2006, AQI was the deadliest Sunni terrorist group in the Baghdad area. During this
period, AQI consolidated its control, especially over neighborhoods in west Baghdad, where this
attack occurred.653 Specifically, the attack occurred at the “intersections of Route Sword and Route
Michigan.”654 AQI used Route Sword and Route Michigan as primary routes for transporting weapons
and supplies into Baghdad.655 Abu Ghraib was a key transit point for these supplies, demonstrating
AQI’s dominance and high level of activity in this location during the time period when this attack
occurred.656

Tactics, Techniques, and Procedures. Another indicator that AQI is responsible for this attack is the TTPs
used to carry it out. SPC Adrian Orosco died after he was struck by a SVBIED. 657 SVBIED attacks
allowed AQI to target its victims with high accuracy and large numbers of explosives. 658 This Court
previously found VBIED attacks to be a signature attack method of AQI. 659

SVBIEDs were a noted TTP for AQI before and during the time of the attack that killed SPC
Orosco.660 For example, AQI was responsible for the SVBIED attack on the U.N. Baghdad
Headquarters in 2003, killing the United Nations’ representative to Iraq, Sergio Vieira de Mello. 661 In
2004, AQI carried out a SVBIED attack that killed Iraqi Governing Council head Ezzedine Salim near
the Coalition headquarters compound in Baghdad.662 In September 2005, AQI launched a triple suicide
car bomb attack in Balad, Saladin Province, killing over 200 people. 663 As these attacks demonstrate,


651 Jon T. Hoffman, Tip of the Spear, U.S. Army Small-Unit Action in Iraq, 2004-2007 (Center of Military History, United

States Army, 2009) p. 54, https://history.army.mil/html/books/iraq/TotS/Tip_Spear.pdf.
652 Ayman, al-Zawahiri, “Zawahiri’s Letter to Zarqawi,” translated by Combating Terrorism Center at West Point, p. 3,

https://ctc.westpoint.edu/harmony-program/zawahiris-letter-to-zarqawi-original-language-2/.
653 “Baghdad City,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/baghdad-city.
654 PEX 144, p. 3.
655 “Baghdad City,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/baghdad-city.
656 Ibid.
657 PEX 144, p. 3.
658 Cancian, Matthew F. “Tactics, Techniques, and Procedures of the Islamic State: Lessons for U.S. Forces,” Army

University Press, March-April 2017, https://www.armyupress.army.mil/Journals/Military-Review/English-Edition-
Archives/March-April-2017/ART-009/.
659 See Brown v. Islamic Republic of Iran, No. 1:21-CV-1308 (TNM), 2023 WL 4824740, at *4, 10 (D.D.C. July 27, 2023).
660 Jessica D. Lewis, Middle East Security Report 14: Al-Qaeda in Iraq Resurgent, (Washington, DC: Institute for the Study of

War, September 2013), p. 7, https://www.understandingwar.org/sites/default/files/AQI-Resurgent-10Sept_0.pdf.
661 U.S. Department of State, press statement, “Foreign Terrorist Organization: Designation of Jama’at al-Tawhid wa’al-

Jihad and Aliases,” October 15, 2004, https://2001-2009.state.gov/r/pa/prs/ps/2004/37130.htm; Timothy McWilliams
& Kurtis Wheeler, Al-Anbar Awakening Volume I: American Perspectives U.S. Marines and Counterinsurgency in Iraq, 2004-2009,
(Quantico, VA: Marine Corps University Press, 2009), p. 176, https://www.hqmc.marines.mil/Portals/61/Docs/Al-
AnbarAwakeningVolI%5B1%5D.pdf.
662 “Al-Qaeda Group Claims Salim Death,” BBC, May 19, 2004, http://news.bbc.co.uk/2/hi/middle_east/3727597.stm.
663 Jon T. Hoffman, Tip of the Spear, U.S. Army Small-Unit Action in Iraq, 2004-2007, (Center of Military History, United

States Army, 2009) p. 9, https://history.army.mil/html/books/iraq/TotS/Tip_Spear.pdf.


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AQI possessed the capability and willingness to carry out this SVBIED attack which killed SPC
Orosco.

Suicide bombings were a key AQI tactic. According to a U.S. Central Command (CENTCOM)-
produced profile of AQI, “AQI claimed responsibility for countless suicide bombings, an integral
tactic in its war against the coalition, which reflected the group’s obsession with martyrdom.” 664 In a
letter he sent to al-Qaeda’s leadership, Abu Musab al-Zarqawi claimed that he had orchestrated 25
suicide attacks in 2003 alone.665 By 2006, AQI had developed a robust VBIED attack network. The
well-respected Institute for the Study of War observes:

         By the end of 2006, AQI’s VBIED network was rather sophisticated. AQI needed
         sanctuary in order to have established factories for VBIED assembly. To that end, the
         group developed VBIED factories in the belts ringing Baghdad and then used lines of
         communication to regularly funnel these weapons into the capital. In Baghdad, AQI
         relied on cells that were specifically tasked with helping to take those VBIEDs that
         were constructed in the belts and detonate them in strategic locations around the
         city.666

AQI preferred VBIED attacks because they maximized damage in two ways: precise placement near
crowded areas or strategic targets, and larger explosive power than could be achieved with a suicide
vest.667 Using VBIEDs allowed AQI to conduct “spectacular attacks,” gaining media attention and
notoriety, and supporting their goal of inciting sectarian conflict. 668 VBIEDs’ effectiveness quickly
made them AQI’s signature TTP.669

Iranian Support. Iran provided support to AQI and Iran’s support had a reasonable connection to the
AQI attack that killed SPC Orosco. Iranian support for AQI is detailed extensively in my Expert Report
& Declaration on Sunni Militant Organizations.670 The following information further demonstrates the
significance of Iran’s support to AQI at the time and in vicinity of this specific attack:

      ● Iran supported AQI militants in Baghdad Province, where the attack occurred, through
        provision of arms and intelligence. In December 2006, further evidence of Iranian support for
        AQI emerged when two Quds Force operatives were arrested in Baghdad. According to U.S.
        defense officials, the documents possessed by the operatives definitively demonstrated the
        Quds Force’s cooperation with Sunni militias – including AQI – and included “weapons lists,
        documents pertaining to shipments of weapons into Iraq, organizational charts, telephone



664   CENTCOM, “Insurgent Group Profile: Al Qaeda in Iraq (AQI),” (May 2, 2007), p. 5,
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/0592.%20aqi.pdf.
665 Ibid.
666 Eric Hamilton, Backgrounder #24: Targeting the Diyala Suicide Bombing Network, (Institute for the Study of War, March

2008), pp. 1,2 , https://www.understandingwar.org/sites/default/files/reports/Targeting the Diyala Suicide Bombing
Network.pdf.
667 Ibid, p. 1.
668 Eric Hamilton, Backgrounder #24: Targeting the Diyala Suicide Bombing Network, p. 1.
669 Ibid.
670 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.




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      records and maps, among other sensitive intelligence information,” demonstrating the extent
      of Iran’s support.671
    ● Iran provided AQI with weapons, including explosive material. According to a Jordanian
      intelligence official, Iran had supplied machine guns and military equipment to AQI from the
      beginning of their support for the group.672 By 2007, Coalition forces captured a number of
      weapons caches containing Iranian mortars, explosive material, RPGs, and ammunition in
      areas where AQI maintained strong areas of operations - including Abu Ghraib, where this
      attack occurred.673
    ● This Court has also previously validated the causal connection between Iran’s provision of
      money and weapons to AQI and the terrorist group’s ability to execute attacks. Indeed, this
      Court has held that Iran’s provision of material support and resources to AQI (including
      training, money, small arms, RPGs, IEDs, IEDs with mortar components, specially shaped
      explosive charges, and grenades) was sufficient to hold Iran liable for attacks carried out by
      AQI.674 Another previous decision by this Court characterized VBIEDs as “a signature AQI
      attack method.675
    ● Iran’s provision of weapons to AQI one of the most substantial types of support that Iran
      provided, alongside funding—both significant enough to be causal factors in the U.S.
      Department of the Treasury’s designation of Iran’s Ministry of Intelligence and Security
      (MOIS). In February 2012, the Treasury Department designated the MOIS for human rights
      abuses and support for terrorism, stating that MOIS “provided money and weapons to al
      Qa’ida in Iraq (AQI).”676 Indeed, this Court previously found that Iran materially supported
      AQI in carrying out IED attacks throughout Iraq from June 2004 and May 2007. 677

Summary
In summary, I conclude it is very likely that AQI carried out the December 9, 2005 SVBIED attack
in Abu Ghraib, Baghdad that killed U.S. Army SPC Adrian Orosco. My conclusion is based on the
following:

        AQI had area of operations dominance in the province during the period when this attack
         occurred and was motivated to conduct the attack.
        The attack exhibited TTPs commonly associated with AQI.

I further conclude that Iran’s material support substantially contributed to AQI’s commission of this
attack.

671 Eli Lake, “Iran’s Secret Plan for Mayhem,” New York Sun, January 3, 2007.
672 Mary Anne Weaver, “The Short, Violent Life of Abu Musab al-Zarqawi,” Atlantic, July/August 2006.
673 Kimberly Kagan, Iraq Report February 11, 2007 – April 25, 2007 The Battle for Diyala (Washington, DC: Institute for the

Study of War, n.d.), pp. 7, 11, 12, https://www.understandingwar.org/sites/default/files/reports/IraqReport04.pdf.
674 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *1-*2 (D.D.C., Dec. 28, 2022); Roth

v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023; Memorandum Opinion and Order,
Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of Iran,
No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 20-21, 40.
675 See Brown v. Islamic Republic of Iran, No. 1:21-CV-1308 (TNM), 2023 WL4824740 at *4 (D.D.C. July 27, 2023).
676 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” February 16, 2012, https://home.treasury.gov/news/press-
releases/tg1424.
677 See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023) (“the Court is satisfied

that Iran’s support was a ‘substantial factor’ in the IED attacks and that the consequences of its support were ‘reasonably
foreseeable’”).

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Attack #10 – October 14, 2007 IED Attack in the Arab Jabour Neighborhood of Baghdad
that Killed U.S. Army Sergeant First Class Justin Monschke
Geography: Arab Jabour, Baghdad Province
Attack Type: IED
Direct Victim(s): SFC Justin Monschke

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

         PEX 147, Department of the Army, USARCENT FOIA FA-22-0067, “Informal AR 15-6
          Investigation, Justin Monschke,” (October 17, 2007).
         PEX 148, CENTCOM, USCENTCOM FOIA 22-0178, Ops Report, “IED Explosion RPT
          (IED) A/2-12IN: 1CF KIA 3CF WIA,” (October 14, 2007).
         PEX 149, Office of the Armed Forces Medical Examiner, “Autopsy Report – Justin
          Monschke,” (October 21, 2022).

Attack Description
On October 14, 2007, an IED fatally wounded U.S. Army Sergeant First Class (SFC) Justin Monschke
while he was serving with the 2nd Battalion, 3rd Special Forces Group (Airborne) in Arab Jabour, a
neighborhood in southern Baghdad. SFC Monschke was a part of the assault force (AF) acting in
support of Operation Model T, the objective of which was to detain “a known insurgent operating in
the Arab Jabour region of Iraq.”678 The operation began with a helicopter assault, and was continued
on foot once the AF touched down at the target location. According to the AR 15-6 Investigation
Report (AR 15-6) on the attack that killed SFC Monschke:

          While sensitive site exploitation was being conducted at the primary and secondary
          target buildings, the AC-130 gunship reported that three individuals fled from an
          adjacent building, and two of these men moved in a northeastern direction to a ditch
          approximately 30-40 meters away. Upon receiving this report, the AF [Assault Force]
          attempted to locate these men and moved northward in pursuit. The assault force
          arrived to Main Street, and then began moving east towards the location of the two
          men. Once at the intersection of Eighth and Main Street, an improvised explosive
          device (IED) detonated. Sergeant First Class Justin Monschke was within the blast
          area of the IED and was thrown approximately 15 meters into a 15-foot deep ditch….
          When the medic arrived to the ditch, he attempted to provide life-saving measures to
          SFC Monschke, to no avail.679

The IED that killed SFC Monschke had been placed in a footpath. 680



678 PEX 147, Department of the Army, USARCENT FOIA FA-22-0067, “Informal AR 15-6 Investigation, Justin
Monschke,” (October 17, 2007), p. 4.
679 PEX 147, p. 4.
680 PEX 148, CENTCOM, USCENTCOM FOIA 22-0178, Ops Report, “IED Explosion RPT (IED) A/2-12IN: 1CF

KIA 3CF WIA,” (October 14, 2007), p. 2.


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Attack Attribution
I conclude that the Zarqawi organization (as the Islamic State of Iraq) very likely committed this IED
attack. This conclusion is based on the following data points: 1) the geographic location and time
period of the attack; and 2) the tactics, techniques, and procedures (TTPs) used in this attack.

The Zarqawi Organization has undergone several name changes since the group’s inception in 1993.
Before this attack, in October 2004, the Zarqawi Organization underwent one such change when the
group formally pledged baya (allegiance) to al-Qaeda, changing its name from Jamaat al-Tawhid wal-
Jihad (JTJ) to Tanzim Qa’idat al-Jihad fi Bilad al-Rafidayn (al-Qaeda in Iraq). On January 15, 2006,
AQI deputy emir Abu Maysarah al-Iraqi announced the establishment of the Majlis Shura al-Mujahidin
fi-l-Iraq (better known as the Mujahedin Shura Council, or MSC), an umbrella group composed of six
Iraqi Sunni militant factions. On October 15, 2006, the Majlis Shura al-Mujahidin fi-l-Iraq (better
known as the Mujahedin Shura Council, or MSC) announced its establishment of the Islamic State of
Iraq (ISI).683 As this attack took place after the name change, this attribution will refer to the group as
ISI. However, some sources cited in this attribution refer to ISI by its former names (MSC, AQI and
JTJ).

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to ISI’s responsibility. This attack took place on October 14, 2007 in the rural community of Arab
Jabour, a part of the southeast agricultural belt of Baghdad that was used by ISI to support operations
in the Iraqi capital.684 The below map provides the approximate location of the attack.




681 PEX 149, Office of the Armed Forces Medical Examiner, “Autopsy Examination Report – Justin Monschke,” (October

21, 2022), p. 8.
682 PEX 149, p. 9.
683 Majlis Shura al-Mujahidin fi-l-Iraq, statement on the establishment of the Islamic State of Iraq, October 15, 2006.
684 “Southeast,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/southeast.




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            Figure 22: Location of the attack in the Arab Jabour neighborhood of Baghdad, Baghdad Province.

ISI continued operations in the area until the group’s neutralization there in 2009. 685 By May 2007,
had established a significant presence in Arab Jabour with “virtually uncontested” influence, according
to a report by the U.S. Army’s Center of Military History. 686 ISI influence in Arab Jabour was facilitated
by the aggrieved local Sunni population, lack of Iraqi government presence, and dense vegetation in
the community that created a sanctuary for ISI to engage in a wide array of terrorist activities. 687 These
included manufacturing IEDs and burying them along main roadways, preparing fighters for
operations in Baghdad, and maintaining a “detention house” used to torture captured combatants. 688
ISI’s dominance in Arab Jabour continued through the time of this attack and beyond, with the
community remaining an ISI stronghold of over 1,500 fighters until February 2008. 689

Tactics, Techniques, and Procedure (TTPs). Another indicator that ISI is responsible for this attack is the
TTPs used to carry it out. SFC Monschke was killed in an IED attack.

ISI had access to the type of IED used in the attack that killed SFC Monschke in October 2007.
According to the Operations (Ops) Report, remnants of the blast indicated that the IED was
constructed of gray metal and unknown bulk explosives, was approximately 155 millimeters in size,
and was triggered by a pressure wire.690 In November 2007, U.S. forces captured an ISI weapons cache
in Baghdad’s neighboring Babil Province that included 155-millimeter IEDs, demonstrating that ISI
had access to this type of weapon during the time period of the attack.691



685 Ibid.
686 Dale Andrade, Surging South of Baghdad: The 3D Infantry Division and Task Force Marne in Iraq, 2007-2008, (Washington,

D.C.: Center for Military History, 2010), p. 120, https://history.army.mil/html/books/surging_south_baghdad/CMH-
59-2-1_b.pdf.
687 Ibid, p. 20.
688 Ibid, pp. 141, 162.
689 Ibid, p. 401.
690 PEX 149, p. 5; PEX 148, p. 2.
691 Sgt. Jason Stadel, “IED Networks Adapt to Target Foot patrols; Half-Ton Cache Located Following Iraqi Tip,” DVIDS

Hub, November 19, 2007, https://www.dvidshub.net/news/14034/ied-networks-adapt-target-foot-patrols-half-ton-
cache-located-following-iraqi-tip.


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As demonstrated by a U.S. Army report on Operation Phantom Strike, which was tasked with
disrupting ISI from August to September of 2007 across Iraq, ISI maintained “IED networks
throughout the country.692 Additionally, ISI’s claim of responsibility for a high-profile IED attack on
a council leader in Saladin Province on October 4, 2007 affirms that ISI was committing IED attacks
against its enemies during the timeframe of the attack that killed SFC Monschke. 693

Iranian Support. Iran provided support to ISI and Iran’s support had a reasonable connection to the
ISI attack that killed SFC Monschke. Iranian support for ISI is detailed extensively in my Expert
Report & Declaration on Sunni Militant Organizations.694 The following information further demonstrates
the significance of Iran’s support to ISI at the time and in vicinity of this specific attack:

         Iran provided support to ISI before, during, and after this attack in multiple ways. In February
          2012, the United States designated Iran’s Ministry of Intelligence and Security (MOIS) for its
          ongoing and systematic sponsorship of a variety of terrorist organizations. Among the entities
          listed was AQI (the name by which the U.S. government still identified the Zarqawi
          organization at the time), which according to the Treasury Department received not only
          money and weaponry but also “intermediary services” that helped secure the release of the
          group’s imprisoned operatives.695 This designation relies upon extensive research and data
          collection and reflects a demonstrated pattern of Iranian support to ISI.
         Iran provided support to ISI militants in Baghdad Province, where the attack occurred,
          included provision of arms and intelligence. In December 2006, evidence of Iranian support
          for ISI emerged when two Quds Force operatives were arrested in Baghdad. According to
          U.S. defense officials, the operatives possessed documents definitively demonstrating the
          Quds Force’s cooperation with Sunni militias – including ISI – and included “weapons lists,
          documents pertaining to shipments of weapons into Iraq, organizational charts, telephone
          records and maps, among other sensitive intelligence information,” demonstrating the extent
          of Iran’s support.696
         Throughout 2007, weapons caches uncovered in areas held by the Zarqawi organization
          included weapons of Iranian origin. On February 3, 2007, Coalition forces discovered a
          Zarqawi organization weapons cache in Abu Ghraib (Baghdad Province) containing Iranian-
          manufactured mortars.697 During Operation Marne Torch in June and July 2007, U.S. forces
          identified weapons caches in Arab Jabour marked with indications of Iranian origin. 698
         In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
          Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment
          of improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations

692     USCENTCOM,            MNC-I      C3     Plans    and     Policy   Notes      (#30),   (July     2007),    p.     1
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/0339.%20MNCI%20C3%20Plans%20and%20Policy%20Notes%20(SIPR)%2026%20JUL%2007.pdf.
693 National Counterterrorism Center, 2007 Report on Terrorism, (April 2008), p. 16.
694 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
695 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” February 16, 2012.
696 Eli Lake, “Iran’s Secret Plan for Mayhem,” New York Sun, January 3, 2007.
697 Kimberly Kagan, “The Battle for Diyala,” Institute for the Study of War, (February 11, 2007 – April 25, 2007), p. 12.

https://www.understandingwar.org/sites/default/files/reports/IraqReport04.pdf.
698 Frederick Kagan et al., “Iranian Influence in the Levant, Iraq, and Afghanistan,” The American Enterprise Institute,

(February 2008), p. 25, https://understandingwar.org/sites/default/files/20080215_IranianInfluence.pdf.


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         with Iran and al-Qaeda, identifies his work in distributing designs for remote detonation
         devices used by terrorist organizations in Iraq, and connects him to multiple IED networks
         across northern Iraq, where ISI primarily operated. 699 Given his affiliations with Iran and al-
         Qaeda, and the nature of his activities in Iraq, it is very likely that Ghazala played a role in
         facilitating IED attacks for ISI.
        This Court has also previously validated the causal connection between Iran’s provision of
         money and weapons to ISI and the terrorist group’s ability to execute attacks. Indeed, this
         Court has held that Iran’s provision of material support and resources to ISI (including
         training, money, small arms, RPGs, IEDs, IEDs with mortar components, specially shaped
         explosive charges, and grenades) was sufficient to hold Iran liable for attacks carried out by
         ISI.700

Summary
In summary, I conclude it is very likely that ISI carried out the October 14, 2007 attack in the Arab
Jabour neighborhood of Baghdad that killed U.S. Army SFC Justin Monschke. My conclusion is based
on the following:

    ● ISI possessed area of operations dominance in Arab Jabour during the period when this attack
      occurred and was motivated to conduct the attack.
    ● The exhibited TTPs commonly associated with ISI.

Finally, I conclude that Iran’s material support substantially contributed to ISI’s commission of this
attack.


VII.     Diyala Province

Overview of Diyala Province
I have been asked by the Plaintiffs to assess five American casualties in Diyala Province from 2007 to
2008. Most of these casualties occurred at a time when the U.S. and its allies sought to combat VNSA
activities across Iraq, including in Diyala. VNSAs active in Diyala during the time of the attacks at
issue include the Zarqawi organization, AAS, JAM, the Badr Corps, and the Special Groups.

The Zarqawi organization was the dominant anti-American organization operating in Diyala in 2007-
2008. Shia militant groups, including JAM, the Badr Corps, and the Special Groups, also operated in

699 U.S. Department of State, Office of the Spokesperson, press release, “Terrorist Designation of HAMAS Operative

Muhammad           Hisham        Muhammad        Isma'il   Abu     Ghazala,”   September      22,     2011,     https://2009-
2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.
700 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *1-*2 (D.D.C., Dec. 28, 2022); Roth

v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023) (“Plaintiffs have thus provided ample
evidence ‘satisfactory to the court,’ 28 U.S.C. §1608(e), that Iran materially supported the terrorist groups and that this
support came from an ‘agent of such foreign state while acting within the scope of his or her office, employment, or
agency,’ id. § 1605A(a)(1). The Court is persuaded that Iran’s support of AQI and AAH was a ‘substantial factor’ in Attacks
#1, 3, 15, and 16 and that the consequences of its support were ‘reasonably foreseeable.’”); Memorandum Opinion and
Order, Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of
Iran, No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 20-21, 40 (“The above findings
demonstrate that Iran provided material support and resources to AQI…. Plaintiffs have thus established ‘some reasonable
connection’ between Iran’s provision of material support and AQI’s killing of SPC Davis.”)

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the province. In keeping with my application of limiting principles, I consider the presence and
possibility of other VNSAs’ responsibility for the attacks.

Below, I provide a summary of the war in Diyala, including overviews of Coalition operations and
VNSA activities. These summaries are intended to provide context and background for the 2007-2008
attacks I have been asked by the Plaintiffs to assess, as well as others that were committed in Diyala
during Coalition operations in Iraq.

Diyala’s Geography and Population




                                                                       Figure 24: Diyala Province from Map of Iraq




                   Figure 23: Map of Iraq701

Diyala was a strategic province for VNSAs targeting U.S. forces at the height of the war due to its
geography. Iran lies on Diyala’s eastern border, making it easy for Iranian forces and proxies to
transport weapons and personnel into and out of the province.




701 Map of Iraq, Map No. 3835 Rev. 6. United Nations Department of Field Support, Cartographic Section. 2014.


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Diyala Province lies northeast of Baghdad. When U.S. forces killed Abu Musab al-Zarqawi in 2006,
they discovered a crude map depicting a series of “belts” surrounding Baghdad (pictured above). 702
The Zarqawi organization concluded that if it could control these “Baghdad Belts” – that is, a series
of interconnected roadways, rivers, and communication infrastructure leading directly into the Iraqi
Capital – then the militant group could control Baghdad itself. 703 The “Diyala Belt” – which included
Baqubah, the provincial capital of Diyala, as well as the city of Khalis – was one such network that
Zarqawi sought to control.704 The southern part of Diyala Province was also part of the “Southern
Belt” around Baghdad.705




702  Bill Roggio, “Analysis: ISIS, allies reviving ‘Baghdad Belts’ Battle Plan,” Long War Journal, June 14, 2014,
https://www.longwarjournal.org/archives/2014/06/analysis_isis_allies.php;“Baghdad Belts,” Institute on the Study of
War, n.d., https://www.understandingwar.org/region/baghdad-belts.
703 Bill Roggio, “Analysis: ISIS, allies Reviving ‘Baghdad Belts’ Battle Plan,” Long War Journal, June 14, 2014.

https://www.longwarjournal.org/archives/2014/06/analysisisisallies.php; “Baghdad Belts,” The Institute for the Study
of War, n.d., https://www.understandingwar.org/region/baghdad-belts.
704 Bill Roggio, “Analysis: ISIS, allies Reviving ‘Baghdad Belts’ Battle Plan,” Long War Journal, June 14, 2014.

https://www.longwarjournal.org/archives/2014/06/analysisisisallies.php.
705 Ibid.




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Other cities in Diyala Province include Balad Ruz, Khanaqin and Muqdadiyah. 706 As discussed below,
these areas, as well as more rural parts of Diyala, were major hotbeds of activity for groups directly
and indirectly supported by the Iranian government.

During the relevant years, Diyala was majority Sunni Arab, with the minority split between Feyli (Shiite
Kurds), Shiite Arabs and Turkmen. 707 This ethnic mix makes Diyala a microcosm of Iraq itself, leading
some to call it “Little Iraq.”708 This ethnic diversity also contributed to the sectarian fighting, stoked
mainly by the Zarqawi organization, that frequently plagued the province.

Coalition Operations in Diyala Province
In early 2007, the U.S.-led Coalition surged forces into Diyala, which was “one of the central
battlegrounds between the Coalition and al Qaeda,” with “Iranian support for all sides in the ongoing
struggle there fanning the flames of violence as rogue Shiite militias challenge radical Sunni
extremists.”709 In June 2007, the U.S.-led coalition and Iraqi forces attempted to clear Baqubah, the
provincial capital of Diyala, as well as the city of Muqdadiyah.710

The U.S.-led clearance operations extended into militant groups’ rural strongholds, including into
Balad Ruz (a known the Zarqawi organization safe haven); “north and east of Hamrin Lake (and the
Zarqawi organization safehaven contested by Kurdish Peshmerga forces);” as well as “the area north
of Khalis (on the seam between Diyala and Salah ad Din provinces).” 711 The latter area is also known
as the “Khalis corridor.”712 U.S.-led operations continued into early 2008, as the Americans attempted
to turn over security to Iraqi forces and local tribes that had been alienated by the extremists’ actions. 713
Some Sunni tribesmen joined the U.S.-backed “Sons of Iraq” in Diyala and Baghdad, and then worked
with the Americans in the fight against the Zarqawi organization.714 The U.S. also continued to
uncover significant Zarqawi organization networks and target the group’s facilitators in Diyala in
2008.715

American military officials explained at the time that they were focused on disrupting operations
conducted by both the Zarqawi organization and Iran-backed Shia groups. Col. David Sutherland led
the 3rd BCT, 1st Cavalry Division in Diyala during this surge. Col. Sutherland explained in a

706   “Diyala,” The Institute for the Study of War, n.d., https://www.understandingwar.org/region/diyala-
%D8%AF%D9%8A%D8%A7%D9%84%D9%89.
707 Ibid.
708    “Iraq’s Diyala Province One of Deadliest for Troops,” PBS NewsHour, April 24, 2007,
https://www.pbs.org/newshour/show/iraqs-diyala-province-one-of-deadliest-for-troops.
709 Kimberly Kagan, Iraq Report: February 11, 2007 – April 25, 2007 The Battle for Diyala, (Washington, DC: Institute for the

Study of War, n.d.), p. 1, https://www.understandingwar.org/sites/default/files/reports/IraqReport04.pdf.
710 Claire Russo, “The Maliki Government Confronts Diyala,” Institute for the Study of War, September 23, 2008,

https://www.understandingwar.org/backgrounder/maliki-government-confronts-diyala.
711 Ibid.
712 Kimberly Kagan, Iraq Report: February 11, 2007 – April 25, 2007 The Battle for Diyala, (Washington, DC: Institute for the

Study of War, n.d.), p. 9, https://www.understandingwar.org/sites/default/files/reports/IraqReport04.pdf.
713 Eric Hamilton, Iraq Report: December 2007 – May 2008 Expanding Security in Diyala,” Institute for the Study of War,

https://www.understandingwar.org/sites/default/files/reports/Security%20Diyala%20-%20Iraq%20Report%2010.pdf.
714 Najim Abed Al-Jabouri & Sterling Jensen, “The Iraqi and AQI Roles in the Sunni Awakening,” PRISM 2:1, (July 2012),

pp. 14-15, https://cco.ndu.edu/Portals/96/Documents/prism/prism_2-1/Prism_3-18_Al-Jabouri_Jensen.pdf.
715 Multi-National Forces – Iraq, “Coalition disrupts al-Qaeda in Iraq operating in Diyala, 15 Terrorists Killed,” January

24, 2008, https://www.centcom.mil/MEDIA/PRESS-RELEASES/Press-Release-View/Article/903469/coalition-
disrupts-al-qaeda-in-iraq-operating-in-diyala-15-terrorists-killed/.


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contemporaneous interview that the U.S. and its allies were primarily fighting the Zarqawi
organization, as well Iran’s Shia proxies. Col. Sutherland explained:

         We have been fighting al-Qaeda, predominantly. They are the most vicious elements
         we have been fighting – they are the elements that don’t care if they kill innocent
         civilians from both sects, or all sects, I should say. They will just as quickly put a suicide
         born vehicle-borne IED in front of a hospital or a suicide bomber in front of a mosque
         and they don’t care who they hurt as long as it helps them achieve their end of inciting
         sectarian violence. We’ve also been faced with Sunni rejectionists, former Baathists
         that really lost power when the regime fell and they want it back. We also are facing
         Iranian influence. Iran wants to establish a hegemony in Iraq and they want to do that
         in Diyala, for us, because of the lines of communications, the capabilities to influence
         Baghdad from proximity of the Iranian border.716

Col. Sutherland elaborated by explaining that Iran wanted “military power,” “political power,”
“economic” power, “as well as religiously-based predominance” in Diyala. He noted that the Zarqawi
organization also wanted to secure a foothold in Diyala.717

With this context in mind, I now turn to an analysis of both the Sunni and Shia militant groups active
Diyala.

Sunni Militant Groups in Diyala Province
The Zarqawi organization maintained a presence in Diyala since the first months of the war in 2003,
often using the province as a “fallback location” when the fighting raged elsewhere. 718 Over the course
of the next three years, the province became a major hub for the Zarqawi organization’s operations.
In early 2006, Abu Musab al-Zarqawi established his headquarters just north of Baqubah, the
province’s capital, in the village of Hibhib. 719 On June 7, 2006, Zarqawi and his spiritual advisor,
Sheikh Abdel Rashid Rahman, were killed in American airstrike in Hibhib. 720 Zarqawi’s decision to
base his operations in Diyala demonstrates that the province was strategically important for the
Zarqawi organization’s operations.

Despite the death of the group’s founder, the Zarqawi organization continued to grow in Diyala and
elsewhere. The Zarqawi organization took advantage of the sectarian conflict in Diyala to strengthen


716 Kimberly Kagan, “ISW Interview with Col David Sutherland, Commander, Greywolf Brigade, Diyala, Iraq,” October

25, 2007, https://www.understandingwar.org/press-media/webcast/isw-interview-col-david-sutherland-commander-
greywolf-brigade-diyala-iraq.
717 Ibid.
718 Michael Knights and Alexander Mello, “Losing Mosul, Regenerating in Diyala: How the Islamic State Could Exploit

Iraq’s Sectarian Tinderbox,” CTC Sentinel 9:10, (October 2016), https://ctc.westpoint.edu/losing-mosul-regenerating-in-
diyala-how-the-islamic-state-could-exploit-iraqs-sectarian-tinderbox/.
719 Eric Hamilton, Iraq Report: December 2007 – May 2008 Expanding Security in Diyala,” Institute for the Study of War,

p. 3, https://www.understandingwar.org/sites/default/files/reports/Security Diyala - Iraq Report 10.pdf.
720   Solomon Moore, “Autopsy Details How Zarqawi Died,” Los Angeles Times, June 13, 2006.
https://www.latimes.com/archives/la-xpm-2006-jun-13-fg-autopsy13-story.html; Kimberly Kagan, “ISW Interview with
Col      David    Sutherland,    Commander,        Greywolf      Brigade,  Diyala,    Iraq,”   October     25,    2007,
https://www.understandingwar.org/press-media/webcast/isw-interview-col-david-sutherland-commander-greywolf-
brigade-diyala-iraq.


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its presence across the province throughout 2006. 721 In October 2006, AQI and closely allied groups
announced that they would henceforth be known as the Islamic State of Iraq (ISI). By the end of that
year, the Zarqawi organization had evicted Iraqi police forces and taken control of most of Diyala
province.722 The Zarqawi organization captured not only the province’s major cities, but also executed
a “deliberate, well-organized, coordinated, and ruthless” plan to take over key towns and villages. 723

Throughout 2006, Zarqawi organization fighters stationed in Baghdad also relocated to Baqubah,
Diyala’s capital city, as the U.S.-led Coalition and Iraqi forces intensified their operations in Baghdad.
An official history of the Iraq War authored for the U.S. Army summarizes the situation:

         The Coalition’s security operations in the capital city made Baghdad into an
         increasingly inhospitable place for AQI. Squeezed out of the capital, the insurgent cells
         regrouped around Ba’qubah. An important commercial hub connecting Baghdad with
         Iran, Ba’qubah was split in two by the Diyala River, a tributary of the Tigris. Like
         Baghdad, its population was a mix of Sunni Arabs and Shi’ites, making it a particularly
         volatile place as al-Qaeda in Iraq and other Sunni organizations fought with Shi’ite
         militias to purge the city of their opposing sect. Criminal gangs, eager to exploit the
         lack of order, freely roamed the streets. By the spring of 2007 the city had become a
         veritable ghost town, where few of its nearly 300,000 inhabitants, including the city’s
         police force, dared venture outside, for fear of being killed or kidnapped. Al-Qaeda in
         Iraq had also taken advantage of the collapse of civil order, using its management of
         public works and the distribution of food to control the city’s inhabitants. 724

In addition to housing senior Zarqawi organization personnel, Diyala served as a key facilitation hub
and staging ground for Sunni militants’ operations throughout Iraq. The group’s forces were divided
into “small military units with infantry, mortars, anti-tank and anti-aircraft teams.” 725 The Zarqawi
organization established supply bases, weapons factories for constructing IEDs, and other important
facilities and capabilities.726 The Zarqawi organization network in Diyala was also responsible for
building vehicle-borne improvised explosive devices (VBIEDs), then deploying them to Baghdad and
elsewhere.727 The group’s suicide bombers and various types of IEDs flowed from Diyala into
Baghdad.728

In addition to the Zarqawi organization, AAS/AAI also operated in Diyala. As was the case elsewhere
in Iraq, AAS/AAI and the Zarqawi organization had relations in Diyala that fluctuated between


721  Michael Knights, “Pursuing Al-Qa’ida into Diyala Province,” CTC Sentinel 9:7, (August 2008), p. 7,
https://carnegieendowment.org/files/CTCSentinel_Vol1Iss9.pdf.
722 Michael Knights, “Pursuing Al-Qa’ida into Diyala Province,” p. 5.
723 James Few, “The Pacification of Zaganiyah (Part One): Fighting for Intelligence to Overcome the Information Gap,”

Small Wars Journal, April 6, 2011, https://smallwarsjournal.com/blog/journal/docs-temp/728-few.pdf.
724 Nicholas J. Schlosser, The U.S. Army Campaigns in Iraq: The Surge, 2007-2008, (Center of Military History, U.S. Army,

2017), p. 54, https://history.army.mil/html/books/078/78-1/cmhPub_078-1.pdf.
725     Bill   Roggio,     “The      Battle   of     Baqubah       I,”   Long    War       Journal,   June    19,   2007,
https://www.longwarjournal.org/archives/2007/06/the_battle_of_baquba.php.
726 Ibid.
727 Eric Hamilton, Backgrounder #24: Targeting the Diyala Suicide Bombing Network, (Institute for the Study of War, March

2008), p. 9.
728 Ibid.




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cooperation and feuding.729 U.S. military officials noted the presence of AAS/AAI in Diyala during
the U.S.-led offensive in 2007.730 Even after the U.S.-led coalition launched a major offensive in Diyala
in 2007, both the Zarqawi organization and AAS/AAI remained active in the city of Baqubah,
routinely conducting IED attacks on coalition and Iraqi forces, as well as suicide bombings and
VBIED attacks, throughout 2007 and 2008. 731

Shia Militant Groups in Diyala Province
Even before the Iraq War, the Badr Organization, Iran’s oldest proxy inside Iraq, had an established
presence in Diyala. As one analyst has noted, southern Diyala has “historically been the preserve of
the Badr organization, which was originally created as a formation of the Islamic Revolutionary Guard
Corps during the Iran-Iraq War.”732

Throughout the U.S. occupation of Iraq, Iran’s Islamic Revolutionary Guard Corps (IRGC) and its
expeditionary arm, known as the IRGC-Quds Force, supported Shia groups that attacked U.S. and
Iraqi forces, including in Diyala Province. These Iran-backed groups included militias such as Jaysh
al-Mahdi (JAM), the Badr Corps, and various paramilitary outfits referred to as “Special Groups.” 733
Iran provided training, weaponry, travel facilitation and guidance to these groups. As described below,
each of these organizations, as well as Iran’s chief terrorist proxy, Hizballah, had a significant presence
in Diyala Province during the relevant timeframe.

By 2007, the IRGC-Quds Force had decided to “streamline operations in Iraq” and “established a
unified command, called the Ramazan Corps,” which “split Iraq into three roughly geographical
regions.”734 The Ramazan Corps was responsible for shuttling personnel and weapons across the
Iranian border into Iraq. One of these commands was responsible for funneling support to militant
groups in Diyala.735 IRGC-Quds Force personnel “facilitated the movement of weapons” inside the
province.736

JAM had a persistent presence in Diyala as well. The group was well-established in Diyala by 2006. 737
In 2007, as U.S. and Iraqi forces sought to clear out Sunni extremists from Diyala, JAM and other
Shia militant groups increased their footprint and sought to fill the vacuum. 738


729    “U.S.     Describes    Sunni   Rebels      Battling   al-Qaida,”   Associated   Press,    April     20,    2007,
https://www.nbcnews.com/id/wbna18234571.
730 Jamie Tarabay, “Anbar Alliance May Not Translate to Other Provinces,” NPR, September 25, 2007,

https://www.npr.org/templates/story/story.php?storyId=14696316.
731 Michael Knights, “Pursuing Al-Qa’ida into Diyala Province,” CTC Sentinel 9:7, (August 2008), pp. 5, 6,

https://carnegieendowment.org/files/CTCSentinel_Vol1Iss9.pdf.
732 Michael Knights, “Iran’s Expanding Militia Army in Iraq: The New Special Groups,” CTC Sentinel 12:7, (August 2019),

https://ctc.westpoint.edu/irans-expanding-militia-army-iraq-new-special-groups/.
733 Bill Roggio, “Iran’s Ramazan Corps and the ratlines into Iraq,” Long War Journal, December 5, 2007,

https://www.longwarjournal.org/archives/2007/12/irans_ramazan_corps.php.
734 Ibid.
735 Ibid.
736 Kimberly Kagan, May 2006 – August 20, 2007 Iran’s Proxy War against the United States and the Iraqi Government,

(Washington,      DC:      Institute  for     the     Study     of   War,    August    29,    2007),      p.        10,
https://www.understandingwar.org/sites/default/files/reports/Iraq%20Report%207.pdf.
737 Ibid, p. 19.
738 Ibid.




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As discussed above, Diyala was a key staging ground for the Zarqawi organization as the group plotted
attacks in the Iraqi capital of Baghdad. The same was true for Shia militant groups. 739 As one analyst
explained in early 2008:

         Special Groups cells in northeast Baghdad are closely linked to the Special Groups
         facilitation and financing networks in Diyala Province. Diyala is located northeast of
         Baghdad province and it shares a long eastern border with Iran. Key routes from
         Baghdad to Special Groups’ strongholds in the Khalis corridor, Khan Bani Saad, and
         elsewhere in Diyala run through Shaab and Ur. Therefore, it is especially important to
         maintain a Special Groups safe haven in the northeast part of the capital. Additionally,
         given the number of Special Groups’ weapons caches found north of Baghdad in the
         last few months, particularly in the cities of Husseiniyah, Jadidah, and Khan Bani Saad,
         Diyala it seems clear that the province functions as a weapons depot for Special
         Groups operating in northeast Baghdad. What is more, a number of Special Groups
         members involved in weapons facilitation and training have been captured in Diyala. 740

The Khalis corridor in Diyala “served as a main supply route and safe haven for Iranian-backed Special
Groups.”741 U.S. forces uncovered Iranian-supplied weapons caches and captured Special Groups
personnel who were responsible for transporting weapons across the Iranian border. 742 The Special
Groups “regularly transported weapons from Iran and stored them in depots along the banks of the
Tigris and Diyala Rivers.”743

Ali Mussa Daqduq al-Musawi (“Daqduq”) played a role to support Iran-backed militant groups in
Diyala. Daqduq, a member of Hizballah, has been designated as a terrorist by the U.S. Treasury
Department.744 Around 2005, according to the U.S. Treasury Department, “Iran asked Hizballah to
form a group to train Iraqis to fight Coalition Forces in Iraq.” 745 The leader of Hizballah, Hassan
Nasrallah, then “established a covert Hizballah unit to train and advise Iraqi militants in Jaysh al-Mahdi
(JAM) and JAM Special Groups, now known as Asa’ib Ahl al-Haq.” 746 By the following year, 2006,
Daqduq, “had been ordered by Hizballah to work with IRGC-QF to provide training and equipment
to JAM Special Groups to augment their ability to inflict damage against U.S. troops.” 747 In early 2007,




739  Michael Knights, “The Evolution of Iran’s Special Groups in Iraq,” CTC Sentinel 3:11, (November 2010),
https://ctc.usma.edu/the-evolution-of-irans-special-groups-in-iraq/.
740 Marisa Cochrane, “Backgrounder #25: The Growing Threat of Special Groups in Baghdad,” (Washington, DC:

Institute          for      the          Study          of        War,          March        2008),          p.        3,
https://www.understandingwar.org/sites/default/files/reports/The%20Growing%20Threat%20of%20Special%20Gro
ups%20in%20Baghdad.pdf
741 Kimberly Kagan, Iraq Report June 2007-November 2007 Securing Diyala, (Washington, DC: Institute for the Study of War,

n.d.), p. 10, https://www.understandingwar.org/sites/default/files/reports/Iraq%20Report%207.pdf.
742 Ibid.
743 Ibid.
744 U.S. Department of the Treasury, press release, “Treasury Designates Hizballah Commander Responsible for American

Deaths in Iraq,” November 19, 2012, https://home.treasury.gov/news/press-releases/tg1775.
745 Ibid.
746 Ibid.
747 Ibid.




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according to one expert, Daqduq “met with leaders of special groups who conducted small arms and
IED attacks against troops in Diyala, presumably to review their activities.” 748

In early 2007, U.S. forces discovered Iran had increased its “supply of weapons” to militant groups in
Diyala.749 These weapons included precursor materials needed to make deadly explosively formed
penetrator bombs (or EFPs), which are discussed below.750 One such cache of EFP supplies was
discovered in Mandali, Diyala, in February 2007. The weapons stored in Diyala were used not only
for attacks inside the province, but also in Baghdad, with smugglers traveling into and out of Iran
through Diyala to facilitate the EFP pipeline. 751

I now turn to consideration of the Diyala Province attacks that the Plaintiffs have asked me to review.

Attack #22 – January 20, 2007 Helicopter Shoot Down in Bahrez, Diyala Province that Killed
Iowa Army National Guard Command Sergeant Major Marilyn Gabbard
Geography: Bahrez, Diyala Province
Attack Type: Helicopter Shoot Down
Direct Victim(s): CSM Marilyn Gabbard

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

         PEX 150, USCENTCOM, USCENTCOM FOIA 22-0115, Ops Report, “SAFIRE on C/1-
          131 (EASY 4, [REDACTED]: 12 CF KIA 1 AIF DET,” (January 20, 2007).
         PEX 151, Office of the Armed Forced Medical Examiner, “Autopsy Report – Marilyn
          Gabbard,” (February 27, 2007).
         PEX 152, Department of the Army, USARCENT FOIA FA-22-0067, “AR 15-6 Collateral
          Investigation of UH-60 incident on 20JAN07,” (February 3, 2007).

Attack Description
On January 20, 2007, Command Sergeant Major (CSM) Marilyn Gabbard was an Iowa Army National
Guard soldier mobilized and serving with Multi-National Corps – Iraq.752 On the day of the attack,
CSM Gabbard was a passenger aboard a UH-60 Blackhawk (callsign EZ 40), which was flying in
formation behind another Blackhawk helicopter (callsign EZ 71).753 Both helicopters were flying over
Bahrez, a town northeast of Baghdad in Diyala Province, when CSM Gabbard’s aircraft was struck by



748  Kimberly Kagan, May 2006 – August 20, 2007 Iran’s Proxy War against the United States and the Iraqi
Government, (Washington, DC: Institute for the Study of War, August 29, 2007), p. 19,
https://www.understandingwar.org/sites/default/files/reports/Iraq%20Report%207.pdf.
749 Ibid.
750 Ibid., pp. 19-20.
751 Ibid.
752 “Army Commander Sgt. Marilyn L. Gabbard,” Military Times, January 2007, https://thefallen.militarytimes.com/army-

command-sgt-maj-marilyn-l-gabbard/2507299.
753   PEX 150, USCENTCOM, USCENTCOM FOIA 22-0115, Ops Report, “SAFIRE on C/1-131 (EASY 4,
[REDACTED]: 12 CF KIA 1 AIF DET,” (January 20, 2007), p. 2.


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enemy fire.754 The resulting damage to the aircraft caused the crash that killed all 12 passengers and
crew onboard.755


Initial reports, including the January 20, 2007 Ops Report, detail a variety of possible weapons that
may have engaged EZ 40, including surface-to-air missiles (SA-7 and retrofitted air-to-air R5 missiles),
rocket propelled grenades (RPGs), and machine gun fire. 757 The AR 15-6 Collateral Investigation
Report concludes that “At the time of this report the ASDAT [Army Shoot Down Assessment Team]
members have not determined what specific type of weapon engaged Easy 40, but have confirmed
enemy fire as the causative action.”758

After EZ 40 was struck, EZ 71, the lead aircraft in the helicopter formation, engaged enemy forces
who were traveling in a white pickup.759 Two additional UH-60 aircraft (callsigns EZ 56 and EZ 62)
and an Apache came to support EZ 71 and destroyed two additional enemy positions. 760 EZ 71 landed
and crew members approached EZ 40 with fire extinguishers, but were unable to recover anyone from
the burning wreckage.761 The area around EZ 40’s crash site was secured, and Coalition forces found
evidence of enemy positions and munitions – including SA-7s and components, RPGs and
components, a .50 caliber machine gun, and an anti-aircraft gun – in a nearby building that had been
destroyed in the crash.762

Attack Attribution
I conclude it is very likely that the Zarqawi organization (as the Islamic State in Iraq) committed this
helicopter shoot-down attack. This conclusion is based on the following data points: 1) the geographic
location and time period of the attack; 2) the tactics, techniques, and procedures (TTPs) used in this
attack; and 3) a claim of responsibility for this attack released by ISI.

The Zarqawi organization has undergone several name changes since the group’s inception in 1993.
After the death of Abu Musab al-Zarqawi in June 2006, AQI’s successor Abu Ayyub al-Masri
rebranded the Zarqawi Organization as Islamic State in Iraq (ISI). This attack took place after the
group had adopted the name ISI; however, some sources cited in this attribution refer to the
organization by its former name, AQI.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to the responsibility of ISI. The below map provides the approximate location of the attack.


754 PEX 152, Department of the Army, USARCENT FOIA FA-22-0067, “AR 15-6 Collateral Investigation of UH-60

incident on 20JAN07,” (February 3, 2007), p. 17.
755 PEX 152, p. 15.
756 PEX 151, Office of the Armed Forced Medical Examiner, “Autopsy Report – Marilyn Gabbard,” (February 27, 2007),

p. 3.
757 PEX 150, pp. 2, 3.
758 PEX 152, p. 18.
759 PEX 152, p. 15.
760 PEX 152, p. 15.
761 PEX 152, p. 18.
762 PEX 150, p. 3.


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                      Figure 25: Approximate location of the attack in Bahrez, Diyala Province.

This report’s Diyala Province background section describes ISI’s entrenchment in Baqubah – the
provincial capital – and its environs, which include Bahrez. Controlling Bahrez and its southern
neighboring areas was important historically for ISI because these towns served as facilitation nodes
for the group’s attacks into eastern Baghdad.763 During the first three years of the Iraq War, the town
was a frequent battleground between Coalition forces and Sunni militant groups. 764 U.S. forces and
their Iraqi partners would take control of the town, only to have Sunni insurgents retake it once they
left.765 One of these struggles for control of Bahrez occurred in mid-February 2007 – soon after the
attack that killed CSM Gabbard – that ensued because ISI had once again claimed control of the town
in December 2006.766 According to credible news reports, the progress of Coalition forces was stymied
by a combination of real and fake roadside bombs, IEDs, snipers posted “throughout the city,” and
rocket-propelled grenade (RPG), mortar, and small arms fire – demonstrating the entrenchment of
ISI in Bahrez around the time of this attack.767

Critically, ISI was also the dominant militant group in Bahrez’s neighboring city of Baqubah.
Controlling Diyala’s provincial capital enhanced ISI’s ability to project power in the city’s environs –
which included Bahrez, located 6 miles south.768 Baqubah’s location in the “Sunni Triangle” area – a
region northwest of Baghdad known as a hotbed of guerilla insurgency – and its predominantly Sunni
Arab demographic makeup made it a magnet for ISI fighters from the onset of the Sunni insurgency. 769


763 Jessica Lewis, Middle East Security Report 18: The Islamic State of Iraq Returns to Diyala (Washington, D.C.: Institute for the

Study of War, April 2014), p. 14, https://www.understandingwar.org/sites/default/files/Lewis-Diyala.pdf.
764    “U.S.    and   Iraqi     Forces     Battle    Al  Qaeda    Stronghold,”     CNN,      February     12, 2007,
http://edition.cnn.com/2007/WORLD/meast/02/11/iraq.firefight/.
765 Ibid.
766 Ibid.
767 Ibid.
768 Spc. Ben Fox, “Chargers’ Reflect on Success of Deployment,” U.S. Army Website, February 13, 2008,

https://www.army.mil/article/7424/chargers_reflect_on_success_during_deployment.
769      “Double     Suicide      Bombings        Kill  8    in     Iraq,”     CNN,       February       18,  2004,
https://www.cnn.com/2004/WORLD/meast/02/18/sprj.nirq.main/index.html.


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ISI maintained control of Diyala Province through intimidation of the local population and focusing
effort on resisting the Coalition’s presence.770 Preceding and shortly after the attack that killed CSM
Gabbard, Coalition forces launched several major offenses to degrade ISI in Diyala Province generally,
but particularly in Baqubah and its environs. In November 2006, Coalition forces launched Operation
Turki Bowl, targeting the ISI-dominated villages surrounding Baqubah, with the goal of enabling
Coalition forces to target ISI elements throughout the Diyala River Valley. 771 In early 2007, heavy
militant group influence in southern Diyala Province led U.S. forces and their partners to focus
operations in the province’s southwest corner – with particular focus on ejecting insurgents from
Baqubah and Muqdadiyah.772 During the second half of 2007, there were further Coalition efforts to
clear ISI from Diyala Province, and Baqubah and Muqdadiyah were the focus of operations between
June and October 2007.773 These efforts included the massive Operation Arrowhead Ripper, which
concentrated on Baqubah and its environs.774

Tactics, Techniques and Procedures (TTPs). Another indicator that ISI is responsible for this attack is the
TTPs used to carry it out. CSM Gabbard was killed in a helicopter shoot-down attack.

At the time of the attack, ISI had access to training and materials required to conduct attacks with
such weapons – including RPGs, surface-to-air missiles, 50 caliber machine guns, and anti-aircraft gun
– which were found in enemy positions near the EZ 40 crash site.775 According to the Central
Command (CENTCOM) report on the insurgency in Al Anbar Province, ISI-associated groups based
in Diyala Province received RPG training with ISI members in Al Anbar Province in 2006. 776 The
report further states that by October 2006, ISI members holding rallies in Ramadi, Al Anbar Province
were seen brandishing “RPGs, IGLA [Soviet surface-to-air missile system] rockets, and Dimitrov anti-
aircraft guns.”777 Between October 2006 and November 2008 U.S. and Iraqi forces found at least 35
SA-7 missiles (plus an additional 83 unidentified surface-to-air missiles), and evidence of ISI forces’
training in their use in various places throughout Iraq. 778 Given ISI’s area of operations dominance in


770  Michael Knights, “Pursuing Al-Qa’ida into Diyala Province,” CTC Sentinel 9:7, (August 2008), pp. 5, 6,
https://carnegieendowment.org/files/CTCSentinel_Vol1Iss9.pdf.
771 Kimberly Kagan, Iraq Report February 11, 2007 – April 25, 2007 The Battle for Diyala, (Washington, DC: Institute for the

Study of War, n.d.), p. 6, https://www.understandingwar.org/sites/default/files/reports/IraqReport04.pdf. .
772 Ibid.
773 Eric Hamilton, Iraq Report December 2007-May 2008, Expanding Security in Diyala (Washington, D.C.: Institute for the

Study               of             War,            August              13,                2008),             p.           2,
https://www.understandingwar.org/sites/default/files/reports/Security%20Diyala%20-%20Iraq%20Report%2010.pdf.
774 “Task Force Lightning Strikes Al-Qaeda,” Official Website of Multi-National Force - Iraq, June 19, 2007,

https://web.archive.org/web/20070711022935/https://www.mnf-
iraq.com/index.php?option=com_content&task=view&id=12398&Itemid=21; Bill Roggio, “The Battle of Baqubah I,”
Long War Journal, June 19, 2007, https://www.longwarjournal.org/archives/2007/06/the_battle_of_baquba.php;
American Forces Press Service, “Iraq Operations Kill, Capture Scores of Terrorists,” U.S. Army, June 22, 2007,
https://www.army.mil/article/3772/iraq_operations_kill_capture_scores_of_terrorists.
775 PEX 150, p. 3.
776 “Chapter Six: AQI Dominates the Insurgency (2006),” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June

13, 2007), p. 7, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
777 Ibid., p. 190.
778 Matt Schroeder, “Missile Watch #3: Black Market Missiles Still Common in Iraq,” (Washington D.C.: Federation of

American                 Scientists,            Dec.               8,                 2005),                p.            2,
https://programs.fas.org/ssp/asmp/issueareas/manpads/Missile_Watch_3_Black_market_missiles_still_common_in_I
raq.pdf.


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Diyala Province, it is unlikely that other groups were present in the area with the same capabilities and
access to the materials necessary to carry out this attack.

Additionally, in February 2007, the New York Times reported on documents captured from ISI fighters
that “reflect the insurgents’ military preparations from late last year, including plans for attacking
aircraft using a variety of weapons,” and further detailed:

        Documents captured from Iraqi insurgents indicate that some of the recent fatal
        attacks against American helicopters are a result of a carefully planned strategy to focus
        on downing coalition aircraft, one that American officials say has been carried out by
        mounting coordinated assaults with machine guns, rockets and surface-to-air missiles.

        The documents, said to have been drafted by Al Qaeda in Mesopotamia, show that
        the militants were preparing to “concentrate on the air force.” 779

Claim of Responsibility. The ISI Ministry of Information, ISI’s propaganda arm, released a statement
claiming responsibility for downing a Blackhawk helicopter:

        Two [ISI] brigades from the anti-aircraft detachment in the area of Bahrez, in the
        governorate of Diyala, setup [sic] an ambush for the aircraft, and at three o’clock in
        the afternoon on saturday [sic], Muharram 2, 1427 IC, corresponding to January 21
        [sic]. 2007, the lions of the Islamic State of Iraq downed a Black Hawk plane [sic]. This
        followed with a confrontation with the Crusaders, resulting in the complete
        destruction of two Hummers [sic] and killing all who were in them. 780

I accessed this translation of the claim through SITE Intelligence Group, which is a credible non-
governmental organization that archives extremist content. The Associated Press reported a similar
translation to the claim initially posted on a “Web site used as a clearing house for militant statements,”
which read: “the lions of Iraq’s Islamic state managed to down a Black Hawk on Saturday, which was
followed by a clash with the Crusaders, and that led to the destruction of two Humvees and the
annihilation of those inside, thanks be to God.”781 Furthermore, the New York Times relayed an ISI
claim referenced in a U.S. military intelligence report, noting that “Al Qaeda in Mesopotamia, which
the intelligence report says leads the insurgent group known as the Islamic State of Iraq, has claimed
responsibility for shooting down three of the helicopters. Those helicopters were downed near Taji,
Karma and in Diyala Province.”782

The details of the claim translations correspond with the attack described in the CENTCOM Ops
Report, which also leads me to conclude that the claim is reliable. Both the claims and the Ops Report

779 Michael Gordon & David Cloud, “Planning Seen in Iraqi Attacks on U.S. Copters,” New York Times, February 18,

2007, https://www.nytimes.com/2007/02/18/world/middleeast/18helicopter.html.
780 “Islamic State of Iraq Downing of a Black Hawk and Destroying Two Humvees in the Governorate of Diyala In the

Name of Allah, the most Gracious and Merciful,” SITE Intelligence, January 22, 2007, p. 1,
https://ent.siteintelligence.com/Jihadist-News/site-institute-1-22-07-isoi-down-black-hawk-destroy-hummers.html.
781 Nadia Abou el-Magd, “Al-Qaida-linked insurgents claim to have downed a US military helicopter,” Associated Press

International, January 22, 2007, https://advance.lexis.com/api/permalink/5d7b1ef9-fc41-4e1f-ae40-
4021effb2aa7/?context=1519360.
782 Gordon & Cloud, “Planning Seen in Iraqi Attacks on U.S. Copters.”




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concur on location of Bahrez or Diyala Province. The Ops Report states the crash occurred at 1458
hours, in line with ISI’s version of the attack time (3 pm).783 Although the date of the attack indicated
in ISI’s statement is one day off, it references Saturday, which was in fact January 20. This may be due
to discrepancies in converting dates from the Hijri (Islamic) calendar, which ISI preferred, to the
Gregorian calendar. Further, though the Ops Report makes no mention of the confrontation leading
to the destruction of two Coalition Humvees (described in the ISI statement as civilian Hummers)
following the shoot down, all the other details lead me to conclude that this claim of responsibility is
genuine and can be attributed to ISI.

Iranian Support. Iran’s support to ISI had a reasonable connection to the attack that killed CSM
Gabbard. Iranian support for ISI is detailed extensively in my Expert Report & Declaration on Sunni
Militant Organizations.784 The following information further demonstrates the significance of Iran’s
support to ISI at the time and in vicinity of this specific attack:

           Iran provided support to ISI before, during, and after this attack in multiple ways. In
            December 2006 evidence of Iranian support for ISI emerged when two Quds Force operatives
            were arrested in Baghdad. According to U.S. defense officials, the operatives possessed
            “weapons lists, documents pertaining to shipments of weapons into Iraq, organizational
            charts, telephone records and maps, among other sensitive intelligence information.” 785
           Iran provided ISI with weapons similar to those used in this attack. According to a Jordanian
            intelligence official, Iran had supplied machine guns and military equipment to ISI from the
            beginning of their support for the group.786 By 2007, Coalition forces captured a number of
            weapons caches containing Iranian mortars, explosive material, RPGs, and ammunition in
            areas where ISI maintained strong areas of operations. 787 This Court previously found that the
            successful use of RPGs indicates training, which likely would have come from Iran; this Court
            has also previously found that Iran provided RPGs to ISI. 788
           In February 2012, the United States designated Iran’s Ministry of Intelligence and Security
            (MOIS) for its ongoing and systematic sponsorship of a variety of terrorist organizations.
            Among the entities listed was AQI (the name by which the U.S. government identified ISI at
            the time), which according to the Treasury Department received not only money and
            weaponry but also “intermediary services” that helped secure the release of the group’s
            imprisoned operatives.789 This designation relies upon extensive research and data collection
            and reflects a demonstrated pattern of Iranian support to ISI.
           In 2008, the U.S. Department of the Treasury imposed sanctions against several individuals
            connected to Iran who provided weapons to militias in Iraq. For example, it sanctioned Gen.
            Foruzandeh of the IRGC-QF, who provided training for Iraqi militias, including training in



783 Ibid; PEX 150, p. 2.
784   See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
785 Ibid.
786 Mary Anne Weaver, “The Short, Violent Life of Abu Musab al-Zarqawi,” The Atlantic, July/August 2006.
787 Kimberly Kagan, Iraq Report February 11, 2007 – April 25, 2007 The Battle for Diyala, (Washington, DC: Institute for the

Study of War, n.d.), pp. 7, 11, 12, https://www.understandingwar.org/sites/default/files/reports/IraqReport04.pdf.
788 See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 at *3, *5, *19, V. (D.D.C., Jan. 17, 2023).
789 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” February 16, 2012.


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         “guerilla warfare, light arms, marksmanship, planting improvised explosive devices, and firing
         anti-aircraft missiles,” and who provided funding for Iraqi Sunni militia fighters. 790

Summary
In summary, I conclude it is very likely that ISI carried out the January 20, 2007 attack on a helicopter
in Bahrez, Diyala Province that killed Iowa Army National Guard CSM Marilyn Gabbard. My
conclusion is based on the following:

    ● ISI possessed area of operations dominance in Diyala Province, specifically in the city of
      Baqubah and its surrounding villages and towns, including Bahrez, during the period when
      this attack occurred and was motivated to conduct the attack.
    ● The attack exhibited TTPs commonly associated with ISI.
    ● ISI claimed responsibility for this attack.

I further conclude that Iran’s material support substantially contributed to ISI’s commission of this
attack.

Attack #8 – April 7, 2007 IED Attack in Zaganiyah, Diyala Province that Killed Captain
Jonathan Grassbaugh, Private First Class Rodney McCandless, and Specialist Levi Hoover
Geography: Zaganiyah, Diyala Province
Attack Type: IED Attack
Direct Victim(s): CPT Jonathan Grassbaugh, PFC Rodney McCandless, and SPC Levi Hoover

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

        PEX 153, Department of the Army, “Report of Casualty – Jonathan Grassbaugh,” (May 3,
         2007).
        PEX 154, USCENTCOM, USCENTCOM FOIA 17-0695, "Initial and Supplemental Casualty
         Report – Levi Hoover," (April 7-8, 2007).
        PEX 155, CENTCOM, USCENTCOM FOIA 22-0169, “Casualty Report – Rodney
         McCandless,” (April 8, 2007).
        PEX 156, Office of the Armed Forces Medical Examiner, “Final Autopsy Report – Jonathan
         Grassbaugh,” May 11, 2007.
        PEX 157, Department of the Army, USARCENT FOIA FA-22-0067, “15-6
         Investigation into an IED Detonation Resulting in the Death of CPT Grassbaugh, Jonathan;
         SPC Emolo, Ebe; SPC Hoover, Levi; and PFC McCandless, Rodney from 5-73rd Cavalry
         Squadron, 07APR07, 38S MC 7042 4576,” (April 17, 2007).
        PEX 158, USCENTCOM, USCENTCOM FOIA 22-0121, Ops Report, “IED Explosion
         (CWIED) ATTK on TF 5-73 IVO (Route Barley): 1 CF WIA 4 CF KIA,” (April, 24, 2007).



790 U.S. Department of the Treasury, press release, “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency,”

(January 9, 2008), https://www.treasury.gov/press-center/press-releases/pages/hp759.aspx.


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Attack Description
On April 7, 2007 U.S. Army Captain (CPT) Jonathan Grassbaugh, Private First Class (PFC) Rodney
McCandless, and Specialist (SPC) Levi Hoover were serving with 5th Squadron, 73rd Cavalry
Regiment (5-73), 3rd Brigade Combat Team in the 82nd Airborne Division south of Zaganiyah, Diyala
Province, Iraq.791 According to the Army Regulation 15-6 (AR 15-6) investigation into the attack, CPT
Grassbaugh, PFC McCandless, and SPC Hoover were part of a squadron combat logistical patrol
consisting of nine vehicles on a mission to resupply a 5-73 Company Outpost in Zaganiyah and then
return to Forward Operating Base (FOB) Warhorse in Baqubah. 792 CPT Grassbaugh, PFC
McCandless, and SPC Hoover were was traveling in the lead convoy vehicle. 793

The convoy was returning from the Company Outpost, traveling south of Zaganiyah, when an
improvised explosive device (IED) detonated under a M1114 that held CPT Grassbaugh, PFC Rodney
McCandless, and SPC Levi Hoover.794

The IED blast blew the vehicle into the air, ejecting the vehicle’s turret along with four of the five
occupants.795 The vehicle was “immediately engulfed in fire” upon impact with the ground. 796 PFC
McCandless remained trapped inside the vehicle while CPT Grassbaugh and another occupant were
later found 10 to 15 meters from the blast site.797 Servicemembers from the other vehicles in the
convoy found CPT Grassbaugh unconscious and on fire. 798 They extinguished the flames and
administered medical aid.799 SPC Hoover was found dead 15-20 meters away from the blast site. 800

CPT Grassbaugh and SPC Hoover were evacuated to a medical center in Balad, where CPT
Grassbaugh was pronounced dead on arrival.801
                                                        SPC Hoover’s casualty report states that the
circumstances surrounding his death were that “his vehicle struck an IED.” 803 PFC McCandless’s
casualty report states that the cause of his death was “massive trauma” inflicted by “enemy forces.” 804
The blast killed one other servicemember in addition to CPT Grassbaugh, SPC Hoover, and PFC
McCandless.805


791 PEX 153, Department of the Army, “Report of Casualty – Jonathan Grassbaugh,” (May 3, 2007), p. 2; PEX 157,

Department of the Army, USARCENT FOIA FA-22-0067, “15-6 Investigation into an IED Detonation Resulting in
the Death of CPT Grassbaugh, Jonathan; SPC Emolo, Ebe; SPC Hoover, Levi; and PFC McCandless, Rodney from 5-
73rd Cavalry Squadron, 07APR07, 38S MC 7042 4576,” (April 17, 2007), p. 9.
792 PEX 157, p. 9.
793 PEX 157, p. 9.
794 PEX 157, pp. 9, 19.
795 PEX 157, pp. 9-10.
796 PEX 157, p. 9.
797 PEX 157, p. 9.
798 PEX 157, p. 9.
799 PEX 157, p. 9.
800 PEX 157, p. 10.
801 PEX 157, p. 10.
802 PEX 156, Office of the Armed Forces Medical Examiner, “Final Autopsy Report – Jonathan Grassbaugh,” (May 11,

2007), p. 5.
803 PEX 154, USCENTCOM, USCENTCOM FOIA 17-0695, "Initial and Supplemental Casualty Report – Levi Hoover,"

(April 7-8, 2007), p. 6.
804 PEX 155, CENTCOM, USCENTCOM FOIA 22-0169, “Casualty Report – Rodney McCandless,” (April 8, 2007).
805 PEX 153, p. 2.
805 PEX 157, p. 9.


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Attack Attribution
I conclude that the Zarqawi organization (as the Islamic State of Iraq) very likely committed this IED
attack. This conclusion is based on the following data points: 1) the geographic location and time
period of the attack; and 2) the tactics, techniques, and procedures (TTPs) used in this attack.

The Zarqawi organization has undergone several name changes since the group’s inception in 1993.
At the time of this attack, the group referred to itself as the Islamic State of Iraq (ISI), so that is the
name I employ for it in this section. However, some sources cited in this attribution continue to refer
to the organization by its former names, including MSC, AQI and JTJ.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to ISI’s responsibility. This attack took place in Zaganiyah, Diyala Province on April 7, 2007.
Zaganiyah is located in the Diyala River Valley, north of the city of Baqubah. The below map provides
the approximate location of the attack.




                  Figure 26 Approximate location of the attack in Zaganiyah, Diyala Province.

By March 2007, ISI “effectively occupied” the broader Diyala River Valley region. 806 According to
CPT James Few, locally deployed with U.S. Army’s 5th Squadron, 73rd Cavalry Regiment (5-73), 5-
73 began operations to eliminate ISI from the Diyala River Valley in February 2007. 807 Few explained
that ISI used its occupation of “safe haven” towns in the Diyala River Valley to conduct regular attacks
on the Iraqi government in a variety of towns in the province. 808

806 James Few, “The Pacification of Zaganiyah (Part One): Fighting for Intelligence to Overcome the Information Gap,”

Small Wars Journal, April 6, 2011, p. 12, https://smallwarsjournal.com/blog/journal/docs-temp/728-few.pdf.
807 Ibid., p. 3.

CPT Grassbaugh, PFC McCandless, and SPC Hoover’s unit was also a component of 5-73.
808 Ibid., p. 12.


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Furthermore, ISI had established area of operations dominance in Zaganiyah. Few states that by
March 2007, ISI had robust control of the area, and had “consolidated control of Zaganiyah governing
under the auspices of the Islamic State of Iraq (ISI).” He details that ISI “established its zone of
control, effectively killing or displacing 5,000 Shia residents, dissolving the Iraqi Government
presence, instituting an Islamic government, and implementing Shar’iah law.” 809 In response to ISI’s
growing dominance, 5-73 was tasked with “pacify[ing] Zaganiyah” and removing ISI networks from
the Diyala River Valley.810 In conducting reconnaissance of Zaganiyah in the spring of 2007, units in
5-73 estimated that 10% of the Zaganiyah population consisted of ISI fighters. 811 Additionally, 5-73
discovered that ISI had established a military headquarters in a Zaganiyah elementary school. 812

According to the AR 15-6 report, the deaths of CPT Grassbaugh, SPC Hoover, and PFC McCandless
“were the result of a preplanned attack from Anti Iraqi Forces.” 813 This conclusion is supported by
analysis of the Explosive Ordnance Disposal (EOD) team, who concluded that the IED was pre-set
and had been buried “several months” prior to the arrival of CPT Grassbaugh’s unit. 814 The EOD
team describes pre-setting as a tactic that allowed IED emplacers to avoid detection by Coalition
forces (present in significant numbers and conducting patrols in April 2007) while planting the IED
and reducing evidence of road-surface changes that would notify Coalition forces of a newly-buried
IED.815 The IED was detonated by a command wire, which likely led to a house with a hole “chipped”
out of a wall that gave a direct vantage point to the site of the IED attack.816 The timelines required
to pre-set an IED and knock a hole in the wall of a house suggest that those who executed the attack
were active in the area for some months prior to the attack, which aligns with ISI’s March 2007 area
of operations dominance in the region.

ISI’s dominance in the Diyala River Valley continued past the attack on CPT Grassbaugh, SPC
Hoover, and PFC McCandless. In June 2007, Coalition forces began Operation Arrowhead Ripper
with the goal to eliminate ISI from Baqubah and the towns northeast of Baqubah where Zaganiyah is
located.817

Tactics, Techniques, and Procedures (TTPs). Another indicator that ISI was responsible for the attack is the
TTPs used to carry it out. The perpetrators conducted an IED attack.

At the time of the attack, ISI used IEDs to regularly target Coalition forces in the Diyala River Valley.
According to Captain James Few, deployed locally with the U.S. Army’s 5th Squadron, 73rd Cavalry


809  James Few, “The Break Point: AQIZ Establishes the ISI in Zaganiyah,” Small Wars Journal, 2008, p. 1,
https://web.archive.org/web/20100207111621/http://smallwarsjournal.com/blog/journal/docs-temp/50-few.pdf.
810 James Few, “The Pacification of Zaganiyah (Part One): Fighting for Intelligence to Overcome the Information Gap,”

p. 5.
811 Ibid.
812 Ibid., p. 12.
813 PEX 157, p. 8.
814 PEX 157, p. 10.
815 PEX 157, p. 10.
816 PEX 158, USCENTCOM, USCENTCOM FOIA 22-0121, Ops Report, “IED Explosion (CWIED) ATTK on TF 5-

73 IVO (Route Barley): 1 CF WIA 4 CF KIA,” (April, 24, 2007), p. 2.
817       “Operation    Arrowhead        Ripper,”     Institute      for       the     Study     of     War,     n.d.,
https://www.understandingwar.org/operation/operation-arrowhead-ripper.


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Regiment, in March 2007 ISI had extensively “mined the main roads” surrounding Baqubah and
Zaganiyah, resulting in “two to three daily IED attacks” on his squadron. 818

In an Army War College leadership report on Operation Arrowhead Ripper, Colonel Fred Johnson
described the effects of IEDs buried under streets in Diyala Province by AQI, noting that they were
“extremely lethal to U.S. forces and the Iraqi security forces,” with secondary effects of destruction
of infrastructure.819 Coalition forces captured approximately 250 IEDs when seizing ISI weapons
caches during Operation Arrowhead Ripper.820

Iranian Support. Iran provided support to ISI, and this support had a reasonable connection to the
attack that killed CPT Grassbaugh, SPC Hoover, and PFC McCandless. Iranian support for ISI is
detailed extensively in my Expert Report & Declaration on Sunni Militant Organizations.821

In addition to the details provided in that report, it is worth noting that Iran provided support to ISI
before, during, and after this attack in multiple ways:

        In December 2006, further evidence of Iranian support for ISI emerged when two Quds Force
         operatives were arrested in Baghdad. According to U.S. defense officials, the documents
         possessed by the operatives definitively demonstrated the Quds Force’s cooperation with
         Sunni militias – including ISI – and included “weapons lists, documents pertaining to
         shipments of weapons into Iraq, organizational charts, telephone records and maps, among
         other sensitive intelligence information,” demonstrating the extent of Iran’s support. 822
        In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
         Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment
         of improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations
         with Iran and al-Qaeda, identifies his work in distributing designs for remote detonation
         devices used by terrorist organizations in Iraq, and connects him to multiple IED networks
         across northern Iraq, where ISI primarily operated. 823 Given his affiliations with Iran and al-
         Qaeda, and the nature of his activities in Iraq, it is very likely that Ghazala played a role in
         facilitating IED attacks for ISI.
        This Court has also previously validated the causal connection between Iran’s provision of
         money and weapons to ISI and the terrorist group’s ability to execute attacks. Indeed, this
         Court has held that Iran’s provision of material support and resources to ISI (including
         training, money, small arms, RPGs, IEDs, IEDs with mortar components, specially shaped



818 James Few, “The Pacification of Zaganiyah (Part One): Fighting for Intelligence to Overcome the Information Gap,”

Small Wars Journal, April 6, 2011, p. 10, https://smallwarsjournal.com/blog/journal/docs-temp/728-few.pdf.
819 Colonel Fred Johnson, “Arrowhead Ripper: Adaptive Leadership in Full Spectrum Operations,” (Carlisle, PA: Army

War College, June 2009), p. 11, https://apps.dtic.mil/sti/pdfs/ADA501357.pdf.
820      “Operation        Arrowhead         Ripper,”     Institute    for    the     Study     of     War,      n.d.,
https://www.understandingwar.org/operation/operation-arrowhead-ripper.
821 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
822 Eli Lake, “Iran’s Secret Plan for Mayhem,” New York Sun, January 3, 2007.
823 U.S. Department of State, Office of the Spokesperson, press release, “Terrorist Designation of HAMAS Operative

Muhammad          Hisham      Muhammad         Isma'il  Abu      Ghazala,”  September     22,  2011,    https://2009-
2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.


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         explosive charges, and grenades) was sufficient to hold Iran liable for attacks carried out by
         ISI.824
        Iran’s provision of weapons to ISI was one of the most substantial types of support that Iran
         provided—significant enough to be a causal factor in the U.S. Department of the Treasury’s
         designation of Iran’s Ministry of Intelligence and Security (MOIS). In February 2012, the
         Treasury Department designated the MOIS for human rights abuses and support for
         terrorism, stating that MOIS “provided money and weapons to al Qa’ida in Iraq (AQI).” 825
         Indeed, this Court previously found that Iran materially supported ISI in carrying out IED
         attacks throughout Iraq from June 2004 and May 2007. 826

Summary
In summary, I conclude that it is very likely that ISI carried out the April 7, 2007 IED attack in
Zaganiyah, Diyala Province that killed U.S. Army CPT Jonathan Grassbaugh, PFC Rodney
McCandless, and SPC Levi Hoover. My conclusion is based on the following:

        ISI possessed areas of operations dominance in Zaganiyah and the surrounding area during
         the period when this attack occurred and was motivated to conduct the attack.
        The attack exhibited TTPs commonly associated with ISI.

I further conclude that Iran’s material support substantially contributed to ISI’s commission of this
attack.

Attack #9 – May 28, 2007 IED Attack in Abu Sayda, Diyala Province that Killed Specialist
James Summers, Specialist Zachary Baker, and First Lieutenant Kile West
Geography: Abu Sayda, Diyala Province
Attack Type: IED Attack
Direct Victim(s): SPC James Summers, SPC Zachary Baker, and 1LT Kile West

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

        PEX 159, USCENTCOM, USCENTCOM FOIA 17-0446, “Initial and Supplemental
         Casualty Report of Kile West (May 28, 2007; June 10, 2007).
        PEX 160, CENTCOM, USCENTCOM FOIA 22-0070, “Report of Casualty – Zachary
         Baker,” (July 2, 2007)
        PEX 161, Office of the Armed Forces Medical Examiner, “Autopsy Report – James
         Summers,” (June 12, 2007).


824 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *1-*2 (D.D.C., Dec. 28, 2022); Roth

v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023); Memorandum Opinion and Order,
Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of Iran,
No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 20-21, 40.
825 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” (February 16, 2012), https://home.treasury.gov/news/press-
releases/tg1424.
826 See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023).


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        PEX 162, Office of the Armed Forces Medical Examiner, “Autopsy Report – Kile West,”
         (June 27, 2007).
        PEX 163, Department of the Army, USARCENT FOIA FA-22-0067, “Findings and
         Recommendations for AR 15-6 Investigation into Hostile Fire Deaths of PFC Alexandre
         Alexeev, SPC James Summers, CPL Zachary Baker, SGT Anthony Ewing, 1LT Kile West,
         and CPL Jonathan Markham on 28 and 29 May 2007,” (June 27, 2007).
        PEX 164, Department of the Army, USCENTCOM FOIA 22-0226, “Casualty Report – James
         Summers,” (June 9, 2007).
        PEX 165, USCENTCOM, USCENTCOM FOIA 17-0403, “(Explosive Hazard) IED
         Explosion (Improvised Explosive Devise (IED)) 3-1 QRF : 5 KIA 3 OF WIA,” (February 2,
         2008).

Attack Description
On May 28, 2007, U.S. Army Specialist (SPC) James Summers, U.S. Army Specialist Zachary Baker,
and U.S. Army First Lieutenant (1LT) Kile West were serving with the 6th Squadron, 9th Cavalry
Regiment (6-9 CAV) Apache (A) Troop.827 They were traveling as part of a convoy on a DART
(Downed Aircraft Recovery Team) mission to retrieve a downed Bell OH58-D Kiowa helicopter
outside of Abu Sayda, Diyala Province, a town northeast of Baqubah. 828

According to the Army Regulation 15-6 Investigation Report on this attack, the mission was “very
deliberate in the route clearance by leading with Heavy Tracked Vehicles for protection and
dismounting Troopers to look for IED [improvised explosive device] pressure switches or command
detonating wire.”829 Along the route, the convoy stopped to inspect an IED blast and search for IEDs
in the dirt section of the otherwise paved road.830 The convoy proceeded after completing its
reconnaissance.831 The Investigation Report indicates that after the first vehicle in the convoy passed
the site of the IED blast, “A25 [the vehicle containing SPC Summers and 1LT West] struck a pressure
switch detonating a large buried IED directly under the crew compartment of the Bradley [Fighting
Vehicle].”832

According to the Investigation Report, SPC Summers and 1LT West sustained blast and shrapnel
injuries in the explosion, resulting in their immediate death. 833 SPC Baker died while being evacuated




827 James Summers is referred to as Corporal (CPL) in some documents. This discrepancy is likely due to a posthumous

promotion. PEX 164, Department of the Army, USCENTCOM FOIA 22-0226, “Casualty Report – James Summers,”
(June 9, 2007), p. 2; PEX 161, Office of the Armed Forces Medical Examiner, “Autopsy Report – James Summers,”
(June 12, 2007), p. 2; PEX 159, USCENTCOM, USCENTCOM FOIA 17-0446, “Initial and Supplemental Casualty
Report of Kile West (May 28, 2007; June 10, 2007), p. 2; PEX 160, CENTCOM, USCENTCOM FOIA 22-0070,
“Report of Casualty – Zachary Baker,” (July 2, 2007), p. 2.
828 PEX 163, Department of the Army, USARCENT FOIA FA-22-0067, “Findings and Recommendations for AR 15-6

Investigation into Hostile Fire Deaths of PFC Alexandre Alexeev, SPC James Summers, CPL Zachary Baker, SGT
Anthony Ewing, 1LT Kile West, and CPL Jonathan Markham on 28 and 29 May 2007,” (June 27, 2007), p. 4.
829 PEX 163, p. 7.
830 PEX 163, p. 8.
831 PEX 163, p. 8.
832 PEX 163, p. 8; PEX 161, p. 3.
833 PEX 163, p. 10.




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to the Combat Support Hospital in Balad.834 The blast killed one additional servicemember and
wounded three others.835

In response to the blast, another unit was called to secure the site and transport casualties. 836 Following
a medical evacuation of the casualties to the Combat Support Hospital in Balad, a second IED
detonated on the recovery team, resulting in the death of one other service member. 837 The AR 15-6
investigation specifies that the second IED used approximately 100 pounds of explosives. 838 The exact
type and number of munition(s) used in the first IED detonation are not specified. 839

Attack Attribution
I conclude that the Zarqawi organization (as the Islamic State of Iraq) very likely committed this IED
attack. This conclusion is based on the following data points: 1) the geographic location and time
period of the attack; and 2) the tactics, techniques, and procedures (TTPs) used in this attack.

The Zarqawi organization has undergone several name changes since the group’s inception in 1993.
At the time of this attack, the group referred to itself as the Islamic State of Iraq (ISI), so that is the
name I employ for it in this section. However, some sources cited in this attribution continue to refer
to the organization by its former names, including MSC, AQI and JTJ.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to ISI’s responsibility. This attack took place in Abu Sayda, Diyala Province on May 28, 2007. Abu
Sayda is located in the Diyala River Valley, north of the city of Baqubah. The below map provides the
approximate location of the attack.




834 PEX 163, p. 10.
835 PEX 163, p. 8.
836 PEX 163, p. 8.
837 PEX 163, pp. 7, 9.
838 PEX 163, p. 9.
839 PEX 163, p. 9.




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                  Figure 27: Approximate location of the attack in Abu Sayda, Diyala Province.

During the period leading up to the attack, ISI had established area of operations dominance in the
Diyala River Valley – including a number of towns near Abu Sayda. 840 According to a publication by
James Few, a Captain in the U.S. Army’s 5th Squadron, 73rd Cavalry Regiment (5-73) stationed in the
Diyala River Valley at the time of this attack, ISI murdered an Abu Waji imam for refusing to submit
to the group’s theological doctrines. Then, in November 2006, ISI also assassinated the mukhtar (a
local political and social leader) of Little Abu Sayda – a small village northeast of Abu Sayda – who
had been aiding U.S. forces at their base in Abu Sayda.841 Few notes that “the net effects of the
assassinations of leadership resulted in AQIZ dismantling the tribal and governmental ties of the Sunni
residents of Zaganiyah.”842 This allowed the group to establish dominance in the town of Zaganiyah
– shown on the above map as Qarat Zaghiniyat, or “Village of Zaghiniyat” – where ISI “established
its zone of control, effectively killing or displacing 5,000 Shia residents, dissolving the Iraqi
Government presence, instituting an Islamic government, and implementing Shar’iah law.” 843

By March 2007, ISI “effectively occupied” the broader Diyala River Valley region, including Abu
Sayda.844 Few indicates that ISI used their occupation of “safe haven” towns in the area to conduct
regular attacks on the Iraqi government in other towns, including Abu Sayda. 845




840 James Few, “The Pacification of Zaganiyah (Part One): Fighting for Intelligence to Overcome the Information Gap,”

Small Wars Journal, April 6, 2011, p. 2, https://smallwarsjournal.com/blog/journal/docs-temp/728-few.pdf.
841 James Few, “The Break Point: AQIZ Establishes the ISI in Zaganiyah,” Small Wars Journal, 2008, p. 8,

https://smallwarsjournal.com/blog/journal/docs-temp/50-few.pdf.
842 Ibid.
843 Ibid.; Few, “The Pacification of Zaganiyah (Part One): Fighting for Intelligence to Overcome the Information Gap,”

p. 2.
844 Few, “The Pacification of Zaganiyah (Part One): Fighting for Intelligence to Overcome the Information Gap,” p. 12.
845 Ibid.




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ISI’s dominance in the vicinity of Abu Sayda is further demonstrated by U.S. military operations
undertaken in the region to target the group. According to CPT James Few, 5-73 began operations to
eliminate ISI from the Diyala River Valley in February 2007. 846 Additionally, in June 2007 Coalition
forces began Operation Arrowhead Ripper, with the explicit mission to eliminate ISI from Baqubah
and later its northeast environs where Abu Sayda is located.847 Such operations demonstrate the
pervasive presence of ISI in the region past the May 28, 2007 attack that killed SPC Summers, SPC
Baker, and 1LT West.

Furthermore, ISI claimed responsibility for a helicopter attack that almost certainly was the one SPC
Summers, SPC Baker, and 1LT West were responding to on their DART mission, which places ISI in
the immediate vicinity of this attack.848

Tactics, Techniques, and Procedures (TTPs). Another indicator that ISI was responsible for the attack is the
TTPs used to carry it out. The perpetrators conducted an IED attack.

At the time of the attack, ISI used IEDs to regularly target Coalition forces in the Diyala River Valley.
According to CPT James Few, in March 2007, ISI had extensively “mined the main roads”
surrounding Baqubah and Zaganiyah, resulting in “two to three daily IED attacks” on his squadron. 849
Additionally, during Operation Arrowhead Ripper, Coalition forces captured a number of ISI
weapons caches that contained approximately 250 IEDs. 850

Iranian Support. Iran provided support to ISI and this support had a reasonable connection to the attack
that killed SPC Summers, SPC Baker, and 1LT West. Iranian support for ISI is detailed extensively in
my Expert Report & Declaration on Sunni Militant Organizations.851 In addition to this report, Iran provided
support to ISI before, during, and after this attack in multiple ways.

          In December 2006 evidence of Iranian support for ISI emerged when two Quds Force
           operatives were arrested in Baghdad. According to U.S. defense officials, the operatives
           possessed “weapons lists, documents pertaining to shipments of weapons into Iraq,
           organizational charts, telephone records and maps, among other sensitive intelligence
           information.”852
          In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
           Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment
           of improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations
           with Iran and al-Qaeda, identifies his work in distributing designs for remote detonation

846 Ibid., p. 3.
847      “Operation         Arrowhead           Ripper,”          Institute    for      the     Study       of     War,     n.d,
https://www.understandingwar.org/operation/operation-arrowhead-ripper.
848 “Al-Qaeda-affiliated group says it shot down US helicopter in Iraq,” Deutsche Presse-Agentur, May 30, 2007,

https://advance.lexis.com/api/permalink/c3d4683e-6336-4bb3-8f7b-54f89c1f9851/?context=1519360;                             SITE
Intelligence, Islamic State of Iraq Ministry of Intelligence, “Islamic State of Iraq/ Claims Responsibility for Shooting Down a
Plane type-“Super Cobra” in the Governorate of Diyala,” May 30, 2007, p. 2.
849 Few, “The Pacification of Zaganiyah (Part One): Fighting for Intelligence to Overcome the Information Gap,” p. 10.
850      “Operation         Arrowhead           Ripper,”          Institute    for      the     Study       of     War,     n.d,
https://www.understandingwar.org/operation/operation-arrowhead-ripper.
851 See my Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
852 Eli Lake, “Iran’s Secret Plan for Mayhem,” The New York Sun, January 3, 2007.




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         devices used by terrorist organizations in Iraq, and connects him to multiple IED networks
         across northern Iraq, where ISI primarily operated. 853 Given his affiliations with Iran and al-
         Qaeda, and the nature of his activities in Iraq, it is very likely that Ghazala played a role in
         facilitating IED attacks for ISI.
        This Court has also previously validated the causal connection between Iran’s provision of
         money and weapons to ISI and the terrorist group’s ability to execute attacks. Indeed, this
         Court has held that Iran’s provision of material support and resources to ISI (including
         training, money, small arms, RPGs, IEDs, IEDs with mortar components, specially shaped
         explosive charges, and grenades) was sufficient to hold Iran liable for attacks carried out by
         ISI.854
        Iran’s provision of weapons to ISI was one of the most substantial types of support that Iran
         provided—significant enough to be a causal factor in the U.S. Department of the Treasury’s
         designation of Iran’s Ministry of Intelligence and Security (MOIS). In February 2012, the
         Treasury Department designated the MOIS for human rights abuses and support for
         terrorism, stating that MOIS “provided money and weapons to al Qa’ida in Iraq (AQI).” 855
         Indeed, this Court previously found that Iran materially supported ISI in carrying out IED
         attacks throughout Iraq from June 2004 and May 2007. 856

Summary
In summary, I conclude that it is very likely that ISI carried out the May 28, 2007 IED attack in Abu
Sayda, Diyala Province that killed U.S. Army SPC James Summers, U.S. Army SPC Zachary Baker,
and U.S. Army 1LT Kile West. My conclusion is based on the following:

        ISI possessed areas of operations dominance in Abu Sayda and the surrounding area during
         the period when this attack occurred and was motivated to conduct the attack.
        The attack exhibited TTPs commonly associated with ISI.

I further conclude that Iran’s material support substantially contributed to ISI’s commission of this
attack.




853 U.S. Department of State, Office of the Spokesperson, press release, “Terrorist Designation of HAMAS Operative

Muhammad Hisham Muhammad Isma’il Abu Ghazala,” (September 22, 2011), https://2009-
2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.
854 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *1-*2 (D.D.C., Dec. 28, 2022); Roth

v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023); Memorandum Opinion and Order,
Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of Iran,
No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 20-21, 40.
855 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” (February 16, 2012), https://home.treasury.gov/news/press-
releases/tg1424.
856 See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023).


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Attack #15 – June 12, 2007 Complex Attack in Baqubah, Diyala Province that Killed U.S.
Army Corporal Damon LeGrand
Geography: Baqubah, Diyala Province
Attack Type: Complex Attack
Direct Victim(s): CPL Damon LeGrand

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

         PEX 166, Department of the Army, “Report of Casualty – Damon LeGrand,” (July 24,
          2007).
         PEX 167, Department of the Army, “Certificate of Death (OVERSEAS) – Damon
          LeGrand,” (June 28, 2007).
         PEX 168, Office of the Armed Forces Medical Examiner, “Final Autopsy Report – Damon
          LeGrand,” (June 28, 2007).
         PEX 169, Department of the Army, USARCENT FOIA FA-22-0067, “AR 15-6
          Investigation Report – Damon LeGrand,” (June 20, 2007).
         PEX 170, Department of Defense, USCENTCOM FOIA 22-0150, “Supplemental Casualty
          Report – Damon LeGrand,” (n.d.).
         PEX 171, Department of Defense, USCENTCOM FOIA 22-0150, “Initial Field Report –
          Damon LeGrand,” (June 13, 2007).

Attack Description
On June 12, 2007, Corporal (CPL) Damon LeGrand was serving with the 571st Military Police
Company, 97th Military Police Battalion, of the 89th Military Police Brigade. 857 On that day, CPL
LeGrand was driving an M1114 High Mobility Multipurpose Wheeled Vehicle (HMMWV) as part of
a Coalition convoy on patrol from Forward Operating Base (FOB) Warhorse to the Tahrir Iraqi Police
Station (IPS), making their way through Baqubah, Diyala province. 858 The convoy’s initial journey to
and from the Tahrir IPS, where it picked up Iraqi Policemen suspected of connections to explosive
materials, was uneventful.859 According to the Army Regulation (AR) 15-6 Investigation Report, at
2050 hours, their convoy began a second trip to return the two detained Iraqi Police officers, who had
been cleared of any connection to the explosives, to Tahrir IPS. 860 The convoy consisted of an Iraqi
Police truck and two U.S. M1114s, the first in line driven by CPL LeGrand. 861 At the last minute, the
convoy’s route was changed due to “ongoing operations” along their initial route. 862



857  PEX 170, Department of Defense, USCENTCOM FOIA 22-0150, “Supplemental Casualty Report – Damon
LeGrand,” (n.d.), p. 2; PEX 166, Department of the Army, “Report of Casualty – Damon LeGrand,” (July 24, 2007), p.
2.
858 PEX 171, Department of Defense, USCENTCOM FOIA 22-0150, “Initial Field Report – Damon LeGrand,” (June

13, 2007), p. 3; PEX 169, Department of the Army, USARCENT FOIA FA-22-0067, “AR 15-6 Investigation Report –
Damon LeGrand,” (June 20, 2007), p. 3.
859 PEX 169, p. 6.
860 Ibid.
861 Ibid.
862 Ibid.




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While driving to the Tahrir IPS along this alternate route, the convoy came under attack. 863 The Initial
Field Report on the attack states that CPL LeGrand’s vehicle “ran over” an improvised explosive
device (IED) comprised of “two anti-tank mines” buried in the ground and was simultaneously
attacked “with a RPG [rocket propelled grenade] which penetrated the vehicle.” 864 The report
continues: “Immediately after the RPG struck the vehicle, the squad was engaged with heavy small
arms from east and west.”865 The IED blast was so powerful that there was nothing left of the vehicle
except for the “doghouse” (main carriage).866 Post-blast analysis shows that “[t]he IED is believed to
have been a tank mine with an accelerant added to the mix.” 867

                                                                                                             One
                                                                                    869
other member of the patrol squad was killed by the detonation of the IED.

After the initial attack, a sustained firefight erupted between the assailants and the U.S. military
survivors. The AR 15-6 Investigation Report notes:

            Realizing the complexity of the attack, [REDACTED] returned to his vehicle[,] called
            for a quick reaction force to provide immediate assistance…While waiting for help,
            and still trying to get to the wounded men, the members of the squad acquired
            identification of the enemy[,] returned fire from their M2 50. Cal[iber] as well as from
            their M4 rifles and M9 pistols…Upon finally reaching the damaged truck,
            [REDACTED] was taken into an adjacent building where a casualty collection point
            was established. A Medical team along with the strykers had arrived on the scene as
            well.870

After the wounded servicemembers on scene had received first aid, the response force transported
the wounded to FOB Gabe, from where they were medically evacuated to Balad. 871 The remaining
servicemembers were secured by a platoon who had arrived on scene to assist, while an Iraqi
firefighting team extinguished the burning vehicle.872

Attack Attribution
I conclude that it is likely that the Zarqawi organization (as the Islamic State in Iraq) committed this
complex attack. This conclusion is based on the following data points: 1) the geographic location and
time period of the attack; and 2) the tactics, techniques, and procedures (TTPs) used in this attack.

The Zarqawi organization has undergone numerous name changes since the group’s inception in 1993.
On October 15, 2006, the group took on the name of the Islamic State of Iraq (ISI). 6 This attribution


863 Ibid.
864 PEX 172, p. 3; PEX 169, p. 8.
865 PEX 172, p. 3.
866 PEX 169, p. 8.
867 Ibid.
868 PEX 168, Office of the Armed Forces Medical Examiner, “Final Autopsy Report – Damon LeGrand,” (June 28, 2007),

p. 4.
869 PEX 169, p. 8.
870 Ibid., p. 7.
871 Ibid.
872 Ibid.


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will thus refer to the group as ISI. However, some sources cited in this attribution refer to the Zarqawi
organization by its former names, including MSC, AQI and JTJ.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to ISI’s responsibility. This attack occurred in Baqubah, Diyala Province on June 12, 2007. The below
map provides the approximate location of the attack.




                   Figure 28: Approximate location of the attack in Baqubah, Diyala province.

From 2004 to 2006 there was a large increase in militant group activity in Diyala Province. Coalition
operations to secure Baghdad forced ISI fighters into surrounding territories, such as Diyala.
According to Aaron Greenwald, a national security consultant writing for the peer-reviewed journal
Perspectives on Terrorism:

         Beginning in 2004, the U.S. military presence in Baghdad resulted in enemy migrations
         towards Ba’qubah. “U.S. officers say Al Qaeda-linked militants have streamed into the
         province in recent months, displaced by the troop buildup in Baghdad and mounting
         pressure in al Anbar province in the west…”873

By 2006, ISI was the dominant force in Diyala Province.874 Diyala Province was also a vital geographic
area for ISI due to its location on the northeast Baghdad belt, which was part of ISI’s network of
routes used to move freely between the provinces and project force into Baghdad. 875 ISI activity in

873 Aaron L. Greenwald, “Trends in Terrorist Activity and Dynamics in Diyala province, Iraq During the Iraqi Government

Transition, 2004-2006,” Perspectives on Terrorism, 4:1, (March 2010), p. 55.
874 Kimberly Kagan, Iraq Report June 2007-November 2007 Securing Diyala (Washington, DC: Institute for the Study of War,

n.d.), p. 3.
875 “Baghdad Belts,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/baghdad-belts;

“Northeast,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/northeast.


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Diyala Province continued into 2007. U.S. strategy in Iraq until 2007 had focused on securing the city
of Baghdad, while rapidly transitioning broader security tasks to Iraqi forces. 876 As a consequence,
because Baghdad received the bulk of Coalition attention, ISI’s territorial presence in the areas
surrounding Baghdad’s Belts – which include Diyala Province – remained largely uncontested until
2007.877

Further, U.S. military planning documents dated December 2007 state that the Diyala River Valley
was a support zone for ISI forces.878 Captured documents from ISI fighters known as the Taji
Documents detailed areas of operation for ISI forces in and around Baghdad, including Diyala
Province:879

         According to the Taji documents, AQI had divided its campaign in the belts into three
         areas: east, south, and north. The northern belt included Taji, where the documents
         had been found, and stretched to the lower Diyala Province. Meanwhile, the eastern
         belt stretched from Salman Pak up through the largely Shi’a Mada’in Qada to the
         southern reaches of Diyala Province. AQI’s emir in the eastern belt, an obscure
         operative known as Asim, had responsibility for cutting the Kut-Baghdad road and
         securing a land bridge from the outskirts of the capital up the contested Diyala River
         Valley to Buhriz and Baqubah. These tasks had been reinforced by AQI in mid-2006. 880

Tactics, Techniques, and Procedures (TTPs). Another indicator of ISI’s responsible for this attack is the
TTPs employed in it. The perpetrators conducted a complex attack that combined IEDs, RPGs, and
smalls arms fire. The composition of the complex attack reflects a trend in attacks carried out by ISI. 881
In the months before and after this attack, Coalition forces uncovered several weapons caches
containing contents reflecting the capabilities and TTPs employed in this attack, including machine
guns, RPGs, and homemade explosives used for the construction of IEDs. 882

ISI conducted numerous complex attacks in Iraq throughout the period leading up to this attack, from
2006 to May 2007.883 According to the U.S. Army’s official history of the Iraq War, ISI carried out
several complex attacks against Coalition forces and buildings in Ramadi throughout 2006. 884 ISI also

876 Jeanne F. Godfroy et al., The U.S. Army in the Iraq War: Volume 2: Surge and Withdrawal, (Carlisle Barracks, PA: United

States             Army           War              College           Press,           2019),         pp.           99-101,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1932&context=monographs.
877 Ibid.
878    Multi-National Corps – Iraq, “Operation Phantom Phoenix,” December 24, 2007, p. 5,
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/0155.%20Phantom%20Phoenix%20Final%2020071226%20V9.1.pdf
879 Godfroy et al., The U.S. Army in the Iraq War: Volume 2: Surge and Withdrawal, pp. 101, 102.
880 Ibid., p. 103.
881 Staff Sgt. Russell Bassett, “IA, CF Clear AQI Strongholds South of Baqubah,” DVIDS Hub, February 18, 2008,

https://www.dvidshub.net/news/16448/ia-cf-clear-aqi-strongholds-south-baqubah.
882 Ibid.
883 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006, (Carlisle Barracks, PA: US Army War College, January 17, 2019), pp. 644, 645,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs; USCENTCOM, MNC-I
BUA Intel Daily Slides, May 2007, p. 36, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/0355.%20MNC-
I%20BUA%20Intel%20Daily%20Slides%20-%20May%2007.pdf.
884 Rayburn & Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-2006, pp. 644, 645.




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employed complex attacks in Mosul. 885 A May 2007 United States Central Command (CENTCOM)
Multi-National Corps - Iraq Daily Intel report describes multiple complex attacks in Mosul attributed
to both ISI and Ansar al-Sunna (AAS).886 The report states that the attacks used “a spread of successful
TTPs” including IEDs, small arms fire, and indirect fire,” strikingly similar to the types of weapons
used in the attack that killed CPL LeGrand.887

Additionally, an August 2008 report published by the Combating Terrorism Center (CTC) at West
Point on ISI in Diyala Province observed that ISI frequently used roadside IEDs in Baqubah to “deter
coalition and Iraqi patrols.”888 In early 2008 in Diyala, 70 IEDs were dismantled along Route 5 linking
Baqubah to Baghdad.889 In July 2008, 13 IEDs were used against Iraqi Army patrols, and CTC believed
there were indications that ISI would further intensify its operations. 890

Ruling Out Other Insurgent Groups. Other militant groups were also active in this area. I have considered
their activities in rendering my opinion that ISI is ultimately the organization likely responsible for the
attack.

The 1920 Revolution Brigades had a known footprint in Diyala Province during this time period. 891
However, it is highly unlikely that the 1920 Revolution Brigades carried out this attack. Not only did
ISI have a larger footprint in the province, but the 1920 Revolution Brigades carried out few attacks
against Coalition forces during this time.892 Instead, they were negotiating with the Coalition for an
alliance against ISI in the province.893 As a result, the 1920 Revolution Brigades were carrying out more
attacks against ISI than they were against the Coalition, and were unlikely to have carried out this
attack that killed CPL LeGrand.894

Additionally, during the U.S.-led offensive in 2007, U.S. military officials noted that AAS/AAI and
JAM were present in Diyala Province.895 In addition to being weaker than ISI in Diyala Province,
AAS/AAI was allied with ISI during this time. Therefore, AAS/AAI involvement would not preclude
ISI culpability. 896 JAM, though also present in the province, likely lacked the operational control in
Bahrez to execute this attack, considering ISI’s dominance in the area. However, given that Iran also
supported both JAM and AAS, their possible involvement in the attack would not undermine my
conclusion concerning Iranian support for the attack that killed CPL LeGrand.



885 MNC-I BUA Intel Daily Slides, p. 36.
886 Ibid.
887 Ibid.
888  Michael Knights, “Pursuing Al-Qa`ida into Diyala Province,” CTC Sentinel, 1:9, (August 2008), p. 1,
https://ctc.westpoint.edu/wp-content/uploads/2010/06/Vol1Iss9-Art2.pdf.
889 Ibid.
890 Ibid.
891     “U.S.     describes     Sunni      rebels    battling  al-Qaida,” NBC News,  April   20,   2007,
https://www.nbcnews.com/id/wbna18234571.
892 “U.S. describes Sunni rebels battling al-Qaida,” NBC News.
893 Ibid.
894 Ibid.
895 Jamie Tarabay, “Anbar Alliance May Not Translate to Other Provinces,” NPR, September 25, 2007,

https://www.npr.org/templates/story/story.php?storyId=14696316.
896 Tarabay, “Anbar Alliance May Not Translate to Other Provinces.”




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Iranian Support. Iran provided support to ISI and this support had a reasonable connection to the attack
that killed CPL LeGrand. Iranian support for ISI is detailed extensively in my Expert Report &
Declaration on Sunni Militant Organizations.897 The following information further demonstrates the
significance of Iran’s support to ISI at the time and in vicinity of this specific attack:

           In December 2006, evidence of Iranian support for ISI emerged when two Quds Force
            operatives were arrested in Baghdad. According to U.S. defense officials, the operatives
            possessed “weapons lists, documents pertaining to shipments of weapons into Iraq,
            organizational charts, telephone records and maps, among other sensitive intelligence
            information.” The operatives also reportedly “had information about importing modern,
            specially shaped explosive charges into Iraq, weapons that have been used in roadside bombs
            to target U.S. military armored vehicles.”898 According to a U.S. intelligence official, the
            information gleaned from the operatives showed “how the Quds Force [was] working with
            individuals affiliated with Al Qaeda in Iraq and Ansar al-Sunna.”899
           Iran’s provision of weapons to ISI was one of the most substantial types of support that Iran
            provided—significant enough to be a causal factor in the U.S. Department of the Treasury’s
            designation of Iran’s Ministry of Intelligence and Security (MOIS). In February 2012, the
            Treasury Department designated the MOIS for human rights abuses and support for
            terrorism, stating that MOIS “provided money and weapons to al Qa’ida in Iraq (AQI).” 900
           This Court has also previously validated the causal connection between Iran’s provision of
            money and weapons to ISI and the terrorist group’s ability to execute attacks. Indeed, this
            Court has held that Iran’s provision of material support and resources to ISI (including
            training, money, small arms, RPGs, IEDs, IEDs with mortar components, specially shaped
            explosive charges, and grenades) was sufficient to hold Iran liable for attacks carried out by
            ISI.901
           Iran provided ISI with weapons similar to those used in this attack. According to a Jordanian
            intelligence official, Iran had supplied machine guns and military equipment to ISI from the
            beginning of their support for the group.902 By 2007, Coalition forces captured a number of
            weapons caches containing Iranian mortars, explosive material, RPGs, and ammunition in
            areas where ISI maintained strong areas of operations. 903
           This Court previously found that the successful use of RPGs indicates training, which likely
            would have come from Iran; this Court has also previously found that Iran provided RPGs to
            ISI.904

897 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
898 Eli Lake, “Iran’s Secret Plan for Mayhem,” The New York Sun, January 3, 2007.
899 Ibid.
900 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” (February 16, 2012), https://home.treasury.gov/news/press-
releases/tg1424.
901 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *1-*2 (D.D.C., Dec. 28, 2022); Roth

v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023); Memorandum Opinion and Order,
Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of Iran,
No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 20-21, 40.
902 Mary Anne Weaver, “The Short, Violent Life of Abu Musab al-Zarqawi,” The Atlantic, July/August 2006.
903 Kimberly Kagan, Iraq Report February 11, 2007 – April 25, 2007 The Battle for Diyala, (Washington, DC: Institute for the

Study of War, n.d.), pp. 7, 12, https://www.understandingwar.org/sites/default/files/reports/IraqReport04.pdf.
904 See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 at *3, *5, *19, V. (D.D.C., Jan. 17, 2023).




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        In 2008, the U.S. Department of the Treasury imposed sanctions against several individuals
         connected to Iran who provided weapons to militias in Iraq. For example, it sanctioned Gen.
         Foruzandeh of the IRGC-QF, who provided training for Iraqi militias, including training in
         “guerilla warfare, light arms, marksmanship, planting improvised explosive devices, and firing
         anti- aircraft missiles,” and who provided funding for Iraqi Sunni militia fighters. 905

Summary
In summary, I conclude that it is likely that ISI carried out the June 12, 2007 IED attack in Baqubah,
Diyala Province that killed U.S. Army CPL Damon LeGrand. My conclusion is based on the following:

    ● ISI possessed area of operations dominance in Baqubah during the period when this attack
      occurred and was motivated to conduct the attack.
    ● The attack exhibited TTPs commonly associated with ISI.

I further conclude that Iran’s material support substantially contributed to ISI’s commission of this
attack.

Attack #12 – January 9, 2008 House-Borne IED Attack in Sinsil, Diyala Province that Killed
U.S. Army Staff Sergeant Jonathan Dozier, Sergeant Zachary McBride, and Sergeant First
Class Matthew Pionk
Geography: Sinsil, Diyala Province
Attack Type: HBIED Attack
Direct Victim(s): SGT Zachary McBride, SFC Matthew Pionk, and SSG Jonathan Dozier

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

        PEX 172, Department of the Army, USARCENT FOIA FA-17-0222, “AR 15-6 – Matthew
         Pionk & Zachary McBride,” (January 11, 2008).
        PEX 173, Office of the Armed Forces Medical Examiner, “Autopsy Examination Report –
         Zachary McBride,” (March 6, 2008).
        PEX 174, Office of the Armed Services Medical Examiner, “Autopsy Examination Report –
         Matthew Pionk,” (June 20, 2008).
        PEX 175, USCENTCOM, USCENTCOM FOIA 22-0102, “(EXPLOSIVE HAZARD)
         IED EXPLOSION RPT (Improvised Explosive Device (IED)) HHC 3/2 SCR : 6 CF KIA
         9 CF WIA 1 CIV KIA 1 UE DET,” (January 12, 2008).
        PEX 176, Department of the Army, “Report of Casualty – Zachary McBride,” (February 2,
         2008).

Attack Description
On January 9, 2008, U.S. Army Sergeant (SGT) Zachary McBride, Sergeant First Class (SFC) Matthew
Pionk, and Staff Sergeant (SSG) Jonathan Dozier were serving in a reconnaissance platoon with the

905 U.S. Department of the Treasury, press release, “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency,”

(January 9, 2008), https://www.treasury.gov/press-center/press-releases/pages/hp759.aspx.


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3rd Squadron, 2nd Stryker Cavalry Regiment of the Army 1st Armored Division. 906 Their mission, as
part of Operation Wolfpack Harvest, was to clear the town of Sinsil of Islamic State of Iraq (ISI)
militants and locate a suspected ISI safehouse in Sinsil, which is located in the southwest region of
Diyala Province, often described as Diyala River Valley.907

SGT McBride’s, SFC Pionk’s, and SGG Dozier’s platoon located Sinsil’s mukhtar (a local political and
social leader) and questioned him about the presence of insurgents in the town. 908 The mukhtar said
that he could show the platoon “the location of a suspected Al Qaeda safehouse.” 909 The mukhtar
pointed the platoon to the suspected ISI safehouse from his rooftop, a nearby compound which was
visible from atop his home.910 The platoon leader repeatedly asked the mukhtar about the presence of
explosives in the compound, and the mukhtar said there were none.911

The reconnaissance platoon, including SGT McBride, SFC Pionk and SGT Dozier, entered the
suspected ISI safe house and started to investigate the building.912 Shortly after they entered, a House-
Borne Improvised Explosive Device (HBIED) was triggered and a massive explosion “detonated
across the southwestern portion of the structure,” causing “the entire entrance of the building and the
roof to collapse as a result of the blast.”913 The explosion killed six members of the platoon, including
SGT McBride, SFC Pionk and SGT Dozier, and an interpreter employed with the Titan
Corporation.914

Attack Attribution
I conclude that the Zarqawi organization very likely committed this HBIED attack. This conclusion
is based on the following data points: 1) the geographic location and time period of the attack; 2) the
tactics, techniques, and procedures (TTPs) used in this attack; and 3) U.S. Government reporting that
indicates ISI perpetrated the attack.

The Zarqawi organization has undergone several name changes since the group’s inception in 1993.
At the time of this attack, the group referred to itself as the Islamic State of Iraq (ISI), so that is the
name I employ for it in this attribution. However, some sources cited in this attribution continue to
refer to the organization by its former names, including MSC, AQI and JTJ.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to ISI’s responsibility. This attack took place in Sinsil, Diyala Province on January 9, 2008. Sinsil is

906 PEX 176, Department of the Army, “Report of Casualty – Zachary McBride,” (February 2, 2008), p. 2.

While the AR 15-6 investigation refers to Jonathan Dozier as Sergeant (SGT), open-source reporting refers to him as Staff
Sergeant (SSG). This is likely due to a posthumous promotion.
PEX 172, Department of the Army, USARCENT FOIA FA-17-0222, “AR 15-6 – Matthew Pionk & Zachary McBride,”
(January 11, 2008), p. 13; “Army Staff Sgt. Jonathan K. Dozier,” Military Times, https://thefallen.militarytimes.com/army-
staff-sgt-jonathan-k-dozier/3306874.; PEX 176, p. 2.
907 PEX 172, p. 13.
908 Ibid.
909 Ibid.
910 Ibid.
911 Ibid.
912 Ibid., p. 14.
913 Ibid.
914 Ibid., p. 12.


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located approximately 15 miles northwest of Muqdadiyah. The below map provides the approximate
location of the attack.




                      Figure 29: Approximate location of the attack in Sinsil, Diyala Province.

ISI was pushed up the Diyala River Valley by Coalition operations by mid-2007, subsequently
establishing a sanctuary in the area northwest of Muqdadiyah – near where Sinsil is located – that it
dubbed the “Breadbasket.”915 ISI controlled the Breadbasket by “terrorizing and intimidating the local
population and used the area as a major logistics and command and control site to funnel fighters,
weapons, and money down the Diyala River Valley into Muqdadiyah and Baqubah. ” 916 For more than
a year, ISI “ruled the Breadbasket through force and psychological intimidation.” 917 A series of
complexes serving as “operating bases and detention, torture, and execution facilities,” were a primary
mechanism that ISI used to maintain their rule.918

In mid-to-late 2007, Coalition forces began a series of operations designed to clear ISI forces from
the entirety of Diyala Province – including the Breadbasket – moving north from Baghdad towards
Baqubah along the Diyala River Valley.919 In January 2008, Coalition forces initiated Operations Iron
Harvest and Raider Harvest, an intensification of the clearing effort in Diyala Province that included
the towns north and west of Muqdadiyah – where Sinsil is located. 920

By early 2008, ISI forces were heavily focused on defending their remaining logistics and command
and control nodes in the small rural towns north of Muqdadiyah.921 Diyala Province at that time also

915 Eric Hamilton, Backgrounder # 19 Operation Raider Harvest: Establishing Lasting Security in Northern Diyala, (Washington,

DC:          Institute    for      the      Study        of      War,      January     2008),  p.    7,
https://www.understandingwar.org/sites/default/files/reports/Operation%20Raider%20Harvest.pdf.
916 Ibid., pp. 1, 3.
917 Ibid.
918 Ibid.
919 Ibid.
920 Ibid.
921 Michael Knights, “Pursuing Al-Qa`ida into Diyala Province,” CTC Sentinel, 1:9, (August 2008), p. 2,

https://ctc.westpoint.edu/wp-content/uploads/2010/06/Vol1Iss9-Art2.pdf.


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held symbolic significance for ISI because it had become the latest center of their Islamic caliphate. 922
ISI efforts to repel Coalition forces included multiple IED attacks – forty-eight such attacks occurred
in the areas north of Muqdadiyah in January 2008.923

The statements of local Sinsil residents provide further indication of ISI’s operational dominance in
the town through early January 2008. Residents interviewed for an Institute for the Study of War
report said that as of January 2008 they had been living under the thumb of ISI for over a year,
including suffering the decisions of a draconian ISI sharia court. 924 They also asserted that militant
forces had been operating freely in Sinsil until Coalition forces arrived there. 925 According to a local
imam in Sinsil, as Coalition forces participating in Operation Raider Harvest approached the town,
ISI “had paraded through the village with a severed head” to intimidate Sinsil residents. 926

Tactics, Techniques, and Procedures (TTPs). Another indicator that ISI is responsible for this attack is the
TTPs used to carry it out. The perpetrators conducted an HBIED attack.927

HBIEDs were a common ISI TTP during the period in which this attack occurred. An Institute for
the Study of War report explains that “between December 24, 2007 and February 18, 2008, Coalition
forces, along with Iraqi Security Forces, conducted 74 different operations...as part of Iron Harvest”
that discovered and cleared, among other weapons caches, “42 HBIEDs” belonging to ISI. 928
Coalition forces discovered and dismantled four of those HBIEDs during January 2008 while
conducting clearing operations in Diyala Province as part of Operation Raider Harvest. 929 A Weapons
Intelligence Team (WIT) report (included in the AR 15-6 Investigation Report on the explosion that
killed SGT McBride, SFC Pionk, and SGG Dozier) details a previous undated incident in which
Explosive Ordinance Disposal cleared a building and dismantled an HBIED in Diyala Province with
the same crush-wire trigger mechanism as the HBIED used in this attack. 930

A Stratfor report released contemporaneously with the attack that killed SGT McBride, SFC Pionk,
and SGG Dozier notes: “The United States has been dealing with HBIEDs throughout the war in
Iraq, but they are becoming more common and have recently proven to be more effective in killing
coalition troops,” attributing the spike in this TTP to the success of Coalition efforts against
insurgents. While the report does not attribute responsibility for these HBIEDs to ISI by name, it
does state that “these HBIEDs...could be symptomatic of a foreign jihadist movement that is
increasingly unwelcome among the local population...wiring up what explosives they have left in hopes
of killing a few more coalition [sic] troops before slipping away in the night.” 931 This description of a

922 Gerry Gilmore, “New U.S. Offensive Target al Qaeda in Northern Iraq.” American Forces Press Service, January 10, 2008.

https://www.army.mil/article/6949/.
923 Knights, “Pursuing Al-Qa’ida into Diyala Province,” p. 2.
924 Hamilton, Backgrounder # 19 Operation Raider Harvest: Establishing Lasting Security in Northern Diyala, p. 4.
925 Ibid.
926 Ibid.
927 PEX 172, p. 15.
928       “Operation       Iron      Harvest,”        Institute        for        the        Study        of      War,       n.d.,
https://www.understandingwar.org/operation/operation-iron-harvest.
929 Eric Hamilton, Backgrounder # 19 Operation Raider Harvest: Establishing Lasting Security in Northern Diyala (Washington, DC:

Institute for the Study of War, January 2008), p. 7.
930 PEX 172, p. 35.
931    “Iraq: A New Militant Trend – House-Borne IEDs,” STRATFOR, January 11, 2008
https://worldview.stratfor.com/article/iraq-new-militant-trend-house-borne-ieds.


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militant movement that heavily relied on foreign recruits and was at the time squeezed between local
dissatisfaction and Coalition pressure tracks closely with ISI’s nature and predicament.

HBIEDs remained a common ISI TTP for years after the attack that killed SGT McBride, SFC Pionk,
and SGG Dozier. The media reported in 2010 that the group was renting residential buildings and
shops – particularly in the Iraqi capital of Baghdad, which neighbors Diyala Province – and rigging
them with explosives, killing dozens of civilians and confounding the efforts of security forces in the
ensuing detonations.932

U.S. Government Reporting. The U.S. Army’s AR 15-6 Investigation Report indicates that ISI is
responsible for this attack. As described above, SGT McBride’s, SFC Pionk’s, and SGG Dozier’s
reconnaissance platoon was conducting an operation in Sinsil to clear a suspected ISI safehouse.
Exhibit E of the Investigation, excerpted from the WIT Report, states:

          This same house was visited around ten days ago by CF [Coalition forces]. Around
          two days afterwards, AQI started hanging out at this house. Local citizens were warned
          by AQI not to look at the activity taking place at the residence. Children who normally
          play in abandoned houses were told not to go in this one. 933

The same statement was reiterated in a second WIT Report, used as Exhibit F in the 15-6 Investigation
Report.934

Iranian Support. Iran provided support to ISI and this support had a reasonable connection to the attack
that killed SGT McBride, SFC Pionk, and SGG Dozier. Iranian support for ISI is detailed extensively
in my Expert Report & Declaration on Sunni Militant Organizations.935 The following information further
demonstrates the significance of Iran’s support to ISI at the time and in the place of this attack:

         Iran provided support to ISI before, during, and after this attack in multiple ways. In
          December 2006 evidence of Iranian support for ISI emerged when two Quds Force operatives
          were arrested in Baghdad. According to U.S. defense officials, the operatives possessed
          “weapons lists, documents pertaining to shipments of weapons into Iraq, organizational
          charts, telephone records and maps, among other sensitive intelligence information.” 936
         In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
          Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment
          of improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations
          with Iran and al-Qaeda, identifies his work in distributing designs for remote detonation
          devices used by terrorist organizations in Iraq, and connects him to multiple IED networks
          across northern Iraq, where ISI primarily operated. 937 Given his affiliations with Iran and al-

932    “Iraq Qaeda Using New ‘H-Bomb’ to Kill Civilians,” Al Arabiya, April 18, 2010
https://english.alarabiya.net/articles/2010%2F04%2F18%2F106192.
933 PEX 172, p. 34.
934 Ibid., p. 39.
935 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
936 Eli Lake, “Iran’s Secret Plan for Mayhem,” The New York Sun, January 3, 2007.
937 U.S. Department of State, Office of the Spokesperson, press release, “Terrorist Designation of HAMAS Operative

Muhammad Hisham Muhammad Isma'il Abu Ghazala,” (September 22, 2011), https://2009-
2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.


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         Qaeda, and the nature of his activities in Iraq, it is very likely that Ghazala played a role in
         facilitating IED attacks for ISI.
        This Court has also previously validated the causal connection between Iran’s provision of
         money and weapons to ISI and the terrorist group’s ability to execute attacks. Indeed, this
         Court has held that Iran’s provision of material support and resources to ISI (including
         training, money, small arms, RPGs, IEDs, IEDs with mortar components, specially shaped
         explosive charges, and grenades) was sufficient to hold Iran liable for attacks carried out by
         ISI.938
        Iran’s provision of weapons to ISI was one of the most substantial types of support that Iran
         provided—significant enough to be a causal factor in the U.S. Department of the Treasury’s
         designation of Iran’s Ministry of Intelligence and Security (MOIS). In February 2012, the
         Treasury Department designated the MOIS for human rights abuses and support for
         terrorism, stating that MOIS “provided money and weapons to al Qa’ida in Iraq (AQI).” 939

Summary
In summary, I conclude that it is very likely that ISI carried out the January 9, 2008 HBIED attack in
Sinsil, Diyala Province that killed U.S. Army SGT Zachary McBride, SFC Matthew Pionk, and SGG
Jonathan Dozier. My conclusion is based on the following:

    ● ISI possessed area of operations dominance in Sinsil during the period when this attack
      occurred and was motivated to conduct the attack.
    ● The attack exhibited TTPs commonly associated with ISI.
    ● The U.S. Government’s reporting of this attack indicates ISI is responsible for the attack.

Finally, I conclude that Iran’s material support substantially contributed to ISI’s commission of this
attack.


VIII.     Nineveh Province

Overview of Nineveh Province
I have been asked by the Plaintiffs to assess four American casualties in Nineveh (also rendered as
Ninewa) Province between 2004 and 2009. VNSAs active in Nineveh during the time of the attacks at
issue include the Zarqawi organization, AAS, and JAM.

2004 saw a significant shift toward Sunni militant groups executing violent attacks in Nineveh,
especially the Zarqawi organization and Ansar al-Sunnah (AAS). After the conclusion of the Iraq war
and the subsequent rise of ISIS (which was a later iteration of the Zarqawi organization), U.S. and


938 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *1-*2 (D.D.C., Dec. 28, 2022); Roth

v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023); Memorandum Opinion and Order,
Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of Iran,
No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 20-21, 40.
939 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” (February 16, 2012), https://home.treasury.gov/news/press-
releases/tg1424.


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allied forces launched operations targeting and ultimately eliminating the Zarqawi organization from
the province from 2016 through 2019.940

The province also saw limited activity by Shia militia groups. JAM maintained a limited presence,
particularly in 2006-2007, but the Sunni majority made the province largely unconducive to Shia
militant activity. In keeping with my application of limiting principles, I consider the presence and
possibility of other VNSAs’ responsibility for the attacks.

Below, I provide a summary of the war in Nineveh, including overviews of Coalition operations and
VNSA activities. These summaries are intended to provide context and background for the 2004-2009
attacks I have been asked by the Plaintiffs to assess, as well as others that were committed in Nineveh
during Coalition operations in Iraq.

Nineveh’s Geography and Population




                                                                                    Figure 31: Nineveh Province




                    Figure 30: Map of Iraq941



940 Mason W. Watson, The Conflict With ISIS: Operation Inherent Resolve June 2014-January 2020, (Center of Military History,

Washington, D.C., 2021), p. 78, https://history.army.mil/html/books/078/78-2/cmhPub_078-2.pdf.
941 Map of Iraq, Map No. 3835 Rev. 6. United Nations Department of Field Support, Cartographic Section. 2014.

https://www.un.org/geospatial/content/iraq


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Nineveh Province is located in northwestern Iraq, on the border with Syria. It shares a border with
the Iraqi provinces of Al Anbar, Saladin, Erbil, and Dohuk. Nineveh Province is the third largest Iraqi
province in terms of geographic size, and the second largest in terms of population. 942

The province is divided into nine districts: Mosul (which is also the provincial capital), Tel Kayf, Tal
Afar, Sinjar, Mahkmour, Ba’aj, al-Hatra, al-Hamdaniya, and al-Sheikhan. 943 Akra was considered a
district of Nineveh Province before 2000, but is now considered part of Dohuk Province and under
Kurdish Regional Government (KRG) control. 944

Mosul City is the provincial capital, located in the northeast of the province, and is currently Iraq’s
sixth largest city, with an estimated population of 1,125,000.945 Mosul is located on the northern tip of
the “Sunni Triangle,” a region of Iraq containing a large population of Sunni Arabs. 946 Approximately
30 miles northwest of Mosul is Tal Afar, another major city in Nineveh.947 The Tigris and Greater Zab
Rivers feed water into Mosul, with the Tigris extending from the northwest of the province to its
south.948

Parts of Nineveh Province are considered “disputed territories,” with both Iraq’s central government
and the Kurdistan Regional Government asserting claims over certain areas. 949 While Nineveh
Province is officially administered by the Iraqi central government, the districts of Sinjar, Tal Afar, Tel
Kayf, and al-Sheikhan have disputed boundaries with Dohuk, which is included in the KRG’s semi-
autonomous region.950 Al-Hamdaniya also shares a disputed boundary with Erbil, another province
under the KRG’s control.951

Nineveh Province is the second most populated province in Iraq, with a 2009 census by the Ministry
of Trade indicating that the province had a population of 3,273,000, approximately nine percent of
Iraq’s total population.952 Sunni Arabs constitute the majority of the province’s residents, but other
groups – including Iraqi Kurds – share power and influence.953 This includes a sizeable population of
Shia Arabs, Kurds, Assyrians, Chaldeans, Turkmen, Yezidis, Shabak, and other minorities. 954

Demographic statistics in Iraq have long been considered unreliable, thus contributing to sharply
differing estimates of the province’s demographic makeup. Some estimates of the province’s
demographic makeup are 40 percent Sunni Arab, 35 percent Kurdish, 15 percent Shia Arab, and the


942   Ninewa: NCCI Governorate Profile, (NGO Coordination Committee for Iraq, December 2020), p. 1,
https://www.ncciraq.org/images/infobygov/NCCI_Ninewa_Governorate_Profile.pdf#page=2.
943        “Iraq       Governorates           and         Districts,”     Humanitarian         Information          Center,
https://www.ecoi.net/en/file/local/1074303/1222_1190099310_iraq-governates-and-districts.pdf.
944 Ninewa: NCCI Governorate Profile, p. 2.
945 “The Biggest Cities in Iraq,” WorldAtlas, n.d., https://www.worldatlas.com/articles/the-biggest-cities-in-iraq.html.
946 Ninewa: NCCI Governorate Profile, p. 2.
947 Ibid.
948 Ibid.
949 Ibid.
950 Ibid.
951 Ibid.
952 Ibid.
953 Ibid.
954 Ibid.




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remaining 10 percent consisting of Turkmen and Christians. 955 Other estimates put these numbers at
70 percent Sunni Arab, 25 percent Kurdish, with the remaining five percent being a mixture of Shia
Arabs, Turkmen, Yezidis, and Christians.956

Multiple policies and factors have aggravated inter-ethnic and inter-religious tensions in the province.
These include decades-long processes of forced Arabization, particularly under Saddam Hussein’s
regime, and “Kurdicization” after 2003, as well as the targeting certain minority groups. 957 As a result,
Nineveh’s geographic divisions have become sectarian and ethnic enclaves and boundaries as well. 958
The Tigris River, which cuts through the northwestern side of Nineveh and Mosul, now also
demographically bifurcates the area.959

Coalition Operations in Nineveh Province
Coalition Operations began in Nineveh Province shortly after the March 2003 U.S. invasion of Iraq.
According to the U.S. Army Special Operations Center, Task Force Viking joined Kurdish Peshmerga
forces in northern Iraq to capture Mosul in April 2003, meeting resistance from Ansar al-Islam
(AAI).960 Following the initial task force operations and encounters with AAI, Coalition forces
encountered further resistance from former Ba’athists. 961 Colonel Michael Linnington, commander of
the 3rd Brigade of the 101st Airborne Division, noted the limited presence of anti-Coalition forces in
2003 following the initial capture of Mosul, and characterized the area as “some of the safest and most
secure in all of Iraq.”962

The first half of 2004 was largely quiet for Coalition forces, save for a variety of small-scale
operations.963 This changed on September 9, 2004, when the U.S. Army’s 3rd Brigade, 2nd Infantry
Division (Stryker Brigade Combat Team), in cooperation with Iraqi Security Forces (ISF) from the
Iraqi National Guard, launched Operation Black Typhoon in Tal Afar. 964 While the goal of the
operation was to confront insurgents who were believed to have taken over the local government,
Coalition forces encountered little resistance in the city.965 Under pressure from the Turkish



955  Gerry J. Gilmore, “Iraqi Forces Take Security Lead in Nineveh Province,” American Forces Press Service, March 26, 2007,
https://www.army.mil/article/2402/.
956 Eric Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, (Washington, DC: Institute for the Study of

War, 2008), p. 3, https://www.understandingwar.org/sites/default/files/reports/Iraq%20Report%208.pdf.
957 Ninewa: NCCI Governorate Profile, (NGO Coordination Committee for Iraq, December 2020), p. 2,

https://www.ncciraq.org/images/infobygov/NCCI_Ninewa_Governorate_Profile.pdf#page=2.
958 Ibid.
959 Ibid., p. 3.
960 Christopher E. Howard, “To Baghdad and Beyond: ARSOF in Operation Iraqi Freedom,” USASOC History Office,

March 20, 2023, https://www.army.mil/article/264978/to_baghdad_and_beyond_arsof_in_operation_iraqi_freedom.
961 Eric Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul (Washington, DC: Institute for the Study of

War, 2008), p. 1, https://www.understandingwar.org/sites/default/files/reports/Iraq%20Report%208.pdf.
962 Col. Michael Linnington, “Operations in Iraq,” CSPAN, August 8, 2003, https://www.c-span.org/video/?177750-

1/operations-iraq.
963 “CNN Live Event/Special: Coalition Provisional Authority Daily Briefing,” CNN, May 25, 2004,

http://www.cnn.com/TRANSCRIPTS/0405/25/se.01.html.
964 John J. McGrath, Between the Rivers: Combat Action in Iraq 2003-2005 (Fort Leavenworth, KS: Combat Studies Institute

Press, US Army Combined Arms Center, 2012), p. 127, https://www.armyupress.army.mil/Portals/7/combat-studies-
institute/csi-books/BetweenTheRivers_McGrath.pdf.
965 Steve Fainaru, “U.S.-Led Forces Retake Northern Iraqi City,” Washington Post, September 13, 2004.




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government – heeding the pleas of ethnic Turkomen – U.S. forces soon departed the city. 966 Within a
short time, foreign fighters returned to Tal Afar to operate freely when U.S. forces left the city. 967

In October 2004, a number of Coalition forces departed Nineveh Province to support Operation
Phantom Fury, or the Second Battle of Fallujah, in Al Anbar Province. 968 The relative lack of security
forces in Nineveh made Mosul an agreeable destination for anti-Coalition fighters fleeing Operation
Phantom Fury in Fallujah.969 By November 2004, “insurgents mostly associated with AQI and Ansar
al-Sunna, in addition to some former regime groups, began conducting operations against Coalition
and Iraqi Security Forces in the city.”970 On November 11, 2004, insurgents captured police stations
across the city, and by November 13 had allegedly captured two-thirds of Mosul. 971 In response, U.S.
forces from the Army’s 1st Battalion, 25th Infantry Regiment coordinated with Kurdish peshmerga
to retake the city by November 16, 2004, in what is now called the Battle for Mosul. 972

After a summer of small-scale operations in Tal Afar, Coalition forces launched Operation Restoring
Rights, targeting Sunni insurgents and Zarqawi organization fighters in the city. 973 The operation lasted
from late summer 2005 to winter 2006 and was also known as the Battle of Tal Afar. 974 The Battle of
Tal Afar was one of the largest Coalition operations since the Second Battle of Fallujah, and included
an assault force of five to six battalions, composed of 5,000 U.S. and Iraqi infantry. 975 The Battle was
led by the 3rd Armored Cavalry Regiment (ACR), or the Brave Rifles, and encompassed a wide variety
of offensive, defensive, and stability operations that resulted in the first successful counterinsurgency
campaign for American forces in Operation Iraqi Freedom.976

In 2007, Coalition operations in Baghdad Province pushed insurgent forces, particularly the Zarqawi
organization (then known as the Islamic State of Iraq, or ISI) into Nineveh Province. 977 This prompted
a series of Coalition raids in the summer of 2007, resulting in the capture of a number of Zarqawi
966  Dr. Michael Fitzsimmons, Governance, Identity, and Counterinsurgency: Evidence from Ramadi and Tal Afar (Carlisle Barracks,
PA: US Army War College, March 2013), p. 99.
967 “Counterinsurgency Reader II,” Military Review of the Combined Arms Center of Fort Leavenworth, Kansas, (August 2008), p.

39,                    https://www.armyupress.army.mil/Portals/7/military-review/Archives/English/COIN2/COIN2-
Book1.pdf#page=39.
968 Eric Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, (Washington, DC: Institute for the Study of

War, 2008), p. 9, https://www.understandingwar.org/sites/default/files/reports/Iraq%20Report%208.pdf.
969 Ibid.
970 Ibid.
971 Ibid.; Ninewa: NCCI Governorate Profile, (NGO Coordination Committee for Iraq, December 2020), p. 5,

https://www.ncciraq.org/images/infobygov/NCCI_Ninewa_Governorate_Profile.pdf# .
972 Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul p. 9; “Ninewah (‫)نينوى‬,” Institute for the Study of

War, n.d., https://www.understandingwar.org/region/ninewah-‫ ;نينوى‬Ninewa: NCCI Governorate Profile, p. 6.
973 Fitzsimmons, Governance, Identity, and Counterinsurgency: Evidence from Ramadi and Tal Afar, p. 104; Jay B. Baker, “Tal Afar

2005:      Laying       the    Counter        Insurgency        Groundwork,” Army, 59:6          (June      1,     2009),     p.
2, https://www.ausa.org/sites/default/files/Baker_0609.pdf.
974   Bill Roggio, “Operation Restoring Rights in Tal Afar,” Long War Journal, September 5, 2005
https://www.longwarjournal.org/archives/2005/09/operation_resto.php; Baker, “Tal Afar 2005: Laying the
Counterinsurgency Groundwork,” p. 1.
975 Roggio, “Operation Restoring Rights in Tal Afar.”
976 Baker, “Tal Afar 2005: Laying the Counterinsurgency Groundwork,” p. 1.
977 Eric Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, (Washington, DC: Institute for the Study of

War, 2008), p. 10, https://www.understandingwar.org/sites/default/files/reports/Iraq%20Report%208.pdf.
The Zarqawi organization was known as ISI in 2007. In other reporting in this section, the Zarqawi organization is referred
to as al-Qaeda in Iraq (AQI), which was its organizational name from late 2004-2006.


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organization and AAS leaders in and around Mosul. 978 One such operation—conducted by U.S. Army
Alpha Company, 2nd Battalion, 7th Cavalry Regiment, 4th Brigade Combat Team, 1st Cavalry
Division in June 2007—was called Operation Ant Hill. 979

As 2007 progressed, Coalition operations continued. In September 2007, Coalition forces launched
Operation Lightning Hammer II in northern Iraq, including Nineveh Province, to target the Zarqawi
organization and “Iranian-backed Shia terror groups.” 980 On November 5, 2007, Coalition forces
launched Operation Iron Hammer. While primarily focused on Diyala Province, the operation also
targeted Zarqawi organization activity in Mosul and its support lines “near Qayyarah and west of the
city along the main roads through Tal ‘Afar and Rabiah to the Syrian border.” 981 This effort was
continued by Operation Iron Reaper in December 2007. 982

From 2008 to 2009, Coalition forces conducted several operations in Mosul and its environs with the
express goal of combating Sunni insurgents in the region. On May 10, 2008, Coalition forces and ISF
jointly launched Operation Lion’s Roar to “target the al Qaeda in Iraq (AQI) network and other
remaining Sunni insurgent groups in Mosul and Ninawa province.” 983 Over the course of the
operation, Coalition forces detained a number of insurgents, seized weapons caches, and established
security checkpoints throughout the city.984 Out of the over 1,000 individuals captured, Major General
Mark Hertling, the commander of Multinational Division North, indicated that “just under 200”
Zarqawi organization operational leaders were captured.985 On May 14, 2008, Coalition forces
launched Operation Mother of Two Springs as a follow-on operation to Operation Lion’s Roar. 986 As
noted by the Institute for the Study of War, while a number of groups operated in Nineveh Province
at this time, the primary insurgent forces targeted by Lion’s Roar and Mother of Two Springs were
the Zarqawi organization, AAS, and a Naqshibandi-inspired militant group. 987

Despite Operations Lion’s Roar and Mother of Two Springs, Coalition forces continued to target the
Zarqawi organization in 2009. On February 21, 2009, Coalition forces launched Operation New Hope
to “degrade Al-Qaeda in Iraq’s capabilities in Mosul.”988 A continuation of this operation, Operation



978 Ibid.
979 Staff Sgt. Quinton Russ, “Soldiers Sweep and Search During Operation Ant Hill [Image 5 of 9]” DVIDs Hub, June 5,

2007, https://www.dvidshub.net/image/47100/soldiers-sweep-and-search-during-operation-ant-hill.
980 Bill Roggio, “A Look at Operation Lightning Hammer II in Ninewa and Salahadin,” Long War Journal, September 7,

2007, https://www.longwarjournal.org/archives/2007/09/a_look_at_operation.php.
981 Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, p. 12.
982 Ibid.
983   “Operation Mother of Two Springs,” Institute for the Study of War, May 29, 2008,
https://www.understandingwar.org/publications/commentaries/operation-mother-two-springs.
984 Ibid.
985 Bill Roggio, “Operation Lion’s Roar Nets More Than 1,000 Suspects,” Long War Journal, May 16, 2008,

https://www.longwarjournal.org/archives/2008/05/operation_lions_roar.php.
986 “Operation Mother of Two Springs,” Institute for the Study of War, May 29, 2008,

https://www.understandingwar.org/publications/commentaries/operation-mother-two-springs.
987 Ibid.

The Naqshibandis have no observable direct ties to Iran. The Naqshibandi group Jaysh Rijal al-Tariqah al-Naqshabandia
(JRTN) coordinated with ISIL in Mosul in 2014, and so may have benefitted from the Zarqawi organization’s ties to Iran.
988       “Operation       New        Hope,”       Institute       for         the Study       of      War,        n.d.,
https://www.understandingwar.org/operation/operation-new-hope.


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Ninewa Resolve, began in April 2009.989 Following a period of relative calm, U.S. forces withdrew
from Nineveh Province in September 2011.990

U.S. forces reentered the country in 2014 during Operation Inherent Resolve following the Zarqawi
organization’s—then known as the Islamic State, or ISIS—invasion of Mosul and expansion in
northern Iraq.991 Thus began a five-year period of operations to “‘degrade and destroy’ the Islamic
State.”992 A key effort in Inherent Resolve was Operation Eagle Strike – also called the Battle for
Mosul – an October 2016 to July 2017 battle in which Coalition forces eventually retook Mosul from
the Zarqawi organization/ISIS.993 Following the battle, Coalition forces were able to clear Tal Afar
and the surrounding areas of ISIS by the end of the year.994 Operation Inherent Resolve was deemed
successful in March of 2019, when the Syrian Democratic Forces (SDF) finally retook “the last ISIS
enclave, a 4-square-kilometer area nestled along the Iraqi border.” 995

Sunni Militant Groups in Nineveh Province
Nineveh Province has been a strategic center for the Sunni insurgency since 2003. 996 Its multiple lines
of communication and proximity to the Syrian border, both particularly significant for the purpose of
transporting suicide bombers and foreign fighters, made the province invaluable to insurgent groups
like the Zarqawi organization and AAS.997 According to Eric Hamilton, a researcher at the Institute
for the Study of War, “Coalition Forces assess that while Baghdad has always been the operational
center of gravity for AQI, Mosul is the network’s strategic center of gravity – an area of interest that
if lost would make AQI’s survival very difficult.”998

Leading up to November 2004, Sunni militants began building up their forces in Nineveh Province. 999
With Coalition forces focused on Fallujah during this time period, these groups saw an opportunity
to take control of Nineveh.1000 By the middle of summer 2004, the Zarqawi organization and AAS –
who were allied at this time – held control of Tal Afar, Nineveh Province’s second largest city (located


989   Dr. Bianca J. Adams, “MND-B 2009 Command Report,” 2009, p. 92. https://www.ndia.org/-
/media/sites/ndia/divisions/solic/reports-and-activities/command-report-12-10-10.pdf.
990 Michael Knights, “How to Secure Mosul: Lessons From 2008-2014,” The Washington Institute for Near East Policy,

October 12, 2016, pp. 10, 12, https://www.washingtoninstitute.org/policy-analysis/how-secure-mosul-lessons-2008-
2014.
991 Mason W. Watson, The Conflict With ISIS: Operation Inherent Resolve June 2014-January 2020, (Washington, DC: Center of

Military History, 2021) p. 5, https://history.army.mil/html/books/078/78-2/cmhPub_078-2.pdf.
992 Ibid., p. 29.
993 Riyadh Mohammed, “The Fight for Mosul: Why It’s Taking Longer Than Expected,” Foreign Affairs, January 10, 2017,

https://www.foreignaffairs.com/articles/middle-east/2017-01-10/fight-mosul?check_logged_in=1; U.S. Department of
the Army Mosul Study Group, What the Battle for Mosul Teaches the Force, (September 2017), p. 7,
https://www.armyupress.army.mil/Portals/7/Primer-on-Urban-Operation/Documents/Mosul-Public-Release1.pdf.
994 Watson, The Conflict With ISIS: Operation Inherent Resolve June 2014-January 2020, pp. 71, 72.
995 Ibid., p. 78.
996 Eric Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, (Washington, DC: Institute for the Study of

War, 2008), p. 18, https://www.understandingwar.org/sites/default/files/reports/Iraq%20Report%208.pdf.
997 Ibid.
998 Ibid.
999 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006,       (Carlisle  Barracks,     PA:      US       Army       War      College,    January     17, 2019),   p.    392,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.
1000 Ibid.




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80 miles west of Mosul).1001 Though Coalition forces were able to drive the insurgency out of Tal Afar
in September, the Zarqawi organization quickly reestablished itself after the Coalition left the city. 1002
On November 10, the Zarqawi organization and AAS overran both Mosul and Tal Afar in the Battle
of Mosul.1003 Following the battle, Mosul and Tal Afar became central to the Zarqawi organization
and AAS.1004 According to a report by the Institute for the Study of War, the Battle of Mosul resulted
in a stalemate, with “overwhelmingly-Kurdish army forces operating on the east side of the city and
insurgents on the west side”1005

This state of affairs remained mostly unchanged through 2006. Though Coalition forces attempted to
stabilize the province at the beginning of 2005, May 2005 was one of the most violent months in Tal
Afar, with 170 attacks carried out in the city, primarily by the Zarqawi organization and AAS. 1006 In
December of 2006, the Zarqawi organization maintained transit lines and held influence over large
swaths of Nineveh Province.1007 Prominent Zarqawi organization support lines in Nineveh Province
stretched from Sinjar, through Tal Afar, and into Mosul. 1008

Through 2006, Mosul continued to serve as a Zarqawi organization sanctuary, offering relative
freedom of movement to Zarqawi organization fighters. 1009 Nineveh saw a second surge of Zarqawi
organization members in Mosul in late 2006, following the movement of Coalition forces into central
Iraq.1010 Zarqawi organization and AAS attacks in Nineveh Province then dropped in early 2007 as the
organizations focused on supporting operations in central Iraq. 1011

As Coalition forces focused on pushing the Zarqawi organization out of central Iraq as part of the
U.S.’s troop “surge” strategy through 2007, Zarqawi organization presence became increasingly
concentrated in Nineveh Province.1012 The sectarian divisions in the province, in addition to its
smuggling routes running from Syria, provided favorable conditions for the Zarqawi organization to
continue its operations even as it was degraded throughout the rest of Iraq. 1013 By November 2007,
the Zarqawi organization and other Sunni militants were thoroughly entrenched in Mosul. 1014


1001 Ibid; Dr. Michael Fitzsimmons, Governance, Identity, and Counterinsurgency: Evidence from Ramadi and Tal Afar (Carlisle

Barracks, PA: US Army War College, March 2013), p. 111,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1531&context=monographs#.
1002 Rayburn & Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-2006, p. 393.
1003 Ibid.
1004 Eric Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, p. 9; Jay B. Baker, “Tal Afar 2005: Laying the

Counter           Insurgency       Groundwork,”              Army        59:6        (June         1,       2009),      p.      2,
https://www.ausa.org/sites/default/files/Baker_0609.pdf.
1005 Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, p. 9.
1006 Rayburn & Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-2006, p. 489.
1007 Eric Hamilton, Backgrounder #21: Developments Fighting Al Qaeda in Iraq (Washington, DC: Institute for the Study of

War, January 2008), p. 2.
1008 Ibid., p. 3.
1009 Ibid., p. 2.
1010 Michael Knights, “How to Secure Mosul: Lessons From 2008-2014,” The Washington Institute for Near East Policy,

October 12, 2016, p. 7, https://www.washingtoninstitute.org/policy-analysis/how-secure-mosul-lessons-2008-2014.
1011 Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, p. 10.
1012 Ibid.
1013 Patrick B. Johnston et al., Foundations of the Islamic State: Management, Money, and Terror in Iraq 2005-2010, (Santa Monica,

CA: RAND Corporation, 2016), pp. 69, https://apps.dtic.mil/sti/pdfs/AD1013638.pdf.
1014 Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, p. 12.




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From January to March 2008, Zarqawi organization attacks on Coalition forces in Mosul reached peak
numbers, with the group conducting several of high-profile attacks on prisons and assassinations of
Iraqi officials.1015 The high number of attacks coincided with the presence of key Zarqawi organization
leaders in the city.1016

In response, Coalition forces ramped up operations in Nineveh Province, especially Mosul, ultimately
weakening the Zarqawi organization’s capabilities.1017 While the group was diminished, it was still able
to maintain some capabilities in the province.1018 A January 2008 Zarqawi organization suicide attack
in Mosul that left 34 dead and 224 wounded demonstrated the organization’s continued ability to carry
out deadly attacks in the province.1019 As demonstrated by Operation New Hope’s stated intention in
2009 to “degrade Al-Qaeda in Iraq’s capabilities in Mosul” and Operation Ninewa Resolve’s focus on
disrupting Zarqawi organization operations and clearing Zarqawi organization fighters from Mosul,
the Zarqawi organization maintained a presence in the province through 2009. 1020

The 2010-2011 period is characterized as the “quiet years” in Nineveh, with limited Zarqawi
organization attacks in the province.1021 Despite the decrease in violence, the Zarqawi organization
retained a presence in Mosul. According to some estimates, the Zarqawi organization was able to make
$9 million dollars per month from organized crime syndicates in the city. 1022

Following the withdrawal of U.S. forces in September 2011, the Zarqawi organization was quick to
remerge in Nineveh, and the province had returned to 2009 levels of violence by the spring of 2013. 1023
In late 2011, the Zarqawi organization conducted a number of coordinated bombings in Mosul. 1024
This resurgence was aided in part by the Syrian civil war, which allowed the Zarqawi organization to
access armored vehicles and artillery shells.1025 The resurgence continued in 2013 with the Zarqawi
organization/ISIS’s “Soldiers’ Harvest” campaign to assassinate Nineveh officials, intimidation
campaigns in Mosul, and interception of oil along highways from Baghdad to Mosul. 1026




1015  Knights, “How to Secure Mosul: Lessons From 2008-2014,” p. 7.
1016  Ibid.
1017 Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, p. 13.
1018 Johnston et al., Foundations of the Islamic State: Management, Money, and Terror in Iraq 2005-2010, p. 55.
1019 Sam Dagher, “Al Qaeda goes north: Police chief killed in Mosul,” Christian Science Monitor, January 25, 2008,

https://advance.lexis.com/api/permalink/bd749aff-b518-4e3c-8178-506d510525eb/?context=1519360.
1020        “Operation        New           Hope,”        Institute      for        the        Study      of    War, n.d.,
https://www.understandingwar.org/operation/operation-new-hope; Dr. Bianca J. Adams, “MND-B 2009 Command
Report,” 2009, p. 92, https://www.ndia.org/-/media/sites/ndia/divisions/solic/reports-and-activities/command-report-
12-10-10.pdf.
1021 Knights, “How to Secure Mosul: Lessons From 2008-2014,” p. 10.
1022 Ibid., p. 9.
1023 Ibid.
1024 Ibid., p. 11.
1025 Ibid.
1026 Ibid.; “Al-Qaeda in Iraq confirms Syria’s Nusra Front is part of its network,” Alarabya News, April 9, 2013,

https://web.archive.org/web/20221005221604/https://english.alarabiya.net/News/middle-east/2013/04/09/Al-
Qaeda-in-Iraq-confirms-Syria-s-Nusra-Front-is-part-of-its-network.


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On June 6, 2014, the Zarqawi organization/ISIS began a campaign to retake Mosul. 1027 Over the
course of four days, ISIS overran and seized former Coalition military installations in the city, freed
prisoners, and expanded its control throughout Nineveh and other provinces in northern Iraq. 1028 This
operation was supported by the Sunni Ba’athist group Jaysh Rijal al-Tariqah al-Naqshabandia (JRTN),
which released several joint claims of attacks with ISIS during this time. 1029 ISIS’s success in this regard
produced an influx of foreign fighters, drastically increasing the group’s numbers. 1030

In response to the fall of Mosul, U.S. forces were redeployed in Operation Inherent Resolve to combat
ISIS.1031 Inherent Resolve slowly degraded ISIS, which managed to retain control of Mosul until July
2017. Following the loss of Mosul, ISIS was quickly eliminated from Nineveh Province by Coalition
forces.

The Sunni militant groups in Nineveh Province used a variety of techniques, tactics, and procedures
(TTPs) to target Coalition forces. From AAS and the Zarqawi organization’s entrenchment in Mosul
following in 2004 through the end of Coalition operations in 2019, the two groups executed attacks
using improvised explosive devices (IEDs), vehicle-borne improvised explosive devices (VBIEDs),
small arms attacks, assassinations, mortar attacks, kidnappings, executions, and suicide bombings. 1032

Shia Militant Groups in Nineveh Province
The Sunni majority in Nineveh Province made it unconducive to large-scale presence of Shia
militias.1033 However, though Nineveh Province was primarily dominated by Sunni insurgent groups,
there was a limited presence of Shia militias in the province. In a July 2006 press conference, for
example, U.S. Army Colonel Michael Shields, commander of 172nd Stryker Brigade Combat Team,
mentioned “reports of the JAM” (Jaysh al-Mahdi) in Mosul. 1034 According to a Multi-National Corps-
Iraq (MNC-I) Intelligence Slide, JAM was seen transporting weapons from Kirkuk to Tal Afar and



1027 Jessica D. Lewis, “The Islamic State of Iraq and Al-Sham Captures Mosul and Advances Toward Baghdad,” The

Institute for the Study of War, June 11, 2014, https://www.understandingwar.org/backgrounder/islamic-state-iraq-and-
al-sham-captures-mosul-and-advances-toward-baghdad.
1028 Ibid.
1029 Ibid.
1030 Riyadh Mohammed, “The Fight for Mosul: Why It’s Taking Longer Than Expected,” Foreign Affairs, January 10, 2017,

https://www.foreignaffairs.com/articles/middle-east/2017-01-10/fight-mosul?check_logged_in=1; “Iraq conflict: ISIS
declares a 'caliphate', calls for Muslims to pledge allegiance,” ABC News (Australia), June 29, 2014,
https://www.abc.net.au/news/2014-06-30/isis-declares-islamic-caliphate/5558508.
1031 Mohammed, “The Fight for Mosul: Why It’s Taking Longer Than Expected.”; U.S. Department of the Army Mosul

Study      Group,     What      the   Battle  for    Mosul    Teaches    the   Force,  (September     2017),    p.   7,
https://www.armyupress.army.mil/Portals/7/Primer-on-Urban-Operation/Documents/Mosul-Public-Release1.pdf.
1032 “Iraq Militants Claim Execution of Kurdish Security Officer,” Agence France Presse, June 28, 2005; Department of

Defense, "Several Terrorists Killed, Captured in Iraq; Weapons Caches Found," August 1, 2006; Department of Defense,
“Iraqi Soldiers, police Score Victories Against Terrorists,” October 22, 2006; Hamilton, Iraq Report March 2002 – March
2008: The Fight for Mosul, p. 15; Mohammed, “The Fight for Mosul: Why It’s Taking Longer Than Expected.”; Mason W.
Watson, The Conflict With ISIS: Operation Inherent Resolve June 2014-January 2020, (Washington, DC: Center of Military
History, 2021) p. 78, https://history.army.mil/html/books/078/78-2/cmhPub_078-2.pdf.
1033    Ninewa: NCCI Governorate Profile, (NGO Coordination Committee for Iraq, December 2020), p. 2,
https://www.ncciraq.org/images/infobygov/NCCI_Ninewa_Governorate_Profile.pdf#page=2.
1034   Colonel Michael Shields, “Operations in Mosul, Iraq,” CSPAN, July 21, 2006, (12:21), https://www.c-
span.org/video/?193526-1/operations-iraq.


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Mosul in January 2007.1035 A report on Coalition operations in 2007 indicated that the September 2007
Operation Lightning Hammer II targeted the Zarqawi organization and “Iranian-backed Shia terror
groups” in Nineveh and Saladin Provinces.1036

JAM reappeared in Nineveh – under the new name “the Peace Brigades” – in 2016, releasing
statements indicating that the group was “getting ready for the battle of Mosul” and threatening to
attack any U.S. forces it encountered.1037

I now turn to the attacks in Nineveh Province attacks that the Plaintiffs have asked me to assess.

Attack #19 – December 21, 2004 Suicide IED Attack on FOB Marez, Mosul, Nineveh
Province that Killed Maine Army National Guard Staff Sergeant Lynn Robert Poulin, U.S.
Army Staff Sergeant Julian Melo, and U.S. Army Private Lionel Ayro
Geography: Mosul, Nineveh Province
Attack Type: Suicide Attack
Direct Victim(s): SSG Lynn Poulin Sr., SSG Julian Melo, and PVT Lionel Ayro

Materials Reviewed
In reaching my expert opinion, I researched numerous authoritative, publicly available sources and
the following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

          PEX 177, Department of the Army, USARCENT FOIA FA-22-0067, “AR 15-6
           Investigation of FOB Marez DFAC Bombing, Mosul, Iraq,” (2005).
          PEX 178, Department of the Army, USARCENT FOIA FA-22-0067, “AR 15-6
           Investigation Report – PFC Lionel Aryon,” (2005).
          PEX 179, CENTCOM, USCENTCOM 22-0069, “Ops Report – SUSPECTED SUICIDE
           BOMBER ATTK ON FOB MAREZ IN MOSUL: 14 CF KIA, 51 CF WIA, 4 US,”
           (December 25, 2004).
          PEX 180, Office of the Armed Forces Medical Examiner, “Autopsy Report – Lynn Poulin,”
           (January 12, 2005).
          PEX 181, Office of the Armed Forces Medical Examiner, “Autopsy Report – Lionel Ayro,”
           (December 28, 2004).

Attack Description
On December 21, 2004, U.S. Army Staff Sergeant (SSG) Lynn Robert Poulin was serving in the 133rd
Engineer Battalion of the Maine Army National Guard.1038 U.S. Army Private (PVT) Lionel Ayro was


1035   Multi-National Corps – Iraq, “MNC-I BUA Intel Daily Slides,” (January 2007), p. 38,
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/0310.%20MNC-
I%20BUA%20Intel%20Daily%20Slides%20Jan%2007.pdf.
1036 Bill Roggio, “A Look at Operation Lightning Hammer II in Ninewa and Salahadin,” Long War Journal, September 7,

2007, https://www.longwarjournal.org/archives/2007/09/a_look_at_operation.php.
1037 Bill Roggio, “US Troops ‘are a Target for us,’ Iraq’s Muqtada al Sadr Says,” Long War Journal, July 18, 2016,

https://www.longwarjournal.org/archives/2016/07/us-troops-are-a-target-for-us-iraqs-muqtada-al-sadr-says.php.
1038 “Honor the Fallen – Army Sgt. Lynn Robert Poulin Sr.,” Military Times, n.d, https://thefallen.militarytimes.com/army-

sgt-lynn-r-poulin-sr/573039.


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serving in the 73rd Engineer Company, 1st Brigade, 25th Infantry Division. 1039 U.S. Army Staff
Sergeant (SSG) Julian Melo was serving with 1st Battalion, 5th Infantry Regiment, 1st Brigade, 25th
Infantry Division.1040

On that day, a suicide bomber targeted the Dining Facility (DFAC) on Forward Operating Base (FOB)
Marez in Mosul.1041 The attackers chose the date because of its proximity to the Christmas holiday,
directly referencing the symbolism of attacking “Crusaders” close to a Christian holiday in a
subsequent statement about the attack. It is not clear how the bomber gained access to the base nor
how he transported the explosive materials inside.1042 In reaching the DFAC, the terrorist effectively
evaded security measures. An AR 15-6 Investigation Report written for the attack describes what
witnesses saw in the moments leading up to the attack:

         They saw what they described as an Iraqi in an [Iraqi Republican Army] uniform, without
         helmet and body armor, entering the DFAC with three ING soldiers…. They noticed him
         because the absence of the helmet and body armor made him stand out…. A US soldier who
         survived the attack reported …that his buddy who was killed by the blast noticed an Iraqi in
         uniform. He commented that there must be a new Iraqi uniform SOP [Standard Operating
         Procedure], indicating that he saw something different. 1043

According to a claim of responsibility issued by Ansar al Sunna (AAS), the assailant deliberately
entered the DFAC during one of the busiest times of the day.1044 Post-blast forensic analysis of the
attack site found, based on the positioning of debris connected to the bomber, that the assailant sat
down at one of the tables facing the cafeteria line. He had plastic explosives (C4) on his person, and
the IED he used also employed 243 metal-coated ball bearings to maximize the damage inflicted on
victims.1045 Upon detonation, the blast killed the assailant, 14 U.S. military personnel, four Haliburton
employees, and four Iraqi soldiers, as well as injuring 71 people.1046

                                                                            Open-source reporting similarly states



1039 “Honor the Fallen – Army Pfc. Lionel Ayro,” Military Times, n.d., https://thefallen.militarytimes.com/army-pfc-lionel-

ayro/573028.
1040 “Army Staff Sgt. Julian S. Melo,” Honor the Fallen, n.d., https://thefallen.militarytimes.com/army-staff-sgt-julian-s-

melo/573042
1041 PEX 177, Department of the Army, USARCENT FOIA FA-22-0067, “AR 15-6 Investigation of FOB Marez DFAC

Bombing, Mosul, Iraq,” (2005), pp. 7-8.
1042 Ibid., p. 10.
1043 Ibid., p. 9.
1044 Ibid., p. 7; “Jaish Ansar Al-Sunnah communiqué and video on their attack against the US Base in Mosul”, SITE

Intelligence Group Report, December 21, 2004. p. 2; December 26, 2004; “Bomber eluded security,” Fort Collins Coloradoan
(Colorado),        December     23,       2004,      https://advance.lexis.com/api/permalink/331b0faf-bdec-48b9-82d0-
f3125bd05e8b/?context=1519360; John Hendren, “The Conflict in Iraq; Blast Likely a Suicide Bombing; Fatal Attack on
Iraq Base Seen as Inside Job,” Los Angeles Times, December 23, 2004, https://advance.lexis.com/api/permalink/d82378df-
1300-4d53-91cb-b5b270abce7f/?context=1519360.
1045 PEX 177, pp. 6, 7, 39.
1046 PEX 179, CENTCOM, USCENTCOM 22-0069, “Ops Report – SUSPECTED SUICIDE BOMBER ATTK ON

FOB MAREZ IN MOSUL: 14 CF KIA, 51 CF WIA, 4 US,” (December 25, 2004), p. 2.
1047 PEX 180, Office of the Armed Forces Medical Examiner, “Autopsy Report – Lynn Poulin,” (January 12, 2005), p. 6;

PEX 181, Office of the Armed Forces Medical Examiner, “Autopsy Report – Lionel Ayro,” (December 28, 2004), p. 4.


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that SSG Melo died “when a suicide bomber entered his dining facility and detonated an improvised
explosive device.”1048

Attack Attribution
I conclude that Ansar al-Islam (AAI) (as Ansar al-Sunna (AAS)) very likely committed this suicide
attack. This conclusion is based on the following data points: 1) the geographic location and time
period of the attack; 2) the tactics, techniques, and procedures (TTPs) used in this attack; 3) a claim
of responsibility for this attack released by AAS, and 4) U.S. Government reporting that attributes this
attack to AAS.

The Ansar al-Islam organization has undergone several name changes since the group’s founding in
2001. Originally established under the name Jund al-Islam, the group later adopted the name Ansar
al-Islam (AAI). On September 20, 2003 the group changed its name again to Ansar al-Sunna. Given
that this attack occurred after the group’s name change in 2003, this attribution will refer to the group
as Ansar al-Sunna (AAS). However, some sources may refer to the group as Ansar al-Islam.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to AAS’s responsibility. The attack occurred at FOB Marez, near the city of Mosul in northern Iraq. 1049
The below map provides the approximate location of the attack.




                  Figure 32: Approximate location of the attack near Mosul, Nineveh Province.


1048   “Army Staff Sgt. Julian S. Melo,” Fallen Heroes of Operation Iraqi Freedom (n.d.),
https://www.fallenheroesmemorial.com/oif/profiles/melojulians.html; “Army Staff Sgt. Julian S. Melo,” Honor the
Fallen, (n.d.), https://thefallen.militarytimes.com/army-staff-sgt-julian-s-melo/573042.
1049 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War,

2003-2006,       (Carlisle   Barracks,      PA:    US   Army       War      College,  January  17,   2019), p.   5,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.
The page listed above contains an image of a map depicting the location of FOB Marez in relation to Mosul.


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In November and December 2004, Mosul experienced fierce fighting between Coalition forces and
several Sunni insurgent groups, including AAS and the Zarqawi organization. 1050 Seeking to capitalize
on the Coalition’s focus on Fallujah during Operation Al Fajr, several insurgent groups moved to seize
Mosul. The U.S. Army’s official history of the Iraq War recounts:

             Thus the Sunni insurgents’ assault on Mosul on November 10 had been neither a hasty
             target of opportunity nor entirely unexpected. As AL FAJR’s lengthy shaping
             operations unfolded and coalition troops massed around Fallujah, Zarqawi and other
             insurgent commanders had exploited the light coalition footprint in Mosul to deliver
             a counterpunch and relieve pressure from their fellow insurgents in Fallujah.
             Interrogations later revealed that the insurgents had decided to focus on Mosul out of
             a belief that “they couldn’t stop things in Baghdad or disrupt the election significantly,
             because there were seven or eight brigades in Baghdad [but] there was [only] one
             brigade up north.”1051

When this attack occurred, U.S. forces were conducting clearing operations in Mosul, transferring
reinforcements to the area to carry out this task. 1052 Despite this new influx of soldiers, Sunni militia
groups like AAS continued to conduct attacks on U.S. forces, including a large assault on Combat
Outpost Tampa on December 29, 2004, eight days after the FOB Marez bombing:

             The following week brought another large insurgent attack. In the wake of the Iraqi
             security forces’ collapse in Mosul, 1st Battalion, 24th Infantry, Commander Lieutenant
             Colonel Erik Kurilla, decided to reverse course on MNF-I’s directives to consolidate
             forces and instead established platoon-sized combat outposts throughout west Mosul.
             Regaining footholds in the insurgent-dominated territory was not easy. The battalion
             fought multiple battles during December, culminating in a December 29 assault on
             Combat Outpost Tampa in which a suicide bomber rammed a dump truck filled with
             artillery shells into the base entry point, followed by an assault force of at least 50
             insurgents.1053

Though AAS was not the only Sunni insurgent group operating in Mosul in December 2004, their
presence, in aggregate with other factors, is indicative of their involvement in this attack.

AAS was also active in other areas in northern Iraq at the time of the incident. The U.S. State
Department’s 2004 Country Reports on Terrorism references AAS operations, including the FOB Marez
attack.1054 Citing American intelligence reports, Michael Rubin, a regional expert and scholar at the
American Enterprise Institute, noted that “by August [2003], hundreds of Ansar terrorists had
reentered the country” from neighboring Iran.1055 Rubin specified that “a large number of the
returning jihadists chose to settle in Mosul” for two reasons. First, the city’s large population and

1050 Ibid., p. 392.
1051 Ibid.
1052 Ibid., p. 393.
1053 Ibid.
1054  U.S. Department of State, Country Reports on Terrorism, 2004, (2005), pp. 3-4, https://2009-
2017.state.gov/documents/organization/45323.pdf.
1055 Michael Rubin, “Ansar al-Sunnah,” American Enterprise Institute, May 1, 2004, https://www.aei.org/articles/ansar-

al-sunna/.


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labyrinthine streets created an ideal environment for conducting clandestine operations. Second, the
city was a good place to meet and coordinate with foreign fighters coming from Syria. 1056

Tactics, Techniques, and Procedures (TTPs). An additional factor indicating AAS’s responsibility for this
attack is the TTPs used to carry it out. The bombing that killed SSG Poulin and PVT Ayro was carried
out by a man wearing an Iraqi Army uniform over a suicide vest which was packed with plastic (C4)
explosives and hundreds of metal-coated ball bearings. 1057 The Combined Explosives Exploitation
Cell (CEXC), a group of explosives experts specializing in IED post-blast analysis, found components
of the device used to carry out the attack. Among the components were a 9V DC battery (commonly
used in suicide IED detonators) “that appeared to be in contact with detonated high explosive
material,” a “small piece of copper resembling a blasting cap section, 243 metal-coated ball bearings,
and a small spring…consistent [with] those recovered by CEXC in other IED circuits.” 1058

AAS has a documented history of utilizing suicide bombers to conduct attacks in similar operating
environments.1059 These attacks span the history of the group and constitute a core TTP for their
kinetic operations. The group claimed it had carried out over 1600 attacks of all kinds from 2004-
2007, with many of these attacks utilizing similar TTPs - i.e. a suicide bombing - as those used in the
attack on FOB Marez.1060 During 2003-2004, AAS conducted other high-profile attacks, which also
utilized TTPs similar to those used in the attack on FOB Marez. These attacks include a suicide
bombing of the Turkish Embassy in Baghdad, which killed 1 and wounded 24 others. 1061 AAS also
conducted simultaneous suicide attacks at the headquarters of the Kurdish Democratic Party (KDP)
and the Patriotic Union of Kurdistan (PUK) in Erbil, which resulted in more than 100 people killed
and over 130 wounded.1062

Additionally, the AR 15-6 Report published by the Army following the incident cites an earlier incident
of C4 plastic explosive being stolen from FOB Marez, where this incident took place. 1063 The Report
notes that although the Iraqi government Facilities Protective Service (FPS) were credited with that
theft, there is no definitive evidence that they were responsible. The Report appears to speculate that
the stolen C4 explosive may have been used in the bombing. 1064

Claim of Responsibility. Another indicator that AAS was behind this attack is its release of a claim of
responsibility. The details presented in AAS’s claim of responsibility demonstrate firsthand knowledge
of the attack and how it was carried out, leading me to conclude that the claim is credible and authentic.




1056 Ibid.
1057 PEX 177, pp. 6-8.
1058 Ibid., p. 6.
1059 Michael Rubin, “Ansar al-Sunna,” American Enterprise Institute, May 1, 2004, https://www.aei.org/articles/ansar-
al-sunna/.
1060       Mapping       Militant   Organizations,       “Ansar       al-Islam,”   Stanford    University,      n.d.,
https://cisac.fsi.stanford.edu/mappingmilitants/profiles/ansar-al-islam.
1061 Ibid.
1062 Michael Rubin, “Ansar al-Sunna,” American Enterprise Institute, May 1, 2004, https://www.aei.org/articles/ansar-

al-sunna/.
1063 PEX 177, p. 39.
1064 Ibid.




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Immediately after the attack, AAS released a statement on its website claiming responsibility for the
attack on FOB Marez.1065 Four days later, AAS released a lengthier statement describing its role in the
attack as well as a video that purports to show the attack’s planning and execution.

AAS’s immediate claim of responsibility, released on December 21, 2004, reads:

         Allah was Gracious and generous with the mujahedin who fight the enemies of Allah,
         occupiers and apostates, [and blessed them] with a big massacre in the ranks of the
         American Crusaders, in a suicide operation carried out by mujahedin from Jaish Ansar
         al-Sunnah at 12:00 noon of Tuesday 12/21/2004 in a restaurant for the blaspheming
         occupation forces in al-Ghizlani Camp [FOB Marez] in Mosul. Two medevac
         helicopters were seen transporting casualties and injured. This heroic operation was
         documented in video, and Allah willing, will be available later.1066

The subsequent statement claiming the attack, released on December 25, 2004, further extolls the
operation and engages in hyperbole about its success, significantly exaggerating the number of
Americans and Iraqis killed and injured.1067 Below is a full English translation of AAS’s subsequent
statement:

         The Blessed Mosul Attack

         In the name of Allâh, the Most Merciful and the Most Compassionate

         Thanks to Allâh, Supporter of the Mujahideen, Glorifier of the Believers, and Defeater
         of the Infidels; and prayer and peace upon the Imam of the Mujahideen, our Prophet
         Muhammad, upon his family, his companions, and those who followed them in the
         good until Judgment Day:

         Since the investigations and the series of American lies about the blessed operation
         against Al-Ghizlani Camp are about to end without a significant outcome on the nature
         of the operation and the true number of losses, thanks to Allâh, here we are issuing
         you a statement with a video of this blessed operation. May they appease the chests of
         a believing people and be useful for the Americans in their investigations on this
         operation.

         Thanks to Allâh, we planned an operation against the enemies of Allâh in their own
         camps. One of the Mujahideen has sacrificed himself for the sake of Allâh and for the
         support of His religion, by entering Al-Ghizlani Camp in Mosul, used by the American
         forces as a base for its aggression against Muslims. Thanks to Allâh, this martyrdom

1065 “Jaish Ansar al-Sunnah Insurgency Group in Iraq Purportedly Claims Responsibility for a Suicide Operation Against

American Military Base in Mosul,” SITE Intelligence Group, December 21, 2004.
1066 Ibid.

Al-Ghizlani Camp refers to FOB Marez. The al-Ghizlani region encompasses southwestern Mosul, where FOB Marez was
located. See “Multi-Sector Damage Assessment,” United Nations Mapping and Data Portal, Mosul, July 8, 2017,
http://unhabitatiraq.net/mosulportal/wp-content/uploads/2017/07/170713_Damage-Assessment.pdf.
1067 “Jaish Ansar al-Sunnah Insurgency Group in Iraq Issues a ‘Clarification Statement’ Regarding the ‘Blessed Attack’

Against the American Base in Mosul,” SITE Intelligence Group, December 26, 2004.


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         seeker was able to penetrate all the security barricades [check points], create a massacre
         in the ranks of the Crusader infidels, and plant terror in their hearts and the hearts of
         their apostate allies.

         Based on the above, we announce to the Ummah of Islam that, according to “our
         sources,” the preliminary results to this operations [sic] were more than 100 dead
         among the Americans and their allies, and more than 200 injured. This is due to the
         fact that those who are present in the restaurant at lunch time, “the time of execution
         of the operation,” are more than 500 Crusaders and Apostates. Medical choppers were
         seen in a queue transporting casualties and injuries.

         O Muslims, the real good news is that, thanks to Allâh, this heroic martyrdom seeker
         was able to make the enemies of Allâh suffer and turn the joy of the Crusaders on their
         Holidays into sorrow and weeping, just as they have done to before to our people in
         Fallujah in particular, and to the Muslims in general, scattering them and depriving
         them from enjoying the blessed Eid al-Fitr. Also, their big [leader] Bush, with all his
         tyranny and power, came out to us with his head down, small and miserable, not
         finding words to say from the intensity of this attack.

         Let the Americans, their allies and their apostate collaborators know that, thanks to
         Allâh, the Ummah has woken up from her sleep, and has prepared itself to confront
         its enemy. It [the Ummah] will make all the blasphemers lose sleep, until it defeats
         them. For, Allâh, may He be praised, has prepared men who are keen to die just as the
         infidels are keen to live.

         O Islamic Ummah! Congratulations to you for your heroic soldiers, descendants of
         Khaled, Abu Obaida and Saladdin. O Ummah of Islam! Give more of your sons as
         offerings to Allâh and sacrifice the expensive and valuables for the sake of Allâh, and
         in order to raise His word. O brother who has believed! Know that you and your
         wealth are for Allâh Above, as He is the Owner….

         Congratulations to those who sold themselves to Allâh and won Paradise. Allâh is
         Greatest! Glory to Allâh, to His Prophet, and to the Believers.

         Prayer and peace upon our Prophet Muhammad, upon his family and his companions.

         The Department of Information in Jaish Ansar al-Sunnah
         13 Zhu Al-Qa’dah, 1425
         December 25, 20041068

In addition to this follow-up statement, AAS released a video. The portion of the video that displays
the group’s planning and execution of the attack contains five distinct scenes. It begins with three men
standing side-by-side in front of a black flag with white Arabic script. One man reads from a sheet of
paper. He is flanked by two men holding assault rifles who are dressed in combat gear. The man in
the middle speaks Arabic, and refers to Jaish Ansar al-Sunnah, the Army of the Supporters of the

1068 “Jaish Ansar al-Sunnah Insurgency Group in Iraq Issues a ‘Clarification Statement’ Regarding the ‘Blessed Attack’

Against the American Base in Mosul,” SITE Intelligence Group, December 26, 2004.

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Sunnah (AAS). The video then transitions to footage of a militant using a knife to point to different
locations on a map of the DFAC at FOB Marez. The word restaurant in Arabic, is visible in the top
right-hand corner of the page. The third scene depicts two men hugging, one wearing a tan-colored
vest and another clad completely in black. This footage likely represents the bomber saying his final
goodbyes and receiving congratulations from a senior AAS member. According to the time stamp in
the bottom right-hand corner of the recording, these first three scenes were filmed on December 20,
2004. The below images are still frames from the first three scenes, arranged sequentially from left to
right.




The fourth and fifth scenes, time-stamped December 21, 2004, feature footage of the explosion and
resulting damage to the roof of the DFAC, respectively. In the fourth scene, a building which I assess
to be the DFAC is visible in the distance, and the noon-time Muslim call to prayer plays in the
background. The time stamp in this scene spans from 12:03:20 pm to 12:04:18 pm. At 12:03:58, a
large fireball erupts upward from the DFAC, with the sound of the explosion arriving at 12:04:04. The
fifth and final scene is filmed from a road that appears to run along the perimeter of FOB Marez. The
videographer zooms in on a large tan-colored building with a damaged roof. I likewise assess that this
building is the DFAC, and that the damage to the roof was caused by the bombing. The images below
are still frames from the fourth and fifth scenes, arranged sequentially from left to right.




Although an original copy of AAS’s immediate claim of responsibility is no longer available online,
SITE Intelligence Group, a credible non-governmental organization focused on tracking and
analyzing online violent extremist activity, translated and archived the statement shortly after its
release. While SITE is a reputable source for archived jihadist content, I have independently
determined that the statement archived by SITE is the same one posted by AAS in the wake of the
attack. My conclusion is based on 1) open-source reporting verifying that AAS immediately claimed


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responsibility for the FOB Marez bombing, and 2) descriptions of the statement in open-source
reporting, which corroborate the authenticity of the copy posted by SITE.

Several news articles about the FOB Marez bombing published on December 22, 2004 – the day after
the attack – reference a statement released by AAS claiming responsibility. The Los Angeles Times
reported that “in a statement on an Islamic website, the militant group Ansar al Sunna Army claimed
responsibility for the strike, calling it a ‘martyrdom’ operation, which usually means a suicide
attack.”1069 Another article about the bombing written by staff columnist Bill Nemitz with the Maine-
based newspaper, Portland Press Herald, who was at the time reporting while embedded with U.S. forces
in Mosul, stated that “a radical Muslim group, the Ansar al-Sunnah Army, claimed responsibility in a
statement posted on the Internet. Nemitz said the attack was a ‘martyrdom operation’ that targeted a
mess hall.”1070

These articles’ descriptions of the statement’s content corroborate the translation archived by SITE.
One similarity is the news articles’ use of the term martyrdom operation. SITE’s use of the term suicide
operation corresponds to martyrdom operation. Such similarities, and others, indicate that the statement
archived by SITE is the same as that which was reported on by popular press outlets. Accordingly, I
assess SITE’s translation to be a valid copy of the original.

Since the statement available via SITE is a valid copy of the original, I now analyze it to determine its
authenticity as an AAS production. I conclude that the statement is indeed an authentic AAS
publication based on its consistency with other AAS statements. One indication is that the claim of
responsibility for the FOB Marez attack explicitly states that it was released by The Military Department
of Jaish Ansar al-Sunna. Further, the similarity between the verbiage of this statement and that of other
AAS statements underscores that the FOB Marez claim of responsibility is an authentic AAS
production. Comparing the introductory salutations and language employed to describe the conflict
with numerous other AAS statements released, I conclude that linguistic and stylistic indicators are
evidence of shared authorship.1071

I viewed the AAS video of the FOB Marez attack when it was first released in December 2004. Though
an original copy of AAS’s video of the preparation for and execution of the FOB Marez attack is no
longer available online, I was able to download a partial copy through the Internet Archive, an online
service that archives webpages, images, videos, and other Internet content that may no longer be
readily accessible. I have determined that this partial copy contains authentic footage from the original
video based on the partial copy’s consistency with open-source reporting describing the original.
On December 26, 2004, the New York Times described the contents of the video as follows:


1069  Edmund Sanders, “Suicide Bomber Suspected in Mosul Blast,” Los Angeles Times, December 22, 2004,
https://www.latimes.com/la-122204iraq_lat-story.html.
1070 Bill Nemitz, “Soldiers Rush to Aid Their Own After a Rocket Attack on a Dining Facility Kills 22, Including Two

Mainers,” Portland Press Herald, December 22, 2004,
https://www.pressherald.com/2013/12/20/soldiers-rush-to-aid-their-own-after-a-rocket-attack-on-a-dining-facility-
kills-22-including-two-mainers/.
1071 “Ansar al-Sunnah Claims Responsibility for the Attempted Assassination of a High Ranking Iraqi Official in Kirkuk,

and Bombings Targeting American Soldiers, Iraqi National Guards, and an Oil Pipeline in Beiji - al-Riyadh and al-
Doloeiya,” SITE Intelligence Group, October 20, 2005, https://advance.lexis.com/api/permalink/2e028fe7-13f0-4e0c-
bdba-c8f8690261e2/?context=1519360; “Ansar al-Sunnah Claims Responsibility for Bombing an American Convoy in al-
Mosul and Firing Mortar Shells at an American Base in Baghdad,’” SITE Intelligence Group, January 6, 2006,
https://advance.lexis.com/api/permalink/a2052d59-958c-4da4-acfe-73e8001408d5/?context=1519360.

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         The purported video of the Mosul blast – titled “The martyrdom operation done by
         our brother Abu Omar al-Mosuli” – begins with three men dressed in black with their
         heads wrapped in scarves kneeling in front of a black banner that says, “There is no
         God but God and Mohammed is the messenger of God.”

         Two men are resting Kalashnikov rifles, pointed upward, on their thighs. The man in
         the middle reads from a sheet of paper, “We are the Army of Ansar al-Sunna. We will
         terrorize the infidels the Americans by a crushing attack.” …

         Next, the video shows the hand of a man grasping a Russian-made bayonet and
         pointing to a map that purports to be the camp, with a large building drawn in the
         corner that in Arabic is labeled “restaurant.”

         After that, one man embraces the two others with handshakes, hugs and pats on the
         back. The video then shows footage of what purports to be the Marez mess tent, shot
         from a long distance away. In the background, the noontime Muslim call to prayer can
         be heard, perhaps from a muezzin in a nearby mosque.

         Then a fireball three or four stories high rips through the top of the tent, sending dust
         and smoke high into the air. A bang is heard on the video six seconds after the
         explosion. In the last scene, the cameraman is driving down a street and films what is
         purported to be the mess tent in daylight, with two large holes ripped in the roof. 1072

The description of the video in the New York Times details scenes that are identical to the footage
contained in the partial copy I viewed. The article even makes note of the six-second delay between
the fireball and the sound of the explosion. This detail confirms that the footage in the partial copy I
viewed was neither manipulated nor remastered and is thus a valid copy of the original.

U.S. Government Reporting. The final indicator that AAS was responsible for the bombing of FOB Marez
is official U.S. Government reporting that points to the group’s involvement. Specifically, the AR 15-
6 investigation that was conducted in the aftermath of the bombing describes AAS’s claim of
responsibility, deeming it credible:

         Five days after the explosion, on Sunday, 26 December 2004, the terrorist group, Ansar
         Al-Sunnah, released a video purportedly showing the attack on the Marez DFAC from
         outside the facility. The video showed a fireball rising from a white tent and
         subsequently the accompanying sound of the explosion. The final image is apparently
         shot from a video camera while driving past the base showing a hole in the ceiling. In
         a separate terrorist video clip released with the dining facility attack video, a black-
         garbed gunman identifying himself as “Abu Omar-al Mosuli,” wearing an explosive
         device around his body was shown saying goodbye to his comrades. The video has a
         time signature of 20 December 2004, the day before the attack. Three gunmen are
         shown sitting in from of a banner displaying the name of the group, wearing black
         masks and holding rifles. One of them is wearing what appears to be a suicide belt.
         The gunman in the center reads a statement describing how the attack will be carried

1072 Richard A. Oppel Jr., “Iraq Militants Post Video on Bombing of U.S. Base,” The New York Times, December 26, 2004.


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           out. He says “one of the lions from our martyrdom-seeking brothers will infiltrate the
           defenses of the enemy at Marez base in Mosul. He will slip through a hole in the camp’s
           wire exploiting the changing of the guard. We have been observing their schedule for
           a long time. The lion will proceed to his target, and he will take advantage of lunchtime
           when the dining hall is crowded with crusaders and their Iraqi allies. The operation
           will then be carried out.1073

The AR 15-6 Report also describes the U.S. military’s actions to confirm the authenticity of the video:

           1-24 Infantry Battalion (Stryker) conducted an intelligence assessment of the video.
           Based on the terrain in the video and time delay in the sound of the explosion in the
           video, analysists determined the buildings in Mosul from which the Ansar Al-Sunnah
           video was likely made. On 27 December, they conducted a raid of the location and
           detained sixteen individuals and located a camera. As of the date of this report, they
           continue to exploit the detainees and evidence seized in the raid. 1074

The author of the AR 15-6 investigation describes AAS’s claim of responsibility and method of access
as “plausible.”1075

As noted previously, the U.S. State Department’s 2004 Country Reports on Terrorism also describes AAS
as responsible for this attack on FOB Marez’s dining facilities. Country Reports on Terrorism is an
authoritative U.S. government document that undergoes the highest level of scrutiny in its factual
claims prior to publication, and thus represents the State Department’s official conclusion about
responsibility for various terrorist attacks. The report states, “AI [i.e., Ansar al-Sunna, which was also
at times known as Ansar al-Islam] has also claimed responsibility for many high profile attacks,
including ... the bombing of the US military dining facility in Mosul on December 21, 2004.” 1076

Iranian Support. Iran provided support to AAS, and Iran’s support had a causal connection to the AAS
attack that killed SSG Poulin, SSG Julian Melo, and PVT Ayro. Iranian support for AAS is detailed
extensively in my Expert Report & Declaration on Sunni Militant Organizations.1077 In addition to the
information in that report, Iran provided support to AAS before, during, and after this attack in
multiple ways.

          In 2003, the IRGC provided support for AAS operations in northern Iraq and safe haven for
           AAS leaders and operatives during Operation Viking Hammer.1078 Iranian support continued
           throughout the conflict in Iraq. Iran arranged a quid pro quo with AAS in 2008 in which AAS
           fought alongside members of the IRGC against the Kurdistan Free Life Party in exchange for


1073  PEX 177, pp. 7-8.
1074  Ibid., p. 8.
1075 Ibid.
1076 U.S. Department of State, “Country Reports on Terrorism, 2004,” (2005), pp. 94, 95, https://2009-

2017.state.gov/documents/organization/45323.pdf.
1077 See Expert Report & Declaration on Sunni Militant Organizations, pp. 67-68, 72-76.
1078 Geoffrey Gresh, “Instigating Instability: Iran’s Support of Non-State Armed Groups in Iraq,” The Fletcher School Online

Journal      for   issues related  to    Southwest      Asia   and   Islamic  Civilization, (Spring     2006),      p.    8.
https://ciaotest.cc.columbia.edu/olj/aln/aln_spring06/aln_spring06b.pdf.


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           continued safe haven in Iran, which significantly enhanced AAS’s ability to conduct operations
           in Iraq.1079
          Iran provided training, funding, and organizational support to AAS, critical to AAS’s ability to
           maintain operations in Iraq. In 2004, British intelligence reports assesses that “‘Some elements
           of [Ansar al-Islam] remain in Iran. Intelligence indicates that elements’ of Iran’s Islamic
           Revolutionary Guard Corps ‘are providing safe haven and basic training to Iran-based AI
           [Ansar al-Islam] cadres.’”1080 Details of this training, relayed by Kimberly Kagan, include a
           “report by the Iraq Survey Group noted that a source had reported ‘approximately 320 Ansar
           al-Islam terrorists being trained in Iran…for various attack scenarios including suicide
           bombings, assassinations, and general subversion against U.S. forces in Iraq.’” 1081 U.S.
           intelligence reporting details that “an Iranian was aiding Ansar al-Islam ‘on how to build and
           set up’ improvised explosive devices, known as IEDs.” 1082 In 2006, Iran reportedly facilitated
           the recruitment of Iranian Kurds as AAS fighters by offering them monthly salaries of $1,500
           in return for submitting to ideological and military training.1083
          In December 2006, further evidence of Iranian support for AAS emerged when two Quds
           Force operatives were arrested in Baghdad. According to U.S. defense officials, the operatives
           possessed “weapons lists, documents pertaining to shipments of weapons into Iraq,
           organizational charts, telephone records and maps, among other sensitive intelligence
           information.” The operatives also reportedly “had information about importing modern,
           specially shaped explosive charges into Iraq, weapons that have been used in roadside bombs
           to target U.S. military armored vehicles.”1084 According to a U.S. intelligence official, the
           information gleaned from the operatives showed “how the Quds Force [was] working with
           individuals affiliated with Al Qaeda in Iraq and Ansar al-Sunna.”1085

Summary
In summary, I conclude that it is very likely that AAS carried out the December 21, 2004 suicide attack
at FOB Marez, Nineveh Province that killed Maine U.S. Army National Guard SSG Lynn Poulin, SSG
Julian Melo, and PVT Lionel Ayro. My conclusion is based on the following:

          AAS possessed area of operations dominance in Mosul and Nineveh Province during the
           period when this attack occurred and was motivated to conduct the attack.
          The attack exhibited TTPs commonly associated with AAS.
          AAS issued a claim of responsibility for this attack that I assess to be authentic and credible.
          U.S. Government reporting of this attack suggests AAS is responsible for the attack.


1079     Scheherezade       Faramarzi,    “Iran’s   Salafi   Jihadis,”     Atlantic     Council,        May     17,  2018,
https://www.atlanticcouncil.org/blogs/iransource/iran-s-salafi-jihadis; “Iran Reportedly Backed by Ansar Al-Islam
against PJAK Rebels,” BBC Monitoring Middle East, April 11, 2008.
1080 Kimberly Kagan, May 2006 – August 20, 2007 Iran’s Proxy War against the United States and the Iraqi Government,

(Washington, DC: Institute for the Study of War, August 29, 2007), p. 7,
https://www.understandingwar.org/sites/default/files/reports/IraqReport06.pdf.
1081 Ibid.
1082 Ibid.
1083 “Iran Allegedly Using Ansar Al-Islam, Al-Qa’idah to Interfere in Iraqi Kurdistan,” BBC Monitoring Middle East, April

28, 2007; “Report Views Relationship between Iran, Iraqi Kurds,” BBC Monitoring Middle East, April 27, 2007; “Iraqi
Kurdish Article: Border Attack Shows Iran Cannot Be Trusted,” BBC Monitoring Middle East, July 18, 2007.
1084 Eli Lake, “Iran’s Secret Plan for Mayhem,” The New York Sun, January 3, 2007.
1085 Ibid.


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Finally, I conclude that Iran’s material support substantially contributed to AAS’s commission of this
attack.

Attack #2 – April 28, 2005 IED Attack in Tal Afar, Nineveh Province that Killed U.S. Army
First Lieutenant William Anthony Edens and U.S. Army Specialist Ricky William Rockholt
Geography: Tal Afar, Nineveh Province
Attack Type: IED or VBIED Attack
Direct Victim(s): 1LT William Edens and SPC Ricky Rockholt

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

        PEX 182, Department of the Army, “Report of Casualty – Ricky Rockholt,” (April 28,
         2005).
        PEX 183, Department of the Army, USCENTCOM FOIA 22-0201, “Initial Report of
         Casualty – Ricky Rockholt,” (April 28, 2005).
        PEX 184, Department of the Army, “Report of Casualty – William Edens,” (April 28, 2005).
        PEX 185, Department of the Army, “Certificate of Death (OVERSEAS) – William Edens,”
         (April 28, 2005).
        PEX 186, Office of the Armed Forces Medical Examiner, “Final Autopsy Report – William
         Edens,” (May 13, 2005).
        PEX 187, USCENTCOM, USCENTCOM FOIA 22-0106, Ops Report, “IED ATTK on 1-
         5IN and 2/3 ACR IVO TAL’AFAR: 4 CF KIA, 2CF WIA, 1 CF INJ [REDACTED],” (April
         28, 2005).

Attack Description
On April 28, 2005, U.S. Army First Lieutenant (1LT) William Edens of Company A, 1st Battalion, 5th
Infantry Regiment (1-5IN) and Specialist (SPC) Ricky Rockholt of the 2nd Squadron of the 3rd Armor
Cavalry Regiment (3-ACR) were participating in a joint operation in southeast Tal Afar, Nineveh
Province.1086 At 1634 hours, 3-ACR and 1-5IN were patrolling as part of a convoy near the outskirts
of Tal Afar when 1LT Edens’s Stryker vehicle struck a improvised explosive device (IED) that had
been placed in the road, causing the IED to detonate.1087 1LT Edens and SPC Rockholt were both
killed as a direct result of the blast.1088 The blast also killed one other service member and wounded
three others.1089 The wounded were medically evacuated to an aid station in Tal Afar. 1090



1086 PEX 183, Department of the Army, USCENTCOM FOIA 22-0201, “Initial Report of Casualty – Ricky Rockholt,”

(April 28, 2005), pp. 2-3; PEX 182, Department of the Army, “Report of Casualty – Ricky Rockholt,” (April 28, 2005), p.
2.
1087 PEX 187, USCENTCOM, USCENTCOM FOIA 22-0106, Ops Report, “IED ATTK on 1-5IN and 2/3 ACR IVO

TAL’AFAR: 4 CF KIA, 2CF WIA, 1 CF INJ [REDACTED],” (April 28, 2005), pp. 2, 7.
1088 Ibid., p. 2.
1089 Ibid.; PEX 186, Office of the Armed Forces Medical Examiner, “Final Autopsy Report – William Edens,” (May 13,

2005), p. 4; PEX 183, p. 2.
1090 PEX 183, p. 3.




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Although the Operations (Ops) Report and the Report of Casualty for both 1LT Edens and SPC
Rockholt state the IED detonated when one of 1-5IN's vehicles drove over its location, 1091 T

                                                     However, as I demonstrate below in the
Tactics, Techniques and Procedures (TTP) section, this discrepancy is not dispositive to my
determination of responsibility for this attack.

Attack Attribution
I conclude that the Zarqawi organization (as al-Qaeda in Iraq) very likely committed this IED attack.
This conclusion is based on the following data points: 1) the geographic location and time period of
the attack; 2) the tactics, techniques, and procedures (TTPs) used in carrying out this attack; and 3)
AQI’s claim of responsibility for this attack.

The Zarqawi organization has undergone several name changes since its inception in 1993. In October
2004, the Zarqawi organization changed its name from Jamaat al-Tawhid wal-Jihad (JTJ) to al-Qaeda
in Iraq (AQI) after pledging allegiance to al-Qaeda. As this attack occurred after the name change, this
attribution will refer to the group as AQI. However, some sources cited in this attribution refer to
AQI by its former name, JTJ.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to AQI’s responsibility. This attack took place in Tal Afar, Nineveh Province on April 28, 2005. The
below map provides the approximate location of the attack.




                      Figure 33: Approximate location of the attack in Tal Afar, Nineveh Province.

1091 PEX 187, pp. 2, 7; PEX 183, p. 2, 3.
1092 PEX 186, p. 2.




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In 2005, control of Tal Afar was roughly split between AQI, which dominated the eastern half of the
city – where this attack occurred – and Shia militias, which held sway in its western section. 1093 In
eastern Tal Afar, AQI’s control was so extensive that it possessed “large training facilities, significant
amounts of equipment, and good satellite uplinks.”1094

AQI’s predominance in eastern Tal Afar was partly a consequence of fighting in Fallujah during late
2004 that resulted in insurgent fighters seeking refuge elsewhere. The U.S. Army’s official history of
the operations in Tal Afar discusses the tactical situation that the 3d Armored Cavalry Regiment faced
upon entering the city:

          Tel Afar ... in May 2005 was one of the most violent [cities] in Iraq, with 170 attacks
          per month driven by 500-1,000 foreign and Iraqi insurgents mainly from AQI, Ansar
          al-Islam, and other groups that had fled the coalition onslaught in Fallujah in
          November 2004. These fighters had terrorized the city’s population for months with
          suicide bombs and car bombs against civilians.1095

Because AQI was a key driver of the violence in Tal Afar, Coalition forces focused on gaining control
of the eastern part of the city. In an Institute for National Strategic Studies (INSS) report, researchers
Christopher Lamb and Evan Munsing describe the Coalition’s Tal Afar stabilization campaign that
was carried out in the Summer of 2005:

          The main focus of the assault was an al Qaeda safe haven in the eastern part of the
          city.... As the al Qaeda operatives tried to escape into the western part of the city,
          coalition forces removed all residents in the area, wrapped three lines of concertina
          wire around the al Qaeda stronghold, and jammed their communications. This forced
          them to meet in groups in the narrow alleyways of the city, where they could be easily
          targeted by Apache helicopters. American and Iraqi soldiers then assaulted and
          reclaimed the district. In each house, they left a letter written in Arabic explaining the
          need for the assault and provided compensation for damage. During the operation,
          between 200 and 300 insurgents were killed and over 500 captured. 1096

Ruling Out Other Insurgent Groups. Around the time of this attack, Tal Afar also served as a hub for other
militant groups, including the Iranian-supported Ansar al-Sunna (AAS) and “Iranian-controlled Shia
militias.”1097 However, these groups were primarily located in the western half of Tal Afar, away from


1093 Christopher J. Lamb & Evan Munsing, Strategic Perspectives 4 - Secret Weapon, High-value Target Teams as an Organizational

Innovation, (Washington, DC: National Defense University Press, Institute for National Strategic Studies, March 2011), pp.
33-34, https://inss.ndu.edu/Portals/68/Documents/stratperspective/inss/Strategic-Perspectives-4.pdf.
1094 Ibid.
1095 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006       (Carlisle    Barracks,    PA:      US       Army     War       College,    January      17,     2019),      p.      488,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.
1096 Lamb & Munsing, Strategic Perspectives 4 - Secret Weapon, High-value Target Teams as an Organizational Innovation, p. 34.
1097 Ibid., pp. 33, 34; Joel D. Rayburn et al., “Innovation in the Face of War, Summer-Fall 2005.” in The U.S. Army in the

Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-2006, (Carlisle Barracks, PA: US Army War College, January 17,
2019), p. 4, http://www.jstor.org/stable/resrep20105.23.


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where this attack took place.1098 Meanwhile, as noted, reports of Coalition operations in the eastern
half of Tal Afar only refer to AQI as a target, leading me to assess that other groups did not have a
significant presence there, which they would have needed to conduct this attack. 1099

The possibility that AAS conducted this attack does not absolve Iran because AAS also received
support from the Iranian regime. Iranian support for AAS is detailed extensively in my Expert Report
& Declaration on Sunni Militant Organizations.1100 In addition to the information in that report, Iran
provided support to AAS before, during, and after this attack in multiple ways. In 2003, the IRGC
provided support for AAS operations in northern Iraq and safe haven for AAS leaders and operatives
during a major Coalition campaign, Operation Viking Hammer.1101 In December 2006, further
evidence of Iranian support for AAS emerged when two Quds Force operatives were arrested in
Baghdad. According to U.S. defense officials, the operatives possessed “weapons lists, documents
pertaining to shipments of weapons into Iraq, organizational charts, telephone records and maps,
among other sensitive intelligence information.” The operatives also reportedly “had information
about importing modern, specially shaped explosive charges into Iraq, weapons that have been used
in roadside bombs to target U.S. military armored vehicles.” 1102

The potential involvement of a Shia militia group in carrying out this attack also does not necessarily
exonerate Iran, as many of these groups have also received support from the Iranian regime—and
certainly the most powerful (and hence most likely to be involved in this attack) received substantial
Iranian material support. A report published by National Defense University’s Institute for National
Strategic Studies notes that the Shia militias operating in Tal Afar at this time were “Iranian-
controlled.”1103 Iranian support for Shia militant groups in general is detailed extensively in Appendix
1: The Presence and Role of Shia Militant Groups. However, due to the strong presence of AQI in
the eastern half of Tal Afar, were this attack occurred, it is not likely that a Shia militia group is
responsible for the attack.

Tactics, Techniques, and Procedures (TTPs). Another indicator that AQI was responsible for this attack is
the is the TTPs used to carry it out. 1LT Edens and SPC Rockholt were killed by the blast from an
explosive device, which, according to U.S. Government reports, either was initiated by a VBIED or
an IED embedded in a road.1104 This discrepancy does not impact my conclusion that AQI conducted
this attack because at the time it was carried out AQI commonly used both VBIEDs and IEDs.

AQI’s routine use of IEDs around the time of the attack is highlighted by the group’s activities in
Nineveh’s neighboring province, Al Anbar, where Coalition forces discovered several AQI IED
factories throughout 2005. According to the U.S. Army’s official history of the Iraq War, “Raid after

1098 Lamb & Munsing, Strategic Perspectives 4 - Secret Weapon, High-value Target Teams as an Organizational Innovation, pp. 33, 34.
1099 Ibid., p. 34.
1100   See Expert Report & Declaration on Sunni Militant Organizations, pp. 67-68, 72-76.
1101 Geoffrey Gresh, “Instigating Instability: Iran’s Support of Non-State Armed Groups in Iraq,” The Fletcher School Online

Journal     for   issues related     to   Southwest  Asia   and     Islamic   Civilization, (Spring 2006),  p.    8.
https://ciaotest.cc.columbia.edu/olj/aln/aln_spring06/aln_spring06b.pdf.
1102 Eli Lake, “Iran’s Secret Plan for Mayhem,” The New York Sun, January 3, 2007.
1103 Christopher J. Lamb and Evan Munsing, “Strategic Perspectives 4 - Secret Weapon, High-value Target Teams as an

Organizational Innovation,” Institute for National Strategic Studies, March 2011, pp. 33-34,
https://inss.ndu.edu/Portals/68/Documents/stratperspective/inss/Strategic-Perspectives-4.pdf.
1104 PEX 187, pp. 2, 7.




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raid [in Al Anbar] eliminated IED factories and killed or captured al-Qaeda in Iraq senior leaders.” 1105
In November 2005, Coalition forces seized large AQI caches of IEDs and IED materials in Ramadi,
demonstrating AQI’s continued reliance on IEDs after the date of this attack. 1106

AQI also employed IEDs throughout Nineveh Province, including in Tal Afar. The U.S. Army’s
reporting on the 3rd Armored Cavalry Regiment’s anti-AQI mission in Tal Afar states the group was
carrying out attacks with “various types of improvised explosive devices (IEDs), including triple-
stacked and shaped charges.”1107 In June 2005, AQI also claimed responsibility for two IED attacks in
Nineveh’s provincial capital, Mosul.1108

AQI also used VBIEDs in Tal Afar. The aforementioned U.S. Army history of operations in Tal Afar
states that by May 2005, AQI was among the insurgent groups “terroriz[ing] [Tal Afar’s] population
for months with suicide bombs and car bombs [i.e. VBIEDs]...” 1109

Claim of Responsibility. On April 28, 2005, AQI claimed responsibility for the attack that killed 1LT
Edens and SPC Rockholt:

         Your brothers in al-Qaeda Organization in the Land of Two Rivers [i.e. al-Qaeda in
         Iraq] in Talafar accomplished the following operations:

         1. Praise be the Lord, an armored car was destroyed with an explosive device. Praise
         and thanks unto Allah.1110

AQI dominated the eastern half of Tal Afar when this attack occurred and frequently carried out IED
and VBIED attacks in this area. The claim describes an armored vehicle, such as the Stryker vehicle
that 1LT Edens was riding in. Overall, the attack date, the location of the attack, and the description
of the attack in AQI’s claim of responsibility align with information in U.S. Government materials
about the attack that killed 1LT Eden and SPC Rockholt – demonstrating the claim’s credibility.
Furthermore, multiple press organizations reported on two AQI voice recordings released the day
following the attack, claiming April 28 attacks across Iraq and urging additional violence. 1111 One of



1105 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War,

2003-2006, (Carlisle Barracks, PA: US Army War College, January 17, 2019), pp. 498, 499,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.
1106      “Ramadi     offensive       nets      suspected   insurgents,”      CNN,         November        27,      2005,
https://edition.cnn.com/2005/WORLD/meast/11/27/iraq.main/.
1107 Jay B. Baker, “Tal Afar 2005: Laying the Counter Insurgency Groundwork,” Army 59:6 (June 1, 2009), p. 3,

https://www.ausa.org/sites/default/files/Baker_0609.pdf.
1108      “Mosul      Bomb         Attacks        Killed  Dozens,”        Al      Jazeera,      June       26,      2005,
https://www.aljazeera.com/news/2005/6/26/mosul-bomb-attacks-kill-dozens.
1109 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006,      (Carlisle  Barracks,     PA:     US       Army  War      College,    January     17,     2019),     p.    488,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.
1110 “Al-Qaeda in Iraq Claims Responsibility for Attacks in Tikrit, Diyala, and Talafar Targetting American and Iraqi

Forces,” SITE Intelligence, April 28, 2005, p. 3.
1111 Richard Oppel & Robert Worth, “Wave of Attacks in Iraq Kill 40 and Wound 100,” New York Times, April 30, 2005,

https://www.nytimes.com/2005/04/30/world/middleeast/wave-of-attacks-in-iraq-kill-40-and-wound-100.html.


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the recordings specifically encourages attacks on convoys, like the one 1LT Edens and SPC Rockholt
were traveling in: “Do not leave a single convoy on course or a checkpoint for them to stand at.” 1112

Iranian Support. Iran provided support to AQI and Iran’s support had a reasonable connection to the
AQI attack that killed 1LT Edens and SPC Rockholt. Iranian support for AQI is detailed extensively
in my Expert Report & Declaration on Sunni Militant Organizations.1113 The following information further
demonstrates the significance of Iran’s support to AQI at the time and in the place of this specific
attack:

        Iran provided support to AQI before, during, and after this attack in multiple ways. In
         December 2006 evidence of Iranian support for AQI emerged when two Quds Force
         operatives were arrested in Baghdad. According to U.S. defense officials, the operatives
         possessed “weapons lists, documents pertaining to shipments of weapons into Iraq,
         organizational charts, telephone records and maps, among other sensitive intelligence
         information.”1114
        In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
         Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment
         of improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations
         with Iran and al-Qaeda, identifies his work in distributing designs for remote detonation
         devices used by terrorist organizations in Iraq, and connects him to multiple IED networks
         across northern Iraq, where AQI primarily operated.1115 Given his affiliations with Iran and al-
         Qaeda, and the nature of his activities in Iraq, it is very likely that Ghazala played a role in
         facilitating IED attacks for AQI.
        This Court has also previously validated the causal connection between Iran’s provision of
         money and weapons to AQI and the terrorist group’s ability to execute attacks. Indeed, this
         Court has held that Iran’s provision of material support and resources to AQI (including
         training, money, small arms, RPGs, IEDs, IEDs with mortar components, specially shaped
         explosive charges, and grenades) was sufficient to hold Iran liable for attacks carried out by
         AQI.1116
        Iran’s provision of weapons to AQI was one of the most substantial types of support that Iran
         provided—significant enough to be a causal factor in the U.S. Department of the Treasury’s
         designation of Iran’s Ministry of Intelligence and Security (MOIS). In February 2012, the
         Treasury Department designated the MOIS for human rights abuses and support for



1112 Hannah Allam & Gaiutra Bahadur, “12 Bombings Kill 43 in Iraq; Sunnis, Government at Odds,” Pittsburgh Post-

Gazette (Pennsylvania), April 30, 2005, https://advance.lexis.com/api/permalink/448cf424-9691-4b19-8673-
eaf1a2fa6280/?context=1519360.
1113 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
1114 Eli Lake, “Iran’s Secret Plan for Mayhem,” The New York Sun, January 3, 2007.
1115 U.S. Department of State, Office of the Spokesperson, press release, “Terrorist Designation of HAMAS Operative

Muhammad Hisham Muhammad Isma’il Abu Ghazala,” (September 22, 2011), https://2009-
2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.
1116 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *1-*2 (D.D.C., Dec. 28, 2022); Roth

v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023); Memorandum Opinion and Order,
Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of Iran,
No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 20-21, 40.


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         terrorism, stating that MOIS “provided money and weapons to al Qa’ida in Iraq (AQI).” 1117
         Indeed, this Court previously found that Iran materially supported AQI in carrying out IED
         attacks throughout Iraq from June 2004 and May 2007. 1118
Summary
In summary, I conclude that it is very likely that AQI carried out the April 28, 2005 IED or VBIED
attack in Tal Afar, Nineveh Province, that killed U.S. Army 1LT William Edens and SPC Ricky
Rockholt. My conclusion is based on the following:

    ● AQI possessed area of operations dominance in the province during the period when this
      attack occurred and was motivated to conduct the attack.
    ● The attack exhibited TTPs commonly associated with AQI.
    ● AQI claimed responsibility for this attack.

I further conclude that Iran’s material support substantially contributed to AQI’s commission of this
attack.

Attack #16 – January 28, 2008 Complex Attack in Mosul, Nineveh Province that Killed U.S.
Army Sergeant James Craig, Corporal Evan Marshall, and Private Second Class Joshua
Young
Geography: Mosul, Nineveh Province
Attack Type: Complex Attack
Direct Victim(s): SGT James Craig, CPL Evan Marshall, PV2 Joshua Young

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

    ● PEX 188, Department of the Army, USCENTCOM FOIA 17-0444, “Initial Casualty Report
      – James Craig,” (January 28, 2008).
    ● PEX 189, Department of the Army, USCENTCOM FOIA 22-0166, “Initial Casualty Report
      – Evan Marshall,” (n.d.).
    ● PEX 190, Department of the Army, USCENTCOM FOIA 22-0245, “Initial Casualty Report
      – Joshua Young,” (n.d.).
    ● PEX 191, Department of the Army, “Certificate of Death – Joshua Young” (n.d.)
    ● PEX 192, Department of the Army, “Certificate of Death – Evan Marshall,” (February 8,
      2008).
    ● PEX 193, Department of the Army, “Report of Casualty, Evan Marshall,” (February 28, 2008).
    ● PEX 194, Office of the Armed Forces Medical Examiner, “Autopsy Report – Evan Marshall,”
      (February 21, 2008).
    ● PEX 195, Department of the Army, USARCENT FOIA FA-22-067, “AR 15-6 – Evan
      Marshall,” (February 14, 2008).
    ● PEX 196, Department of the Army, USARCENT FOIA FA-22-067, “AR 15-6 – Craig
      James,” (February 14, 2008).

1117 U.S. Department of the Treasury, “Treasury Designates Iranian Ministry of Intelligence and Security for Human Rights

Abuses and Support for Terrorism,” (February 16, 2012), https://home.treasury.gov/news/press-releases/tg1424.
1118 See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023).


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    ● PEX 197, Department of the Army, USARCENT FOIA FA-22-067, “AR 15-6 – Joshua
      Young,” (February 14, 2008).
    ● PEX 198, Department of the Army, “AR 15-6 Findings and Recommendations Concerning
      the Hostile Fire Deaths on 28 January 2008; B Company, 1-8 Infantry,” (February 14, 2008).
    ● PEX 199, 18th Ordnance Company (Explosive Ordnance Disposal), USCENTCOM FOIA
      17-0403, “SIGACT Report - 28 Jan 2008,” (January 28, 2008).

Attack Description
On January 28, 2008, U.S. Army Sergeant (SGT) James Craig, Corporal (CPL) Evan Marshall, and
Private Second Class (PV2) Joshua Young were serving with the 2nd Platoon, B Company, 1st
Battalion, 8th Infantry Regiment in Mosul, Nineveh Province. 1119 Around midday, SGT Craig, CPL
Marshall, and PV2 Young were taking part in a five-vehicle convoy that was conducting a Time
Sensitive Targeting (TST) mission that was searching for “insurgents within Mosul.” 1120 Their
mission’s purpose was “to help provide a safe environment for the local population and to eliminate
the resistance in Mosul,” in support of Operation Rifles Harvest II.1121 SGT Craig, CPL Marshall, and
PV2 Young were in the first vehicle in the convoy.1122

The platoon’s search for “targets” (e.g., enemy forces) occurred in the Al Sinaa, Domiz Somer, and
Yarimjah neighborhoods of Mosul. 1123 At 1239 military time, while patrolling through Yarimjah, an
IED “detonated directly under the … crew compartment” of the M114 High Mobility Multipurpose
Wheeled Vehicle (HMMWV) carrying SGT Craig, CPL Marshall, and PV2 Young. 1124 The blast split
the M114 into two pieces and killed its five occupants, including SGT Craig, CPL Marshall, and PV2
Young.1125

The remaining vehicles in the patrol came under fire immediately after the IED detonated. 1126 They
moved to set up a defensive perimeter in the intersection (pictured below) that SGT Craig, CPL
Marshall, and PV2 Young’s vehicle had been traveling through.1127 Enemy forces attacked the patrol
from surrounding buildings, which included homes and a mosque, employing small arms fire (SAF),
rocket-propelled grenades (RPGs), and around four mortar rounds. 1128




                                                                                            ), p. 2; PEX 188,
1119 PEX 193, Department of the Army, “Report of Casualty, Evan Marshall,” (February 28, 2008

Department of the Army, USCENTCOM FOIA 17-0444, “Initial Casualty Report – James Craig,” (January 28, 2008), p.
2; PEX 190, Department of the Army, USCENTCOM FOIA 22-0245, “Initial Casualty Report – Joshua Young,” (n.d.),
p. 2.
1120 PEX 198, Department of the Army, “AR 15-6 Findings and Recommendations Concerning the Hostile Fire Deaths

on 28 January 2008; B Company, 1-8 Infantry,” (February 14, 2008), p. 3.
1121 Ibid.
1122 Ibid., p. 4.
1123 Ibid., pp. 12, 71.
1124 Ibid., pp. 4, 71.
1125 Ibid., pp. 40, 71.
1126 Ibid., p. 4.
1127 Ibid.
1128 Ibid., pp. 4, 9.


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                                           Figure 34: Attack Schematics.1129

One servicemember in another patrol vehicle tried to assess the damage to the lead vehicle while
receiving enemy fire, and stated that he was “able to confirm from my position with the help of …
the platoon medic that the vehicle was a catastrophic kill and that there were no survivors.” 1130 He
then called for additional support from a Quick Reaction Force (QRF). 1131

Servicemembers interviewed for the AR 15-6 investigation stated that between two and four IED
blasts targeted the convoy.1132 Such contradictory reporting of events like this is not unusual, as the
“fog of war effect” often causes high-pressure incidents such as this to be remembered slightly
differently by people involved. I am going to illustrate servicemembers’ varied and slightly
contradictory reports on the IED incident, the differing recollections of which are immaterial to my
ultimate conclusion:

        One servicemember relayed that there was a second IED that targeted another component of
         their patrol, but which did no damage and resulted in no casualties. 1133
        Another servicemember claimed that there were four IEDs, three of which detonated under
         or around the patrol, and one of which was recovered by the explosive ordnance disposal
         (EOD) team undetonated.1134

1129 PEX 199, 18th Ordnance Company (Explosive Ordnance Disposal), USCENTCOM FOIA 17-0403, “SIGACT

Report - 28 Jan 2008,” (January 28, 2008), p. 20.
1130 PEX 198, p. 12.
1131 Ibid.
1132 Ibid., pp. 14, 15.
1133 Ibid.
1134 Ibid., p. 14.




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          A third servicemember said that as the firefight at the intersection was occurring, a possible
           donkey-borne IED approached their position: “I looked north [and] I observed a donkey with
           big white bags on its saddle approach us from the same area to the north where my gunner
           had engaged earlier. My gunner engaged the donkey as [there was] a possible I.E.D. on its
           saddle.”1135

At approximately 1300 military time, Kiowa helicopter-borne air support Thug Scout Weapons Team
(SWT) and Red Platoon ground troops moved to support the embattled convoy. 1136 Thug SWT
targeted insurgents with Hydra missiles and received small arms fire from the enemy. 1137 Violator
Platoon also responded as a rescue team, and was also hit by an IED, according to one of its
members.1138 (It is unclear if this IED was one of the explosives mentioned above by the other
servicemembers, or a distinct and later IED.)

Recovery assets and a QRF arrived at approximately 1400 military time. 1139 Coalition forces were able
to stabilize the situation by 1647 military time, then began moving back toward Forward Operating
Base (FOB) Marez.1140 In the meantime, additional U.S. reinforcements and Iraqi troops arrived to aid
rescue efforts and join the fight against the enemy, which lasted until approximately 1700 military
time.1141

Attack Attribution
I conclude that this attack was very likely carried out by the Zarqawi organization (as the Islamic State
of Iraq) and Ansar al-Islam (AAI) (as Ansar al-Sunna (AAS)).1142 This conclusion is based on the
following data points: 1) the geographic location and time period of the attack; 2) the tactics,
techniques, and procedures (TTPs) used in this attack; 3) U.S. Government reporting attack attributing
this attack to ISI; 4) an AAS claim of responsibility for the attack that suggests coordination with ISI
in carrying it out.

AAI has undergone several name changes since the group’s founding in 2001. Originally established
under the name Jund al-Islam, the group later adopted the name Ansar al-Islam (AAI). On September
20, 2003, the group changed its name again to Ansar al-Sunna. Given that this attack occurred after
the group’s name change in 2003, this attribution will refer to the group as Ansar al-Sunna (AAS).
However, some sources may refer to the group as Ansar al-Islam or AAI.

The Zarqawi organization has likewise undergone several name changes since the group’s inception
in 1993. On October 15, 2006, the group announced its establishment of the Islamic State of Iraq
(ISI),1143 and thus this attribution will refer to the group as ISI.


1135 Ibid., p. 21.
1136 Ibid., p. 3.
1137 Ibid., p. 39.
1138 Ibid., p. 109.
1139 Ibid., p. 4.
1140 Ibid., pp. 7, 39.
1141 Ibid., pp. 4, 39.
1142 Both ISI and AAS received significant amounts of Iranian support. Thus, my conclusion regarding Iranian culpability

would not change if the attack were carried out by one of these groups acting alone rather than by both of these groups
acting in concert with one another.
1143 Majlis Shura al-Mujahidin fi-l-Iraq, statement on the establishment of the Islamic State of Iraq, October 15, 2006.


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I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to ISI and AAS’s responsibility. This attack occurred in Mosul, Nineveh Province on January 28, 2008.
The below map provides the approximate location of the attack.




                   Figure 35: Approximate location of the attack in Mosul, Nineveh Province.

The complexity of this attack, including the use of surrounding buildings to carry out the attack and
the sustained nature of the fighting, indicates that the attackers had familiarity with and control over
the local area. Such familiarity and control indicate that the responsible group(s) possessed operational
dominance over this area.

When this attack occurred, ISI held area of operations dominance in Mosul. Nineveh Province became
an ISI stronghold by late 2006 (at least a year prior to this attack). As Michael Knights of the
Washington Institute for Near East Policy describes, ISI capitalized on Coalition movements
elsewhere in Iraq to establish control of Mosul:

         In late 2006, Mosul security suffered a new blow from the “reverse surge” dynamic,
         whereby the U.S. military sent half its Ninawa battalions to the Baghdad area, leaving
         only one in Mosul, and the Iraqi army sent two battalions south as well. During this
         period, AQI’s successor, the Islamic State of Iraq (ISI), surged in the reverse direction,
         fleeing the surge in central Iraq and Anbar and refocusing its efforts on Mosul. 1144




1144 Michael Knights, How to Secure Mosul: Lessons from 2008-2014, (Washington, DC: The Washington Institute for Near

East Policy, October 12, 2016), p. 7,
https://www.washingtoninstitute.org/media/1971?disposition=inline,.


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Nineveh Province historically served as a vital stronghold for the Sunni insurgency, facilitating transfer
of foreign fighters and acting as a significant funding source for the Zarqawi organization. 1145 The
Zarqawi organization obtained significant popular support from the Sunni population and established
control over most of the province, including Mosul, by late 2007. 1146

Credible reporting in a December 2007 New York Times article also demonstrates that ISI felt so secure
in its control of Nineveh that its senior leader Abu Ayyub al-Masri, who was Abu Musab al-Zarqawi's
successor, had moved into the city by late 2007:

          The insurgents who have ventured north include Abu Ayyub-al Masri, the leader of Al
          Qaeda in Mesopotamia, a predominantly Iraqi group that American intelligence says
          has foreign leadership. American officials say the insurgent leader has twice slipped in
          and out of Mosul in Nineveh Province to try to rally fellow militants and put an end
          to infighting.

          “We have seen some migration of Al Qaeda,” said Col. Stephen Twitty, the
          commander of the Fourth Brigade Combat Team, First Cavalry Division, which is
          returning to the United States after 13 months here. “What has driven that are the
          operations down south.”1147

A Rand Corporation report on ISI finances similarly concluded that “Al-Masri, the ISI leader, was
reportedly based in or around Mosul,” and that he had been joined by “most of the group’s other top
leaders, including Abu Qaswarah, also known as Mohamed Moumou, ISI’s third in command in 2008
and the day-to-day operational leader for the entire ISI.” 1148 Abu Qaswarah was killed in Mosul in
October 2008.1149

Additionally, an ISI leadership chart released by Multi-National Force - Iraq in March 2008 (pictured
below) demonstrates both the concentration of the group’s senior leadership in Mosul and the
sophistication of the organization’s capabilities within the city, with specific leaders designated to
oversee the implementation of particular organizational functions, including bureaucratically dividing
up responsibility for various attacks based on the TTPs employed. 1150




1145 Patrick B. Johnston et al., Foundations of the Islamic State: Management, Money, and Terror in Iraq 2005-2010, (Santa Monica,

CA: RAND Corporation, 2016), p. 53, https://apps.dtic.mil/sti/pdfs/AD1013638.pdf.
1146 Ibid.
1147 Michael R. Gordon, “Pushed Out of Baghdad, Insurgents Move North,” The New York Times, December 6, 2007,

https://www.nytimes.com/2007/12/06/world/middleeast/06mosul.html.
1148 Johnston et al., Foundations of the Islamic State: Management, Money, and Terror in Iraq 2005-2010, pp. 54, 55.
1149 Ernesto Londoño, “No. 2 Leader of Al-Qaeda in Iraq Killed,” The Washington Post, (October 16, 2008),

https://www.washingtonpost.com/wp-dyn/content/article/2008/10/15/AR2008101500682.html.
1150 Eric Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, (Washington, DC: Institute for the Study of

War, 2008), p. 17, https://www.understandingwar.org/sites/default/files/reports/Iraq%20Report%208.pdf.

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During the summer and fall of 2007, Coalition forces concentrated their efforts on detaining ISI
leadership in Mosul and throughout Nineveh Province.1151 Despite these Coalition efforts, ISI fighters
continued to stream northward into Mosul, escaping the fiercer fighting with Coalition forces that was
occurring further south and buttressing the group’s presence in the provincial capital of Nineveh. 1152
This northward movement ensured that even in December 2007 and January 2008 – weeks before
this attack – Coalition forces were still detaining large numbers of ISI leaders and operatives in
Mosul.1153

ISI’s presence in Mosul around this time prompted largescale Coalition operations to degrade the
group’s hold on the city. January 8, 2008 marked the beginning of Operation Phantom Phoenix, a
“joint offensive designed to corral remaining al-Qaida-aligned terrorists and other insurgents in Iraq,”
per an article from the Office of the Secretary of Defense Public Affairs published by the Department
of Defense’s Defense Visual Information Distribution Service. 1154 An article by Bill Roggio published
in the Long War Journal on January 17, 2008 describes a press briefing delivered by Lieutenant General
Ray Odierno, the Commander of Multinational Corps – Iraq:

             Operation Phantom Phoenix, the current nationwide operation targeting al Qaeda’s
             remaining safe havens, was launched on Jan. 8. Iraqi and US forces have captured or
             killed 121 al Qaeda fighters, wounded 14, and detained an additional 1023 suspects. Al
             Qaeda’s leadership has been hit hard during the operation, with 92 high value targets
             either killed or captured.



1151 Ibid., pp. 10, 12.
1152 Ibid.
1153 Ibid., pp. 13, 14.
1154 Office of the Secretary of Defense Public Affairs, “'Phantom Phoenix' Operation Targets al-Qaida in Iraq,” DVIDS

Hub, January 8, 2008, https://www.dvidshub.net/news/15283/phantom-phoenix-operation-targets-al-qaida-iraq.


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          Iraqi and US forces have also discovered 351 weapons caches and four tunnel
          complexes, Odierno said. Iraqi and US forces have also discovered three car bomb
          and improvised explosive device [IED] factories and 410 IEDs, including 18 car
          bombs and 25 homes rigged with explosives. Also found were “numerous torture
          chambers, an underground medical clinic, several closed schools, and a large foreign
          fighter camp with intricate tunnel complexes,” said Odierno. 1155

A 2017 U.S. Army Center of Military History monograph notes that Operation Phantom Phoenix
included U.S. military actions “to clear and retain the city of Mosul,” an initiative largely prompted by
ISI’s heavy presence in the city.1156 This motivation for the operation was confirmed by
contemporaneous statements from U.S. military commanders that reflected both the extent of ISI’s
control in Mosul and the commanders assessed that the group’s presence necessitated intense
Coalition efforts to eject it. In a report from January 28, 2008, Reuters, reporting on the major security
threat arising in northern Iraq from ISI regrouping in Nineveh Province, quoted the U.S. military’s
description of Mosul as ISI’s “last major urban stronghold.”1157

AAS Presence in Mosul. The dominant presence of ISI in Mosul at this time does not preclude AAS’s
participation in, and joint responsibility for, this attack. Scholarly sources indicate AAS’s presence in
Mosul alongside ISI’s operational dominance. I will discuss first the relationship between ISI and AAS,
and then the reports of AAS’s presence in Mosul. In this way, I establish that AAS was present in
Mosul and that the nature of that presence included collaboration with ISI.

The United Nations Security Council has articulated the early cooperation between al-Qaeda and AAS,
concluding that AAS “came into being with the blessing of bin Laden after its leaders visited al-Qaeda
in Afghanistan in 2000 and 2001.”1158 In 2001, AAS harbored as many as 150 foreign jihadists,
including members of Jamaat al-Tawhid wa’l Jihad (which eventually renamed itself ISI) and its leader
Abu Musab al-Zarqawi.1159 The U.S. State Department’s March 2004 press statement designating AAS
as a Foreign Terrorist Organization noted the closeness of the relationship between al-Qaeda and
AAS:

          Ansar al-Islam, which operates in Iraq, has close links to and support from al-Qaida.
          Al-Qaida and Usama bin Laden participated in the formation and funding of the




1155  Bill Roggio, “Al Qaeda in Iraq’s Shrinking Area of Operations,” Long War Journal, January 17, 2008,
https://www.longwarjournal.org/archives/2008/01/al_qaeda_in_iraqs_sh.php.
1156 Nicholas J. Schlosser, The U.S. Army Campaigns in Iraq: The Surge 2007-2008 (Washington D.C., United States Army

Center of Military History, 2017), p. 77 https://history.army.mil/html/books/078/78-1/cmhPub_078-1.pdf#page=77.
1157 Paul Tait & Wisam Mohammed, “Five US Soldiers Killed in North Iraq - Military,” Reuters, January 28, 2008,

https://www.reuters.com/article/idUSL28208439.
1158          United          Nations           Security        Council,        “Ansar        al-Islam,”          n.d.,
https://www.un.org/securitycouncil/sanctions/1267/aq_sanctions_list/summaries/entity/ansar-al-islam.
1159   C.J. Chivers, “Kurds Face a Second Enemy,” The New York Times, January 13, 2003,
https://www.nytimes.com/2003/01/13/world/threats-responses-northern-iraq-kurds-face-second-enemy-islamic-
fighters-iraq.html; Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency
– Civil War, 2003-2006, (Carlisle Barracks, PA: US Army War College, January 17, 2019), p. 89,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.


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          group, which has provided safe haven to al-Qaida in northeastern Iraq. Ansar al-Islam
          trained in al-Qaida camps in Afghanistan.1160

The February 2006 bombing of the Shia al-Askari Mosque, which ignited a wave of sectarian violence,
was conducted by AAS elements who had joined ISI.1161 Declassified intelligence from Multi-National
Corps – Iraq from December 2007 describes al-Qaeda emir Ayman al-Zawahiri telling a “jihadist
website” that he had called on AAS to “unify with ISI” just prior to this attack. 1162

As early as 2003, Mosul proved attractive to AAS fighters and the group maintained a strong presence
in the city until 2008.1163 Citing American intelligence reports, Michael Rubin, a regional expert and
scholar at the American Enterprise Institute, noted that “by August [2003], hundreds of Ansar [al-
Sunna] terrorists had reentered” Iraq from neighboring Iran, and that a “large number of the returning
jihadists chose to settle in Mosul.”1164 The city was an ideal hub for insurgent operations, with a large
population and narrow alleys.1165

Government reporting also documented AAS presence in Mosul. In May 2007, Multi-National Corps
– Iraq intelligence slides (now declassified) demonstrated both AAS presence in Mosul and its
cooperation with ISI in the city. One slide titled “AAS/AQI Conduct Complex Attacks IVO [in the
vicinity of] Mosul” notes multiple complex attacks carried out in Mosul and includes the assessment
that “known TTPs, methodology suggests Ansar al Sunna with support of AQI.” 1166

Scholarly analyses have seconded this governmental assessment, elaborating on the nature of the AAS-
ISI relationship in Mosul. Eric Hamilton, a researcher for the Institute for the Study of War, noted in
January 2008 that “there is some evidence that AQI and Ansar al Sunna have formed a working
relationship in Mosul,” despite AQI clashing with other “elements of the insurgency ... particularly ...
the nationalist groups.”1167 Hamilton analyzed the attack that killed SGT Craig, CPL Marshall, and
PV2 Young, concluding that it was a product of the working relationship between AAS and ISI. He
states that “on January 28th, a complex attack coordinating an IED attack and small arms fire
conducted by AQI and Ansar al-Sunna insurgents killed five U.S. soldiers in the Sumer neighborhood
in the southeastern part of the city.”1168 None of this description of the ISI-AAS relationship is meant
to deny that points of tension and conflict existed in the relationship; rather, the sole point is that they
had a history of cooperation, and did cooperate in carrying out operations in Mosul at the time that
this attack occurred.

1160  U.S. Department of State, press release, “Foreign Terrorist Organizations: Designation of Ansar al-Islam (Al),
Redesignation of Three Others,” (March 22, 2004), https://2001-2009.state.gov/r/pa/prs/ps/2004/30649.htm.
1161 Edward Wong, “Iraqi Led Bombing of Shiite Shrine, Official Says,” New York Times, June 28, 2006,

https://www.nytimes.com/2006/06/28/world/middleeast/28cnd-iraq.html.
1162 USCENTCOM, MNC-I BUA Intel Daily Slides, December 2007, p. 21, https://ahec.armywarcollege.edu/CENTCOM-

IRAQ-papers/0305.%20MNC-I%20BUA%20Intel%20Daily%20Slides%20-%20Dec%2007.pdf.
1163 Michael Rubin, “Ansar al-Sunnah,” American Enterprise Institute, May 1, 2004, https://www.aei.org/articles/ansar-

al-sunna/.
1164 Ibid.
1165 Ibid.
1166 USCENTCOM, MNC-I BUA Intel Daily Slides, May 2007, p. 36, https://ahec.armywarcollege.edu/CENTCOM-

IRAQ-papers/0355.%20MNC-I%20BUA%20Intel%20Daily%20Slides%20-%20May%2007.pdf
1167 Eric Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, (Washington, DC: Institute for the Study of

War, 2008), p. 18, https://www.understandingwar.org/sites/default/files/reports/Iraq%20Report%208.pdf.
1168 Ibid., p. 15.




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Tactics, Techniques, and Procedures (TTPs). Another indicator that ISI and AAS were responsible for the
attack is the TTPs used to carry it out. SGT Craig, CPL Marshall, and PV2 Young were killed in a
complex attack that involved multiple IEDs, RPGs, and small arms fire (SAF). Complex attacks such
as this were a common TTP used by ISI and AAS throughout their existence.

At the time of the attack, ISI and AAS frequently employed complex attacks against Coalition forces
in Mosul. As referenced previously, a May 2007 Multi-National Corps - Iraq Daily Intel slides outlined
multiple complex attacks in Mosul attributed to both groups that month. 1169 The report states that the
attacks used TTPs including IEDs, small arms fire, and indirect fire – the same combination of TTPs
used in this attack.1170

Complex attacks and attacks using TTPs like those employed in this attack were also reported against
Coalition forces in Mosul in January 2008. For example, multi-salvo rocket-propelled grenade fire was
used against Coalition forces apprehending an insurgent bombmaker in Mosul on January 7, 2008. 1171
A February 11, 2008 NPR article describes the various TTPs employed against U.S. forces in the city
in the weeks following this attack, noting that on one day, “U.S. forces were hit with eight IEDs, eight
rocket-propelled grenade and shooting attacks and [a] car bombing.” 1172

According to Michael Knights, writing for the peer-reviewed CTC Sentinel, ISI routinely “sponsor[ed]
paid-for IED attacks” to “predictably acquir[e] targets” and “keep the flame of resistance alight.” 1173
December 2007 through February 2008 saw an increase in IED attacks in Mosul:

          Security in Mosul continued to deteriorate from December 2007 through February
          2008, with increased significant daily attacks, at least half of which consisted of IEDs
          and VBIEDs. In the month of January alone, 300 IEDs were found or detonated by
          the 3-3 AC [Armored Cavalry] squadron. By the middle of February, attacks averaged
          around 20 per day, ranging anywhere from 12 to 30. One week, attacks spiked to 180,
          or almost 26 attacks a day.1174

On January 23, 2008, the detonation of an IED triggered the explosion of a building used to store
explosive materials in Mosul, killing and wounding numerous civilians in the immediate area. 1175 The




1169  USCENTCOM, MNC-I BUA Intel Daily Slides, p. 36, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/0355.%20MNC-I%20BUA%20Intel%20Daily%20Slides%20-%20May%2007.pdf.
1170 Ibid.
1171 Richard Ybarra, “CF detain High Value Target while under fire in Mosul,” DVIDS Hub, January 7, 2008,

https://www.dvidshub.net/news/15245/cf-detain-high-value-target-while-under-fire-mosul.
1172 Lulu Garcia-Navarro, “Iraq, U.S. Force Put Anti-Insurgent Focus on Mosul,” NPR, February 11, 2008,

https://www.npr.org/2008/02/11/18886410/iraq-u-s-force-put-anti-insurgent-focus-on-mosul.
1173 Michael Knights, “Al-Qa`ida in Iraq: Lessons from the Mosul Security Operation,” CTC Sentinel, 1:7, (June 2008), p.

2, https://ctc.westpoint.edu/wp-content/uploads/2010/06/Vol1Iss7-Art11.pdf.
1174 Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, p. 15.
1175 Paul Tait & Ahmed Rasheed, “Blast in Iraq's Mosul kills 15, wounds 132,” Reuters, January 23, 2008,

https://www.reuters.com/article/us-iraq/blast-in-iraqs-mosul-kills-15-wounds-132-idUSL1880448320080123.


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building, according to reporting from the BBC, was “believed to have housed a bomb-making
factory.”1176 At the site of the blast the next day, an Iraqi Police official was killed in a suicide attack. 1177

On February 21, 2008, less than a month after this attack, Coalition forces continued to target ISI
leadership, including leaders directly associated with IED cells within Mosul:

         During an operation in Sharqat, coalition forces captured an alleged associate of the
         senior leader for the al-Qaida in Iraq network in Mosul.

         In two operations in southeastern Mosul today, coalition forces detained six suspected
         terrorists while targeting the alleged senior leader for the network in Beiji [alternate
         spelling of Baiji] and a suspected IED cell leader for a network operating in the city. 1178

The high volume of IED attacks in a city known to be controlled by ISI leadership, as well as the
presence of a reported bombmaking factory within the city, demonstrates ISI’s ability to build and
detonate IEDs against Coalition forces. The continued discovery of ISI leadership, especially leaders
associated with IED cells in Mosul, points to the group’s capability and interest in using IEDs as a
means to attack their targets.

Government Reporting. Declassified U.S. military materials characterize ISI as the dominant insurgent
group in Mosul, and describe the group’s activities in and around the city before and after the attack
that killed SGT Craig, CPL Marshall, and PV2 Young. In notes and slides made public through the
U.S. Army War College entitled “IRON RESOLVE Campaign Plan Backbrief,” the role of Mosul in
the fight against ISI is clearly articulated. Notes dated January 4, 2008, entitled “MND-North Current
Situation” state:

         In Ninewa [alternate spelling of Nineveh], AQI continues to reorganize and re-supply
         in Mosul. Due to CF [Coalition Force] and ISF [Iraqi Security Forces] success in killing
         and capturing middle and high level leaders, the cells are in a state of confusion and
         disorganization over who has control of particular areas in the city. Reflections indicate
         fighters are conducting decentralized attacks against targets of opportunity rather than
         coordinated or high profile attacks. We assess AQI reorganization is intended to
         improve planning and deliberate targeting to increase the effectiveness of AQI attacks.
         It is likely that targeting will focus on IP [Iraqi Police] in Mosul IOT [in order to]
         regain the freedom of movement necessary to conduct high profile attacks to disrupt
         GOI [government of Iraq] progress in Ninewa. Furthermore, AQI will continue to
         enhance its operational effectiveness and retain its lines of communication to outlying
         villages, across the border to Syria, and south to Kirkuk and Bayji. CF/ISF operations
         in Mosul are forcing AQI C2 and fighters into the outlying villages, with the Western




1176 “Iraq moves against Mosul al-Qaeda” BBC, January 25, 2008,

http://news.bbc.co.uk/2/hi/middle_east/7208555.stm.
1177 Eric Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, p. 15.
1178 Office of the Secretary of Defense Public Affairs, “Coalition Forces Kill Terrorist, Detain 20 Suspects,” DVIDS Hub,

February 21, 2008, https://www.dvidshub.net/news/16573/coalition-forces-kill-terrorist-detain-20-suspects.


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        Jazeera desert becoming increasingly important to AQI as a support zone and key line
        of communication.1179

A document titled, “Notes from Monday Night MNC-I BUA 041730 FEB 08” contains information
on attack averages in Mosul: “In Ninewa 3 ACR [Armored Cavalry Regiment] continues to focus on
Counter IED and Insurgency Operations in and around Mosul today with 6 attacks in the city which
is well below the normal attack average of 16 per day based on the past 5 months, with no appreciable
difference in attack patterns from our past assessments.” 1180 The same document further outlines
specific operations and actions undertaken to disrupt the flow of AQI fighters into Mosul from other
parts of the country: “Operation Apache Harvest III is continuing its screen south of Mosul intended
for the disruption of material and fighters reportedly moving through the area into the city.” 1181

Ultimately, U.S. military materials not only concur with the conclusions reached by analysts operating
in the public sphere in determining that ISI fighters were moving into Mosul, but also assess that ISI
had an intention to “improve planning and deliberate targeting to increase the effectiveness of [ISI]
attacks.”1182 The attack that killed SGT Craig, CPL Marshall, and PV2 Young in Mosul, weeks after
that assessment was made, represented an attack that involved a high number of fighters as well as a
significant degree of planning and coordination. These materials support my conclusion that it is
highly likely that ISI is responsible for this attack.

Moreover, U.S. Government documents describing and investigating this complex attack contain
multiple direct references to ISI as the perpetrator. In the AR 15-6 Report, the investigating officer
stated that “ISI conducted a complex attack against 2/B/1-8 IN while they were conducting a
mounted patrol in the Yarimjah neighborhood.”1183 Additionally, as part of the Significant Activity
report (SIGACT), the 18th EOD Company stated its findings on the TTPs employed in the attack
and identified ISI as the likely perpetrator:

        ISI likely set up the command wire after the RCIED [remote controlled improvised
        explosive device] failed to detonate the IED and waited for a target of opportunity to
        execute the planned complex attack...ISI planned/coordinated the attack to target BN
        [battalion] QRF suggesting they knew likely routes to the area. ISI continues to use
        secondary IEDs with multiple types of initiators. Expect to see an increase in complex
        attacks with RPGs, SAF, and multiple IEDs with multiple initiators over the next few
        days along known hot spots (Broadway, Isuzu, Jackhammer, Drill, and Nissan). It is
        likely ISI will use command wire, pressure plate, PIR, and speed bump IEDs in order
        to be more effective since the DUKE has been defeating RCIEDs. 1184


1179 “IRON RESOLVE Campaign Plan Backbrief,” January 9, 2008,       https://ahec.armywarcollege.edu/CENTCOM-
IRAQ-papers/0159.%20MND-N%2008-01%20Backbrief%20to%20MNC-I%2020080110.pdf, p. 6.
1180   “Notes from Monday Night MNC-I BUA 041730 FEB 08,” February 2008, p. 14,
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/0002.%20MNC-
I%20BUA%20Notes%205%20Feb%2008.pdf.
1181   “Notes from Monday Night MNC-I BUA 041730 FEB 08,” February 2008, p. 14,
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/0002.%20MNC-
I%20BUA%20Notes%205%20Feb%2008.pdf.
1182 “IRON RESOLVE Campaign Plan Backbrief,” January 9, 2008, p. 6, https://ahec.armywarcollege.edu/CENTCOM-

IRAQ-papers/0159.%20MND-N%2008-01%20Backbrief%20to%20MNC-I%2020080110.pdf.
1183 PEX 198, p. 71.
1184 PEX 199, p. 13.


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Claim of Responsibility. AAS released a claim of responsibility for this attack on January 29, 2008. The
English translation of the text follows:

        In the Name of God, the Most Merciful, the Most Beneficent

        Ansar al-Islam Group                                                  Issue: 318
        There is no God but God                                 Date: 21/Muharram/1429
        Mohammad is His Messenger                                       29/January/2008


        Claiming the Attack which Killed the American Soldiers in Mosul Yesterday on
        Monday

        Praise to God Who has given glory to Islam and the Muslims, and has humiliated the
        disbelievers and the apostates, and prayers and peace upon the imam of the mujahedin,
        the leader of the brave and radiant [cadres], the laughing fighter [Prophet Muhammad]
        and upon the entirety of his family and companions, and upon those who have traveled
        in their path, and been enlightened through their enlightenment until the Day of
        Judgement. The following:

        The Almighty has said: “If you support God, He will support you, and firmly plant
        your feet.”

        After making all preparations [lit. preparing our equipment] and relying upon God and
        assessing the reasons, a blessed group of your mujahedin brothers from [among] the
        Lions of Ansar al-Islam and your brethren from the Islamic State set out yesterday,
        Monday, corresponding to 1-28 [i.e., January 28, 2008] to carry out a blessed operation
        [which] targeted the Soldiers of the Cross [i.e., American forces] and their lackeys, the
        Forces of Apostasy [i.e., the Peshmerga] who are collaborating with the Occupier [i.e.,
        the United States] and acting as his agents. This [i.e., the operation] occurred in the
        neighborhood of Sumer, on the leftward side of the City of Mosul.

        The operation began exactly at 2:00 in the afternoon, whereby several explosive
        devices [presumably improved explosive devices, i.e., IEDs] were planted on one of
        the roads there. Then, the brethren [i.e., the group’s fighters] prepared for an [armed]
        clash using all forms of light and medium small arms weapons. After a period of
        standing guard, a[n armored] column belonging to the American Crusader Forces and
        their Peshmerga lackeys entered the area. The brethren [i.e., the group’s fighters]
        therefore detonated the first of their [improvised] explosive devices. It blew apart an
        American vehicle, of the Hummer model [i.e., a Humvee], to scattered pieces. All of
        its occupants, from among the Soldiers of the Cross, met their demise. After a short
        period, three other [improvised] explosive devices were detonated, the latter striking
        the vehicles of the Crusaders and the Apostates. These struck mightily and with spite
        against the Soldiers of Falsehood, and God sent fear into their hearts, causing the
        enemy to lose concentration in battle and members of the [armored] column to
        congregate in different areas. Four vehicles belonging to the Peshmerga forces
        assembled in one area, by chance near a previously planted [improvised] explosive
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           device. The brethren [i.e., the group’s fighters] gave praise to God’s name [i.e., said
           Allahu Akbar] and detonated [the explosive]. This led to the death of a large number
           from among the Soldiers of Apostasy [i.e., the Peshmerga], as well as destroying and
           damaging some of their vehicles. And so, the enemies of God were stricken with fear
           and great panic. Simultaneously, the enemy was attacked [lit. caught by surprise] from
           unexpected directions, as the mujahideen came at them from all directions to clash with
           the remainder of the column. The battle lasted more than an hour during which, with
           God’s grace, it was possible to inflict heavy losses upon the Enemies of God and
           [impart upon them] a stern lesson which they will not forget.

           The operation led to the destruction of most of the [armored] column and killing or
           wounding of its occupants. Moreover, the battle continued [lit. did not end] until
           American reinforcements were sent to the area, with their aircraft [presumably
           helicopters] hovering in the skies of the area in search of the executors [of the attack],
           who [by then] had withdrawn safely and soundly, rejoicing in what God had bestowed
           upon them.

           It should be noted that the American Army announced the death of only five of its
           soldiers yesterday. We confirm that the number was actually much larger than that,
           and praise and thanks be to God, firstly and lastly.

           Allahu Akbar and Glory to God, His Messenger and to the believers.

           Do not forget to mention us favorably in your supplications.

           The Information Bureau
           The Ansar al-Islam Group
           21/Muharram/1429
           29/January/20081185

This claim, released the day following the attack, correctly identifies the location of the attack and
identifies TTPs used in the attack acknowledged by witnesses to the attack, including IEDs, small
arms fire, and the concentrated presence of enemy forces in the attack zone. This claim lends further
evidence to the witness statements claiming detonation of several IEDs in this single attack on
Coalition and Iraqi forces. The only inconsistency is the claim that one of the IEDs following the
initial explosion killed “a large number of the apostate soldiers.” The AR 15-6 Investigation Report
claims only five killed in action during this attack, in the initial IED blast. 1186

It should be noted that AAS’s claim of responsibility does not contradict the conclusion that ISI was
also active in, and jointly responsible for, this attack. After all, ISI and AAS had coordinated actions
for years prior to this attack, as well as at the specific time and place of the attack.1187



1185 Translated by Valens Global. Original claim of responsibility posted to Arabic-language “Ana al-Muslim” website.
1186   PEX 198, p. 40.
1187 See my Expert Report & Declaration on Sunni Militant Organizations, p. 66, 71-72.




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Iranian Support. Iran provided support to ISI and AAS and Iran’s support had a reasonable connection
to this attack. Iranian support for both of these groups is detailed extensively in my Expert Report &
Declaration on Sunni Militant Organizations.1188 The following information further demonstrates the
significance of Iran’s support to AAS and ISI at the time and in vicinity of this specific attack:

         In 2003, the IRGC provided support for AAS operations in northern Iraq and provided safe
          haven for AAS leaders and operatives after U.S. forces raided their bases in northern Iraq. 1189
          Iranian support continued throughout the conflict in Iraq. Iran arranged a quid pro quo with
          AAS in 2008 in which AAS fought alongside members of the IRGC against the Kurdistan
          Free Life Party in exchange for continued safe haven in Iran, which significantly enhanced
          AAS’s ability to conduct operations in Iraq.1190
         Iran provided training, funding, and organizational support to AAS, critical to AAS’s ability to
          maintain operations in Iraq. In 2004, British intelligence reports assesses that “‘Some elements
          of [Ansar al-Islam] remain in Iran. Intelligence indicates that elements’ of Iran’s Islamic
          Revolutionary Guard Corps ‘are providing safe haven and basic training to Iran-based AI
          [Ansar al-Islam] cadres.’”1191 Details of this training, relayed by Kimberly Kagan, include a
          “report by the Iraq Survey Group noted that a source had reported ‘approximately 320 Ansar
          al-Islam terrorists being trained in Iran…for various attack scenarios including suicide
          bombings, assassinations, and general subversion against U.S. forces in Iraq.’” 1192 U.S.
          intelligence reporting details that “an Iranian was aiding Ansar al-Islam ‘on how to build and
          set up’ improvised explosive devices, known as IEDs.” 1193 In 2006, Iran reportedly facilitated
          the recruitment of Iranian Kurds as AAS fighters by offering them monthly salaries of $1,500
          in return for submitting to ideological and military training.1194
         In December 2006, further evidence of Iranian support for AAS and ISI emerged when two
          Quds Force operatives were arrested in Baghdad. According to U.S. defense officials, the
          operatives possessed “weapons lists, documents pertaining to shipments of weapons into Iraq,
          organizational charts, telephone records and maps, among other sensitive intelligence
          information.” The operatives also reportedly “had information about importing modern,
          specially shaped explosive charges into Iraq, weapons that have been used in roadside bombs
          to target U.S. military armored vehicles.”1195 According to a U.S. intelligence official, the



1188 Ibid., pp. 51-60, 67-68, 72-76.
1189 Geoffrey Gresh, “Instigating Instability: Iran’s Support of Non-State Armed Groups in Iraq,” The Fletcher School Online

Journal    for   issues related   to    Southwest     Asia   and    Islamic    Civilization,   (Spring     2006),    p.    8,
https://ciaotest.cc.columbia.edu/olj/aln/aln_spring06/aln_spring06b.pdf.
1190     Scheherezade     Faramarzi,     “Iran’s      Salafi  Jihadis,”     Atlantic      Council,      May     17,     2018,
https://www.atlanticcouncil.org/blogs/iransource/iran-s-salafi-jihadis; “Iran Reportedly Backed by Ansar Al-Islam
against PJAK Rebels,” BBC Monitoring Middle East, April 11, 2008.
1191 Kimberly Kagan, May 2006 – August 20, 2007 Iran’s Proxy War against the United States and the Iraqi Government,

(Washington, DC: Institute for the Study of War, August 29, 2007), p. 7,
https://www.understandingwar.org/sites/default/files/reports/IraqReport06.pdf.
1192 Ibid.
1193 Ibid.
1194 “Iran Allegedly Using Ansar Al-Islam, Al-Qa’idah to Interfere in Iraqi Kurdistan,” BBC Monitoring Middle East, April

28, 2007; “Report Views Relationship between Iran, Iraqi Kurds,” BBC Monitoring Middle East, April 27, 2007; “Iraqi
Kurdish Article: Border Attack Shows Iran Cannot Be Trusted,” BBC Monitoring Middle East, July 18, 2007.
1195 Kimberly Kagan, The Surge: A Military History, (New York: Encounter Books, 2009), p. 172




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           information gleaned from the operatives showed “how the Quds Force [was] working with
           individuals affiliated with Al Qaeda in Iraq and Ansar al-Sunna.”1196
          Iran provided ISI with weapons similar to those used in this attack. According to a Jordanian
           intelligence official, Iran had supplied machine guns and military equipment to ISI from the
           beginning of their support for the group.1197 By 2007, Coalition forces captured a number of
           weapons caches containing Iranian mortars, explosive material, RPGs, and ammunition in
           areas where the ISI maintained strong areas of operations. 1198 This Court previously found that
           the successful use of RPGs indicates training, which likely would have come from Iran; this
           Court has also previously found that Iran provided RPGs to ISI. 1199
          In 2008, Mubarak Mushakhas Sanad al-Bathali, who had acted as one of al-Qaeda’s principal
           fundraisers for years, revealed critical information regarding Iran’s support for ISI. 1200 Al-
           Bathali was speaking from a position of intimate knowledge of terrorist financing as, according
           to the United Nations Security Council, al-Bathali “supported every stage of the terrorist
           financing life-cycle, from financing terrorist groups and activity, to facilitating deadly attacks,
           and inciting others to join campaigns of violence.”1201 Specifically, between 2003 and 2004, al-
           Bathali was known to have personally sent money to ISI. 1202 In a May 2008 interview with the
           Kuwaiti publication Al-Qabas, he claimed that Iran was providing the group with both money
           and weapons and facilitating the movement of its fighters across the Middle East and South
           Asia. The apparent intent of this support was to “deter the United States, in order for it [the
           U.S.] not to give its entire attention to Iran.”1203 Al-Bathali’s assertion is compelling given his
           background and activities.1204
          In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
           Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment
           of improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations
           with Iran and al-Qaeda, identifies his work in distributing designs for remote detonation
           devices used by terrorist organizations in Iraq, and connects him to multiple IED networks
           across northern Iraq, where ISI primarily operated.1205 Given his affiliations with Iran and al-
           Qaeda, and the nature of his activities in Iraq, it is very likely that Ghazala played a role in
           facilitating IED attacks for ISI.

1196    Eli Lake, “Iran’s Secret Plan for Mayhem,” The New York Sun, January 3, 2007,
https://www.nysun.com/article/foreign-irans-secret-plan-for-mayhem.
1197 Mary Anne Weaver, “The Short, Violent Life of Abu Musab al-Zarqawi,” The Atlantic, July/August 2006.
1198 Kimberly Kagan, February 11, 2007 – April 25, 2007: The Battle for Diyala, (Institute for the Study of War, n.d.), pp. 7,

11, 12, https://www.understandingwar.org/sites/default/files/reports/IraqReport04.pdf.
1199 Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 at *3, *5, *19, V. (D.D.C., Jan. 17, 2023).
1200 U.S. Department of the Treasury, press release, “Treasury Designations Target Terrorist Facilitators,” December 7,

2006.
1201 United Nations Security Council, “Mubarak Mushakhas Sanad Mubarak Al-Bathali,” (April 6, 2009),

https://www.un.org/securitycouncil/sanctions/1267/aq_sanctions_list/summaries/individual/mubarak-mushakhas-
sanad-mubarak-al-bathali.
1202 U.S. Department of the Treasury, press release, “Treasury Designations Target Terrorist Facilitators,” (December 7,

2006).
1203 “Kuwaiti Cleric Admits Sending Mujahedin to Iraq, Afghanistan, Argues Iran Involved,” Al-Qabas, May 7, 2008.
1204 U.S. Department of the Treasury, press release, “Treasury Designations Target Terrorist Facilitators,” December 7,

2006.
1205 U.S. Department of State, Office of the Spokesperson, press release, “Terrorist Designation of HAMAS Operative

Muhammad Hisham Muhammad Isma'il Abu Ghazala,” (September 22, 2011), https://2009-
2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.


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        This Court has also previously validated the causal connection between Iran’s provision of
         money and weapons to ISI and the terrorist group’s ability to execute attacks. Indeed, this
         Court has held that Iran’s provision of material support and resources to ISI (including
         training, money, small arms, RPGs, IEDs, IEDs with mortar components, specially shaped
         explosive charges, and grenades) was sufficient to hold Iran liable for attacks carried out by
         ISI.1206
        In 2008, the U.S. Department of the Treasury imposed sanctions against several individuals
         connected to Iran who provided material support to militias in Iraq. For example, it sanctioned
         Gen. Foruzandeh of the IRGC-QF, who provided training for Iraqi Shia militias, including
         training in “guerilla warfare, light arms, marksmanship, planting improvised explosive devices,
         and firing anti- aircraft missiles,” and who provided funding for Iraqi Sunni militia fighters.1207

Summary
In summary, I conclude that it is very likely that ISI and AAS carried out the January 28, 2008 attack
in Mosul, Nineveh Province that killed U.S. Army SGT James Craig, CPL Evan Marshall, and PV2
Joshua Young. My conclusion based on the following:

    ● ISI and AAS possessed area of operations dominance in Mosul, Nineveh Province during the
      period when this attack occurred.
    ● The attack, along with the wider scenario described, exhibited TTPs commonly associated
      with ISI and AAS.
    ● Government reporting and sources that verify ISI and AAS responsibility for this attack.
    ● AAS claimed responsibility for this attack.

I further conclude that Iran’s material support substantially contributed to ISI and AAS’s commission
of this attack.

Attack #21 – April 10, 2009 SVBIED Attack in Mosul, Nineveh Province that Killed U.S.
Army Corporal Jason Pautsch, Staff Sergeant Bryan Hall, Sergeant Edward Forrest, and
Staff Sergeant Gary Woods
Geography: Mosul, Nineveh Province
Attack Type: SVBIED Attack
Direct Victim(s): CPL Jason Pautsch, SGT Edward Forrest, SSG Bryan Hall, and SSG Gary Woods

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

    ● PEX 200, Department of the Army, USCENTCOM FOIA 22-0186, “Casualty Report – Jason
      Pautsch,” (April 10, 2009).
    ● PEX 201, Department of the Army, “Report of Casualty – Gary Woods,” (April 13, 2009).

1206 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *1-*2 (D.D.C., Dec. 28, 2022); Roth

v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023); Memorandum Opinion and Order,
Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of Iran,
No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 20-21, 40.
1207 U.S. Department of the Treasury, press release, “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency,”

(January 9, 2008), https://www.treasury.gov/press-center/press-releases/pages/hp759.aspx.

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    ● PEX 202, Office of the Armed Forces Medical Examiner, “Autopsy Report – Jason Pautsch,”
      (April 25, 2009).
    ● PEX 203, Office of the Armed Forces Medical Examiner, “Autopsy Report – Gary Woods,”
      (May 11, 2009).
    ● PEX 204, Department of the Army, USARCENT FOIA-17--173, “Action AR 15-6
      Investigation into the Hostile Fire Incident Resulting in the Deaths of Five US Soldiers,
      Involving 1st Combined Arms Battalion, 67 Armor Regiment on 10 April 2009,” (May 9,
      2009).
    ● PEX 205, USCENTCOM, USCENTCOM FOIA 22-0113, Ops Report, “(Explosive Hazard)
      IED Explosion RPT (Vehicle-Borne IED (VBIED)) D/1-67AR : 5 CF KIA 2CF WIA 2 ISF
      WIA UE IA 3 UE DET,” (April 10, 2009).
    ● PEX 206, CENTCOM, USCENTCOM FOIA 22-0123, “Casualty Report – Bryan Hall,”
      (January 31, 2023).

Attack Description
On April 10, 2009, U.S. Army Corporal (CPL) Jason Pautsch, Staff Sergeant (SSG) Bryan Hall,
Sergeant (SGT) Forrest, and Staff Sergeant (SSG) Gary Woods were serving with A Company, 1st
Battalion, 67th Armor Regiment (2/A/1-67 AR BN) at Forward Operating Base (FOB) Marez in
Mosul, Nineveh Province.1208 On the morning of this attack, CPL Pautsch, SSG Hall, SGT Forrest,
and SSG Woods were riding in a Max Pro Mine Resistant Ambush Protected (MRAP) vehicle
(designated D304), the fifth vehicle in a convoy tasked with conducting a reconnaissance patrol in
western Mosul.1209

At approximately 1000 hours, the convoy departed FOB Marez. 1210 At approximately 1020, the convoy
had passed the Iraqi Police’s (IP) Knights Brigade Headquarters and was just outside the FOB Marez
gate when the unit noticed a red dump truck approaching the compound at a high speed. 1211 After IP
soldiers were unable to deter the truck with machine gun fire, the convoy’s vehicles moved to engage
the truck with M240B machine guns.1212 As SSG Hall and SSG Woods maneuvered their vehicle
between vehicle D304 and the rest of the convoy, SGT Forrest, their machine gunner, was able to
slow its progress with machine gun fire.1213 According to the AR 15-6 Investigation, a suicide vehicle-
borne improvised explosive device (SVBIED) detonated when D304 was approximately 10 meters
away from the position of the SVBIED, “[tearing] the roof from the vehicle hull,” tipping it over, and
ejecting SSG Hall, SGT Forrest, CPL Pautsch and SSG Woods from their vehicle. 1214 The below image
illustrates the extensive damage inflicted on D304.


1208 PEX 204, Department of the Army, USARCENT FOIA-17--173, “Action AR 15-6 Investigation into the Hostile Fire

Incident Resulting in the Deaths of Five US Soldiers, Involving 1st Combined Arms Battalion, 67 Armor Regiment on 10
April 2009,” (May 9, 2009), p. 6; PEX 200, Department of the Army, USCENTCOM FOIA 22-0186, “Casualty Report –
Jason Pautsch,” (April 10, 2009), p. 2; PEX 201, Department of the Army, “Report of Casualty – Gary Woods,” (April
13, 2009); p. 2; PEX 205, USCENTCOM, USCENTCOM FOIA 22-0113, Ops Report, “(Explosive Hazard) IED
Explosion RPT (Vehicle-Borne IED (VBIED)) D/1-67AR : 5 CF KIA 2CF WIA 2 ISF WIA UE IA 3 UE DET,” (April
10, 2009), p. 2; PEX 206, CENTCOM, USCENTCOM FOIA 22-0123, “Casualty Report – Bryan Hall,” (January 31,
2023), p. 2.
1209 PEX 204, p. 6.
1210 Ibid.
1211 PEX 200, pp. 6, 7; PEX 205, p. 2.
1212 PEX 204, pp. 7, 8.
1213 Ibid.
1214 Ibid., pp. 8, 9.


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CPL Pautsch, SGT Forrest, SSG Hall, and SSG Woods died instantaneously from injuries sustained
in the blast.1216 The blast also killed three IP personnel and injured over two dozen Coalition forces. 1217

Medical aid arrived soon after the explosion to assist the wounded and evacuate the dead, transporting
them to the FOB Marez Combat Area Support Hospital. 1218

Attack Attribution
I conclude that the Zarqawi organization (as the Islamic State of Iraq) very likely committed this
SVBIED attack. This conclusion is based on the following data points: 1) the geographic location and
time period of the attack; 2) the tactics, techniques, and procedures (TTPs) used in this attack; 3)
Government reporting on this attack; and (4) an ISI claim of responsibility for the attack.

The Zarqawi Organization has undergone several name changes since the group’s inception in 1993.
Before this attack, in October 2004, the Zarqawi Organization underwent one such change when the
group formally pledged baya (allegiance) to al-Qaeda, changing its name from Jamaat al-Tawhid wal-
Jihad (JTJ) to Tanzim Qa’idat al-Jihad fi Bilad al-Rafidayn (al-Qaeda in Iraq). On January 15, 2006,
AQI deputy emir Abu Maysarah al-Iraqi announced the establishment of the Majlis Shura al-Mujahidin
fi-l-Iraq (better known as the Mujahedin Shura Council, or MSC), an umbrella group composed of six
Iraqi Sunni militant factions. On October 15, 2006, the Majlis Shura al-Mujahidin fi-l-Iraq (better

1215 PEX 221,


1216 PEX 204, p. 9.
1217 Ibid., p. 8.
1218 Ibid., p. 9.




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known as the Mujahedin Shura Council, or MSC) announced its establishment of the Islamic State of
Iraq (ISI).1219 While this attack took place after the name change, this attribution will refer to the group
as ISI. However, some sources cited in this attribution refer to the Organization by its former names,
MSC, AQI and JTJ.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to ISI’s responsibility. The attack occurred outside of FOB Marez in Mosul, Nineveh Province on
April 10, 2009. FOB Marez is located just south of the Al Mansour District in southwest Mosul. 1220
The map below provides the approximate location of the attack.




                     Figure 37: Approximate location of the attack in Mosul, Nineveh Province.

ISI had a history of entrenchment in Mosul prior to this attack. Michael Knights of the Washington
Institute for Near East Policy describes how, by late 2006, ISI capitalized on Coalition movements
within Iraq to establish control of Mosul:

         In late 2006, Mosul security suffered a new blow from the “reverse surge” dynamic,
         whereby the U.S. military sent half its Ninawa battalions to the Baghdad area, leaving
         only one in Mosul, and the Iraqi army sent two battalions south as well. During this




1219 Majlis Shura al-Mujahidin fi-l-Iraq, statement on the establishment of the Islamic State of Iraq, October 15, 2006.
1220 John J. McGrath, Between the Rivers: Combat Action in Iraq 2003-2005 (Fort Leavenworth, KS: Combat Studies Institute

Press, US Army Combined Arms Center, 2012), pp. 57, 65, https://www.armyupress.army.mil/Portals/7/combat-studies-
institute/csi-books/BetweenTheRivers_McGrath.pdf.


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         period, AQI’s successor, the Islamic State of Iraq (ISI), surged in the reverse direction,
         fleeing the surge in central Iraq and Anbar and refocusing its efforts on Mosul. 1221

According to a publication by the Institute for the Study of War, “AQI held a great deal of terrain by
the end of 2006 with multiple lines of support running west-east from the Syrian border to central
Iraq and north-south from Mosul down to Baghdad.”1222

ISI leaders were also present in Mosul throughout 2007, as ISI continued to hold the city. 1223 American
intelligence assessed that ISI leader Abu Ayyub-al Masri moved into the city in late 2007, as The New
York Times reports:

         The insurgents who have ventured north include Abu Ayyub-al Masri, the leader of Al
         Qaeda in Mesopotamia, a predominantly Iraqi group that American intelligence says
         has foreign leadership. American officials say the insurgent leader has twice slipped in
         and out of Mosul in Nineveh Province to try to rally fellow militants and put an end
         to infighting.

         “We have seen some migration of Al Qaeda,” said Col. Stephen Twitty, the
         commander of the Fourth Brigade Combat Team, First Cavalry Division, which is
         returning to the United States after 13 months here. “What has driven that are the
         operations down south.”1224

Despite the Coalition ramping up its operations in Mosul in 2008, ISI’s presence persisted in the
city.1225 Reuters notes that ISI’s ability to regroup in Nineveh Province had transformed all of northern
Iraq into a major security threat around the time of this attack. 1226 In January 2008, U.S. military
commanders said that Mosul was ISI’s “last major urban stronghold,” prompting major Coalition and
Iraqi efforts to eject the group from the city. 1227

ISI’s presence in the city continued into 2009. In February 2009, Coalition forces launched Operation
New Hope, with the goal of forcing ISI out of Mosul. 1228 According to a U.S. Army War College

1221 Michael Knights, How to Secure Mosul: Lessons from 2008-2014 (Washington, D.C.: The Washington Institute for Near

East Policy, October 12, 2016), p. 7, https://www.washingtoninstitute.org/policy-analysis/how-secure-mosul-lessons-
2008-2014.
1222 Eric Hamilton, Backgrounder #21: Developments Fighting Al Qaeda in Iraq, (Washington, DC: Institute for the Study

of                     War,                        January                      2008),                      p.                  3,
https://www.understandingwar.org/sites/default/files/reports/Devolpments%20Fighting%20Al%20Qaeda%20in%20I
raq.pdf.
1223 Patrick B. Johnston et al., Foundations of the Islamic State: Management, Money, and Terror in Iraq 2005-2010, (Santa Monica,

CA: RAND Corporation, 2016), pp. 53-55, https://apps.dtic.mil/sti/pdfs/AD1013638.pdf.
1224 Michael R. Gordon, “Pushed Out of Baghdad, Insurgents Move North,” The New York Times, December 6, 2007,

https://www.nytimes.com/2007/12/06/world/middleeast/06mosul.html.
1225 Eric Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul (Washington, DC: Institute for the Study of

War, 2008), pp. 13, 14, https://www.understandingwar.org/sites/default/files/reports/Iraq%20Report%208.pdf.
1226 Paul     Tait, “Five US Soldiers Killed in North Iraq - Military,” Reuters, January 28, 2008,
https://www.reuters.com/article/idUSL28208439.
1227   Paul Tait, “Too Soon to Call Mosul Push “Final”: U.S.,” Reuters, January 29, 2008,
https://www.reuters.com/article/us-iraq-mosul/too-soon-to-call-mosul-push-final-u-s-idUKL2978780620080129.
1228       “Operation        New          Hope,”          Institute       for      the        Study        of      War,      n.d.,
https://www.understandingwar.org/operation/operation-new-hope.


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report, “by the beginning of March, the combined U.S.-Iraqi troops had established a presence in
AQI’s former neighborhoods and appeared to have disrupted the extremists’ operations.” 1229

However, despite Coalition efforts, ISI continued to operate in Mosul during April 2009 when the
attack that killed CPL Pautsch, SGT Forrest, SSG Hall, and SSG Woods occurred. According to the
U.S. Army’s official history of the Iraq war, ISI launched an average of 35 attacks per week in Mosul
throughout April and May 2009, a number “far higher than the weekly average in any other
province.”1230 One of these attacks occurred on April 9, when ISI launched an SVBIED attack in
south Mosul.1231 The attack killed five U.S. soldiers, three Iraqis, and wounded over 60 people. 1232

The challenge of removing ISI’s footprint in Mosul is demonstrated by the Coalition’s need to begin
Operation Ninewa Resolve in April 2009.1233 The U.S. Army’s official history of the Iraq war also
reports that “the main effort of [Operation Ninewa Resolve] changed from Western Mosul to the
Southern AO [area of operations] where the brigade focused its efforts on disrupting the AQI
financing associated with oil corruption.”1234

Tactics, Techniques, and Procedures (TTPs). Another indicator that ISI was responsible for this attack is the
TTPs used to carry it out. The perpetrators conducted an SVBIED attack.

At the time of the attack, SVBIEDs were a common ISI TTP. According to the U.S. National
Counterterrorism Center, ISI in 2008 maintained SVBIED factories and claimed responsibility for
numerous SVBIED and VBIED (vehicle-borne improvised explosive device) attacks throughout Iraq
– including Mosul.1235

ISI’s use of SVBIEDs continued throughout 2009. According to a Multi-National Division Command
Report issued in 2009, ISI’s “preferred methods were suicide attacks with either Person or Vehicle
Borne Improvised Explosive Devices (PBIED/VBIED).”1236 The report also notes that in April 2009,
ISI “conducted almost a dozen near-simultaneous VBIED attacks throughout Baghdad,” proving the
group was using VBIEDs at the time of the attack that killed CPL Pautsch, SGT Forrest, SSG Hall,
and SSG Woods.1237




1229 Jeanne F. Godfroy et al., The U.S. Army in the Iraq War: Volume 2: Surge and Withdrawal, (Carlisle Barracks, PA: United

States             Army          War            College          Press,           2019)    p.         509,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1932&context=monographs.
1230 Ibid.
1231 Ibid.
1232 Ibid.
1233   Dr. Bianca J. Adams, “MND-B 2009 Command Report,” 2009, p. 92, https://www.ndia.org/-
/media/sites/ndia/divisions/solic/reports-and-activities/command-report-12-10-10.pdf.
1234 Ibid.
1235 “2008 Report on Terrorism,” National Counterterrorism Center, April 30, 2009, pp. 16, 38, 39, 42, 46,

https://www.fbi.gov/stats-services/publications/terror_08.pdf.
1236   Dr. Bianca J. Adams, “MND-B 2009 Command Report,” 2009, p. 27. https://www.ndia.org/-
/media/sites/ndia/divisions/solic/reports-and-activities/command-report-12-10-10.pdf.
1237 Ibid., p. 28.




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Furthermore, ISI was known to use SVBIEDs to target Coalition and Iraqi compounds. The SVBIED
that killed CPL Pautsch, SGT Forrest, SSG Hall, and SSG Woods was intended as a strike against
FOB Marez.1238 The Multi-National Division Command Report states:

          Throughout 2009, the ISI was fixed in a pattern of quarterly car bombings (spaced
          three months apart) on clusters of government buildings in Baghdad. On August 19,
          2009, the Ministry of Foreign Affairs and Ministry of Finance were both seriously
          damaged, resulting in at least 90 deaths. On October 25, 2009, the Ministry of Justice
          and Baghdad Provincial Council were struck by car bombs, killing 155 people. On
          December 8, 2009, five car bombs were detonated in car parks and public areas in the
          government district just outside Baghdad’s International Zone, killing 127 people. On
          January 25, 2010, three major international hotels were attacked in Karrada, near the
          International Zone, killing 15 people.1239

U.S. Government Reporting. The U.S. Government’s prosecution of an individual linked to this attack is
another indicator of ISI’s culpability. On December 8, 2011, the U.S. Department of Justice unsealed
an indictment that charged Sayfildin Tahir Sharif (aka Faruq Khalil Muhammad ‘Isa), an Iraqi-
Canadian dual citizen residing in Canada, with orchestrating the attack that killed CPL Pautsch, SGT
Forest, SSG Hall, and SSG Woods.1240 A press release by the U.S. Attorney’s Office states that Sharif:

          is charged in connection with his support for a multinational terrorist network that
          conducted multiple suicide bombings in Iraq and that is responsible for the deaths of
          five American soldiers. According to the complaint, filed on January 14, 2011, in the
          Eastern District of New York, the five American soldiers were killed on April 10, 2009,
          when a Tunisian jihadist, whose travel to and activities in Iraq were facilitated by the
          terrorist network, drove a truck laden with explosives to the gate of the United States
          Military’s Forward Operating Base Marez in Mosul, Iraq. 1241

Sharif pled guilty to charge on June 18, 2019, and was sentenced to 26 years in federal prison. 1242

Credible sources confirm that Sharif was affiliated with and acting in support of ISI at the time of this
attack. For example, according to the New America Foundation, Sharif was one of several Iraqi
refugees who coordinated foreign fighters to conduct suicide attacks on behalf of ISI. 1243 This was also



1238 PEX 204, p. 8.
1239 Michael Knights, “The Role and Significance of Signature Attacks in the Iraqi Insurgency,” CTC Sentinel 3:9,
(September 2010), p. 19, https://ctc.westpoint.edu/wp-content/uploads/2010/10/CTCSentinel-Vol3Iss95.pdf.
1240 “Recent Highlights in Terrorist Activity,” CTC Sentinel, 5:1, (January 2012), https://ctc.westpoint.edu/recent-

highlights-in-terrorist-activity-26/; United States v. Faruq Khalil Muhammad ‘Isa, Indictment, Cr. 11-819 (E.D.N.Y), p. 3,
https://www.justice.gov/sites/default/files/opa/press-releases/attachments/2015/01/23/faruq-indictment.pdf.
1241 The United States Attorney’s Office, Eastern District of New York, “Alleged Terrorist Charged with Conspiracy to

Kill Americans in Iraq,” (January 19, 2011), https://www.justice.gov/archive/usao/nye/pr/2011/2011jan19.html.
1242 U.S. Department of Justice, Office for Public Affairs, “Defendant Who Conspired to Murder U.S. Soldiers Sentenced

to 26 Years Imprisonment,” (June 18, 2019), https://www.justice.gov/opa/pr/defendant-who-conspired-murder-us-
soldiers-sentenced-26-years-imprisonment.
1243 Brian Fishman, Redefining the Islamic State: The Fall and Rise of Al-Qaeda in Iraq, (Washington, DC: New America

Foundation, August 2011) p. 15.


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the U.S. Government’s stance, as prosecutors in Sharif’s case “said at a February 2015 court hearing
that ‘Isa [Sharif] was working with [the] Islamic state, according to court records.” 1244

Claim of Responsibility. The Miami Herald reported on ISI’s claim of responsibility for the attack, which
it referenced as posted “on extremist websites.”1245 SITE Intelligence Group translated the statement,
published by ISI’s propaganda bureau, claiming responsibility for the April 10, 2009 attack outside
FOB Marez:

         A lion of the lions of the Islamic State of Iraq, “may Allah glorify it,” from the
         “martyrdom-seeking brigade,” on Friday, 14 Rabie al-Thani 1430H [Hijri, or Islamic
         calendar], corresponding to 10/4/2009…launched with his bomb-laden truck to
         penetrate all the barriers leading to the pagan police headquarters in the Mansour
         district in the left side of Mosul province. He sought the center of the headquarters.
         Our brother cried ‘Allah is Great’ and he detonated his truck amidst a large gathering
         of Crusaders and apostates, tearing them apart.

         The blessed operation resulted in killing and injuring more than twenty Crusaders and
         at least one-hundred pagan police, and completely destroying seven armored vehicles,
         two belonging to the Crusaders and five belonging to the apostates. 1246

ISI’s claims of responsibility routinely exaggerated casualty numbers and the level of destruction
caused by their attacks. Notwithstanding those factual discrepancies, the date, location, and TTP
described in the claim of responsibility accord with the AR 15-6 Investigation of this attack. 1247

Iranian Support. Iran provided support to ISI, and this support had a reasonable connection to the
attack that killed CPL Pautsch, SGT Forrest, SSG Hall, and SSG Woods. Iranian support for ISI is
detailed extensively in my Expert Report & Declaration on Sunni Militant Organizations.1248 The following
information further demonstrates the significance of Iran’s support to ISI at the time and in vicinity
of this specific attack:

        Iran provided support to ISI before, during, and after this attack in multiple ways. In
         December 2006 evidence of Iranian support for ISI emerged when two Quds Force operatives
         were arrested in Baghdad. According to U.S. defense officials, the operatives possessed
         “weapons lists, documents pertaining to shipments of weapons into Iraq, organizational
         charts, telephone records and maps, among other sensitive intelligence information.” 1249
        In 2008, a leading Sunni militant named Mubarak Mushakhas Sanad al-Bathali directly tied
         Iran to ISI. In an interview with the Kuwaiti publication Al-Qabas, he claimed that Iran was
         both providing the group with money and weapons and facilitating the movement of its
         fighters across the Middle East and South Asia. The apparent intent of this support was to
1244 Brendan Pierson, “Iraqi-Canadian Man Pleads Guilty to Role in Deadly Attack on U.S. Base,” Reuters, March 6, 2018.
1245 Corinne Reilly, “Group says it killed 5 GIs with bomb; Radicals who may be linked to al Qaeda in Iraq said they were

responsible      for     a    suicide   bombing     that   killed    five     U.S. soldiers,”   April   14,      2005,
https://advance.lexis.com/api/permalink/31ee20be-e249-421a-a6c8-4859306f9c22/?context=1519360.
1246 “A Blessed Martyrdom-Seeking Operation Against Crusaders and Pagans in Mosul,” SITE Intelligence, April 13, 2009.
1247 PEX 204, pp. 6, 8.
1248 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
1249 Eli Lake, “Iran’s Secret Plan for Mayhem,” The New York Sun, January 3, 2007.




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         “deter the United States, in order for it [the U.S.] not to give its entire attention to Iran.” 1250
         The admission was compelling given al-Bathali’s background and activities. A Kuwaiti
         national, he had for years acted as one of al-Qaeda’s principal fundraisers. Between 2003 and
         2004, he was also known to have sent money to ISI.1251 According to the United Nations
         Security Council, Bathali “has supported every stage of the terrorist financing life-cycle, from
         financing terrorist groups and activity, to facilitating deadly attacks, and inciting others to join
         campaigns of violence.”1252 He was added to the U.S. Treasury Department’s list of Specially
         Designated Global Terrorists in July 2006.1253
        In February 2012, the United States designated Iran’s Ministry of Intelligence and Security
         (MOIS) for its ongoing and systematic sponsorship of a variety of terrorist organizations.
         Among the entities listed was AQI (the name by which the U.S. government still identified ISI
         at the time), which according to the Treasury Department received not only money and
         weaponry but also “intermediary services” that helped secure the release of the group’s
         imprisoned operatives.1254 This designation relies upon extensive research and data collection
         and reflects a demonstrated pattern of Iranian support to ISI.
        In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
         Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment
         of improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations
         with Iran and al-Qaeda, identifies his work in distributing designs for remote detonation
         devices used by terrorist organizations in Iraq, and connects him to multiple IED networks
         across northern Iraq, where ISI primarily operated.1255 Given his affiliations with Iran and al-
         Qaeda, and the nature of his activities in Iraq, it is very likely that Ghazala played a role in
         facilitating IED attacks for ISI.
        This Court has also previously validated the causal connection between Iran’s provision of
         money and weapons to ISI and the terrorist group’s ability to execute attacks. Indeed, this
         Court has held that Iran’s provision of material support and resources to ISI (including
         training, money, small arms, RPGs, IEDs, IEDs with mortar components, specially shaped
         explosive charges, and grenades) was sufficient to hold Iran liable for attacks carried out by
         ISI.1256 Another previous decision by this Court characterized VBIEDs as “a signature AQI
         attack method.”1257



1250 “Kuwaiti Cleric Admits Sending Mujahedin to Iraq, Afghanistan, Argues Iran Involved,” Al-Qabas, May 7, 2008.
1251 U.S. Department of the Treasury, press release, “Treasury Designations Target Terrorist Facilitators,” (June 12, 2006),

https://www.treasury.gov/press-center/press-releases/Pages/hp191.aspx.
1252 United Nations Security Council, “Mubarak Mushakhas Sanad Mubarak Al-Bathali,” April 6, 2009,

https://www.un.org/securitycouncil/sanctions/1267/aq_sanctions_list/summaries/individual/mubarak-mushakhas-
sanad-mubarak-al-bathali.
1253 U.S. Department of the Treasury, press release, “Treasury Designations Target Terrorist Facilitators.”
1254 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” (February 16, 2012).
1255 U.S. Department of State, Office of the Spokesperson, press release, “Terrorist Designation of HAMAS Operative

Muhammad Hisham Muhammad Isma’il Abu Ghazala,” (September 22, 2011), https://2009-
2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.
1256 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *1-*2 (D.D.C., Dec. 28, 2022); Roth

v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023); Memorandum Opinion and Order,
Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of Iran,
No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 20-21, 40
1257 See Brown v. Islamic Republic of Iran, No. 1:21-CV-1308 (TNM), 2023 WL4824740 at *4 (D.D.C. July 27, 2023).


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Summary
In summary, I conclude it is very likely that ISI carried out the April 10, 2009 SVBIED attack in
Mosul, Nineveh Province that killed U.S. Army CPL Jason Pautsch, U.S. Army SSG Gary Woods,
U.S. Army SSG Bryan Hall, and U.S. Army SGT Edward Forrest. My conclusion is based on the
following:

    ● ISI possessed area of operations dominance in Mosul, Nineveh Province during the period
      when this attack occurred and was motivated to carry it out.
    ● The attack exhibited TTPs commonly associated with ISI.
    ● The U.S. Government prosecuted an ISI-affiliated individual for orchestrating this attack.
    ● ISI claimed responsibility for this attack.

Finally, I conclude that Iran’s material support substantially contributed to ISI’s commission of this
attack.


IX.     Saladin Province

Overview of Saladin Province
I have been asked by the Plaintiffs to assess four American casualties in Saladin Province from 2004
to 2007. These casualties occurred in 2004 and 2007, at times when the U.S. and its allies surged forces
to combat VNSA activities across Iraq, including in Saladin. VNSAs active in Saladin during the time
of the attacks at issue include the Zarqawi organization, AAS, and JAM.

The Zarqawi organization and AAS were the dominant Sunni militant organizations in Saladin
Province in 2004-2007; JAM had an exceptionally minimal presence. In keeping with my application
of limiting principles, I consider the presence and possibility of other VNSAs’ responsibility for the
attacks.

Below, I provide a summary of the war in Saladin, including overviews of Coalition operations and
VNSA activities. These summaries are intended to provide context and background for the 2004-2007
attacks I have been asked by the Plaintiffs to assess, as well as others that were committed in Saladin
during Coalition operations in Iraq.




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Saladin’s Geography and Population




                                                                   Figure 39: Saladin Province from Map of Iraq




                  Figure 38: Map of Iraq1258

Saladin is a province in central Iraq, located just north of Baghdad. Saladin is bordered by Al Anbar
Province to the west, Baghdad Province to the south, Diyala Province to the southeast, Sulaymaniyah
Province to the northeast, Kirkuk Province and Erbil Province to the north, and Nineveh Province
to the northwest.

The province is divided into nine districts – Al Shirkat, Bayji, Tikrit, Samarra, Al-Daur, Tooz
Khurmato, Balad, Therthar, and Al-Faris. Parts of Saladin Province, specifically in Tooz Khurmato,
are disputed between the Iraq’s Baghdad-based central government and the Kurdistan Regional
Government (KRG).

Saladin’s provincial capital city is Tikrit, the birthplace of Saddam Hussein and an important Sunni
Arab power center, located in the eponymous provincial district. Its most populous district is Samarra,
home to the eponymous city which is likewise the province’s most populous city. Samarra sits on the
east bank of the Tigris River. Samarra is part of the so-called Sunni Triangle, a region located to the
north and northwest of Baghdad which also includes Fallujah, Balad, Hit, Taji and Karmah, and that

1258 Map of Iraq, Map No. 3835 Rev. 6. United Nations Department of Field Support, Cartographic Section. 2014.

https://www.un.org/geospatial/content/iraq


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is densely populated by Sunni Arabs. As a result of this geographic location, the city witnessed
considerable insurgent activity prior to and during Iraq’s civil war of 2006-2008—which saw U.S. and
Iraqi government forces arrayed against various Sunni and Shia militias, including the Zarqawi
organization and Jaysh al-Mahdi (JAM). 1259

The last comprehensive Iraqi national census took place over thirty years ago, with the 1957 census
being considered the last reliable census. Therefore precise demographics are elusive and are largely
estimates.1260 But 2019 estimates of Saladin Province’s population indicated that it had a total of
1,637,232 inhabitants, predominantly Sunni Arabs.1261

Despite this Sunni demographic predominance, Saladin—but particularly the city of Samarra—hosts
several important Shia shrines, including the Shrine of Imam Hassan al-Askari, one of Shia Islam’s
most important holy sites. It also hosts other notable mosques, including the Great Mosque of Samarra
and the Abu Dulaf Mosque, which are famous for their spiral minarets. The combination of the
presence of Shia shrines and other historical Islamic shrines, its predominantly Sunni Arab population,
and its centralized location between several other Iraqi provinces made Saladin Province a hub of
sectarian tension and a magnet for both the Sunni and Shia militant factions. Saladin Province also
hosts several natural resource refineries that are of strategic importance to state and non-state actors
alike, which likely acted as a powerful draw for militant groups seeking to ensure a steady cash flow. 1262

Saladin Province was historically a seat of Sunni power, owing in large part to its provincial capital
being the birthplace of Saddam Hussein (who was, of course, a Sunni Arab). 1263 After the 2003 U.S.
invasion deposed Saddam, a sense of disenfranchisement took hold among the province’s Sunni
Arabs.1264 This was compounded by the actions and attitude of the now-Shia dominated central
government in Baghdad. In a demonstration of their alienation from post-Saddam Iraq, 82% of
Saladin’s Sunni Arab population voted against the adoption of the country’s new draft constitution in
the October 15, 2005 public referendum, because Sunni Arabs were underrepresented in the 55-
member constitutional drafting committee. 1265 Sunni militant groups exploited this sense of Sunni
alienation to establish their presence in Saladin Province.1266

1259 “Iraq Timeline: Since the 2003 War,” United States Institute of Peace, May 29, 2020, https://www.usip.org/iraq-

timeline-2003-war; Thanassis Cambanis, “Social Engineering in Samarra,” The Century Foundation, May 29, 2019
https://tcf.org/content/report/social-engineering-samarra/; “Beyond Baghdad – The Sunni Triangle: Tribes and
Insurgents,”                   PBS                    Frontline,                February                12,              2004
https://www.pbs.org/wgbh/pages/frontline/shows/beyond/iraqis/sunni.html.
1260 Turkey and the Iraqi Kurds: Conflict or Cooperation? (Brussels, Belgium: International Crisis Group, November 13, 2008),

https://web.archive.org/web/20190808043240/http://www.genocidewatch.org/images/Iraq_08_11_13_Turkey_and_I
raqi_Kurds_Conflict_or_Cooperation.pdf.
1261 “Salah Al-Din,” European Union Agency for Asylum, n.d., https://euaa.europa.eu/country-guidance-iraq-2021/salah-

al-din.
1262 Ibid.; “Chapter Six: AQI Dominates the Insurgency,” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June

13, 2007), p. 188, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
1263 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006,       (Carlisle   Barracks,       PA:     US       Army      War     College,     January     17,   2019),    p.   149,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.
1264 Ibid., pp. 170, 171.
1265        “Iraq:       Politics       and         Governance,”          EveryCRSReport.Com,        March       9,     2016,
https://www.everycrsreport.com/reports/RS21968.html.
1266    Peter Khalil, “Don’t Ignore Sunni Triangle,” Brookings Institution, January 31, 2005,
https://www.brookings.edu/articles/dont-ignore-sunni-triangle/.


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Sunni insurgents, in turn, committed sectarian acts of violence that enflamed Shia sentiments and
invited atrocities by the latter; the Zarqawi organization in particular believed that it could benefit
from a cycle of violence by interposing itself as a putative protector of the Sunni population. Most
notoriously, in February 2006, Sunni militants bombed the aforementioned Al-Askari Shrine in
Samarra. This act set off an escalating Sunni-Shia cycle of violence.1267 That attack also prompted
Muqtada al-Sadr to remobilize and rebuild his Jaysh al-Mahdi militia, positioning JAM as a security
guarantor for the Iraqi Shia against the Zarqawi organization and other Sunni extremist groups. Similar
to the Zarqawi organization positioning itself as a protector of the Sunnis, JAM’s “protection” of the
Iraqi Shia gave birth to its own set of deep issues, including spawning death squads responsible for
sectarian cleansing and atrocities against Sunnis.1268

Coalition Operations in Saladin Province
During the relevant time frame, U.S. and Coalition forces launched several operations intended to
degrade the presence of militant groups in Saladin Province. The most significant of these operations
included Operation Swarmer, which impacted the Zarqawi organization and other Sunni extremist
groups in Samarra in March of 2006, and several sets of major operations in 2008. 1269

In January 2008, Coalition and Iraqi forces launched Operation Raider Harvest, which targeted
Zarqawi organization networks in Samarra.1270 That same month, General Raymond Odierno, then
the commander of Multi-National Corps-Iraq (MNC-I), continued efforts to degrade the Zarqawi
organization through Operation Phantom Phoenix. 1271

The last, and arguably most ambitious, operation that occurred in 2008 was Operation Iron Pursuit,
the first phase of which was executed between July 29 – August 11, 2008. Iron Pursuit was the U.S.
complement to the Iraqi Army’s Operation Augurs of Prosperity (Bashaer al-Kheir) and consisted of
three sub-operations: Sabre Pursuit, Eagle Pursuit, and Bastogne Pursuit. 1272 The umbrella operation
involved U.S. forces pursuing Zarqawi organization fighters in Diyala Province into three rural areas,
including into the area north of Khalis, on the seam between Diyala and Saladin Province. 1273 Eagle
Pursuit, focused specifically on Saladin Province, was meant to continue ongoing efforts to push these

1267       “Iraq:      Politics      and        Governance,”            EveryCRSReport.Com,     March         9,       2016,
https://www.everycrsreport.com/reports/RS21968.html.
1268 Melissa Cochrane, Iraq Report 12: The Fragmentation of the Sadrist Movement (Washington, DC: Institute for the Study of

War, January 2009), p. 21.
1269 Rayburn & Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-2006, p. 551; “US

Iraq Campaign ‘to Last Days,’” BBC, March 17, 2006, http://news.bbc.co.uk/2/hi/middle_east/4814094.stm.
1270 “Coalition Forces Target Al-Qaeda Networks in Diyala and Samarra: Three Killed, 11 Detained,” Operation Iraqi Freedom

– Multi-National Force-Iraq, January 2, 2008 https://web.archive.org/web/20080109072406/https://www.mnf-
iraq.com/index.php?option=com_content&task=view&id=16183&Itemid=128
Translated from the original Arabic: In Samarra, Coalition forces arrested a wanted individual who is believed to have been
involved in media and propaganda campaigns on behalf of the terrorists, and reports indicated that he is a close associate
of ‘Abu Musayra’ who was killed on November 17, and who in turn was a high-ranking advisor to ‘Abu Ayub Al-Masri,’
one of the most prominent leaders in Iraq. Reports also indicates that [the arrestee] has relations with several terrorists
involved in media and propaganda operations on behalf of Al-Qaeda in Iraq.
1271 Nicholas J. Schlosser, The U.S. Army Campaigns in Iraq: The Surge 2007-2008 (Washington, DC: United States Army

Center of Military History, 2017), p. 77 https://history.army.mil/html/books/078/78-1/cmhPub_078-1.pdf#page=77.
1272       “Operation       Iron       Pursuit,”      Institute         for     the      Study      of       War,       n.d.,
https://www.understandingwar.org/operation/operation-iron-pursuit
1273 Ibid.




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militants out of neighboring Diyala Province into the Uzaym (or ‘Adhaim) River Valley, 30 km
downstream of Samarra. 1274

Sunni Militant Groups in Saladin Province
As noted, Saladin’s Sunni Arab demographic dominance and Shia militia abuses made the province an
attractive locale for Sunni militant groups. During the relevant time period, the two dominant Sunni
militant actors backed by Iran were Ansar al-Islam (AAI, later known as Ansar al-Sunna, AAS) and
the Zarqawi organization.

AAS had set up shop in a Kurdish area of northern Iraq, near the Iranian border, even prior to the
U.S. invasion of Iraq. By early 2004, AAS established a stable operational presence in Saladin
Province.1275 This presence in Saladin acted as a launching pad for attacks into neighboring
provinces.1276

The Zarqawi organization had long used Saladin Province as a refuge from Coalition pressure. 1277 But
by the end of 2006, the torch of anti-American operations in Saladin passed decisively to the Zarqawi
organization, which assumed operational dominance in the province. While AAS continued to exist
and operate independently, it increasingly blended into AQI, to the point where distinguishing
between the two organizations became difficult.1278

The Zarqawi organization’s operational dominance in Saladin could be discerned by an increase in the
group’s attacks in the province.1279


1274 Ibid.
1275 Rayburn & Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-2006, p. 174.
1276 “Newsletter for Ansar al-Sunna Army Operations in Iraq [trans. from Arabic],” Albasrah.net, March 22 – April 19,

2004, https://www.albasrah.net/moqawama/maqalat/ansar2_190404.htm; Australian Parliamentary Joint Committee on
Intelligence and Security, Review of the re-listing of Ansar al-Islam, Islamic Movement of Uzbekistan, Lashkar-e Jhangvi
and          Jaish-e-Mohammad,             Appendix              B         (May       25,         2015),      p.       6,
https://www.aph.gov.au/parliamentary_business/committees/house_of_representatives_committees?url=pjcis/six%20
terrorist/report/appendix%20b.pdf.
1277 “Chapter Six: AQI Dominates the Insurgency,” in Study of the Insurgency in Anbar Province, Iraq, (CENTCOM, June 13,

2007), p. 188, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
1278 Australian Parliamentary Joint Committee on Intelligence and Security, Review of the re-listing of Ansar al-Islam,

Islamic Movement of Uzbekistan, Lashkar-e Jhangvi and Jaish-e-Mohammad, Appendix B (May 25, 2015), p. 6,
https://www.aph.gov.au/parliamentary_business/committees/house_of_representatives_committees?url=pjcis/six%20
terrorist/report/appendix%20b.pdf;“State of the Insurgency in Iraq: Period of January 16, 2008 – January 31, 2008,” SITE
Intelligence, February 4, 2008; Home Office Immigration and Nationality Directorate, Operational Guidance Note: Iraq,
(January 12, 2006), p. 9, https://www.ecoi.net/en/file/local/1234188/hl990_Iraq_v2.0_January_2006.pdf; Daveed
Gartenstein-Ross, “Expert Witness Declaration & Report on Sunni Militant Groups,” Estate of Christopher Brook
Fishbeck, et al., v. Islamic Republic of Iran, et al., April 24, 2022, p. 40.
1279   National Counterterrorism Center, NCTC 2007 Report on Terrorism, (April 30, 2008), p. 17,
https://apps.dtic.mil/sti/pdfs/ADA483436.pdf; “Police: Suicide Blasts Kill 13 in Ramadi,” CNN, May 7, 2007,
https://web.archive.org/web/20070509140215/http://edition.cnn.com/2007/WORLD/meast/05/07/iraq.main/;
“Factbox-Security         Developments       in        Iraq,     Sept      28,”   Reuters,    September      28,    2007,
https://www.reuters.com/article/idUSRAS827601; “Bomb attacks target Iraqi officials,” Al Jazeera, October 9, 2007,
https://www.aljazeera.com/news/2007/10/9/bomb-attacks-target-iraqi-officials; Bill Roggio, “Al Qaeda in Iraq executes
bombing              offensive,”          Long             War           Journal,      December           8,        2007,
https://www.longwarjournal.org/archives/2007/12/al_qaeda_in_iraq_exe.php; “Roundup: At Least 14 Killed, Seven
Injured in Iraq Attacks,” Deutsche Presse-Agentur, April 2, 2008.


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In short, the Zarqawi organization became the dominant Iranian-supported Sunni actor in Saladin,
even as U.S. and Coalition forces limited the group’s presence in surrounding provinces. 1280 In fact, as
the Zarqawi organization was degraded in surrounded provinces, its militants coalesced within Saladin.
Provincial cities like Bayji that had been epicenters of Zarqawi organization activity since at least 2006,
remained active group strongholds through January 2008. 1281

Sunni and Shia militant groups employed a variety of TTPs in the significant amount of attacks
executed in Saladin Province.1282 The largest portion of these attacks appear to have employed IEDs
in various ways, including roadside bombings against vehicle-mounted or ground forces. 1283

In addition to IEDs, militant groups operating in Saladin Province also employed the use of small
arms attacks and rocket-propelled grenade (RPG) attacks. 1284 Each of these types of attacks was
employed either in standalone fashion or, at times, in combination with other types of attacks.

In at least one instance, Coalition forces uncovered a Zarqawi organization-linked EFP “factory” in
the province. In July 2007, the Iraqi police detained the leader of an AQI cell in Samarra that facilitated
the manufacture of IEDs and EFPs. The militant leader was reportedly in charge of a 50-member
Zarqawi organization network and was directly involved with an EFP factory in Samarra. 1285

Shia Militant Groups in Saladin Province
Despite the presence in Saladin Province of important Shia shrines, the province’s then-small Arab
Shia population likely did not form a sufficiently large support base to support Shia militant groups’
recruitment efforts or sustained presence and operations. 1286 However, local Sunnis were subjected to
periodic sectarian abuses by Iranian-backed or Iranian-allied Shia militias – like JAM – who claimed
to be retaliating against Sunni sectarian atrocities committed against their co-religionists or holy
sites.1287

1280 Bill Roggio, “AQI Suicide Bombers Target the Salahadin Awakening,” The Washington Examiner, October 9, 2007,

https://www.washingtonexaminer.com/weekly-standard/aqi-suicide-bombers-target-the-salahadin-awakening.
1281 Eric Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, (Washington, DC: Institute for the Study

of War, 2008), p. 16, https://www.understandingwar.org/sites/default/files/reports/Iraq%20Report%208.pdf.
1282 Rayburn & Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-2006, pp. 177, 490.
1283      Mapping        Militant      Organizations,        “Ansar       al-Islam,”     Stanford      University,       n.d.,
https://cisac.fsi.stanford.edu/mappingmilitants/profiles/ansar-al-islam; Department of Homeland Security, “Ansar Al-
Sunnah Top 20 IED Attacks,” TRIPwire, n.d., https://tripwire.dhs.gov/videos/146975; National Counterterrorism
Center, NCTC 2007 Report on Terrorism (April 30, 2008), p. 15, https://apps.dtic.mil/sti/pdfs/ADA483436.pdf; Roggio,
“Al Qaeda in Iraq Executes Bombing Offensive.”; “Police: Suicide Blasts Kill 13 in Ramadi,” CNN, May 7, 2007,
https://web.archive.org/web/20070509140215/http:/edition.cnn.com/2007/WORLD/meast/05/07/iraq.main/.
1284 START (National Consortium for the Study of Terrorism and Responses to Terrorism). (2022). Global Terrorism

Database               1970               -            2020               [GTD               ID:             200708240037],
https://www.start.umd.edu/gtd/search/IncidentSummary.aspx?gtdid=200708240037; Mapping Militant Organizations,
“Ansar al-Islam.”
1285 Marisa Cochrane, Backgrounder #26: Iran and Al-Qaeda in Iraq: What’s the Connection? Institute for the Study of War,

(Washington, DC: Institute for the Study of War, March 20, 2008), p. 12,
https://www.understandingwar.org/sites/default/files/reports/Iran%20and%20Al-
Qaeda%20in%20Iraq.pdf#page=12.
1286 “City of Samarra,” Explore Iraq, n.d., https://www.exploreiraq.com/samarra.
1287 Melissa Cochrane, Iraq Report 12: The Fragmentation of the Sadrist Movement, (Washington, DC: Institute for the Study of

War, January 2009), p. 21; U.S. Department of State, Bureau of Near Eastern Affairs, Iraq Weekly Status Report, (June 20,
2007), p. 8. https://2001-2009.state.gov/documents/organization/87080.pdf; John F. Burns & Jon Elsen, “Sunni
Mosques Attacked in Retaliation for Destruction of Shiite Minarets in Iraq,” New York Times, June 14, 2007
https://www.nytimes.com/2007/06/14/world/africa/14iht-14iraq.6138226.html.

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I now turn to consideration of the attacks in Saladin Province that the Plaintiffs have asked me to
assess.

Attack #17 – May 14, 2004 SVBIED Attack in Balad, Saladin Province that Killed U.S. Army
Sergeant James Harlan
Geography: Balad, Saladin Province
Attack Type: SVBIED Attack
Direct Victim(s): SGT James W. Harlan

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

            PEX 207, Department of the Army, USCENTCOM FOIA 22-0127, “Casualty Report –
             James Harlan,” (May 14, 2004).
            PEX 208, Office of the Armed Forces Medical Examiner, “Autopsy Report – James
             Harlan,” (June 7, 2004).
            PEX 209, Department of the Army, “Certificate of Death – James Harlan,” (May 17, 2004).

Attack Description
On May 14, 2004, U.S. Army Sergeant (SGT) James W. Harlan was serving with the 660th
Transportation Company, 88th Regional Readiness Command, Army Reserve at Camp Anaconda in
Balad, Saladin Province.1288

On the day of the attack, SGT Harlan was a passenger in a vehicle moving away from Camp Anaconda
when a passing vehicle that contained explosives blew up.1289

                                                                SGT Harlan was transported to
the 31st Combat Support Hospital (CSH) in Baghdad, where he was declared dead. 1290


Attack Attribution
I conclude that Ansar al-Islam (AAI) (as Ansar al-Sunna (AAS)) likely committed this suicide vehicle-
borne improvised explosive device (SVBIED) attack. This conclusion is based on the following data
points: (1) the geographic location and time period of the attack; and (2) the tactics, techniques, and
procedures (TTPs) used in this attack.

The Ansar al-Islam (AAI) organization has undergone several name changes since the group’s
founding in 2001. Originally established under the name Jund al-Islam, the group later adopted the
name Ansar al-Islam (AAI). On September 20, 2003 the group changed its name again to Ansar al-
Sunna. Given that this attack occurred after the group’s name change in 2003, this attribution will

1288 PEX 207, Department of the Army, USCENTCOM FOIA 22-0127, “Casualty Report – James Harlan,” (May 14,

2004), p. 2.
1289 PEX 208, Office of the Armed Forces Medical Examiner, “Autopsy Report – James Harlan,” (June 7, 2004), p. 3.
1289 PEX 207, p. 2.
1290 Ibid.
1291 PEX 208, p. 5; PEX 209, Department of the Army, “Certificate of Death – James Harlan,” (May 17, 2004), p. 3.


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refer to the group as Ansar al-Sunna (AAS). However, some sources may refer to the group as Ansar
al-Islam.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to AAS’s responsibility. This attack occurred on May 14, 2004 in Balad, Saladin Province. The below
map provides the approximate location of the attack.




                      Figure 40: Approximate location of the attack in Balad, Saladin Province.

During the time period of the attack, AAS credibly claimed responsibility for numerous attacks in the
vicinity of Balad, each of which is indicated below.

        On April 8, 2004, AAS claimed that “a group of mujahedin lured four Hummers to the Sufi
         Road in Ramadi, and after a clash with them, three Hummers were burned and those in them
         were killed. From our side, one of the perpetrators was martyred and a number of civilians
         were killed.”1292
        On April 9, 2004, AAS claimed responsibility for an attack on the Khulafa Mosque in Al-
         Dhuluiya, which led to “the destruction of the armored vehicle and the killing of its
         members.”1293
        On April 12, 2004, AAS claimed responsibility for an attack “north of Baghdad.” The claim
         stated that “the heroic mujahedin planted an ambush for an American patrol north of
         Baghdad, and the result was the destruction of two Humvees and the killing of those in
         them.”1294


1292 “‫[ النشرة اﻹخبارية لعمليات جيش أنصار السنة ﻓﻲ العراق‬Newsletter for Ansar al-Sunna Army Operations in Iraq],” Albasrah.net,

March 22 – April 19, 2004, https://www.albasrah.net/moqawama/maqalat/ansar2_190404.htm.
1293 Ibid.
1294 Ibid.




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            On April 13, 2004, AAS claimed responsibility for an attack between Kirkuk and Tikrit. The
             claim stated that “a group of mujahedin managed to kill one of the collaborators with the
             Americans, wounding another, and wounding a water tank on the Kirkuk-Tikrit road.” 1295

Per these claims, AAS orchestrated attacks in Kirkuk, Mosul, Ramadi, and Tikrit—all of which
surround Balad—during the relevant period. These attacks indicate that AAS maintained
uninterrupted area of operations dominance in the area between these cities, including in and around
Balad, at the time of the attack that killed SGT Harlan.

Tactics, Techniques, and Procedures (TTPs). Another indicator that AAS was responsible for the attack is
the TTPs used to carry it out. The perpetrators conducted a SVBIED attack.

In the months preceding this attack, AAS orchestrated several SVBIED attacks targeting Coalition
forces for which it claimed responsibility:

            On December 12, 2003, AAS claimed responsibility for a SVBIED attack on a US facility in
             Ramadi.1296
            On January 31, 2004, AAS claimed responsibility for an SVBIED attack against the al-Taqafah
             police center in Mosul.1297
            On February 23, 2004, AAS claimed responsibility for an SVBIED attack against the
             Rahimawa police station in Kirkuk.1298

AAS’s use of SVBIEDs also continued past May 2004. For example, AAS was responsible for a
SVBIED bombing on July 6, 2004 in Khalis, a town in Diyala Province, according to the Office of
the Director of National Intelligence.1299

Ruling Out Other Insurgent Groups. Other insurgent groups were also active in this area. I have considered
their activities in rendering my opinion that AAS is ultimately the organization likely responsible for
the attack.

As previously mentioned, Balad is located in Saladin Province in the Sunni Triangle, making it more
conducive to the activities of Sunni militant groups than those of Shia militant groups. As discussed
in the Saladin Province background section, Saladin Province’s population is primarily composed of
Sunni Arabs. Though Saladin Province is home to several important Shia shrines and to a small Shia
population, that Shia population was not large enough to sustain a consistent presence of Shia militias,


1295 Ibid.
1296 Michael Rubin, “Ansar Al-Sunna,” American Enterprise Institute, May 1, 2004, https://www.aei.org/articles/ansar-

al-sunna/; START (National Consortium for the Study of Terrorism and Responses to Terrorism), Global Terrorism
Database                1970            -                  2020                 [GTD        ID:200401310003],
https://www.start.umd.edu/gtd/search/IncidentSummary.aspx?gtdid=200401310003;        United   Nations     High
Commissioner for Refugees, Chronology of Events in Iraq, February 2004, August 13, 2004,
https://www.refworld.org/pdfid/413345194.pdf.
1297 Rubin, “Ansar Al-Sunna;” UNHCR, Chronology of Events in Iraq, February 2004.
1298 Rubin, “Ansar Al-Sunna.”
1299 Office of the Director of National Intelligence, “Counter Terrorism Guide Historic Timeline, 2015,” n.d.,

https://www.dni.gov/nctc/timeline.html#2000.


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leading to greater overall opportunities for Sunni militant groups. As AAS was the strongest group in
this area, it is unlikely that other insurgent groups conducted this attack.

JTJ was also active in Saladin Province during this time and often used the area as a refuge from the
pressure of Coalition forces in its other areas of influence.1300 However, according to the authoritative
Central Command (CENTCOM) Study on the Insurgency in Anbar Province, Iraq, in the months before
and leading up to the attack, JTJ was concentrating on fighting Coalition forces in the First Battle of
Fallujah, which occurred from April 4 to May 1, 2004.1301 During the battle, as many as 1,000 insurgents
operated in Fallujah.1302 According to a report on Fallujah by the U.S. Marine Corps, it was after that
battle that Zarqawi significantly increased JTJ’s presence outside Al Anbar, using Fallujah as a “base
of operations” for attacks outside of the province. 1303 While JTJ likely had fighters in Saladin Province
in mid-2004, the area was not then a priority for the organization’s attack networks. However, given
that Iran also supported JTJ, their possible involvement in the attack would not undermine my
conclusion concerning Iranian support for the attack that killed SGT Harlan.

Iranian Support. Iran provided support to AAS and Iran’s support had a reasonable connection to the
attack that killed SGT Harlan. Iranian support for AAS is detailed extensively in my Expert Report &
Declaration on Sunni Militant Organizations.1304 The following information further demonstrates the
significance of Iran’s support to AAS at the time and in the place of this specific attack:

        In 2003, the IRGC provided support for AAS operations in northern Iraq as well as provided
         safe haven for AAS leaders and operatives during Operation Viking Hammer.1305 Iranian
         support continued throughout the conflict in Iraq. Iran arranged a quid pro quo with AAS in
         2008 in which AAS fought alongside members of the IRGC against the Kurdistan Free Life
         Party in exchange for continued safe haven in Iran, which significantly enhanced AAS’s ability
         to conduct operations in Iraq.1306
        Iran provided training, funding, and organizational support to AAS, critical to AAS’s ability to
         maintain operations in Iraq. In 2004, British intelligence reports assesses that “‘Some elements
         of [Ansar al-Islam] remain in Iran. Intelligence indicates that elements’ of Iran’s Islamic
         Revolutionary Guard Corps ‘are providing safe haven and basic training to Iran-based AI




1300 “Chapter Six: AQI Dominates the Insurgency,” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June 13,

2007), p. 188, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
1301 “Chapter Four: The Insurgency Grows and Fights Pitched Battles (2004)” in Study of the Insurgency in Anbar

Province, Iraq (CENTCOM, June 13, 2007), p. 17, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.
1302 Ibid, p. 20.
1303 Timothy S. McWilliams & Nicholas J. Schlosser, U.S. Marines in Battle: Fallujah, November-December 2004,

(Quantico, VA: Marine Corps University, 2006), p. 4, https://www.usmcu.edu/Portals/218/FALLUJAH.pdf.
1304 See Expert Report & Declaration on Sunni Militant Organizations, pp. 67-68, 72-76.
1305 Geoffrey Gresh, “Instigating Instability: Iran’s Support of Non-State Armed Groups in Iraq,” The Fletcher School Online

Journal     for   issues related   to    Southwest      Asia   and   Islamic    Civilization, (Spring   2006),      p.    8,
https://ciaotest.cc.columbia.edu/olj/aln/aln_spring06/aln_spring06b.pdf.
1306 Scheherezade Faramarzi, “Iran’s Salafi Jihadis,” Atlantic Council, May 17, 2018,

https://www.atlanticcouncil.org/blogs/iransource/iran-s-salafi-jihadis; “Iran Reportedly Backed by Ansar Al-Islam
against PJAK Rebels,” BBC Monitoring Middle East, April 11, 2008.


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          [Ansar al-Islam] cadres.’”1307 Details of this training, relayed by Kimberly Kagan, include a
          “report by the Iraq Survey Group noted that a source had reported ‘approximately 320 Ansar
          al-Islam terrorists being trained in Iran…for various attack scenarios including suicide
          bombings, assassinations, and general subversion against U.S. forces in Iraq.’” 1308 U.S.
          intelligence reporting details that “an Iranian was aiding Ansar al-Islam ‘on how to build and
          set up’ improvised explosive devices, known as IEDs.” 1309 In 2006, Iran reportedly facilitated
          the recruitment of Iranian Kurds as AAS fighters by offering them monthly salaries of $1,500
          in return for submitting to ideological and military training.1310
         In December 2006, further evidence of Iranian support for AAS emerged when two Quds
          Force operatives were arrested in Baghdad. According to U.S. defense officials, the operatives
          possessed “weapons lists, documents pertaining to shipments of weapons into Iraq,
          organizational charts, telephone records and maps, among other sensitive intelligence
          information.” The operatives also reportedly “had information about importing modern,
          specially shaped explosive charges into Iraq, weapons that have been used in roadside bombs
          to target U.S. military armored vehicles.”1311 According to a U.S. intelligence official, the
          information gleaned from the operatives showed “how the Quds Force [was] working with
          individuals affiliated with Al Qaeda in Iraq and Ansar al-Sunna.”1312 Additionally, this Court
          has previously held Iran liable for an AAS-attributed attack based on Iran’s provision of
          material support to AAS that bolstered the group as a fighting and terrorist force. 1313

Summary
In summary, I conclude that it is likely that AAS carried out the May 14, 2004 SVBIED attack in
Balad, Saladin Province that killed U.S. Army SGT James Harlan. My conclusion is based on the
following:

         AAS possessed area of operations dominance in the Sunni Triangle, which encompasses Balad,
          during the period in which the attack occurred and was motivated to conduct the attack.
         The attack exhibited TTPs commonly associated with AAS.

I further conclude that Iran’s material support substantially contributed to AAS’s commission of this
attack.




1307 Kimberly Kagan,     May 2006 – August 20, 2007 Iran’s Proxy War against the United States and the Iraqi Government,
(Washington,        DC:       Institute     for    the       Study      of       War,      August      29,      2007),      p.    7,
https://www.understandingwar.org/sites/default/files/reports/IraqReport06.pdf.
1308 Ibid.
1309 Ibid.
1310 “Iran Allegedly Using Ansar Al-Islam, Al-Qa’idah to Interfere in Iraqi Kurdistan,” BBC Monitoring Middle East, April

28, 2007; “Report Views Relationship between Iran, Iraqi Kurds,” BBC Monitoring Middle East, April 27, 2007; “Iraqi
Kurdish Article: Border Attack Shows Iran Cannot Be Trusted,” BBC Monitoring Middle East, July 18, 2007.
1311 Eli Lake, “Iran’s Secret Plan for Mayhem,” The New York Sun, January 3, 2007.
1312 Ibid.
1313 Memorandum Opinion and Order, Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248- CRC (D.D.C., Aug. 18, 2023)

(“Given the sophistication of the attack, the location of the attack in an AAI safe haven, and a credible attribution by both
plaintiffs’ expert and a military report, the Court is satisfied that there is sufficient evidence to attribute the fifth bellwether
attack to AAI, which received material support from the defendants, and holds the defendants liable for the attack.”).

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Attack #1 – July 21, 2004 IED Attack in Ad Duluiyah, Saladin Province that Killed U.S. Army
Private First Class Nicholas Blodgett
Geography: Ad Duluiyah, Saladin Province
Attack Type: IED Attack
Direct Victim(s): PFC Nicholas Blodgett

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

           PEX 210, Department of the Army, USCENTCOM FOIA 22-0077, Ops Report, “IED
            ATTK ON 1-4CAV AD DULUIYAH: 1CF KIA, 6 CF WIA [redacted],” (July 21, 2004).
           PEX 211, Office of the Armed Forces Medical Examiner, “Autopsy Report - Nicholas
            Blodgett,” (August 18, 2004).

Attack Description
On July 21, 2004, Private First Class (PFC) Nicholas Blodgett was serving with the 1st Squadron, 4th
Cavalry Regiment in Ad Duluiyah (also transliterated as Al Duloiya), a town northeast of the city of
Balad in Saladin Province.1314 PFC Blodgett was driving a M3A3 Cavalry Fighting vehicle while on
patrol in the Ad Duluiyah area.1315 At 00:23, PFC Blodgett was moving west on alternative supply
route (ASR) Dover when an improvised explosive device (IED) detonated. 1316
                                                                          Six other servicemembers
were wounded in the attack.1318




Attack Attribution
I conclude that Ansar al-Islam (AAI) (as Ansar al-Sunna (AAS)) likely committed this IED attack.
This conclusion is based on the following data points: (1) the geographic location and time period of
the attack; and (2) the tactics, techniques, and procedures (TTPs) used in this attack.

The Ansar al-Islam (AAI) organization has undergone several name changes since the group’s
founding in 2001. Originally established under the name Jund al-Islam, the group later adopted the
name Ansar al-Islam (AAI). On September 20, 2003 the group changed its name again to Ansar al-
Sunna. Given that this attack occurred after the group’s name change in 2003, this attribution will
refer to the group as Ansar al-Sunna (AAS). However, some sources may refer to the group as Ansar
al-Islam.


1314 PEX 210, Department of the Army, USCENTCOM FOIA 22-0077, Ops Report, “IED ATTK ON 1-4CAV AD

DULUIYAH: 1CF KIA, 6 CF WIA [redacted],” (July 21, 2004), p. 2.
1315 PEX 211, Office of the Armed Forces Medical Examiner, “Autopsy Report - Nicholas Blodgett,” (August 18, 2004),

p. 3.
1316 PEX 210, p. 2.
1317 PEX 211, p. 5.
1318 PEX 210, p. 2.
1319 PEX 211, p. 5.


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I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to AAS’s responsibility. This attack took place on July 21, 2004 in Ad Duluiyah. The town is located
in the Sunni Triangle, a geographical region with a Sunni majority bounded by Baghdad, Ramadi, and
Tikrit in northern Iraq. The map below provides the approximate location of the attack.




                 Figure 41: Approximate location of the attack in Ad Duluiyah, Saladin Province.

Even prior to the collapse of Saddam Hussein’s government, AAS was the dominant militant group
in the northern Kurdish areas outside of Saddam’s control. Demonstrating AAS’s reach, in August
2003 Al-Hayat – a pan-Arab newspaper – stated that “it was suspected that the Ansar al-Islam group
was in connection with Islamists in Fallujah, Tikrit, Bayali, and Baghdad.” 1320

In addition to the aforementioned open-source reporting describing AAS’s general area of operations
in northern Iraq at the beginning of the Iraq War, the group credibly claimed responsibility for
numerous attacks in the vicinity of Balad, where the attack that killed PFC Blodgett occurred.
According to the claims, AAS orchestrated attacks in Kirkuk, Mosul, Ramadi, and Tikrit, all of which
surround Ad Duluiyah, thus suggesting that AAS maintained area of operation dominance in the area
between the cities at that time. Below are attacks during 2004 in the Sunni Triangle for which AAS
claimed responsibility:

        On April 8, 2004, AAS released a claim of responsibility for an attack in Ramadi. According
         to the claim, “a group of mujahedin lured four Hummers to the Sufi Road in Ramadi, and




1320 Jonathan Schanzer, “Ansar al-Islam: Back in Iraq,” Insight Turkey,   6:1, (March 2004), p. 100.


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         after a clash with them, three Hummers were burned and those in them were killed. From our
         side, one of the perpetrators was martyred and a number of civilians were killed.” 1321
        On April 9, 2004, AAS released a claim of responsibility for an attack in Ad Duluiyah.
         According to the claim, “the mujahedin launched RPGs [rocket-propelled grenades] at an
         American armored vehicle near the Al-Khulafa Mosque in Al-Dhuluiya, north of Baghdad,
         which led to the destruction of the armored vehicle and the killing of its members.” 1322
        On April 12, 2004, AAS released a claim of responsibility for an attack “north of Baghdad.” 1323
         The claim stated that “the heroic mujahedin planted an ambush for an American patrol north
         of Baghdad, and the result was the destruction of two Humvees and the killing of those in
         them.”1324
        On April 13, 2004, AAS released a claim of responsibility for an attack between Kirkuk and
         Tikrit. The claim stated that “a group of mujahedin managed to kill one of the collaborators
         with the Americans, wounding another, and wounding a water tank on the Kirkuk-Tikrit
         road.”1325
        On October 2, 2004, AAS released a claim of responsibility for the execution of an Iraqi
         contractor working for Coalition Forces in Taji. 1326

Tactics, Techniques, and Procedures (TTPs). Another indicator that AAS was responsible for this attack is
the TTPs used to carry it out. The perpetrators conducted an IED attack. At the time of the attack,
AAS commonly used IEDs in their operations. According to a group profile of AAS by the Center
for International Security and Cooperation at Stanford University, “small arms and IED attacks were
[AAS’s] most commonly employed munitions” from its inception in 2001 to 2014. 1327

AAS’s use of IEDs is further exemplified by videos of attacks using these weapons circulated by the
group. By December 2004, AAS had become known for its use of “videos of rocket attacks and
roadside bombings as part of its recruiting and training campaign.” 1328 According to the U.S.
Department of Homeland Security’s Technical Resource for Incident Prevention—an online resource
that combines expert analyses and reports with relevant document related to IED incidents—in 2007
AAS circulated a video with English subtitles of their “Top 20 IED Attacks.” 1329 The video shows
IED attacks in a variety of cities in the Sunni Triangle, including Balad.1330 Though the time period of
the attacks in the video cannot be confirmed, the footage further demonstrates the routine use of
IEDs by AAS in and around Balad and the Sunni Triangle.

1321 “ ‫[النشرة اﻹخبارية لعمليات جيش أنصار السنة ﻓﻲ العراق‬Newsletter for Ansar al-Sunna Army Operations in Iraq],” Albasrah.net,

March 22 – April 19, 2004, https://www.albasrah.net/moqawama/maqalat/ansar2_190404.htm.
1322 Ibid.
1323 Ibid.
1324 Ibid.
1325 Ibid.
1326 Zidan Kalaf, “U.S., Iraqi Officials Declare Success in Samarra Assault; 125 Rebels Killed,” Associated Press, October

3, 2004.
1327       Mapping       Militant       Organizations,      “Ansar      al-Islam,”     Stanford       University,     n.d.,
https://cisac.fsi.stanford.edu/mappingmilitants/profiles/ansar-al-islam.
1328     “Profile     of    Terror      Group      Ansar     al-Sunna,”     ABC      News,     December       21,    2004,
https://abcnews.go.com/WNT/story?id=350505.
1329   Department of Homeland Security, “Ansar Al-Sunnah Top 20 IED Attacks,” TRIPwire, n.d.,
https://tripwire.dhs.gov/videos/146975.
1330 Ibid.




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Ruling Out Other Insurgent Groups. Other insurgent groups were also active in this area. I have considered
their activities in rendering my opinion that AAS is ultimately the organization likely responsible for
the attack.

JTJ was also active in Saladin Province during this time, and often used the area as a refuge from the
pressure of Coalition forces in its other areas of influence.1331 However, according to CENTCOM’s
authoritative study on the insurgency in Anbar Province, in the months before the attack, JTJ was
concentrating on fighting Coalition forces in the First Battle of Fallujah, which occurred from April 4
to May 1, 2004.1332 During the battle, as many as 1,000 insurgents operated in Fallujah.1333 According
to a report on Fallujah by the U.S. Marine Corps, it was after that battle that Zarqawi significantly
increased JTJ’s presence outside Al Anbar, using Fallujah as a “base of operations” for attacks outside
of the province.1334 While JTJ likely had fighters in Saladin Province in mid-2004, the area was not
then a priority for the organization’s attack networks.

However, given that Iran also supported JTJ, JTJ’s possible involvement in the attack would not
undermine my conclusion concerning Iranian support for the attack that killed PFC Blodgett.

Additionally, as previously noted, Ad Duluiyah is located in Saladin Province in the Sunni Triangle,
thus making it more conducive to Sunni militant groups. Although Saladin Province is home to several
important Shia shrines and to a small Shia population, that Shia population was not large enough to
sustain a consistent presence of Shia militias, leading to greater overall opportunities for Sunni militant
groups. As AAS was the strongest group in this area, it is unlikely that other insurgent groups,
especially Shia militants, conducted this attack.

Iranian Support. Iran provided support to AAS, and Iran’s support had a reasonable connection to the
attack that killed PFC Blodgett. Iranian support for AAS is detailed extensively in my Expert Report &
Declaration on Sunni Militant Organizations.1335 The following information further demonstrates the
significance of Iran’s support to AAS at the time and in the place of this specific attack:

        In 2003, the IRGC provided support for AAS operations in northern Iraq as well as provided
         safe haven for AAS leaders and operatives during Operation Viking Hammer.1336 Iranian
         support continued throughout the conflict in Iraq. Iran arranged a quid pro quo with AAS in
         2008 in which AAS fought alongside members of the IRGC against the Kurdistan Free Life


1331 “Chapter Six: AQI Dominates the Insurgency,” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, June 13,

2007), p. 188, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
1332 “Chapter Four: The Insurgency Grows and Fights Pitched Battles (2004)” in Study of the Insurgency in Anbar Province,

Iraq,     (CENTCOM,        June     13,      2007),     p.    17,   https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.
1333 Ibid, p. 20.
1334 Timothy S. McWilliams & Nicholas J. Schlosser, U.S. Marines in Battle: Fallujah, November-December 2004,

(Quantico, VA: Marine Corps University, 2006), p. 4, https://www.usmcu.edu/Portals/218/FALLUJAH.pdf.
1335 See Expert Report & Declaration on Sunni Militant Organizations, pp. 67-68, 72-76.
1336 Geoffrey Gresh, “Instigating Instability: Iran’s Support of Non-State Armed Groups in Iraq,” The Fletcher School Online

Journal for Issues Related          to Southwest Asia           and   Islamic   Civilization (Spring 2006), p. 8.
https://ciaotest.cc.columbia.edu/olj/aln/aln_spring06/aln_spring06b.pdf.


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           Party in exchange for continued safe haven in Iran, which significantly enhanced AAS’s ability
           to conduct operations in Iraq.1337
          Iran provided training, funding, and organizational support to AAS, critical to AAS’s ability to
           maintain operations in Iraq. In 2004, British intelligence reports assesses that “‘Some elements
           of [Ansar al-Islam] remain in Iran. Intelligence indicates that elements’ of Iran’s Islamic
           Revolutionary Guard Corps ‘are providing safe haven and basic training to Iran-based AI
           [Ansar al-Islam] cadres.’”1338 Details of this training, relayed by Kimberly Kagan, include a
           “report by the Iraq Survey Group noted that a source had reported ‘approximately 320 Ansar
           al-Islam terrorists being trained in Iran…for various attack scenarios including suicide
           bombings, assassinations, and general subversion against U.S. forces in Iraq.’” 1339 U.S.
           intelligence reporting details that “an Iranian was aiding Ansar al-Islam ‘on how to build and
           set up’ improvised explosive devices, known as IEDs.” 1340 In 2006, Iran reportedly facilitated
           the recruitment of Iranian Kurds as AAS fighters by offering them monthly salaries of $1,500
           in return for submitting to ideological and military training.1341
          In December 2006, further evidence of Iranian support for AAS emerged when two Quds
           Force operatives were arrested in Baghdad. According to U.S. defense officials, the operatives
           possessed “weapons lists, documents pertaining to shipments of weapons into Iraq,
           organizational charts, telephone records and maps, among other sensitive intelligence
           information.” The operatives also reportedly “had information about importing modern,
           specially shaped explosive charges into Iraq, weapons that have been used in roadside bombs
           to target U.S. military armored vehicles.”1342 According to a U.S. intelligence official, the
           information gleaned from the operatives showed “how the Quds Force [was] working with
           individuals affiliated with Al Qaeda in Iraq and Ansar al-Sunna.”1343 Additionally, this Court
           has previously held Iran liable for an AAS-attributed attack based on Iran’s provision of
           material support to AAS that bolstered the group as a fighting and terrorist force. 1344

Summary
In summary, I conclude that it is likely that AAS carried out the July 21, 2004 attack in Ad Duluiyah,
Saladin Province that killed U.S. Army PFC Nicholas Blodgett. My conclusion is based on the
following:



1337     Scheherezade      Faramarzi,        “Iran’s     Salafi     Jihadis,”     Atlantic     Council,      May       17,     2018,
https://www.atlanticcouncil.org/blogs/iransource/iran-s-salafi-jihadis; “Iran Reportedly Backed by Ansar Al-Islam
against PJAK Rebels,” BBC Monitoring Middle East, April 11, 2008.
1338 Kimberly Kagan, May 2006 – August 20, 2007 Iran’s Proxy War against the United States and the Iraqi Government,

(Washington,        DC:       Institute     for      the     Study      of       War,      August      29,      2007),      p.    7,
https://www.understandingwar.org/sites/default/files/reports/IraqReport06.pdf.
1339 Ibid.
1340 Ibid.
1341 “Iran Allegedly Using Ansar Al-Islam, Al-Qa’idah to Interfere in Iraqi Kurdistan,” BBC Monitoring Middle East, April

28, 2007; “Report Views Relationship between Iran, Iraqi Kurds,” BBC Monitoring Middle East, April 27, 2007; “Iraqi
Kurdish Article: Border Attack Shows Iran Cannot Be Trusted,” BBC Monitoring Middle East, July 18, 2007.
1342 Eli Lake, “Iran’s Secret Plan for Mayhem,” New York Sun, January 3, 2007.
1343 Ibid.
1344 Memorandum Opinion and Order, Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248- CRC (D.D.C., Aug. 18, 2023)

(“Given the sophistication of the attack, the location of the attack in an AAI safe haven, and a credible attribution by both
plaintiffs’ expert and a military report, the Court is satisfied that there is sufficient evidence to attribute the fifth bellwether
attack to AAI, which received material support from the defendants, and holds the defendants liable for the attack.”).

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       ● AAS had area of operations dominance in the area surrounding Ad Duluiyah during the period
         when this attack occurred and was motivated to conduct the attack.
       ● The attack exhibited TTPs commonly associated with AAS.

Finally, I conclude that Iran’s material support substantially contributed to AAS’s commission of
this attack.

Attack #7 – March 5, 2007 IED Attack in Samarra, Saladin Province that Killed U.S. Army
Staff Sergeant Justin Estes
Attack Location: Samarra, Saladin Province
Attack Type: IED Attack
Direct Victim(s): SSG Justin Estes

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

             PEX 212, Department of the Army, “Report of AR 15-6 Investigation Pertaining to the
              Death of Staff Sergeant Justin Estes” (March 28, 2007).
             PEX 213, Department of the Army, USCENTCOM 22-0109, Ops Report, “IED
              Explosion (VOIED) Attk on C/2-505 IVO Samarra (Route Unknown): 6 CF KIA 4 CF
              WIA 1 CIV KIA” (March 5, 2007).
             PEX 214, Office of the Armed Forces Medical Examiner, “Autopsy Report - Justin Estes”
              (March 22, 2007).

Attack Description
On March 5, 2007, U.S. Army Staff Sergeant (SSG) Justin Estes was serving in 2nd Battalion, 505th
Parachute Infantry Regiment, 3rd Brigade Combat Team, 82nd Airborne Division in Samarra, Saladin
Province.1345

On the day of the attack, SSG Estes’s platoon was patrolling the eastern edge of Zone 9, in the
southeast portion of Samarra, attempting to locate the person responsible for using a bulldozer to dig
holes in the ground.1346 According to the U.S. Army’s AR 15-6 investigation report on the attack, the
patrol was moving north when “the first vehicle of the four vehicle patrol struck a victim-operated
improvised explosive device (VOIED).... This blast completely destroyed the vehicle, effectively
cutting it in half.”1347




1345




PEX 212, Department of the Army, “Report of AR 15-6 Investigation Pertaining to the Death of Staff Sergeant Justin
Estes” (March 28, 2007), p. 3.
1346 Ibid.
1347 Ibid., pp. 3-12.




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SSG Estes, who was in the patrol’s third vehicle, ran towards the impacted vehicle and soldiers to
provide medical aid.1348 The AR 15-6 report explains that “shortly after the first explosion there was a
second explosion. It is not clear who set off the second, well-hidden, Victim-Operated IED. This
second explosion killed” SSG Estes.1349

The Explosive Ordinance Disposal (EOD) unit’s final analysis of the attack location concluded that
the first VOIED was triggered by a pressure plate, and contained 155mm projectiles. 1350 The second
VOIED, which was approximately 100 meters away from the first, was determined to have a similar
makeup.1351


                                                                                                The attack killed six
                                                                                1353
servicemembers, including SSG Estes, and wounded four others.

Attack Attribution
I conclude that the Zarqawi organization (as the Islamic State of Iraq) likely committed this IED
attack. This conclusion is based on the following data points: 1) the geographical location and time
period of this attack; and 2) the tactics, techniques, and procedures (TTPs) used in this attack.

The Zarqawi organization has undergone several name changes since the group’s inception in 1993.
On October 15, 2006, the group announced its adoption of the Islamic State of Iraq (ISI) moniker. 1354
This attack took place while the group referred to itself as ISI, and thus this attribution will refer to
the group as ISI as well. However, some sources cited in this attribution refer to the organization by
its former names, including MSC, AQI and JTJ.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to ISI’s responsibility. The attack occurred on March 5, 2007 in Samarra, Saladin Province. The below
map provides the approximate location of the attack.




1348 Ibid., p. 3.
1349 Ibid., p. 4.
1350 PEX 213, Department of the Army, USCENTCOM 22-0109, Ops Report, “IED Explosion (VOIED) Attk on C/2-

505 IVO Samarra (Route Unknown): 6 CF KIA 4 CF WIA 1 CIV KIA” (March 5, 2007), p. 2.
1351 Ibid.
1352 PEX 214, Office of the Armed Forces Medical Examiner, “Autopsy Report - Justin Estes” (March 22, 2007), pp. 3-5.
1353 PEX 213, pp. 3, 4.
1354 Majlis Shura al-Mujahidin fi-l-Iraq, statement on the establishment of the Islamic State of Iraq, October 15, 2006.


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                    Figure 42: Approximate location of the attack in Samarra, Saladin Province.

ISI maintained an operational presence in Samarra in the time period leading up to and after the attack
that killed SSG Estes, as demonstrated by the following events:

        A 2007 CENTCOM report on the insurgency in Al Anbar Province states that ISI sent
         members from Al Anbar to Saladin, particularly the area between Samarra and Lake Thar
         Thar.1355
        In November 2006, in an attempt to attack the Sufia district in Ramadi, “a force of 200-300
         AQI and Ansar al-Sunna fighters was assembled ... with some volunteers coming from as far
         afield as Samarra in Salahaddin province. Their goal was to overwhelm the tribe in the Sufia
         district by attacking police stations in waves.”1356
        In May 2007, ISI carried out a roadside bomb attack against “an Iraqi army vehicle Monday in
         Samarra, killing five soldiers.”1357
        In June 2007, ISI attacked two minarets of the Askariyah Shrine in Samarra. 1358
        In August 2007, ISI attacked four Iraqi police checkpoints and a headquarters building in
         Samarra.1359
        On October 4, 2007, ISI claimed responsibility for a roadside IED attack against the Saladin
         Awakening Council near Ishaqi, Saladin, approximately 17 miles from Samarra. 1360

1355 “Chapter Six: AQI Dominates the Insurgency (2006)” in Study of the Insurgency in Anbar Province, Iraq, (CENTCOM,

June 13, 2007), p. 128, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
1356 Ibid., p. 213.
1357 “Police: Suicide Blasts Kill 13 in Ramadi,” CNN, May 7, 2007.
1358 U.S. Department of State, Bureau of Near Eastern Affairs, Iraq Weekly Status Report, (June 20, 2007), p. 3, https://2001-

2009.state.gov/documents/organization/87080.pdf.
1359      “Incident      Summary,”        Global   Terrorism      Database,      University       of     Maryland,        n.d.,
https://www.start.umd.edu/gtd/search/IncidentSummary.aspx?gtdid=200708240037.
1360   National Counterterrorism Center, NCTC 2007 Report on Terrorism (April 30, 2008), p. 17,
https://apps.dtic.mil/sti/pdfs/ADA483436.pdf.


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Additionally, by May 2007, credible news reports stated that Samarra had been “singled out” by ISI,
with the group issuing warnings of attacks against Iraqi police forces in the city. 1361 This further
demonstrates the strength and prominence of the ISI organization in Samarra at the time of the attack
that killed SSG Estes.

Tactics, Techniques, and Procedures (TTPs). Another indicator that ISI was responsible for the attack is the
TTPs used to carry it out. The perpetrators conducted an IED attack. As outlined by the Operations
Report (Ops Report), the IED that killed SSG Estes consisted of “a pressure switch which detonated
3-4 155mm projectiles.”1362

At the time of the attack, ISI’s use of IEDs was well-documented. According to the aforementioned
CENTCOM report on Saladin’s neighboring Al Anbar Province, typical ISI fighters in Al Anbar were
armed with “a wide range of IEDs that were regularly used in stand-off attacks, ambushes, and as a
cover for retreats” in 2006.1363

ISI’s use of IEDs in Al Anbar continued in 2007. ISI documents seized by Coalition forces in early
2007 indicated that the group conducted “training camps” for members in Al Anbar Province that
included instruction on IED construction and use.1364 Beyond basic IED training, the January 2007
capture of an ISI IED cell leader by Coalition forces demonstrates that ISI also maintained specialized
IED cells at the time of the attack that killed SSG Estes. 1365

ISI continued to maintain networks of IED cells even after the date of this attack, per the U.S. Army’s
June 2007 report on Operation Phantom Strike.1366 Additional evidence of this network emerged in
July 2007, when U.S. forces seized an ISI weapons cache south of Baghdad, which included materials
to construct IEDs similar to the device that killed SSG Estes. 1367

ISI’s use of IEDs in Saladin Province during 2007 also is well documented. On October 4, 2007, ISI
claimed responsibility for a roadside IED attack against the Saladin Awakening Council near Ishaqi,
Saladin Province, approximately 18 miles from Samarra. 1368 As 2007 progressed, ISI also established a
“ghazw [raid] campaign” in Saladin Province which stated that “the individual mission of each mujahid


1361      “Police:      Suicide     Blasts     Kill      13       in      Ramadi,”          CNN,        May          7,    2007,
https://web.archive.org/web/20070509140215/http://edition.cnn.com/2007/WORLD/meast/05/07/iraq.main/.
1362 PEX 213, p. 2.
1363 “Chapter Six: AQI Dominates the Insurgency (2006),” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM, July

13, 2007), p. 46, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf.
1364 “Chapter Seven: Rise of the Anbar Salvation Front (2007),” in Study of the Insurgency in Anbar Province, Iraq (CENTCOM,

July 13, 2007), p. 23, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1004.%20Chapter%207.pdf.
1365    “Soldiers    Free     Torture    Victims     Near     Fallujah,” U.S.      Army       Press   Service,     January   29,
2007, https://www.army.mil/article/1552/soldiers_free_torture_victims_near_fallujah.
1366      USCENTCOM, MNC-I              C3       Plans      and       Policy       Notes       (#30), (July        2007),     p.
1, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/0339.%20MNCI%20C3%20Plans%20and%20Policy%20Notes%20(SIPR)%2026%20JUL%2007.pdf.
1367   “Iraqi Informants Lead U.S. Soldiers to Weapons, IED Caches,” DVIDS Hub, July 19, 2007,
https://www.dvidshub.net/news/11349/iraqi-informants-lead-us-soldiers-weapons-ied-caches.
1368   National Counterterrorism Center, NCTC 2007 Report on Terrorism (April 30, 2008), p. 15,
https://apps.dtic.mil/sti/pdfs/ADA483436.pdf.


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… is to conduct 3 IED attacks or 3 attacks with explosives, especially martyrdom attacks, or at least
to kill 3 ‘apostates and traitors.’” 1369

Ruling Out Other Insurgent Groups. Shia militants are unlikely to have conducted the attack which killed
SSG Estes. Saladin Province is overwhelmingly Sunni Arab, a critical factor that denied Shia
organizations from establishing a consistent foothold in the territory, while guaranteeing the
predominance of Sunni militant organizations.

Though ISI was the stronger and hence the likelier of the two to be responsible for this attack, it is
possible that another Sunni militant organization, Ansar al-Islam (AAI/AAS), was involved in this
attack. That group conducted several attacks against Coalition forces in Saladin Province between
2006 and 2008.1370 Additionally, the March 5, 2007 IED attack that killed SSG Estes occurred during
a period when ISI and AAS cooperated closely.1371 In fact, at this time it could be difficult to distinguish
between the outer organizational boundaries of ISI and AAS, in part because some of AAS’s cadres
were in the process of being absorbed into ISI during this period. 1372 However, given ISI’s significant
presence in the area and execution of similar attacks around the March 5, 2007 attack that killed SSG
Estes, I find ISI more likely to be responsible for the attack than AAS.

Notably, while ISI is the most likely culprit behind this attack, AAS’s possible involvement would not
undermine a finding of Iran’s culpability, because of 1) the cooperation between AAS and ISI during
this period, and hence the commingling of their resources, and 2) because Tehran also provided
significant material support to AAS.1373

Iranian Support. Iran provided support to ISI and Iran’s support had a reasonable connection to the
attack that killed SSG Estes. Iranian support for ISI is detailed extensively in my Expert Report &
Declaration on Sunni Militant Organizations.1374 The following information further demonstrates the
significance of Iran’s support to ISI at the time and in the location of this specific attack:

       ● Iran supported ISI militants in Saladin Province, where the attack occurred, through provision
         of arms and intelligence. In December 2006, evidence of Iranian support for ISI emerged
         when two Quds Force operatives were arrested in Baghdad. According to U.S. defense
         officials, the operatives possessed “weapons lists, documents pertaining to shipments of
         weapons into Iraq, organizational charts, telephone records and maps, among other sensitive
         intelligence information.” The operatives also reportedly “had information about importing

1369  Bill Roggio, “Al Qaeda in Iraq Executes Bombing Offensive,” Long War Journal, December 8, 2007,
https://www.longwarjournal.org/archives/2007/12/al_qaeda_in_iraq_exe.php.
1370 Australian Parliamentary Joint Committee on Intelligence and Security, Review of the re-listing of Ansar al-Islam,

Islamic Movement of Uzbekistan, Lashkar-e Jhangvi and Jaish-e-Mohammad, Appendix B (May 25, 2015), p. 6,
https://www.aph.gov.au/parliamentary_business/committees/house_of_representatives_committees?url=pjcis/six%20
terrorist/report/appendix%20b.pdf.
1371   Center for International Security and Cooperation, Stanford University, “Ansar al-Islam,” n.d.,
https://cisac.fsi.stanford.edu/mappingmilitants/profiles/ansar-al-islam; Home Office Immigration and Nationality
Directorate,        “Operational       Guidance        Note:        Iraq,”       (January 12,     2006),     p.      9,
https://www.ecoi.net/en/file/local/1234188/hl990_Iraq_v2.0_January_2006.pdf.
1372 Daveed Gartenstein-Ross, “Expert Witness Declaration & Report on Sunni Militant Groups,” Estate of Christopher

Brook Fishbeck, et al., v. Islamic Republic of Iran, et al., April 24, 2022, p. 40.
1373 Eli Lake, “Iran’s Secret Plan for Mayhem,” New York Sun, January 3, 2007.
1374 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.




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       modern, specially shaped explosive charges into Iraq, weapons that have been used in roadside
       bombs to target U.S. military armored vehicles.”1375 According to a U.S. intelligence official,
       the information gleaned from the operatives showed “how the Quds Force [was] working with
       individuals affiliated with Al Qaeda in Iraq and Ansar al-Sunna.”1376
     ● In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
       Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment
       of improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations
       with Iran and al-Qaeda, identifies his work in distributing designs for remote detonation
       devices used by terrorist organizations in Iraq, and connects him to multiple IED networks
       across northern Iraq, where ISI primarily operated.1377 Given his affiliations with Iran and al-
       Qaeda, and the nature of his activities in Iraq, it is very likely that Ghazala played a role in
       facilitating IED attacks for ISI.
     ● This Court has previously validated the causal connection between Iran’s provision of money
       and weapons to ISI and the terrorist group’s ability to execute attacks. Indeed, this Court has
       held that Iran’s provision of material support and resources to ISI (including training, money,
       small arms, RPGs, IEDs, IEDs with mortar components, specially shaped explosive charges,
       and grenades) was sufficient to hold Iran liable for attacks carried out by ISI.1378 This Court
       also previously found that Iran materially ISI in carrying out IED attacks throughout Iraq
       from June 2004 and May 2007.1379

Summary
In summary, I conclude that it is likely that ISI carried out the March 5, 2007, IED attack in Samarra,
Saladin Province that killed U.S. Army SSG Justin Estes. My conclusion is based on the following:

            ISI had areas of operations dominance in the province during the period when this attack
             occurred and was motivated to conduct the attack.
            The attack exhibited TTPs commonly associated with ISI.

I further conclude that Iran’s material support substantially contributed to ISI’s commission of this
attack.




1375 Lake, “Iran’s Secret Plan for Mayhem.”
1376 Ibid.
1377 Office of the Spokesperson, U.S. Department of State, “Terrorist Designation of HAMAS Operative Muhammad

Hisham          Muhammad             Isma’il      Abu      Ghazala,”      September      22,      2011,        https://2009-
2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.
1378 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *1-*2 (D.D.C., Dec. 28, 2022); Roth

v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023); Memorandum Opinion and Order,
Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of Iran,
No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 20-21, 40.
1379 See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023).


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Attack #11 – October 24, 2007 IED Attack in Baiji, Saladin Province that Killed District of
Columbia Army National Guard Sergeant First Class Robin Towns Sr.
Geography: Baiji, Saladin Province
Attack Type: IED Attack
Direct Victim: SFC Robin L Towns Sr.

Materials Reviewed
In reaching my expert opinion, I relied on numerous authoritative, publicly available sources and the
following documents that are attached as exhibits to Plaintiffs’ Bellwether Motion for Default:

       PEX 215, USCENTCOM, USCENTCOM FOIA 17-0674, “Initial and Supplemental
        Casualty Report – Robin Towns (October 24-25, 2007).
       PEX 216, Department of the Army, “Findings and Recommendations – Army Regulation 15-
        6 Investigation,” (October 28, 2007).
       PEX 217, Office of the Armed Forces Medical Examiner, “Autopsy Examination Report –
        Robin Towns,” (November 2, 2007).

Attack Description
On October 24, 2007, Sergeant First Class (SFC) Robin Towns, of the District of Columbia Army
National Guard’s 275th Military Police Company, was serving with his unit in Baiji, Iraq. 1380 Baiji is
located approximately 112 miles north of Baghdad in Saladin Province, along the main road that
connects Mosul to Baghdad.1381

On the day of this attack, members of the 275th Company, including SFC Towns, were accompanying
the 303rd Company on a familiarization patrol along South Nafit Road in a four-car convoy. 1382 SFC
Towns was seated in the right rear of the last vehicle in the convoy, a High Mobility Multipurpose
Wheeled Vehicle (HMMWV), referred to as Vehicle P-09 in the Army Regulation (AR) 15-6
Investigative Report.1383 According to the AR 15-6 report, while en route back to Forward Operating
Base (FOB) Summerfall in Baiji:

        The patrol noticed a vehicle tire laying in the middle of the road. The convoy stopped
        for approximately 45-60 seconds about 30-50 meters from the obstacle to scan the tire
        to ensure there were no wires or explosives visible. Deemed clear, the lead vehicle
        cautiously increased speed and passed the tire. The squad said this is a typical Tactics,
        Techniques, and Procedures (TTP) for passing an obstacle. The vehicles in the convoy
        one by one passed the obstacle up to P-22. At approximately 1624 a buried command-
        wire Improvised Explosive Device (IED) detonated on P-09. 1384


1380 PEX 215, USCENTCOM, USCENTCOM FOIA 17-0674, “Initial and Supplemental Casualty Report – Robin Towns

(October 24-25, 2007), p. 2.
1381 Ann Scott Tyson, “U.S. Fights Insurgents’ Grip on Iraqi Oil City,” NBC News, (January 19, 2006),

https://www.nbcnews.com/id/wbna10913799.
1382 PEX 216, Department of the Army, USCENTCOM FOIA FA-22-0067, “Findings and Recommendations – Army

Regulation 15-6 Investigation,” (October 28, 2007), p. 10.
1383 Ibid.
1384 Ibid.




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The force of the blast caused blast injuries to SFC Towns and others in the vehicle, and flipped SFC
Towns’s vehicle.1385 The 97th Military Police Battalion, which responded to offer support to the 275th
and 303rd companies, “identified a white command wire running from the blast seat to a telephone
pole, and along a wall” upon arrival to the scene.1386




Attack Attribution
I conclude that it is likely that the Zarqawi organization (as the Islamic State of Iraq) was responsible
for this IED attack. This conclusion is based on the following data points: (1) the geographic location
and time period of the attack, and (2) the tactics, techniques, and procedures (TTPs) used in this attack.

The Zarqawi organization has undergone several name changes since the group’s inception in 1993.
On October 15, 2006, the group took on the moniker of the Islamic State of Iraq (ISI). While this
attack took place after the name change to ISI, some sources cited in this attribution refer to the
Zarqawi organization by its former names, MSC, AQI, and JTJ.

I now explain my conclusions.

Geography and Time Period. The location and time period of this attack are the first indicators pointing
to ISI’s responsibility. This attack took place in the Naft neighborhood of Baiji, a city in the Saladin
Province of Iraq, on October 24, 2007.1388 The below map provides the approximate location of the
attack.




1385 Ibid.
1386 Ibid, p. 6.
1387 PEX 217, Office of the Armed Forces Medical Examiner, “Autopsy Examination Report – Robin Towns,” (November

2, 2007), p. 10.
1388 “Naft” was derived from the AR 15-6 report, which stated that the incident happened on South Nafit Road in Nafit,

Iraq. However, the report also states that the attack occurred “on the way back to FOB Summerfall after visiting the local
Iraqi Police (IP) station.” FOB Summerfall was in Baiji, Iraq. Given this positional data, it is clear that Naft, a neighborhood
in Baiji, is next to an Iraqi police station. Given that SFC Towns died instantaneously at the scene of the attack, and the
report of casualty states the location of death as Baiji, Iraq, it was concluded that the “Nafit” referred to in the AR 15-6
investigation is Naft, Iraq. PEX 216, pp. 3-6; PEX 215, p. 2.; PEX 217, p. 10.


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                      Figure 43: Approximate location of the attack in Baiji, Saladin Province.

By the end of 2006, Baiji had become a key center for ISI, serving as a midpoint in a key transportation
route between Mosul and Baghdad.1389 Baiji remained an instrumental location for ISI operations in
the region throughout 2007, with the group promoting at least two Baiji network leaders when other
regional leaders were killed or captured by Coalition forces. 1390 ISI’s presence in Baiji throughout 2007
is further demonstrated by the following incidents:

    ● In February 2007, Coalition forces captured senior ISI leaders of the Baiji network. 1391
    ● In September 2007, U.S. forces captured an ISI member associated with attacks in Baiji. 1392
    ● On October 9, 2007, ISI deployed a car bomb in Baiji in an attempt to harm a tribal leader
      and local police chief.1393
    ● On December 8, 2007, ISI perpetrated a car bombing attack on the Baiji police station. 1394




1389 Eric Hamilton, Developments Fighting Al Qaeda in Iraq (Washington D.C.: Institute for the Study of War, January 2008),

https://www.understandingwar.org/sites/default/files/reports/Devolpments%20Fighting%20Al%20Qaeda%20in%20I
raq.pdf.
1390 Eric Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, (Washington, DC: Institute for the Study of

War, 2008), p. 17, https://www.understandingwar.org/sites/default/files/reports/Iraq%20Report%208.pdf.
1391 Ibid.
1392     “Factbox-Security     Developments     in    Iraq,    Sept      28,”    Reuters,   September        28,    2007,
https://www.reuters.com/article/idUSRAS827601.
1393       “Bomb      Attacks      Target     Iraqi      Officials,”      Al      Jazeera,   October        9,      2007,
https://www.aljazeera.com/news/2007/10/9/bomb-attacks-target-iraqi-officials.
1394 Bill Roggio, “Al Qaeda in Iraq Executes Bombing Offensive,” Long War Journal, December 8, 2007,

https://www.longwarjournal.org/archives/2007/12/al_qaeda_in_iraq_exe.php.


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Though Coalition forces and domestic opposition continued to place limits on ISI’s operational
dominance in the surrounding provinces, Saladin remained a refuge for ISI at the time of this attack. 1395
Baiji remained an active ISI stronghold through January 2008.1396

Tactics, Techniques, and Procedures (TTPs). Another indicator that ISI was responsible for the attack is the
TTPs used to carry it out. The perpetrators conducted an IED attack. At the time of the attack, ISI
regularly used IEDs to target Coalition forces in Iraq’s northern provinces. 1397

According to the AR 15-16 report, this attack was carried out with a command wire IED. The report
notes that the responding battalion found “a white command wire running from the blast seat, to a
telephone pole, and along a wall.”1398 Between September 2007 and January 2008, Iraqi security forces
and Coalition forces captured several ISI IED caches in neighboring Nineveh Province, which
included command wires similar to the one used in the attack that killed SFC Towns. 1399 These caches
indicate that ISI had both the materials and knowledge required to construct and deploy command
wire IEDs at the time of this attack.

Ruling Out Other Insurgent Groups. Other insurgent groups were also active in this area. I have considered
their activities in rendering my opinion that ISI is ultimately the organization likely responsible for the
attack.

AAS was also present in Saladin Province during this time. 1400 Notably, AAS was allied with ISI at the
time, and therefore AAS’s involvement would not mitigate the likelihood of ISI involvement. 1401
However, due to Baiji’s presence as an ISI stronghold until 2008, I find that ISI is more likely
responsible for this attack.1402

In addition to ISI and AAS, JAM operated in Saladin Province when this attack occurred. 1403 JAM’s
presence in the province was mostly a product of Sunni violence against the smaller Shia population,

1395 Bill Roggio, “AQI Suicide Bombers Target the Salahadin Awakening,” The Washington Examiner, October 9, 2007,

https://www.washingtonexaminer.com/weekly-standard/aqi-suicide-bombers-target-the-salahadin-awakening.
1396 Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, p. 16.
1397 Ibid., p. 13.
1398 PEX 216, p. 6; Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, p. 12; Maj. Stephen Holt, “Making

Mosul a Safer Place [Image 3 of 4],” February 2, 2010, https://www.dvidshub.net/image/251650/making-mosul-safer-
place.
1430 Hamilton, “Iraq Report - March 2002-March 2008: The Fight for Mosul;” Holt, “Making Mosul a Safer Place [Image

3 of 4].”
1400 Joel D. Rayburn & Frank K. Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-

2006,       (Carlisle   Barracks,   PA:      US     Army        War      College,    January   17,     2019),     p.    174,
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs; Australian Parliamentary
Joint Committee on Intelligence and Security, Review of the re-listing of Ansar al-Islam, Islamic Movement of Uzbekistan,
Lashkar-e         Jhangvi    and     Jaish-e-Mohammad,           Appendix        B     (May    25,      2015),      p.    6,
https://www.aph.gov.au/parliamentary_business/committees/house_of_representatives_committees?url=pjcis/six%20
terrorist/report/appendix%20b.pdf.
1401 Rayburn & Sobchak, The U.S. Army in the Iraq War Volume 1: Invasion – Insurgency – Civil War, 2003-2006, p. 174; Jamie

Tarabay, “Anbar Alliance May Not Translate to Other Provinces,” NPR, September 25, 2007,
https://www.npr.org/templates/story/story.php?storyId=14696316.
1402 Hamilton, Iraq Report March 2002 – March 2008: The Fight for Mosul, pp. 11, 16.
1403 Marisa Cochrane, Iraq Report 12: The Fragmentation of the Sadrist Movement, (Washington, DC: Institute for the Study of

War,                                     2009),                                      p.                                  21,


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which allowed JAM to gain a foothold in the province as a security guarantor. 1404 JAM’s activity in
Saladin Province at the time was largely focused on sectarian protection and reprisals, and not as
heavily on counter-Coalition operations.1405 Additionally, Saladin Province was largely Sunni; its
demographic made it most suitable for supporting large numbers of Sunni insurgents. 1406 As Baiji was
an ISI stronghold when this attack occurred, and JAM’s attacks did not fit the pattern of targeting
coalition forces at the time, it is unlikely that JAM had the level of influence or operational standards
in Baiji that would be necessary to launch this attack.

Furthermore, given that Iran also supported both JAM and AAS, their possible involvement in the
attack would not undermine my conclusion concerning Iranian support for the attack that killed SFC
Towns.

Iranian Support. Iran provided support to ISI and Iran’s support had a reasonable connection to the
attack that killed SFC Towns. Iranian support for ISI is detailed extensively in my Expert Report &
Declaration on Sunni Militant Organizations.1407 The following information further demonstrates the
significance of Iran’s support to ISI at the time and in the vicinity of this specific attack:

    ● Iran supported ISI elements in Saladin Province, where the attack occurred, through
      provisions of arms and intelligence. In December 2006, further evidence of Iranian support
      for ISI emerged when two Quds Force operatives were arrested in Baghdad. According to
      U.S. defense officials, the documents possessed by the operatives definitively demonstrated
      the Quds Force’s cooperation with Sunni militias – including ISI – in Saladin Province and
      included “weapons lists, documents pertaining to shipments of weapons into Iraq,
      organizational charts, telephone records and maps, among other sensitive intelligence
      information,” demonstrating the extent of Iran’s support.1408 According to a U.S. intelligence
      official, the information gleaned from the operatives showed “how the Quds Force [was]
      working with individuals affiliated with Al Qaeda in Iraq and Ansar al-Sunna.” 1409
    ● Iran provided support to ISI before, during, and after this attack in multiple ways. In February
      2012, the United States designated Iran’s Ministry of Intelligence and Security (MOIS) for its
      ongoing and systematic sponsorship of a variety of terrorist organizations. Among the entities
      listed was AQI (the name by which the U.S. government still identified ISI at the time), which


https://www.understandingwar.org/sites/default/files/Iraq%20Report%2012%20Sadrist%20Movement%20Fragmenta
tion.pdf; U.S. Department of State, Bureau of Near Eastern Affairs, Iraq Weekly Status Report, (June 20, 2007), p. 8,
https://2001-2009.state.gov/documents/organization/87080.pdf; John F. Burns & Jon Elsen, “Sunni Mosques Attacked
in Retaliation for Destruction of Shiite Minarets in Iraq,” The New York Times, June 14, 2007,
https://www.nytimes.com/2007/06/14/world/africa/14iht-14iraq.6138226.html.
1404 Marisa Cochrane, Iraq Report 12: The Fragmentation of the Sadrist Movement, (Washington, DC: Institute for the Study of

War,                                     2009),                                     p.                                   21,
https://www.understandingwar.org/sites/default/files/Iraq%20Report%2012%20Sadrist%20Movement%20Fragmenta
tion.pdf.
1405      U.S.     Department        of    State,    Iraq       Weekly      Status    Report,   p.     8,     https://2001-
2009.state.gov/documents/organization/87080.pdf; Burns & Elsen, “Sunni Mosques Attacked in Retaliation for
Destruction of Shiite Minarets in Iraq.”
1406 “Salah Al-Din,” European Union Agency for Asylum, n.d., https://euaa.europa.eu/country-guidance-iraq-2021/salah-al-

din.
1407 See Expert Report & Declaration on Sunni Militant Organizations, pp. 51-60.
1408 Eli Lake, “Iran’s Secret Plan for Mayhem,” The New York Sun, January 3, 2007.
1409 Ibid.




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      according to the Treasury Department received not only money and weaponry but also
      “intermediary services” that helped secure the release of the group’s imprisoned operatives. 1410
      This designation relies upon extensive research and data collection and reflect a demonstrated
      pattern of Iranian support to ISI.
    ● In 2008, the U.S. Department of the Treasury imposed sanctions against several individuals
      connected to Iran who provided material support to militias in Iraq. For example, it sanctioned
      Gen. Foruzandeh of the IRGC-QF, who provided training for Shia Iraqi militias, including
      training for planting IEDs such as the one used in this attack, and who provided funding for
      Iraqi Sunni militia fighters.1411
    ● In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
      Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment
      of improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations
      with Iran and al-Qaeda, identifies his work in distributing designs for remote detonation
      devices used by terrorist organizations in Iraq, and connects him to multiple IED networks
      across northern Iraq, where ISI primarily operated.1412 Given his affiliations with Iran and al-
      Qaeda, and the nature of his activities in Iraq, it is very likely that Ghazala played a role in
      facilitating IED attacks for ISI.
    ● This Court has previously validated the causal connection between Iran’s provision of money
      and weapons to ISI and the terrorist group’s ability to execute attacks. Indeed, this Court has
      held that Iran’s provision of material support and resources ISI (including training, money,
      small arms, RPGs, IEDs, IEDs with mortar components, specially shaped explosive charges,
      and grenades) was sufficient to hold Iran liable for attacks carried out by ISI. 1413

Summary
In summary, I conclude that it is likely that ISI carried out the October 24, 2007 attack in Baiji, Saladin
Province that killed District of Columbia Army National Guard SFC Robin Towns. My conclusion is
based on the following:

    ● ISI possessed a strong operational presence in Baiji during the period when this attack
      occurred and was motivated to conduct that attack.
    ● The attack exhibited TTPs commonly associated with ISI.

I also conclude that Iran’s material support substantially contributed to the ISI’s commission of this
attack.




1410 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human Rights Abuses and Support for Terrorism,” February 16, 2012.
1411 U.S. Department of the Treasury, press release, “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency,”

January 9, 2008, https://www.treasury.gov/press-center/press-releases/pages/hp759.aspx.
1412 U.S. Department of State, press release, “Terrorist Designation of HAMAS Operative Muhammad Hisham

Muhammad               Isma’il         Abu         Ghazala,”        September       22,        2011,           https://2009-
2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.
1413 Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *1-*2 (D.D.C., Dec. 28, 2022); Roth v.

Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 (D.D.C., Jan. 17, 2023); Memorandum Opinion and Order,
Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of Iran,
No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14, 20-21, 40)

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 X.    Conclusion

In summary, relying on my background, education, training and experience, as well as substantial
evidence commonly used by experts in relevant fields, it is my expert opinion that:

  ● The Islamic Republic of Iran has an extensive history of using VNSAs as proxy groups to
    advance its foreign policy goals. Among other things, Iran has used these groups to launch
    attacks against U.S. forces in Iraq while retaining a degree of plausible deniability. While Iran
    has provided substantial support to Shia proxy groups throughout the Middle East, the Islamic
    Republic has also backed Sunni militant groups, including al-Qaeda, the Zarqawi organization
    (aka al-Qaeda in Iraq), and Ansar al-Islam/Ansar al-Sunnah, when such support aligned with
    Iran’s state interests.

  ● Iran provided substantial support to Zarqawi organization and Ansar al-Islam/Ansar al-Sunnah
    in the form of training, financial support, weapons, safe haven, lodging, travel and
    transportation, and expert knowledge and assistance in tactics, techniques, procedures, and
    attack planning.

  ● The Zarqawi organization likely planned, committed, or authorized twenty of the attacks at
    issue in this case. These include:

           o Complex Ambush Attack that killed Sergeant Elmer Krause and civilian contractors
             Tony Johnson, Jack Montague, Stephen Hulett and Timothy Bell, Abu Gharib, April
             9, 2004.
           o Complex Attack that killed Sergeant Major Michael Stack, Mahmudiyah, April 11,
             2004.
           o Artillery Attack that killed Sergeant Alan Bean, Iskandariya, May 25, 2004.
           o Suicide IED Attack that killed John A. Pinsonneault, Baghdad, October 14, 2004.
           o IED Attack that killed First Lieutenant William A. Edens and Specialist Ricky W.
             Rockholt, Tal Afar, April 28, 2005.
           o IED Attack that wounded Corporal Adam C. Kisielewski, Al-Karmah, August 21,
             2005.
           o SVBIED Attack that killed Army Specialist Adrian N. Orosco, Abu Gharib, December
             9, 2005.
           o IED Attack that killed Lance Corporal Brent B. Zoucha, Al Qaim, June 9, 2006.
           o Helicopter Shoot-Down Attack that killed Command Sergeant Major Marilyn L.
             Gabbard, Bahrez, January 20, 2007.
           o IED Attack that killed Sergeant Ross A. Clevenger, Al-Karmah, February 8, 2007.
           o IED Attack that killed Sergeant Russell A. Kurtz, Al-Karmah, February 11, 2007.
           o Small Arms Fire Attack that killed Private First Class Kelly D. Youngblood, Ramadi,
             February 18, 2007.
           o IED Attack that killed Staff Sergeant Justin M. Estes, Samarra, March 5, 2007.
           o IED Attack that killed Captain Jonathan Grassbaugh, Private First Class Rodney
             McCandless, and Specialist Levi Hoover, Zaganiyah, April 7, 2007.
           o IED Attack that killed Corporal James E. Summers, Specialist Zachary D. Baker, and
             First Lieutenant Kile G. West, Abu Sayda, May 28, 2007.
           o Complex Attack that killed Corporal Damon G. LeGrand, Diyala, June 12, 2007.

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           o IED Attack that killed Sergeant First Class Justin S. Monschke, Arab Jabour, October
             14, 2007.
           o IED Attack that killed Sergeant First Class Robin L. Towns Sr., Baiji, October 24,
             2007.
           o House-Borne IED Attack that killed Staff Sergeant Jonathan Dozier, Sergeant Zachary
             W. McBride, and Sergeant First Class Matthew I. Pionk, Sinsil, January 9, 2008.
           o SVBIED Attack that Killed Corporal Jason G. Pautsch, Staff Sergeant Bryan E. Hall,
             Sergeant Edward W. Forrest, and Staff Sergeant Gary L. Woods, Mosul, April 10,
             2009.

  ● Ansar al-Islam/Ansar al-Sunnah likely planned, committed, or authorized four of the attacks
    at issue in this case. These are:

           o Artillery Attack that killed Captain Arthur L. Felder and Staff Sergeant Billy J. Orton,
             Camp Taji, April 24, 2004.
           o SVBIED Attack that killed Sergeant James W. Harlan, Balad, May 14, 2004.
           o IED Attack that killed Private First Class Nicholas H. Blodgett, Ad Duluiyah, July 21,
             2004.
           o Suicide IED Attack that killed Staff Sergeant Lynn Robert Poulin, Staff Sergeant Julian
             Melo, and Private Lionel Ayro, Nineveh, December 21, 2004.

  ● Ansar al-Islam/Ansar al-Sunnah or the Zarqawi organization, operating in coordination with
    one another, likely planned, committed, or authorized one attack at issue in this case. This is
    the complex attack that killed Sergeant James E. Craig, Corporal Evan A. Marshall, and Private
    Second Class Joshua Young, Mosul, January 28, 2008.

  ● Given the nature and extent of Iranian material support to al-Qaeda, the Zarqawi organization,
    and Ansar al-Islam/Ansar al-Sunnah, Iran’s assistance was critical to the survival of these
    militant organizations, significantly increased their capabilities, and is reasonably connected to
    each of the attacks listed above.

I have been assisted by Valens Global staff in this matter. My analyses, opinions, and conclusions are
based solely on the work performed by me, and those under my supervision, through the date of this
report. I am compensated for my work on this matter at an hourly rate of $420. My compensation is
not contingent upon my opinions and conclusions, or the outcome of this matter. This report is
subject to change or modification should additional relevant information become available, which
bears upon the analysis, opinions, or conclusions contained herein.

I hold the conclusions and opinions detailed in this declaration to a reasonable degree of professional
certainty, and declare the foregoing under the penalty of perjury:


_________________________________________
Daveed Gartenstein-Ross, Ph.D.




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       Appendix 1: The Presence and Role of Shia Militant Groups

The Role of Shia Militant Groups
In making determinations regarding the group likely responsible for the attacks that I examine, I must
assess the likelihood of other groups’ responsibility for the attacks. Key factors in my considerations
include whether the other groups maintained significant presence around the location of the attack,
whether the TTPs employed align with certain groups’ commonly executed TTPs, and whether their
responsibility is otherwise indicated in any claim of responsibility or government reporting.

In the time period covered by this report, Shia militant groups maintained significant presence in parts
of Iraq. Therefore, my analytic process naturally involves the assessment of whether Shia militant
groups were likely responsible for any attacks discussed. In conducting research on each attack, I
found evidence suggesting the presence of Shia militant groups in vicinity of some attacks. While I
do not conclude that any attacks were likely executed by Shia militant groups, it is important to note
that the presence of Shia militant groups, and the possibility that they may have been involved in the
attacks considered, would not necessarily absolve Iran of complicity.

The Islamic Republic of Iran has an extensive history of using violent non-state actors (VNSAs) as
proxy groups to advance its foreign policy goals. This historic use includes support for both Sunni
and Shia militant groups in Iraq. Though I do not extensively discuss Iranian support for Shia militant
groups since I do not find that Shia militant groups likely carried out any of the attacks I was asked to
attribute for this case, it is worth providing some detail on Iran’s backing for Shia militant groups in
the Iraq theater. I am happy to provide much more detail on these relationships if they are relevant to
the Court.

Throughout the Iraq War, Iran’s Islamic Revolutionary Guard Corps (IRGC) and its foreign arm, the
Quds Force, supported proxies that attacked U.S. and Iraqi forces. 1414 These proxies included several
Shia militias and paramilitary groups, including Jaysh al-Mahdi (JAM), the Badr Organization (also
known as Badr Corps or Badr Brigade), Kataib Hizballah (KH), and Asa’ib Ahl al-Haq (AAH), which
were referred to as “Special Groups.”1415 Iran provided these groups with training, weaponry, travel
facilitation, and guidance.1416

Muscle Memory: Iranian History of Supporting VNSA Proxies. Iran had a long history of supporting violent
non-state actors (VNSAs) to serve as its armed proxies prior to engaging in extensive support for
VNSAs in the Iraq War. A month after a national referendum that officially established the Islamic
Republic of Iran on April 1, 1979, Ayatollah Khomeini issued a decree creating the Islamic
Revolutionary Guard Corps (IRGC).1417 Iran’s October 1979 constitution entrusts the IRGC with


1414  Bill Roggio, “Iran’s Ramazan Corps and the ratlines into Iraq,” Long War Journal, December 5, 2007,
https://www.longwarjournal.org/archives/2007/12/irans_ramazan_corps.php.
1415 Ibid.; Marisa Cochrane, “Asaib Ahl al‐Haq and the Khazali Special Groups Network,” (Washington, DC: Institute for

the Study of War, January 13, 2008), p. 1,
https://www.understandingwar.org/sites/default/files/reports/Asaib%20Ahl%20al%20Haq%20and%20the%20Khazal
i%20Special%20Groups%20Network.pdf; Mapping Militant Organizations. “Asa’ib Ahl al-Haq.” Stanford University,
March 24, 2017, https://web.stanford.edu/group/mappingmilitants/cgi-bin/groups/print_view/143.
1416 Roggio, “Iran’s Ramazan Corps and the ratlines into Iraq.”
1417 “Revolutionary Guards Corps Established in Iran,” Tehran Domestic Service (Farsi), May 5, 1979.




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the “role of protecting the Revolution and its achievements.” 1418 The IRGC was designed to be distinct
from the regular army (Artesh in Farsi). While the Artesh defends Iran’s territorial integrity, the IRGC’s
role is broader, with the Iranian constitution giving the IRGC a global responsibility and the
ideological mission to strive “on the path of God and struggle on the path of expanding the
sovereignty of the law of God in the world.”1419 At the end of the Iran-Iraq War, the IRGC merged
several military groups into the Quds Force (IRGC-QF), and as early as 1979, Quds
Force predecessors had begun to support foreign militant groups and Shia dissidents. 1420 Over time,
Iran leveraged other parts of its government to support efforts to export the revolution. In particular,
Iran’s Ministry of Intelligence and Security (MOIS) began to play a role in these operations after
its creation in 1984.1421

Two events in the 1980s led Iran to view armed proxy forces as vital to achieving its foreign policy
goals. First, the Iran-Iraq War seared the costs of large-scale conventional warfare into the minds of
generations of Iranian leaders.1422 Second, Israel’s 1982 invasion of Lebanon to counter the Palestinian
Liberation Organization (PLO) provided Iran a chance to cultivate a powerful proxy force after Iran
sent IRGC officers to mobilize Lebanon’s sizeable Shia community in opposition to Israel. 1423
President Reagan dispatched U.S. forces to Lebanon as part of a peacekeeping mission and in 1983,
Hizballah, an emerging Shia militant organization with close ties to Iran, attacked the U.S. Embassy
in Beirut as well as American and French military installations in the country. The attacks inflicted
heavy casualties. The U.S. Embassy bombing killed 17 Americans, and the October 1983 U.S. Marine
barracks bombing in Beirut killed 241 American servicemembers.

Throughout the 1980s and 1990s, the IRGC developed a template for cultivating proxy forces in the
Middle East, then worked to apply that template elsewhere. While the IRGC was active in numerous
countries, the IRGC’s work with two organizations, Lebanese Hizballah and the Badr Corps in
Iraq, particularly enabled Iran to build the capacity to wage war against its enemies by proxy. These
templates would become particularly relevant after the U.S.’s 2003 invasion of Iraq.

Jaysh al-Mahdi and Associated Special Groups. In the wake of the 2003 U.S. invasion of Iraq, Iran provided
substantial support to an array of Shia militias. When the United States removed Saddam Hussein, a
political vacuum was born. Given the group’s local base of support, Iran tried to coopt Jaysh al-Mahdi
(JAM), which translates to Army of the Rightly Guided One. When it fractured due to political
disagreements and its leader, Muqtada al-Sadr, proved to be a less than reliable ally, Iran began to
support breakaway factions. Thus, understanding the Sadrist movement is pivotal to understanding
Iraq’s Shia militias and, ultimately, Iran’s proxy war in Iraq.

1418 Constitution of the Islamic Republic of Iran, article 150 (October 24, 1979).
1419 Ibid., p. 5.
1420 Nader Uskowi, Temperature Rising: Iran’s Revolutionary Guards and Wars in the Middle East, (Lanham, MD: Rowman

& Littlefield, 2019), p. 42; “Al-Quds Forces Associated with the Guards of the Islamic Revolution,” Iraqi intelligence
study (ISGZ 2005-001122-19954), October 2000, translation by Combating Terrorism Center at West Point,
https://ctc.usma.edu/harmony-program/iraqi-intelligence-study-of-the-iranian-revolutionary-guard-corps-original
language-2/.
1421 Guillermo Pinczuk & Theodore Plettner, Unconventional Warfare Case Study: The Relationship between Iran and Lebanese

Hezbollah,    (Fort     Bragg,    N.C.:     U.S.     Army      Special      Operations       Command,       2017),      p.   28,
https://www.soc.mil/ARIS/books/pdf/_ARIS_Iran-Hiz_Jan2017.pdf.
1422 Dexter Filkins, “The Shadow Commander,” The New Yorker, September 23, 2013.
1423 Pinczuk & Plettner, Unconventional Warfare Case Study: The Relationship between Iran and Lebanese Hezbollah, pp. 28-29.




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Muqtada al-Sadr founded the Jaysh al-Mahdi militia in June 2003. With JAM’s formation, Muqtada
“sought to model his organization on Lebanese Hezbollah, combining a political party with an armed
militia and an organization providing social services.” 1424 In 2004, Muqtada used the growing military
element of his movement to confront coalition forces. Sadrists engaged in two failed uprisings, which
occurred principally in the holy Shia city of Najaf, in April and August of 2004. Even after the
organization experienced significant losses in 2004, JAM members continued targeting Sunni civilians
and other non-combatants.1425 However, JAM’s failed uprisings fractured the Sadrist movement and
some militants frustrated with Muqtada formed rival organizations, with the most significant group in
this category being Qais al-Khazali’s Asa’ib Ahl al-Haq (League of the Righteous).

Though AAH nominally remained part of the Sadrist movement, the group’s leaders—Qais al-
Khazali, Akram al-Kabi, Abd al-Hadi al-Darraji, and Mohammed al-Tabatabai—at times defied
Muqtada’s orders. But for AAH and other major splinter groups, defiance of Muqtada did not translate
into defiance of Iran. Indeed, Iran saw AAH’s break with Muqtada as a significant opportunity. A
declassified U.S. Army memorandum recounts that in August 2006:

         Qayis [Khazali] led a delegation to Tehran to discuss the situation in Iraq and
         Iranian support for JAM. According to reporting, Ali Khomeini met with Qais
         and recruited him to lead a special group known as Asayb al-Haq, or the K2
         network. The K2 network would operate without the knowledge or authorization of
         MAS [Muqtada al-Sadr]. Qayis agreed. Iran was interested in working with Qayis
         because of his influence on MAS. Layth [Qais al-Khazali’s brother] served as a liaison
         between the secret network formed by Qayis and the Iranians. In this position, Layth
         traveled frequently between Iraq, Iran and Syria. 1426

AAH in turn received financial and other types of support from Iran through IRGC-QF, as well as
somewhat more indirectly through Hizballah. Illustrating the web of relationships, Ali Musa Daqduq,
a senior Hizballah operative, provided training to AAH fighters. In May 2006, Daqduq travelled to
Iran with Youssef Hashim, the head of Hizballah Special Operations. There, Daqduq and Hashim
received guidance from Abdul Reza Shahlai, IRGC-QF’s external operations director, as well as from
IRGC-QF’s commander Qasem Soleimani. These IRGC-QF leaders instructed Daqduq to travel in
and out of Iraq to lead training and report on progress made in arming and training Shia militant
groups “in mortars and rockets, manufacturing and employing IEDs, and kidnapping operations.” 1427

One of the most perceptive studies written about Iranian policy toward Iraq during this period, and
its sponsorship of Shia groups like JAM and AAH, is Joseph Felter and Brian Fishman’s 2008 report
Iranian Strategy in Iraq.1428 In their report, Felter and Fishman explain that a new group of “loosely

1424 Marisa Cochrane, The Fragmentation of the Sadrist Movement, (Washington, D.C.: Institute for the Study of War, 2009), p.

13.
1425 “Dozens Killed in Baghdad Attacks,” BBC News, July 9, 2006, http://news.bbc.co.uk/2/hi/middle_east/5162510.stm.
1426 Report of Interrogation of Qais Khazali, August 13, 2007, p. 324 (emphasis added).
1427 Stephen Wicken & Kim Dudine, “Timeline: Ali Mussa Daqduq,” Institute for the Study of War, November 21, 2012,

https://www.understandingwar.org/backgrounder/timeline-ali-mussa-daqduq.
1428 Joseph Felter & Brian Fishman, Iranian Strategy in Iraq: Politics and “Other Means” (West Point, NY: Combating Terrorism

Center at West Point, 2008). At the time, Felter was an active-duty colonel and a national security affairs fellow at Stanford
University’s Hoover Institution, while Fishman served as the director of research at the Combating Terrorism Center at


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organized” Shia militias called the “Death Squads” had surfaced, quickly becoming some of the “most
feared groups in Iraq.”1429 These JAM splinter groups came to be known as “Special Group Criminals”
(SGCs) by U.S. commanders.1430 Though many SGCs indeed looked to Khazali, the U.S. government
and analysts began referring to a host of Shia militant groups backed by Iran as “Special Groups,” and
many lacked AAH’s ties to the Sadrist movement. 1431 Chief among these “Special Groups” without
deep ties to Muqtada al-Sadr was Kata’ib Hizballah (The Brigades of the Party of God).

Kata’ib Hizballah grew under the leadership of Abu Mahdi al-Muhandis (Jamal al-Ibrahimi), and
according to Michael Knights of the Washington Institute for Near East Policy think tank, the group
is “firmly under IRGC Qods Force control and maintains relatively good operational security.” 1432 In
the early days of Kata’ib Hizballah, the group managed to use Lebanese Hizballah instructors “to
prepare this group and certain Jaysh al-Mahdi Special Groups for attacks against Coalition Forces in
Iraq.”1433 According to Michael Knights, the group also became “a vehicle through which the IRGC
Qods Force could deploy its most experienced operators and its most sensitive equipment.” 1434

Another of the Special Groups, the Sheibani Network, rose to prominence under the leadership of
Abu Mustafa al-Sheibani. According to Qais al-Khazali, Iran dispatched Sheibani to Iraq to forge an
alliance with the Sadrists in the aftermath of the U.S. invasion. Khazali stated that Sheibani “failed
miserably in attracting interest from the Sadrists.” 1435 Nonetheless, Sheibani later led his own pro-Iran
militia in Iraq that launched extensive attacks against U.S. forces. According to the U.S. Treasury
Department when it sanctioned Sheibani in January 2008:

         Iran-based Abu Mustafa Al-Sheibani leads a network of Shia extremists that commit
         and provide logistical and material support for acts of violence that threaten the peace
         and stability of Iraq and the Government of Iraq. Al-Sheibani’s Iran-sponsored
         network was created to affect the Iraqi political process in Iran’s favor. The network’s
         first objective is to fight U.S. forces, attacking convoys and killing soldiers. Its second
         objective is to eliminate Iraqi politicians opposed to Iran’s influence. Elements of the
         IRGC were also sending funds and weapons to Al-Sheibani’s network.



West Point and an assistant professor in the U.S. Military Academy’s department of social sciences. The Combating
Terrorism Center at West Point is a research institute that provides training, research, and analysis to the highest levels of
government and academia. The institution serves as a nexus for academic and counterterrorism practitioner collaboration,
particularly through its peer-reviewed journal, CTC Sentinel, and its Harmony database, which is an open-source collection
of primary-source documents that provide an inside look at militant groups’ inner structural dynamics.
1429 Ibid., p. 43.
1430 Ibid., p. 44.
1431 Michael Knights, “Iran’s Expanding Militia Army in Iraq: The New Special Groups,” CTC Sentinel 12:7 (August 2019),

https://ctc.usma.edu/irans-expanding-militia-army-iraq-new-special-groups/.
1432 Michael Knights, “The Evolution of Iran’s Special Groups in Iraq,” CTC Sentinel, 3:11-12, (November 2010), p. 13,

https://ctc.usma.edu/the-evolution-of-irans-special-groups-in-iraq/.
1433 Jeffrey Feltman & Daniel Benjamin, U.S. State Department Assistant Secretary for the Bureau of Near Eastern Affairs

and Counterterrorism Coordinator, “Assessing the Strength of Hizballah,” testimony before the U.S. Senate Committee
on Foreign Relations, June 8, 2010, https://www.foreign.senate.gov/imo/media/doc/060810%20Feltman-
Benjamin%20Testimony.pdf.
1434 Knights, “The Evolution of Iran’s Special Groups in Iraq,” p. 12.
1435 Multi-National Force – Iraq, Shi’a SDE, “Tactical Interrogation Report: Qais Hadi Said al-Khazali,” May 30, 2008, p.

3, https://www.aei.org/wp-content/uploads/2018/08/Enclosure-TAB-A-Documents-for-Release-49-66.pdf.


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         Al-Sheibani’s network—consisting of several hundred members—conducted IED
         attacks against Americans in the Baghdad region. As of March 2007, Al-Sheibani,
         known to transport Katyusha rockets to be used for attacks against Coalition Forces,
         launched rockets against Americans and made videos of the attacks to get money from
         Iran. As of April 2007, a member of Al-Sheibani’s network supervised the transport
         of money and explosives from Iran for eventual arrival in Baghdad. In early May 2007,
         Al-Sheibani’s network assisted members of a Shia militia group by transporting them
         to Iran for training and providing them with weapons for their activities in Iraq.

         Additionally, Al-Sheibani commands several pro-Iranian insurgent groups in southern
         Iraq that work to destabilize Iraq and sabotage Coalition efforts. These groups use a
         variety of weapons, to include mortars, Katyusha rockets, and anti-tank landmines.
         Ordered by IRGC headquarters to create disorder, the task of these groups is to attack
         bases of Coalition Forces in southern Iraq, particularly British forces. 1436

Iranian Material Support to Shia Groups in Iraq
The State Department’s Country Reports on Terrorism from 2006, 2007, 2008, and 2009—when the
attacks at issue in this case occurred—all concluded that “Iran remained the most active state sponsor
of terrorism.”1437 Iranian support to Shia militias in Iraq featured prominently in those reports. I now
provide a brief overview of Iranian backing of various Shia groups so that my point about these
groups’ lack of independence from Iran will be clear.

Iranian support for Iraqi Shia militias against coalition forces began as early as 2003. Planning for this
support seemingly began in 2002, even before the U.S. invasion. One early detailed report on the
contours of Iranian support for insurgent factions was written by Australian journalist Michael Ware,
appearing in Time in August 2005, under the title “Inside Iran’s Secret War for Iraq.” 1438 Ware’s
reporting showed that Iranian plans to “penetrate” Iraq following the American invasion dated to
September 9, 2002, when Supreme Leader Ayatollah Ali Khamenei and his war council decided to
create a policy to prevent any dangers to Iran that might result from the impending U.S. regime-change
operation in Iraq.1439

Consistent with Ware’s reporting, Washington Institute for Near East Policy scholar Michael Knights
notes, based on his analysis of primary source documents, that the Iraqi government’s pre-2003
intelligence reporting on Iran’s use of proxies concluded that “the IRGC Qods Force had already
anticipated the need to split its support between groups that would ‘work openly’ and others that
would ‘work secretly’ in a post-invasion Iraq.” 1440 As this plan came to fruition, it became clear that

1436 U.S. Department of the Treasury, press release, “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency,”

January 9, 2008, https://www.treasury.gov/press-center/press-releases/pages/hp759.aspx.
1437 U.S. Department of State, Country Reports on Terrorism (2006); U.S. Department of State, Country Reports on Terrorism

(2007), https://2009-2017.state.gov/j/ct/rls/crt/2007/103711.htm; U.S. Department of State, Country Reports on Terrorism
(2008), https://2009-2017.state.gov/j/ct/rls/crt/2008/122436.htm; U.S. Department of State, Country Reports on Terrorism
(2009), https://2009-2017.state.gov/j/ct/rls/crt/2009/140889.htm.
1438 Michael Ware, “Inside Iran’s Secret War for Iraq,” Time, August 15, 2005.
1439 Ibid.
1440 Knights, “The Evolution of Iran’s Special Groups in Iraq,” p. 12.

The Arabic-language report that Knights references was released by the Combating Terrorism Center at West Point, and
can be found at https://ctc.usma.edu/app/uploads/2013/10/ISGQ-2005-00038283-Original.pdf.


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Iran’s covert support to Shia militia groups mirrored its overt support to Shia political groups. Iran
invested in and supported an array of allies in Iraq, including proxy forces.

In the summer of 2003, shortly before Muqtada announced JAM’s formation, he and three of his
advisors visited Tehran.1441 During the visit, Muqtada reportedly met with Supreme Leader Ayatollah
Ali Khamenei, former president Ali Akbar Hashemi Rafsanjani, and Ayatollah Mahmoud Hashemi
Sharaoudi, as well as other notable figures such as Brigadier General Murtada Reza’i, head of the
IRGC’s intelligence service, and Brigadier General Qasem Soleimani, who commanded the IRGC’s
Quds Force, and whose portfolio included Iraqi affairs.1442 JAM proved to be a useful mechanism for
disrupting the U.S.’s efforts in Iraq, though Iran was also wary of Muqtada. His popular support
coupled with his unpredictability made him a risky investment.

Iran thus sought to acquire other, more reliable Iraq-based allies. The emergence of Qais al-Khazali
and AAH as a force that could act independently of Muqtada provided Iran with another investment
opportunity.

Iran’s support for JAM and the Special Groups took place both through direct arms of the Iranian
state like the Quds Force and MOIS, and also by non-state proxies like Lebanese Hizballah. But
whether direct or indirect, Iran was deeply involved in providing this material support. A highly
detailed U.S. Army report sets out the extent of this Quds Force activity in Iraq:

         The Quds Force and its Iraqi surrogates were the primary instruments employed by
         the Iranian regime to wage a proxy war against the United States at minimal cost….
         The politically influential [Major General Qassem] Soleimani [who commanded
         IRGC-QF] reported directly to Iran’s supreme leader and oversaw a carefully
         organized and sustained cross-border operation. His subordinate Ramazan Corps
         managed the effort in Iraq, with three subcommands responsible for the northern,
         central, and southern sectors, respectively. Two to three regional offices operated out
         of each sector. Hundreds of agents were involved, not least Iranian ambassador to Iraq
         Hassan Kazemi Ghomi, who served as an undercover Quds Force officer. The
         consulate in Basrah functioned as a similar hub of covert activity for Soleimani. 1443

Iranian Provision of Weapons to Shia Militias. Iran’s efforts to arm Shia militias constituted perhaps Iran’s
most lethal and most visible form of support. By 2004, U.S. intelligence reports showed that Iranian
agents were responsible for smuggling “weapons and ammunition across the border into Iraq,” then
distributing “them ‘to individuals who wanted to attack coalition forces.’” 1444 The U.S. government


1441 Michael R. Gordon & Bernard E. Trainor, The Endgame: The Inside Struggle for Iraq, From George W. Bush to Barack Obama

(New York: Pantheon Books, 2012), p. 101.
1442 Kimberly Kagan, Iraq Report May 2006 – August 2007: Iran’s Proxy War Against the United States and the Iraqi Government,

(Washington,       DC:        Institute    for      the    Study      of      War,    August        29,      2007),   p.    5,
https://www.understandingwar.org/sites/default/files/reports/IraqReport06.pdf; Ali Nuri Zadah, “Iranian Source:
Revolution Guard Trains 1,000 Muqtada al-Sadr Supporters on Guerilla Warfare, Explosions [Arabic],” Al-Sharq al-Awsat
(London), April 9, 2004.
1443 Joel Rayburn et al., The U.S. Army in the Iraq War: Volume 2 – Surge and Withdrawal (Carlisle, Pa.: U.S. Army War College

Press, 2019), p. 66.
1444 Edward T. Pound, “The Iran Connection,” U.S. News & World Report, November 22, 2004.




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validated these claims at the highest levels. 1445 Michael Ware’s reporting in Time provides further
details on this system. A British officer who spoke to Ware explained that the Iranians made particular
use of the porous southern border between Iran and Iraq, where they would “use the legal check
points to move personnel, and the weapons travel through the marshes and areas to our north.” 1446
A detained insurgent further described this process when interrogated by U.S. forces, saying that “this
area [marshes in the vicinity of Qalat Salih] is used heavily by small boats carrying weapons from IR
[Iran].”1447 Other detainee interrogation reports frequently referenced these marshy areas in
southeastern Iraq when explaining how weapons and other material assistance were moved from Iran
into Iraq.

Iranian Training of Iraqi Shia Militias. According to intelligence reports, open-source reporting, and
official U.S. government statements, the IRGC operated a robust training program for Iraqi Shia
militias inside Iran’s borders. JAM, the Special Groups, and the Badr Organization (which had long
trained with Iranian forces) were beneficiaries of this program.

When U.S. Brigadier General Kevin Bergner held a press briefing on July 2, 2007, representing the
official views of the U.S. Government as the spokesman for Multi-National Force – Iraq, he stated
that “Iraqi Special Groups are trained in one of three training camps inside Iran” that “are operated
by the Qods Force Department of External Special Operations.” In response to questions from
reporters, Bergner elaborated that the training camps “were not too far from Tehran” and that
attendees included members of JAM and other militias.1448 The proximity of the camps to Iran’s capital
support the conclusion that this training was a matter of official Iranian state policy.

Backed by the IRGC, Lebanese Hizballah also operated training camps in Lebanon and Iran to provide
operational training to Iraqi Shia groups. These Hizballah camps helped Shia militants build skills in
“weapons, bomb-making, intelligence, assassinations, and the [gamut] of skill sets.” 1449 In November
2006, Gen. Michael Maples, then director of the Defense Intelligence Agency, stated the Iranian
government has “been a link to Lebanese Hezbollah and have helped facilitate Hezbollah training
inside of Iraq, but more importantly Jaysh al-Mahdi members going to Lebanon.” 1450 The U.S.
Department of State and Department of the Treasury have also confirmed that Iran provided training




1445     Adam      Brookes,     “Iranian      Weapons       ‘Found     in    Iraq,’”    BBC,    August 9, 2005,
http://news.bbc.co.uk/2/hi/middle_east/4136856.stm.
1446 Michael Ware, “Inside Iran’s Secret War for Iraq,” Time, August 15, 2005.
1447 Combating Terrorism Center at West Point, “Redacted Interrogation Report 027,” Spring 2007-Early 2008,

https://ctc.usma.edu/wp-content/uploads/2013/10/Redacted-Intelligence-Report-027-Summary.pdf.
1448 Multi-National Force – Iraq, “Press Briefing with Brig. Gen. Kevin Bergner,” July 2, 2007.
1449 Michel R. Gordon & Dexter Filkins, “Some Mahdi Army Fighters Trained with Hezbollah,” The New York Times,

November 28, 2006.
1450 Ibid.




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to JAM and Special Groups.1451 The Treasury Department also indicated that Lebanese Hizballah
played a role in supporting Kata’ib Hizballah.1452

Interrogation reports of interviews with captured Iraqi militants from 2007 to 2008 that were made
public through West Point’s Combating Terrorism Center further reveal systematic and organized
pre-training travel procedures into Iran. I have reviewed these documents and cite to Felter and
Fishman’s conclusions when I believe them to be accurate synopses. Felter and Fishman report that
“captured Iraqi militants in 2007 and 2008 recount taking numerous routes from their homes in Iraq
to Iran.… Iraqis bound for Iran often converge in Amara and stay at designated JAM and SGC [Special
Groups] safe houses where they are introduced to the other traveling militants and the guides will take
them across the border.”1453

During his time as the commander of Multi-National Force – Iraq, Gen. David Petraeus corroborated
reports of Iranian training of JAM, and clarified that this training was having an “obvious operational
impact” on U.S. forces.1454

Safe Haven for Shia Militia Leaders and Fighters. In addition to training Shia militias in its territory, Iran
also offered safe haven to the leaders and fighters of many Shia militias. As the U.S. announced its
plans for a surge of U.S. forces and arrested a high-profile Sadrist cleric, “many of those who believed
they had made a name for themselves feared capture and fled Baghdad. Confirming this trend, reports
reached MNF-I in late January [2007] that the Iranian Embassy had issued some 200 special passports
to Shi’a militia members. Sadr himself secretly departed for Iran around this time.” 1455 Muqtada would
not return until 2011.

Abu Mahdi al-Muhandis, the leader of Kata’ib Hizballah, also fled to Iran after his role in the Kuwait
Embassy bombings publicly surfaced. Abu Mustafa al-Sheibani also found safe haven in Iran from
early 2008 to mid-2010.1456 Muqtada al-Sadr, al-Muhandis, and al-Sheibani were not exceptional cases
in this regard. From their perch in Iran, Shia militia leaders were able to launch attacks against U.S.
forces in Iraq with little fear of being killed or captured. This safe haven likely emboldened these
leaders to conduct more aggressive attacks than if they were in Iraq and thus more vulnerable to
coalition raids. This safe haven also gave these leaders the ability to more closely coordinate with Iran.


1451      U.S.     Department      of     State,       Country         Reports     on      Terrorism    (2006),   https://2009-
2017.state.gov/j/ct/rls/crt/2006/82736.htm; U.S. Department of State, Country Reports on Terrorism (2007), https://2009-
2017.state.gov/j/ct/rls/crt/2007/103711.htm; U.S. Department of State, Country Reports on Terrorism (2008), https://2009-
2017.state.gov/j/ct/rls/crt/2008/122436.htm; U.S. Department of State, Country Reports on Terrorism (2009); U.S.
Department of the Treasury, “Fact Sheet: Designation of Iranian Entities and Individuals for Proliferation Activities and
Support for Terrorism,” October 25, 2007, https://www.treasury.gov/press-center/press-releases/Pages/hp644.aspx.
1452 U.S. Department of the Treasury, press release, “Treasury Designates Individual, Entity Posing Threat to Stability in

Iraq,” July 2, 2009, https://www.treasury.gov/press-center/press-releases/Pages/tg195.aspx.
1453 Joseph Felter & Brian Fishman, Iranian Strategy in Iraq: Politics and ‘Other Means,’ (West Point, NY: Combatting Terrorism

Center, 2008), p. 57.
1454 Multi-National Force – Iraq “CDR Weekly SECDEF Updates from General David Petraeus, Commander of MNF-I

to U.S. Secretary of Defense Robert Gates,” June 3-9, 2007, p. 305.
1455 Jeanne F. Godfroy et al., The U.S. Army in the Iraq War: Volume 2: Surge and Withdrawal, (Carlisle Barracks, PA: United

States Army War College Press, 2019) p. 77.
1456 Bill Roggio, “Iran Sends Another Dangerous Shia Terror Commander Back to Iraq,” Long War Journal, October 18,

2010.


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Iran’s Financing of Shia Militias. Iran provided substantial financial support to an array of Shia militias in
Iraq. This funding comprised a significant portion of Iran’s broader funding to myriad violent non-
state actors across the Middle East, which likely exceeded $300 million annually from 2006-2009. 1457
Though observers have provided inconsistent estimates regarding the amount of funding that Iran
provided to Shia militias, including to specific militant groups, these inconsistencies should not cast
doubt on the overall conclusion that Iran was providing such support. The inconsistency in these
estimates is likely connecting to three overarching factors, including the fact that Iranian support for
various Shia militias has fluctuated over time. Despite some inconsistencies in the estimates provided about overall
levels of Iranian support for Shia militias in general, and for certain specific Shia militias, the conclusion that Iran
provided significant support is consistent across observers and over time.

One early journalistic account revealing Iran’s funding for Shia militants in Iraq was “The Iran
Connection,” written by Edward T. Pound. Appearing in U.S. News & World Report in November
2004, Pound’s report was based primarily on a review of “classified intelligence reports covering the
period July 2003 through early 2004.”1458 Further, in a declassified August 2007 report, the U.S.
Department of Defense concluded that Qais al-Khazali, AAH’s leader, “has significant links to Iran”
and that “this affiliation was used to procure weapons and funding for use by JAM and special groups
against” Coalition forces.1459 Accounts of Iranian funding have been verified by the recipients,
including Qais al-Khazali.1460 According to a 2009 report from the RAND Corporation, Iran may have
provided Sadr with up to $80 million per month.1461

The U.S. government also concluded that Iran was funding Shia militias intent on attacking Coalition
forces. According to Gen. Bergner in a mid-2007 press briefing, IRGC-QF was funneling between
$750,000 to $3 million to the Special Groups each month, including money and equipment. 1462 This
would mean that the IRGC-QF was funding the Special Groups at an annualized rate of $9 million to
$36 million. In testimony before Congress, Gen. Petraeus described the Special Groups as “funded,
trained, armed, and directed by Iran’s Qods Force, with help from Lebanese Hizballah.” 1463 A U.S.
Army history of America’s engagement in the Iraq war published in 2019 noted that in July 2003, Abu
Mustafa al-Sheibani, the founder and leader of the Sheibani Network Special Group, “received $40
million from the Iranians to organize a logistics network that would funnel weapons to Shi’a


1457 U.S. Department of the Treasury, “Fact Sheet: Designation of Iranian Entities and Individuals for Proliferation

Activities and Support for Terrorism,”; Testimony of Ambassador Jeffrey D. Feltman, Assistant Secretary of State for
Near Eastern Affairs, and Ambassador Daniel Benjamin, Coordinator for Counterterrorism, Senate Foreign Relations
Subcommittee on Near Eastern and South and Central                                    Asian     Affairs, June 8, 2010,
https://www.foreign.senate.gov/imo/media/doc/060810%20Feltman-Benjamin%20Testimony.pdf; Frederic Wehrey et
al., Dangerous but not Omnipotent: Exploring the Reach and Limitations of Iranian Power in the Middle East (Santa Monica, CA:
RAND Corporation, 2009); U.S. Department of State, Office of the Coordinator for Counterterrorism, “Country Reports
on Terrorism 2008,” April 30, 2009, https://2009-2017.state.gov/j/ct/rls/crt/2008/122436.htm.
1458 Edward T. Pound, “The Iran Connection,” U.S. News & World Report, November 22, 2004.
1459 CENTCOM, Tactical Interrogation Report, (March 23, 2007), https://www.aei.org/wp-content/uploads/2018/08/TIR-

4.pdf.
1460 Michael R. Gordon & Ben Kesling, “Declassified Interrogation Reports Show How Much Iran Shaped Iraq War,”

Washington Post, August 30, 2018, https://www.wsj.com/articles/declassified-interrogation-reports-show-how-much-iran-
shaped-iraq-war-1535621245.
1461 Wehrey et al., Dangerous but not Omnipotent, p. 117.
1462 Multi-National Force-Iraq, “Press Briefing with Brig. Gen. Kevin Bergner,” July 2, 2007.
1463 Gen. David H. Petraeus, “Report to Congress on the Situation in Iraq,” testimony before Congress, April 8-9, 2008.




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militants.”1464 The U.S. State Department concurred with these assessments. 1465 Similarly, the U.S.
Department of the Treasury has concluded that IRGC-QF funds Shia militia groups in Iraq. 1466 The
Department indicated that Kata’ib Hizballah in particular was a recipient of Quds Force financing. 1467

It is clear that Iran’s substantial financial support for Shia militias in Iraq was designed to encourage
and facilitate attacks on Coalition forces, such as those at issue in this case.

Iran’s Role in Planning Shia Militia Attacks. There is evidence that the Iranian government played a direct
role in jointly planning and jointly selecting targets, in coordination with Hizballah and Shia militants.
One attack exemplifies this dynamic. AAH conducted a raid on the Karbala Provincial Joint
Coordination Center (PJCC) in January 2007. The sophisticated raid killed five American soldiers. In
the case Fritz v. Islamic Republic of Iran, a Court in this District accurately explained how the PJCC
attackers were able to disguise themselves as insiders, which made the attack uniquely effective. 1468
That operation displayed further sophisticated elements, including the attackers greeting their eventual
victims and walking “toward the PJCC as though they were arriving for a meeting.” 1469 The Karbala
PJCC assault is described at length in the Fritz proceedings. Suffice to say that public statements from
U.S. officials and U.S. government documents point to extensive Iranian involvement in jointly
planning the attack.

Iran’s role in helping plan operations in Iraq extends beyond that particularly infamous attack.
Sanctions targeting IRGC-QF’s Gen. Ahmad Foruzandeh specify that “in addition to providing
financial and material support for attacks against Coalition Forces, Foruzandeh supplied a certain Shia
militia group with a target for execution. On July 25, 2005, Foruzandeh held a meeting with
representatives of Iraqi Hizballah and other Shia militia groups, calling upon them to continue
liquidating all enemies of the Islamic revolution.”1470 Similarly, Gen. Petraeus condemned Iran for its
role in helping plan a major assault by the Special Groups on the Green Zone in Baghdad that occurred
in March 2008.1471

Thus, relying on my background, education, training, and experience, as well as substantial evidence
commonly used by experts in relevant fields, it is my expert opinion that given the nature, duration,
and magnitude of Iranian material support to these specific Shia militant groups, Iran’s assistance was
essential to the formation, growth, and survival of these Shia militant organizations, and significantly
increased their capabilities. As such, certain attacks in Iraq committed by these groups from at least
2003 to 2011 bear a reasonable connection to Iran’s sponsorship and support. Again, while I do not
find that any Shia militant groups were likely responsible for the attacks considered, the presence of

1464 Joel D. Rayburn et al., The U.S. Army in the Iraq War: Volume 2 – Surge and Withdrawal (Carlisle, PA: U.S. Army War

College Press, January 2019), p. 65.
1465 U.S. Department of State, Country Reports on Terrorism (2007); U.S. Department of State, Country Reports on Terrorism

(2008); U.S. Department of State, Country Reports on Terrorism (2009).
1466 U.S. Department of the Treasury, press release, “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency,”

January 9, 2008, https://www.treasury.gov/press-center/press-releases/pages/hp759.aspx.
1467 U.S. Department of the Treasury, press release, “Treasury Designates Individual, Entity Posing Threat to Stability in

Iraq,” July 2, 2009, https://www.treasury.gov/press-center/press-releases/Pages/tg195.aspx.
1468 Fritz v. Islamic Republic of Iran, 320 F.Supp.3d 48, 66 (D.D.C., 2018). As noted previously in this report, I served as an

expert witness in the Fritz case.
1469 Ibid.
1470 U.S. Department of the Treasury, “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency.”
1471 Melissa Cochrane, Iraq Report Summer 2007 – Summer 2008: Special Groups Regenerate, (Washington, DC: Institute for the

Study of War, August 2008), p. 10, https://www.understandingwar.org/sites/default/files/reports/IraqReport11.pdf.

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Shia militant groups in the areas of attacks that I examined does not lessen the likelihood of Iranian
support for the attacks.




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